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               EXHIBIT W
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                     LISA REYNOLDS-BARBOUNIS

                                                                 Page 1
       IN THE UNITED STATES DISTRICT COURT

        FOR THE DISTRICT OF PENNSYLVANIA

                         -   -    -

 LISA BARBOUNIS               :   CIVIL ACTION NO.

                              :   2:19-cv-05030-JDW

           vs.                :

                              :

 THE MIDDLE EAST FORUM, :

 and GREGG ROMAN              :

 (individually)               :

                         -   -    -

            WEDNESDAY, NOVEMBER 4, 2020

                         -   -    -

                  VIDEOTAPE DEPOSITION OF LISA

 REYNOLDS-BARBOUNIS, taken pursuant to

 notice, was held by and between all parties

 present via communication technology using

 Zoom, commencing at 11:03 a.m., before

 Kimberly S. Gordon, a Registered

 Professional Reporter, Certified Court

 Reporter and Notary Public.
                    - - -
        ELITE LITIGATION SOLUTIONS, LLC
                One Penn Center
       1617 J.F.K. Boulevard, Suite 340
       Philadelphia, Pennsylvania 19103
     www.elitelsllc.com ~ (215) 563-3703


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                                                                      Page 2
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                Gregg Roman
19
20              ALSO PRESENT:
                SCOTT PERLOFF, VIDEOGRAPHER
21              DANIEL PIPES
                GREGG ROMAN
22
23                            -   -   -
24

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1                             -   -   -

2                           I N D E X

3                             -   -   -

4

5     Testimony of:      LISA REYNOLDS-BARBOUNIS

6

7

8     By Mr. Cavalier.....................5, 546

9     By Mr. Gold............................405

10

11

12                            -   -   -

13                       E X H I B I T S

14                            -   -   -

15    EXHIBIT NUMBER       DESCRIPTION       PAGE MARKED

16

17                         NONE MARKED

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4

5     Direction to Witness Not to Answer

6     Page      Line

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12    359       6

13    363       10

14    364       10

15    545       9

16

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                                                                      Page 5
1                      THE VIDEOGRAPHER:       We're now on

2              the record.     My name is Scott

3              Perloff.    I'm a videographer retained

4              by Elite Litigation Solutions.

5              Today's date is November 4, 2020.

6              The time on the video is 11:03 a.m.

7                      This deposition is being held

8              in the matter of Lisa Barbounis

9              versus The Middle East Forum, et al.

10             The deponent today is Lisa Barbounis.

11                     All counsel will be noted on

12             the stenographic record.        Our court

13             reporter today is Kim Gordon, and she

14             will now swear-in the witness.

15                            -   -   -

16                     LISA REYNOLDS-BARBOUNIS, after

17             having been duly sworn, was examined

18             and testified as follows:

19                            -   -   -

20                         EXAMINATION

21                            -   -   -

22    BY MR. CAVALIER:

23      Q.      Good morning, ma'am.        My name is Jon

24    Cavalier.     I'm a lawyer with Cozen O'Connor


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1     in Philadelphia, and I represent The Middle

2     East Forum and Gregg Roman.         I'm joined here

3     today by some of my colleagues including

4     Mr. Sid Gold, who represents Gregg Roman, and

5     he will likely have some questions for you

6     today as well.

7                Before I start, I want to ask you

8     about the oath you just took.          What do you

9     understand that oath to mean?

10      A.      That I have to be completely honest

11    and say everything that I know to be true.

12      Q.      And the oath included a statement

13    "the whole truth".       What does that mean to

14    you?

15      A.      Absolutely all of the truth.

16      Q.      So, on that note, it's important to

17    all of us that you have the opportunity to

18    finish your answers today.         Okay?

19              Now, we're doing this over Zoom.

20    That is cumbersome.       People have a natural

21    tendency to talk over each other even during

22    live depositions.       That is certainly even

23    more true when we're doing it over video

24    screens.    So I want you to be able to get


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1     your whole answer out.        I won't ever cut you

2     off, and if I do, it's inadvertent.           Please

3     correct me and tell me that you weren't

4     finished.     And I'll assume that you're

5     telling the whole truth.         Fair enough?

6       A.      Fair.

7       Q.      Have you ever been deposed before?

8       A.      No.

9       Q.      So your counsel may object today to

10    my questions.      Okay?   If he does so, it's

11    important you let him finish and get his

12    objection on the record, but unless he

13    instructs you not to answer, you're still

14    required to answer the question pending even

15    if your counsel objects.         Do you understand

16    that?

17      A.      Yes.

18      Q.      It's also important that you give

19    verbal answers to my questions.          While this

20    is being video-recorded, there's also a

21    stenographic record being made, and the court

22    reporter, who will probably hate us both by

23    the end of the day, can't take down nods of

24    the head, verbal ticks like "uh-huh" or


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1     "uh-uh", things like that.

2               So, to the extent it's a yes-or-no

3     question, you have to say "yes" or "no", and

4     to the extent the question requires a longer

5     answer, you need to verbalize and vocalize

6     that answer.      Do you understand?

7       A.      I understand.

8       Q.      So, before we start getting into the

9     questions, I do want to let you know in

10    advance that some of the questions and topics

11    that we're going to cover today are going to

12    be intensely personal.

13      A.      I'm aware.

14      Q.      So I want you to know in advance I'm

15    not trying to embarrass you or put you

16    through any unnecessary pain.          My job today

17    is to try to gather the facts and to give you

18    the opportunity to tell your whole truth.

19    Fair enough?

20      A.      Yes.

21      Q.      So, on that note as well, if you need

22    a break at any time today, if you want to

23    take a moment, if you want to take more than

24    a moment, if you want to break for lunch, you


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1     need to use the restroom, you're welcome to

2     do that at any time, and we will pause for

3     your comfort or whatever else you might need.

4     The only thing I would ask is that if there's

5     a question pending you answer that question

6     before we break.

7        A.     Okay.

8        Q.     Fair enough?

9        A.     Uh-huh.

10       Q.     Are you represented here today?

11       A.     Yes.

12       Q.     By who?

13       A.     Seth Carson.

14       Q.     Did you prepare for your deposition

15    today?

16       A.     No.

17       Q.     Did you speak to Mr. Carson at all

18    about your deposition before today?

19       A.     Just that I had one.        And he sent me

20    the Zoom link.

21       Q.     Did he show you any deposition

22    transcripts of other witnesses in this case?

23       A.     No.    But I did, I was at Delaney's

24    deposition.


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                                                                     Page 10
1        Q.      Okay.   Were you at anyone else's

2     deposition involved in what I'll call this

3     matter?

4        A.      No.

5        Q.      Okay.   Have you ever been involved in

6     a lawsuit before?

7        A.      No.

8        Q.      Have you ever been involved in a

9     criminal case before?

10       A.     Well, there was a incident like where

11    my husband got beat up and he pressed charges

12    against a kid, and then they reversed

13    charges.     So I guess I was involved in that,

14    but that was dropped.

15       Q.     When you say you were involved in it,

16    were you a witness in that matter?

17       A.     I don't -- it was so long ago.           I

18    don't really remember like all of what

19    happened.     But I was like, I think I was --

20    they accused me of like trying to hit

21    somebody with a frying pan.          Because my

22    husband got jumped, so -- but it got dropped.

23              So we went to -- I just remember

24    showing up to court.        We didn't have a lawyer


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1     because we didn't think we needed one, and

2     then the judge told us to come back with a

3     lawyer.     So we got a public defender and then

4     that was the first time I met him was the day

5     he showed up, and it all got dropped.            So

6     that was it.

7        Q.     Do you remember about how long ago

8     that was?

9        A.     Ooh, probably 2007 or eight-ish.

10       Q.     Okay.    Do you remember if you were

11    arrested?

12       A.     It was a Superbowl party.

13       Q.     Okay.    Do you remember who played?

14       A.     No.

15       Q.     Okay.    Do you remember if you were

16    actually arrested as part of that?

17       A.     I was not.

18       Q.     Okay.    Do you remember if you were

19    issued a summons?

20       A.     I don't know.      It was so long ago I

21    don't remember, and it was like real quick.

22    Everything was quick with that one.

23       Q.     Okay.    And to the best you can

24    recall, there was no finding of guilt or


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                                                                     Page 12
1     conviction?

2        A.     Nothing, no.

3        Q.     No sentence imposed?

4        A.     Nothing.

5        Q.     Okay.    Did you talk to your husband

6     about your deposition today?

7        A.     Just that -- I talked to him about

8     his and that it was brutal.

9        Q.     Okay.    Did you talk to him about what

10    you were expecting today?

11       A.     No.    I don't talk to my husband about

12    that stuff.      We've been talking about the

13    election for three days now.

14       Q.     Not like there's anything else going

15    on in the country today, right?

16       A.     Right.    And we have two kids, so we

17    talk about them.

18       Q.     Okay.    I'll ask you more about the

19    production of documents in this case later,

20    but are you aware that we received medical

21    records concerning you on Monday?

22       A.     Yes.

23       Q.     Did you review those medical records?

24       A.     No.


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1        Q.     I can show you this document and I

2     plan to later, but for our purposes right

3     now, the fax stamp on those documents

4     indicates that they were sent on

5     September 24, 2020.        Do you have --

6        A.     To who?

7        Q.     Do you have any -- to whoever

8     received them, whether that was you or your

9     counsel.

10       A.     Oh.

11       Q.     Do you have any idea why if those

12    documents were sent out on September 24, 2020

13    we would have only received them on Monday?

14       A.     No, I have no idea.

15       Q.     Okay.    And I think I asked you this,

16    but I wasn't sure about your answer.            Did you

17    review them before they were produced to us?

18       A.     No.

19       Q.     Have you ever reviewed them?

20       A.     No.

21       Q.     Okay.    So I want to ask you about

22    some terms that I'll use today so that we can

23    make sure that we're all on the same page.

24    Okay?    If I refer to "the Forum" or "MEF",


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1     what is your understanding of what I'm

2     referring to?

3        A.     The Middle East Forum.

4        Q.     Okay.    So are we in agreement that if

5     we use those terms, --

6        A.     That's fine.

7        Q.     -- we're both going to be on the same

8     page?    Okay.

9               If I refer to something called "the

10    trade secrets action" or "the trade secrets

11    case", do you know what I'm referring to?

12       A.     The one where they're trying to

13    accuse me of stealing stuff that I didn't

14    steal, that one.

15       Q.     Let's, for now, let's call it "the

16    matter before Judge Sanchez".

17       A.     Okay.

18       Q.     Does that work?

19       A.     Sure.

20       Q.     So you'll understand what I'm talking

21    about if I refer to "the trade secrets

22    action"?

23       A.     Uh-huh.

24       Q.     Okay.


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                                                                     Page 15
1                       THE COURT REPORTER:        Yes?

2                       THE WITNESS:      Yes.    I'm sorry.

3              Yes.

4     BY MR. CAVALIER:

5        Q.     Okay.    And if I refer to "your claims

6     in this case", do you understand that I'm

7     referring to the assertions you made in the

8     Complaints --

9        A.     Yes.

10       Q.     -- that you filed against the Forum

11    in this action?

12       A.     Yes.

13       Q.     Okay.    And if I refer to "the Forum's

14    counterclaims", do you understand that I'm

15    referring to the claims that the Forum has

16    brought against you as a counterclaim in this

17    same lawsuit?

18       A.     Yes.

19       Q.     Okay.    What does the term "sexual

20    assault" mean to you?

21       A.     "Sexual assault" is --

22                      MR. CARSON:     Objection.

23                      THE WITNESS:      Oh.    Sorry, Seth.

24                      MR. CARSON:     Objection.     Calls


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                                                                     Page 16
1              for a legal conclusion.         You can

2              answer.

3                       THE WITNESS:      -- unwanted

4              sexual touching.

5     BY MR. CAVALIER:

6        Q.     What does "sexual touching" mean to

7     you?

8        A.     Touching any part of your body that's

9     considered to be private or inappropriate.

10    But it also could mean like not just your

11    private parts but like even if you, I don't

12    know, like if you're massaging somebody's

13    shoulder or you're doing something of a, that

14    is with sexual intent.

15       Q.     Okay.    How about "sexual harassment",

16    what does that mean to you?

17       A.     "Sexual harassment"?

18                      MR. CARSON:     Objection.     Calls

19             for a legal conclusion.         You can

20             answer.

21                      THE WITNESS:      Verbal

22             harassment, innuendo, verbal like out

23             of a sexual nature, inappropriate

24             sexual communication.


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1                       For example, if somebody is

2              showing me pictures of their

3              conquests and talking about how they

4              had sex with them, like Gregg Roman

5              did to me, that is verbal sexual

6              assault, verbal sexual abuse,

7              whatever you were saying.

8     BY MR. CAVALIER:

9        Q.     Okay.    So this is why I'm asking you

10    these questions.       We started off talking

11    about sexual harassment.

12       A.     Correct.     That's what I meant, sorry,

13    harassment.      That's "sexual harassment".

14       Q.     So my next question to you is what

15    does "sexual abuse" mean to you?

16       A.     "Sexual abuse"?       "Sexual assault" is

17    different than "sexual abuse" for me.            I

18    guess a sexual abuse would be like, I don't

19    know, maybe it's just like ongoing sexual

20    penetration I guess.        I don't know.

21              I guess there's a difference.          I

22    don't know.      I never really thought about it

23    like that.

24       Q.     Okay.    That's fair enough.        Can


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1     sexual harassment be purely verbal in your

2     opinion?

3        A.     Yes.

4        Q.     Can sexual assault be purely verbal

5     in your opinion?

6        A.     No.    Assault is touching, --

7        Q.     Okay.

8        A.     -- physical.

9        Q.     How about general harassment of a

10    non-sexual nature, is that something that

11    exists in your mind?

12       A.     Yes.

13       Q.     Do you --

14                      MR. CARSON:     Objection.     I was

15             just going to put an objection to

16             these questions.       I don't know if

17             you're asking for the legal

18             definition or just for her

19             understanding.

20                      MR. CAVALIER:      I'm asking --

21                      MR. CARSON:     So, to the extent

22             it calls --

23                      MR. CAVALIER:      I'm asking for

24             the witness' understanding of the


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1              terms.    You can answer.

2                       MR. CARSON:     To the extent it

3              calls --

4                       THE WITNESS:      Could you --

5                       MR. CARSON:     To the extent it

6              calls for a legal conclusion, I

7              object.    You can answer.

8     BY MR. CAVALIER:

9        Q.     General harassment of a non-sexual

10    nature, what does that mean to you?

11                      MR. CARSON:     Objection.     You

12             can answer.

13                      THE WITNESS:      Yes, I know.     I'm

14             thinking.

15                      You can harass somebody.         Like,

16             you know, threatening them or

17             threatening people or being, you

18             know, aggressive in your tone and the

19             way you speak to them, the type of

20             things that you say, yes, there's

21             definitely -- I mean I've been

22             harassed by one of your witnesses in

23             your case that is of a non-sexual

24             way.


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                                                                     Page 20
1     BY MR. CAVALIER:

2        Q.     Okay.    So it's fair to say that

3     somebody can be sexually harassed and

4     generally non-sexually harassed by the

5     same --

6                       MR. CARSON:     Same objection.

7     BY MR. CAVALIER:

8        Q.     -- person, --

9                       MR. CARSON:     Sorry, Jon.      Go

10             ahead, finish your question.          Sorry.

11    BY MR. CAVALIER:

12       Q.     -- by the same person in or outside

13    of the workplace?

14       A.     That --

15                      MR. CARSON:     Same objection.

16                      THE WITNESS:      That can be.

17             However, their motive is the driving

18             force there.

19    BY MR. CAVALIER:

20       Q.     When you say "their motive is the

21    driving force there", do you mean their

22    motive is the driving force behind whether

23    something is sexual harassment or general

24    non-sexual harassment?


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1        A.     Correct.

2        Q.     Can you give me an example of what

3     you mean?

4        A.     So we can talk about Gregg Roman.           He

5     sexually harassed me non-stop.           When I

6     wouldn't, you know, comply with his whatever,

7     he would harass me in a way that if he didn't

8     try to sleep with me or those type of things

9     that may have been considered just regular

10    harassment, but because the way he was

11    treating me was because I wouldn't sleep with

12    him or he was trying to sleep with me or all

13    of those things, he did both.

14              So they were -- so it's sexual

15    harassment because it all stems from Gregg

16    Roman wanting to sleep with me and other

17    people, thousands of them.

18       Q.     So, if, for example, someone -- and

19    you used Gregg Roman, so I'll use him as the

20    hypothetical example here as well.

21       A.     That's why we're here, right.

22       Q.     If Gregg Roman harassed you, was

23    abusive to you in the workplace but that

24    harassment and abuse had no sexual


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1     connotations or overtones or anything but it

2     was motivated by some sexual desire he had,

3     you would consider that sexual harassment?

4                       MR. CARSON:     Objection.

5                       THE WITNESS:      Well, --

6                       MR. CARSON:     Objection.

7                       THE WITNESS:      Well, I mean

8              because he physically sexually like

9              assaulted me and then verbally

10             sexually harassed me and then

11             afterwards, I mean he continued to do

12             that the whole time but then there

13             were those sprits of just regular

14             harassment in there and he didn't

15             harass me before he physically

16             assaulted me, yes, I consider that

17             all sexual harassment.

18    BY MR. CAVALIER:

19       Q.     Okay.    We'll come back to that in a

20    little bit.      Tell me about your educational

21    background.

22       A.     My educational background?          So I was

23    like always described as right when I was in

24    like grade school and high school but didn't


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1     really, wasn't focused, didn't apply myself.

2     Really I had ADHD.       I didn't find that out

3     until later.

4               So then after high school, I didn't

5     go to college.      I went to like a couple

6     community college classes, just stopped

7     going.    I wound up being a real estate agent

8     and a bartender.

9               And then after that, I went to a

10    community college.       Because a lawyer said,

11    "Lisa, you can do my job.         Why don't you go

12    to law school"?       So I figured I was going to

13    go be a paralegal, then work to go to law

14    school.     Got into this Honors Program in

15    community college, and from there, I got into

16    the University of Pennsylvania and I

17    graduated with a Philosophy, Politics and

18    Economics degree.

19              And then after that, I went onto get,

20    well, to start my Master in Behavioral

21    Economics, and I didn't -- I am three classes

22    short because of all this.          So that's where I

23    am.

24       Q.     So your degree, your PPE degree from


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                                                                     Page 24
1     Penn is a Bachelor's?

2        A.      Yes.

3        Q.      Okay.    And other than your Master's

4     that you're three credits short on, have you

5     had any other further education?

6        A.      I did go to Arcadia University when

7     like I was pregnant, but I never finished and

8     I didn't like the program.          So, when the

9     Master came up for, when the Master came up

10    for Penn, I jumped on that one.

11       Q.     Okay.     And what were you studying in

12    Arcadia?

13       A.     Conflict -- Peace and Post-Conflict

14    Resolution.

15       Q.     Okay.     Do you remember when that was?

16    You said it was when you were pregnant?

17       A.      Yes, Olivia, 2014.

18       Q.     Okay.     Can you tell me about your

19    employment starting with your first job out

20    of high school I guess since you went to work

21    after high school?

22       A.     Ooh, I had so many jobs.         I was

23    always working.       I started working when I was

24    12.     I was folding pizzas in a thing and


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1     working as a bus girl in a family friend's

2     restaurant, but then -- and I worked there

3     forever, Graziano's.

4               And then I was a bartender.          I worked

5     for a mortgage company, Sennett Mortgage.

6     Then I got a real estate license, and I did

7     that.    I just, I was always working.          I was

8     bartending and doing stuff like that.

9        Q.     Okay.    And can you put a date range

10    on that for me?

11       A.     All the way up until 2013 when I

12    started work for Congress.

13       Q.     Okay.

14       A.     Oh, and I also worked at the Marriott

15    after college.      I worked --

16       Q.     And how long did you do that?

17       A.     -- at the front desk.

18       Q.     How long did you work at the Marriott

19    for?

20       A.     Maybe almost a year.        I was working

21    there and I was applying, I really wanted to

22    do something in politics right after college,

23    so I was just working there to, you know,

24    have health insurance and to, you know, like


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1     just until I found something.          And then while

2     I was there, I got the internship on the

3     Hill, and I went and did that.

4        Q.      So you left that job because you got

5     the internship?

6        A.      Uh-huh.

7                       THE COURT REPORTER:       Yes?

8                       THE WITNESS:      Yes.   Sorry.

9              Yes.

10    BY MR. CAVALIER:

11       Q.     Can you tell me about the internship?

12       A.     I worked, I went down to Capitol, I

13    went down to D.C.       I was there for about

14    maybe five months, I guess, something like

15    that and I worked for Congressman Gerlach,

16    and that turned into a full, a part-time

17    position and then a full-time position and

18    they just kept me.

19              And I -- and then Congressman Gerlach

20    retired.     Congressman Costello kept like --

21    Congressman Costello took the seat, won, took

22    his seat, and then they kept me.           I was like

23    one of like three people that they kept on

24    staff, maybe four, oh, like three of the


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                                                                     Page 27
1     districts did, they kept on, and I was proud

2     to have been kept on and I had been -- I

3     worked there until Congressman Costello

4     decided that he wasn't going to run for

5     re-election, which is what brought me to The

6     Middle East Forum.

7        Q.     Okay.    So no employment between

8     working for Congressman Costello and The

9     Middle East Forum?

10       A.     Correct.

11       Q.     Okay.    Do you remember why you

12    applied for work at The Middle East Forum?

13       A.     Yes.    Because it's very difficult to

14    find work as a conservative in politics in

15    Philadelphia or even pretty much like in

16    this, like this part of this, like the

17    eastern part of Pennsylvania.

18              And so I wanted to be near my kids.

19    It was a lot -- I was commuting back and

20    forth to West Chester and sometimes D.C., and

21    it was like a lot.       And so we were like, oh,

22    this job, they have a great mission, they,

23    you know, they believe in the same things

24    that I do, it's here, and I thought that it


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1     would be a good opportunity.

2        Q.     Okay.    I'm going to come back to that

3     in a bit and ask you some questions about it,

4     but you raised the issue so I'll ask you.

5     What -- you said you consider yourself a

6     conservative?

7        A.     Very, yes.

8        Q.     Can you describe what that means?

9        A.     That I believe in limited government,

10    traditional values.        I believe in God and,

11    you know, personal responsibility, things

12    like that.

13       Q.     You said that you believe in

14    traditional values?

15       A.     Uh-huh.

16                      THE COURT REPORTER:       Yes?

17    BY MR. CAVALIER:

18       Q.     What does that mean?

19       A.     Like that you should have like, you

20    know, the traditional values.          Like, you

21    know, you should raise your kids with

22    manners, and that values and things like that

23    are important.

24              For example, I don't know, like we


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1     teach my daughter like patience is waiting

2     with a good attitude, right.          Like just

3     regular values.       You know, like nuclear

4     family values.      You know, the nuclear family

5     is the building blocks of society kind of

6     thing.

7        Q.     Okay.    And you said you believe in

8     God?

9        A.     I do.

10       Q.     What's your religious background?

11       A.     I was raised Catholic.         I switched to

12    Greek Orthodox for my husband, but I consider

13    myself very much a Catholic, a Christian.             I

14    believe in Jesus Christ.

15       Q.     And your husband you said is Greek

16    Orthodox?

17       A.     Correct.

18       Q.     Does that cause any tension between

19    the two of you?

20       A.     I mean other than his mother hating

21    the fact that I'm not Greek, no.

22       Q.     Fair enough.      How do you know his

23    mother hates the fact you're not Greek?

24       A.     She says it.


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1        Q.     Often?

2        A.     Eh, enough.

3        Q.     Okay.    Do you still attend church?

4        A.     No.    I haven't -- we -- just with the

5     kids and working and being crazy, we haven't

6     had time.     Do I want to, yes.       Like I went to

7     Ash Wednesday.      So, for some of the bigger

8     holidays, I do, but not regularly like I'd

9     like to.

10       Q.     Do you consider yourself an

11    intelligent person?

12       A.     I mean I think that intelligence is

13    relative, but yes.

14       Q.     Why?

15       A.     I don't consider myself stupid, if

16    that's what you're asking.

17       Q.     Not at all.      Why do you consider

18    yourself an intelligent person?

19       A.     I'm very --

20                      MR. CARSON:     Objection.     Let me

21             just --

22                      THE WITNESS:      I'm clever.

23                      MR. CARSON:     Let me just say,

24             let me just object.        I'll put an


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1              objection on the record.         You can

2              answer.

3                       THE WITNESS:      For example, I am

4              the type of person that if I want

5              something done, I get it done.          If I

6              want to hang a light fixture that's

7              like right up here, I don't call

8              somebody to do it.       I read

9              instructions, I figure it out, turn

10             the electric box off and wire the

11             light and put it up myself.

12                      I think that that, you know,

13             most people can't do things like

14             that.    They hire an electrician.

15    BY MR. CAVALIER:

16       Q.     So you consider yourself a capable

17    person?

18       A.     Very, yes.

19       Q.     Do you consider yourself an

20    attractive person?

21       A.     I mean --

22                      MR. CARSON:     Objection.     You

23             can answer.

24                      THE WITNESS:      Listen,


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1              relatively speaking, okay, yes, I

2              don't consider myself unattractive,

3              but that's a sign of good

4              self-esteem.      So I don't think

5              there's anything wrong with that.

6     BY MR. CAVALIER:

7        Q.     Do you consider yourself a hard

8     worker?

9        A.     Yes.

10       Q.     Why?

11       A.     Because that's something been

12    instilled in me since I was a little kid.              I

13    work all the time.       I am proud of the work

14    that I do.     I work hard.      I work long hours.

15    I give 100 percent to my job all the time.

16       Q.     Do you consider yourself a good wife?

17       A.     Uhm --

18                      MR. CARSON:     Objection.

19                      THE WITNESS:      Go ahead.    I'm

20             sorry, Seth.      Do I consider myself --

21                      MR. CARSON:     I'm objecting to

22             the extent that you're harassing her,

23             but you can answer.

24                      THE WITNESS:      Okay.


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1                       I think that every relationship

2              is hard and work and no people are

3              perfect and that's why we have God

4              that forgives us, but I do the best

5              that I can as a wife.

6     BY MR. CAVALIER:

7        Q.     Do you consider yourself a good

8     mother?

9        A.     Yes.

10                      MR. CARSON:     Objection.

11    BY MR. CAVALIER:

12       Q.     Why?

13       A.     Why?    Because I --

14                      MR. CARSON:     Objection.

15                      THE WITNESS:      Can I answer?

16                      MR. CARSON:     Yes.

17    BY MR. CAVALIER:

18       Q.     Yes.

19       A.     Because I love my children with all

20    my heart and my soul.        I made sure that I

21    work hard so that my daughter is in the type

22    of school that she's in, that she has health

23    insurance, that they're well taken care of,

24    that they --


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1               You know, I made, when I was a --

2     when they were babies, I made organic baby

3     food every day until they could eat solid

4     foods.    I breast-fed both of my children for

5     12 months.     I made sure that I didn't even

6     take a Tylenol when I was pregnant because,

7     you know, their health is a priority to me.

8     Everything about my kids is a priority.

9        Q.     Is it fair to say they're the most

10    important thing in your life?

11       A.     Yes, absolutely.

12                      MR. CARSON:     Objection.

13    BY MR. CAVALIER:

14       Q.     What's your opinion of the Me Too

15    Movement?

16       A.     I don't really --

17                      MR. CARSON:     Objection.

18                      THE WITNESS:      Oh.   Sorry, Seth.

19             You're objecting?

20                      MR. CARSON:     Yes.    I mean these

21             questions are designed to harass and

22             embarrass.

23                      THE WITNESS:      It's fine.

24                      MR. CARSON:     But you can


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                                                                     Page 35
1              answer --

2                       THE WITNESS:      The Me Too

3              Movement, okay.       So I was -- I am not

4              -- okay.     I believe obviously that

5              sexual harassment happens.         I do not

6              like the Me Too Movement where it is,

7              you know, believe all women when an

8              elected official is put up and it's

9              intent with no evidence and it's

10             designed to -- and it's designed to

11             like, you know, politically motivate

12             it, and I feel like a lot of the Me

13             Too Movement was politically

14             motivated.     And I'm sure that you

15             have statements from me that say

16             that, you know, I'm not Me Too.           I'm

17             not.    Because I think what they did

18             to Judge Kavanaugh was a disgrace.

19                      I think that when you have no

20             evidence of behavior at all, not

21             even, not even, like, you know, not

22             even -- I don't know.        Like that lady

23             had no evidence at all.         There was no

24             corroboration, there was no nothing,


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1              like she had nothing, and you come

2              out 17 years later from something

3              that happened in high school or

4              20 years later or whatever it was

5              just to take a man down because you

6              don't believe in his political

7              ideology.     I think it's a disgrace.

8                       So that's what I think of the

9              Me Too Movement.

10    BY MR. CAVALIER:

11       Q.     Other than Judge Kavanaugh's

12    Hearings, can you give me any other examples

13    where that kind of thing has happened in your

14    view?

15                      MR. CARSON:     Objection.

16                      THE WITNESS:      I mean not off

17             the top of my head.        But that's when

18             the Me Too Movement started, so

19             that's what the Me Too Movement was

20             about.

21    BY MR. CAVALIER:

22       Q.     The Me Too Movement started with

23    Kavanaugh's Hearings?

24       A.     I think so.      I'm pretty sure.


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                                                                     Page 37
1        Q.     Okay.

2        A.     That's when I was first aware of it.

3        Q.     Okay.    I'm going to try to show you a

4     couple of documents here, and I'm probably

5     going to screw it up at least once, so bear

6     with me here as I try to do this.

7                       MR. CARSON:     Jon, are you just

8              using the Screen Share to do this

9              today?

10                      MR. CAVALIER:      Yes, I'm going

11             to try.

12                      MR. CARSON:     Okay.

13                      THE WITNESS:      Do I have to open

14             this or he'll --

15                      MR. CARSON:     He'll identify the

16             Bates stamp.      Let's try to follow

17             along here.

18                      I don't think there's anything

19             up yet.    Okay.

20                      THE WITNESS:      Oh.   Benjamin,

21             yes.

22    BY MR. CAVALIER:

23       Q.     So that's my first question.          Who is

24    this?


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1        A.     Benjamin Baird.

2        Q.     And who is Benjamin Baird to you?

3        A.     Benjamin Baird, when I met him, he

4     was a fellow, not an employee, of The Middle

5     East Forum.      I think since then he has become

6     an employee of The Middle East Forum.            But

7     he's a friend of mine.

8        Q.     When was the last time you spoke with

9     him?

10       A.     A couple months ago maybe.

11       Q.     Do you remember what you talked

12    about?

13       A.     He called about The Middle East

14    Forum.

15       Q.     In what context?

16       A.     That he was on LegiStorm and he saw

17    that they were -- he could see I guess past

18    search results and that they were, somebody

19    in their Middle East Forum LegiStorm account

20    was looking into my bank account records.

21       Q.     What's a LegiStorm account?

22       A.     LegiStorm is a -- no, it wasn't

23    LegiStorm.     I'm sorry.      LexisNexis.

24    LexisNexis.      I apologize.     That they were in


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1     the LexisNexis account that they used for

2     research and that somebody in there had been

3     searching me, my husband, going through our

4     bank records through the LexisNexis account.

5        Q.     So he called to tell you that?

6        A.     Yes.

7        Q.     Did you talk about the case?

8        A.     No.    He just -- I just said that

9     they're torturing me.        Because they are.

10       Q.     What did you mean by that?

11       A.     They're making up false allegations

12    and harassing me, and Daniel Pipes is asking

13    me for meetings and like it's just -- they're

14    flying over to England and getting people to

15    pay, they're paying people for fake testimony

16    against me.      I mean pretty much they have a

17    private investigator following me.            It's

18    definite harassment.        They're torturing me.

19       Q.     So I was going to, I was going to ask

20    you about this later, but since you mentioned

21    it, let's get into it.         What do you mean by

22    paying people for testimony?

23       A.     My friend over in England sent me

24    recordings saying that Dan Tommo, your star


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1     witness, saying that he was their star

2     witness and that Gregg was going to take care

3     of him afterwards and he was going to pay him

4     and he didn't care even how much money he got

5     though because he just wanted to -- they told

6     him that they were going to put me in jail

7     for ten years and that I was trying to get

8     $10 million from this case and that I'm

9     acting like I'm this perfect wife, and it's

10    all on recording.

11              So they flew over to England or

12    whatever they did, but they are paying Danny

13    Tommo for testimony against me.

14       Q.     What evidence do you have that the

15    Forum is paying Dan Tommo?

16       A.     Dan Tommo said it to Tommy Robinson,

17    who he doesn't lie to, or maybe he lies to

18    him, I don't know what he does, he lies, but

19    he said it to him and there was no reason for

20    him to lie about that.

21       Q.     So, if I understand you correctly,

22    your evidence is something that Tommy

23    Robinson told you that Danny Thomas --

24       A.     No.    No.    No.   It's Danny's words.


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1     It's a conversation between them two.            It's a

2     voice recording of them, and he says it in

3     there that Gregg said he would take care of

4     him, gave him a wink and a nod and told him

5     he was going to take care of him after this

6     was all over.      And let me tell you, I know

7     Gregg Roman, and that is not out of his

8     character.

9        Q.     Is Dan Tommo trustworthy?

10       A.     No.

11       Q.     And yet your evidence in accusing the

12    Forum of paying for testimony --

13       A.     So -- wait.      Wait.    Wait.

14                      MR. CARSON:      Wait.    Let me

15             just -- let him finish the question.

16                      THE WITNESS:      Okay.

17                      MR. CARSON:      And then let me

18             put my objection on.        Go ahead, Jon.

19    BY MR. CAVALIER:

20       Q.     You've accused the Forum publicly

21    through your counsel of buying testimony.

22       A.     Correct.     Because they did.

23                      MR. CARSON:      Wait.    He didn't

24             finish the question.


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                                                                     Page 42
1     BY MR. CAVALIER:

2        Q.     My question to is:        Your only

3     evidence of that is a recording between Danny

4     Thomas and Tommy Robinson, correct?

5        A.     Correct.

6                       MR. CARSON:     I'm going to

7              object.    Argumentative.       You know,

8              The Middle East Forum filed a lawsuit

9              based on the guy's word too, same

10             thing.    But you can answer, whatever.

11                      MR. CAVALIER:      Do me a favor

12             and limit your objections to what's

13             proper.

14                      MR. CARSON:     Objection.

15             Argumentative.

16    BY MR. CAVALIER:

17       Q.     So my question to you is:         Do you

18    think it's fair to the Forum to allege that

19    they're engaging in criminal conduct based

20    solely on a person's word who you deem

21    non-credible?

22       A.     Well, that's interesting because --

23                      MR. CARSON:     Objection.

24             Argumentative.


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1                       THE WITNESS:      -- they're doing

2              that to me.

3     BY MR. CAVALIER:

4        Q.     That's not my question.

5        A.     The answer is:       I know Danny Tommo,

6     and I know that when he speaks to Tommy

7     Robinson that he tells the truth.           There was

8     no reason for him to lie there.           There is

9     plenty of reason for him to lie against me.

10              In that -- everything that he had

11    said, because they showed me a transcript,

12    right, of -- Dr. Pipes sent me a transcript

13    of what he said was a lie, and the only

14    reason that he would lie like that is if he

15    was getting paid.       So yes, I am 100 percent

16    confident that those recordings are the

17    truth.

18       Q.     So the recording between Danny Tommo

19    and Tommy Robinson is the truth?

20       A.     Uh-huh.

21       Q.     But the recording --

22                      THE COURT REPORTER:       Yes?

23                      MR. CARSON:     Objection.     Go

24             ahead.    Finish your question.


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                                                                     Page 44
1     BY MR. CAVALIER:

2        Q.     But the recording between Danny

3     Thomas and Gregg Roman is a lie?

4        A.     It's paid for.

5                       MR. CARSON:     Objection.

6                       THE WITNESS:      Because

7              everything he said in that one was

8              fake --

9                       MR. CARSON:     Hold on, Lisa.

10                      THE WITNESS:      -- and everything

11             he said in the recording to Tommy

12             Robinson was true.       And he even said

13             in there --

14                      MR. CARSON:     Okay.

15                      THE WITNESS:      -- I don't know

16             anything about a list.        Tommy said it

17             in there too.

18                      Everything that was true was in

19             the recording that I know to be true,

20             facts of the case, okay, that I never

21             had a list, I never gave it to

22             anybody, I never even talked about a

23             freakin' list, and that was in the

24             recording and that was true, okay.


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                                                                     Page 45
1              Everything he said in the Gregg Roman

2              thing was a lie.

3                       MR. CARSON:     And I --

4     BY MR. CAVALIER:

5        Q.     But sitting here today, --

6                       MR. CARSON:     I was going to

7              say, I was going to place an

8              objection to the last question.

9                       So it's important that we keep

10             the record clear so that the order of

11             operation is that there's a question;

12             if there's an objection, the

13             objection goes on the record; and

14             then there's an answer.         So let's try

15             to keep it in that order, Lisa,

16             please.

17                      THE WITNESS:      Sure.   Sorry.

18                      MR. CARSON:     But my objection

19             to the last question was

20             argumentative and object to form.

21             But go ahead.      Sorry.

22    BY MR. CAVALIER:

23       Q.     Other than his word to Tommy

24    Robinson, do you have any evidence that the


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                                                                     Page 46
1     Forum or Gregg Roman has paid anyone to

2     testify against you?

3        A.     No.

4                       MR. CARSON:     Objection.

5                       THE WITNESS:      You got to be

6              quicker with that, Seth.         I gave

7              three seconds on that one.

8                       MR. CARSON:     Go ahead.

9     BY MR. CAVALIER:

10       Q.     What was your answer?

11       A.     No.

12       Q.     Other than the recording between

13    Danny Thomas and Tommy Robinson, do you have

14    any evidence whatsoever that the Forum, Gregg

15    Roman or anyone else at the Forum has engaged

16    in any kind of criminal conduct vis-a-vis

17    Danny Thomas?

18                      MR. CARSON:     Objection.

19                      THE WITNESS:      Does The Middle

20             East Forum have any other evidence

21             that I've done anything wrong other

22             than Danny Tommo's testimony?

23                      MR. CAVALIER:      I'm going to ask

24             that that answer is non-responsive.


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1                       MR. CARSON:     That's responsive.

2     BY MR. CAVALIER:

3        Q.     Your answer to my last question is?

4        A.     I just said what I said.

5                       MR. CARSON:     Just wait for a

6              question, Lisa.

7     BY MR. CAVALIER:

8        Q.     So I'll ask the question again.

9     Other than the recorded conversation between

10    Danny Thomas and Tommy Robinson, do you have

11    any evidence sitting here today that the

12    Forum, Gregg Roman or anyone else at the

13    Forum has engaged in criminal conduct

14    vis-a-vis Danny Thomas?

15       A.     No.

16                      MR. CARSON:     Objection.     Asked

17             and answered.      Object to form.

18             Argumentative.      You can answer.

19                      THE WITNESS:      No.

20    BY MR. CAVALIER:

21       Q.     What's the nature of your

22    relationship with Ben Baird?

23       A.     We're friends.

24                      MR. CARSON:     Do you guys want


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                                                                     Page 48
1              to keep this exhibit up for now?

2                        MR. CAVALIER:     Yes, for now.

3     BY MR. CAVALIER:

4        Q.     Do you have a sexual relationship

5     with Mr. Baird?

6        A.     I do not.

7        Q.     Have you ever engaged in sexual

8     activity with Mr. Baird?

9        A.     I have.

10       Q.     When?

11       A.     2019.

12       Q.     And where did that occur?

13       A.     D.C.

14       Q.     Was this over a period of time or was

15    it one discrete incident?

16                      MR. CARSON:     I'm going to

17             object.

18                      THE WITNESS:      Uhm.

19                      MR. CARSON:     I'm going to

20             object.    We're not going to go into a

21             history of her sex life today, and

22             I'm going to direct her not to answer

23             questions if you try to.          I'll allow

24             this line of questioning to finish,


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1              but we are -- this case has nothing

2              to do with my client's sex life.

3                        THE WITNESS:     Hold on one

4              second.

5                        MR. CARSON:    So --

6                        THE WITNESS:     I have a

7              question.

8                        MR. CARSON:    -- you can answer

9              this.     But if you continue to ask

10             questions about her sex life, I'm

11             going to start instructing her not to

12             answer.    Because these questions are

13             designed fully to embarrass, harass

14             and intimidate the witness.

15                      THE WITNESS:      Are you trying to

16             suggest that if I have a sexual

17             relationship that isn't with my

18             husband that it's okay for Gregg

19             Roman to sexually harass me?          Is that

20             where you're going to go with this?

21    BY MR. CAVALIER:

22       Q.     Not at all.

23       A.     Oh.    So then, I'm sorry, how is this

24    relevant to your case?


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                                                                     Page 50
1                       MR. CARSON:     Not a question.

2                       MR. CAVALIER:      I'm going to

3              answer your lawyer's objection

4              briefly by saying that, Seth, your --

5              have you read what you produced to us

6              on Monday?

7                       MR. CARSON:     I think you should

8              assume that if I produced it I read

9              it.

10                      MR. CAVALIER:      Well, if you

11             had, you'd know that this line of

12             questioning is clearly relevant to

13             this case.     It's been put at issue.

14             It relates to damages and a variety

15             of other issues.

16                      THE WITNESS:      How?

17                      MR. CAVALIER:      You can talk to

18             your lawyer about that.

19                      THE WITNESS:      Well, why can't

20             you just tell me?

21                      MR. CAVALIER:      Because I'm not

22             your counsel.

23                      THE WITNESS:      Well, I don't

24             know how it's relevant, and I'm


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                                                                     Page 51
1              asking you.

2                       MR. CARSON:     There's nothing I

3              produced on Monday that makes my

4              client's sex life relevant to this

5              case.

6                       MR. CAVALIER:      We just disagree

7              on that point, Seth.

8                       THE WITNESS:      So I'm asking you

9              a question.     Are you trying to say

10             that if I have sexual, a sexual

11             relationship with somebody other than

12             my husband that I deserve to be

13             sexually harassed?

14    BY MR. CAVALIER:

15       Q.     Of course not.       But that's not the

16    only --

17       A.     Then how is this relevant?

18       Q.     That's not the only issue in this

19    case.    Your counsel can tell you how it's

20    relevant.     You know that.

21       A.     Okay.

22                      MR. CARSON:     It's not relevant.

23                      MR. CAVALIER:      If you'd like to

24             talk to her about it, you can.


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                                                                     Page 52
1                       MR. CARSON:     No, I can't

2              actually tell her how it's relevant.

3              But like I said, we're not going to

4              go into a history of my client's sex

5              life today.     It's not going to

6              happen.

7                       So, like I said, I'll allow

8              this line of questioning to continue,

9              but I'm just letting you know that

10             question is designed solely to

11             harass, intimidate and embarrass my

12             client.    I'm going to start

13             instructing her not to answer those

14             questions.

15                      So you can answer for now.

16                      THE WITNESS:      I'm waiting for a

17             question.

18    BY MR. CAVALIER:

19       Q.     The question is:       Was your sexual

20    relationship with Ben Baird one discrete

21    incident or --

22       A.     Are you talking about the amount of

23    times that we've had sex or the amount of

24    times I've kissed him?         What are you actually


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                                                                     Page 53
1     asking me?

2        Q.     I'm asking you for what period of

3     time was your relationship with Ben Baird

4     sexual in nature?

5        A.     Very brief.

6        Q.     What does that mean?

7        A.     Less than a week maybe.

8        Q.     What's the current status of your

9     relationship with Ben Baird?

10       A.     We are friends.       We have a good

11    relationship.      We're friends.

12                      MR. CAVALIER:      Seth, --

13                      THE WITNESS:      If he came to

14             town, I would have dinner with him.

15             We are friends.

16                      MR. CAVALIER:      Seth, why don't

17             we go off the record for a second and

18             have a quick phone call here, you and

19             I?

20                      MR. CARSON:     Okay.

21                      MR. CAVALIER:      Because I --

22                      THE WITNESS:      I'm going to go

23             get my food if you guys are going to

24             do that.


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                                                                     Page 54
1                       MR. CAVALIER:       I'll tell you

2              what, let's take 15 minutes.          We'll

3              go back on the record at noon.

4                       Seth, I will call you as soon

5              as we go off the record at whatever

6              number you tell me to, and we'll have

7              a discussion about this.         Because I

8              don't want to bother Judge Wilson

9              unless I absolutely have to.

10                      MR. CARSON:       Well, do you want

11             me -- do you have my cell phone

12             number right in front of you?

13                      MR. CAVALIER:      Why don't you

14             give it to me?

15                      MR. CARSON:       484- --

16                      MR. CAVALIER:      We're off the

17             record, by the way.        You can stop the

18             record.

19                      THE VIDEOGRAPHER:       11:42 a.m.,

20             off the record.

21                            -   -   -

22                   (A recess occurred.)

23                            -   -   -

24                      THE VIDEOGRAPHER:       12:02 p.m.,


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                                                                     Page 55
1              we're back on the record.

2     BY MR. CAVALIER:

3        Q.     Ma'am, the transcript you referenced

4     earlier between Gregg Roman and Danny Tommo,

5     did, I'm sorry, between Danny Tommo and --

6        A.     Tommy Robinson.

7        Q.     -- Tommy Robinson, how did you get a

8     copy of that?

9        A.     Tommy sent it to me.

10       Q.     How did he send it to you?

11       A.     Via WhatsApp.

12       Q.     Okay.    Did he send you the actual

13    recording or a transcript?

14       A.     The recording.

15       Q.     Did you talk to him about it?

16       A.     No.    He just said, "Listen to this".

17    He goes, "I feel like what they're doing to

18    you is terrible.       People do this stuff to me

19    all the time.      I'm in and out of courts".

20    He's like, "I feel horrible that it's

21    happening to you, and so this is why I'm

22    doing this".

23              He didn't even want to send it to me

24    because Danny could, you know, make up lies


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1     about him and he didn't want to have Danny on

2     his bad side, but he knew that what Danny was

3     doing was wrong so he sent it to me.

4        Q.     Do you know who recorded the

5     conversation?

6        A.     They sent voice memos back and forth

7     to each other.

8        Q.     Do you know whether you were given

9     the entire conversation?

10       A.     Yes.    Because I have, like I have it

11    back and forth.       Like I hear Tommy talk, then

12    I hear Danny talk, then I hear Tommy talk,

13    then I hear Danny talk.

14       Q.     Do you know if there were any other

15    text messages between Tommy Robinson and

16    Danny Thomas concerning this topic?

17       A.     No.

18       Q.     No, there aren't, or no, you don't

19    know?

20       A.     No, I don't know.

21       Q.     Who is Josh Crotty?

22       A.     Who?

23       Q.     Josh Crotty, C-R-O-T-T-Y.

24       A.     Oh, a guy I went on a lunch date with


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                                                                     Page 57
1     once after from, after from -- in New York.

2        Q.     When did you go on a lunch date with

3     him?

4        A.     2019 sometime.

5        Q.     What's the nature of your

6     relationship with Mr. Crotty?

7        A.     We had lunch once.        I didn't kiss

8     him.

9        Q.     So this might seem redundant, but was

10    the relationship ever sexual in nature?

11       A.     No.

12       Q.     Who is Steve Brignoli?

13       A.     Steve Brignoli?       Steve Brignoli is a

14    guy that I met at Trump.

15       Q.     What do you mean "at Trump"?

16       A.     Trump Hotel.      Like, you know, the bar

17    at Trump Hotel where I'd hang out a lot.

18       Q.     You just happened to meet him

19    there --

20       A.     Yes.

21       Q.     -- randomly?

22       A.     Yes.

23       Q.     What's the nature of your

24    relationship with him?


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                                                                     Page 58
1        A.     Friends.

2        Q.     Did you ever have a sexual

3     relationship with him?

4        A.     I've had -- what are we describing as

5     a sexual relationship, by the way?

6        Q.     I'll ask you.      What does it mean to

7     you if I ask you what a sexual relationship

8     is?

9        A.     Sexual intercourse.

10       Q.     So, using your definition, was your

11    relationship with Steve Brignoli ever sexual

12    in nature?

13       A.     Yes.

14       Q.     And how long did that go on for?

15       A.     I don't know, a couple weeks.           He's

16    still calling me.       I don't like him.

17       Q.     Okay.    Is he still trying to pursue a

18    sexual relationship with you?

19       A.     Uh-huh.

20                      THE COURT REPORTER:       Yes?

21                      THE WITNESS:      Yes.   Yes.    Yes.

22             Yes.

23    BY MR. CAVALIER:

24       Q.     And that's something that you're not


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1     interested in?

2        A.     No.

3        Q.     When was the last time you spoke with

4     him?

5        A.     He text me about a month ago.

6        Q.     Do you remember the context of that

7     text?

8        A.     That he wanted to take me to dinner.

9        Q.     He invited you to dinner?

10       A.     Yes.    Do you want me to look it up?

11    Because I can look it up.

12       Q.     No, that's okay.

13                      MR. CARSON:     No, you don't have

14             to look anything up on your phone

15             today.

16    BY MR. CAVALIER:

17       Q.     Did you decline?

18       A.     Yes.

19       Q.     Why?

20       A.     I think I blew him off.         I think I

21    said, "I'll see you later".

22              Because I don't like him.         I'm not

23    interested in him like that.

24       Q.     Okay.    Who is Will Chamberlain?


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1        A.     Will Chamberlain is a reporter, like

2     he owns Human Events in D.C.

3        Q.     What's the nature of your

4     relationship with him?

5        A.     Friends.     He's engaged.

6        Q.     How long have you been friends?

7        A.     I met him a couple times.          I've been

8     friends with him since like I guess the end

9     of 2018, the beginning of 2019.

10       Q.     Has your relationship with

11    Mr. Chamberlain ever been sexual in nature?

12                      MR. CARSON:     Objection.

13    BY MR. CAVALIER:

14       Q.     You can answer.

15                      MR. CARSON:     Objection.

16                      THE WITNESS:      Yes.   Why?    Why

17             is this --

18    BY MR. CAVALIER:

19       Q.     I'm sorry, I didn't hear.

20       A.     Yes.    Why is this relevant?

21                      MR. CARSON:     Yes.     So --

22                      THE WITNESS:      We're going to go

23             through everybody I had sex with?

24             Because I can --


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                                                                     Page 61
1                       MR. CARSON:     Yes, I thought our

2              conversation -- I am not -- you are

3              not going to ask her about every man

4              that she's ever spoken to and ask her

5              if she had sex with them, and I am

6              going to start telling her not to

7              answer.    Because I feel like it has

8              nothing to do with any records that

9              you received, has nothing to do with

10             her damages, and so it's just not

11             going to happen today.

12                      THE WITNESS:      Listen, --

13                      MR. CARSON:     And if you need to

14             call Judge Wilson to make a ruling on

15             this, that's fine.       Maybe that would

16             be appropriate if you think that

17             you're going to ask her questions

18             about every guy she ever spoke to and

19             then ask if she had sex with that

20             guy.

21                      THE WITNESS:      Let me just tell

22             you something, sir.        No, let me talk.

23             Let me tell you something, sir.

24                      MR. CARSON:     You don't --


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1                       THE WITNESS:      No, I want to.

2                       MR. CARSON:     Lisa, you don't

3              have to.

4                       THE WITNESS:      I never cheated

5              on my husband or had an affair or

6              anything.     This is what happened, The

7              Middle East Forum beat me down.           They

8              beat me down so bad, so bad.          I never

9              so much just looked at another man,

10             okay, until The Middle East Forum.

11                      And did you know that sexual

12             abuse survivors and sexual assault

13             victims and sexual people that have

14             been attacked by sexual predators,

15             like Gregg Roman, one in four have

16             extra things like what I do, right.

17             It's a classic trauma symptom.          So

18             don't you go and start blaming my sex

19             life on what happened to me.

20                      The only reason that I had sex

21             with anybody was because The Middle

22             East Forum damaged my freakin'

23             emotional state.       So please, I don't

24             want to go there.       This is The Middle


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1              East Forum's -- The Middle East Forum

2              did it all.     They beat me down so

3              bad, so badly that I just needed, I

4              needed to feel happy, to feel good,

5              to feel proud of myself.

6                       Don't you dare try to use my

7              sexual life or my sexual anything as

8              a reason.     It wouldn't have even

9              happened had it not been for The

10             Middle East Forum, none of this, my

11             marriage, my dating life, none of it.

12             It's all The Middle East Forum's

13             fault.    Those people are predators.

14                      MR. CARSON:     So, Jon,

15             irrespective of what you might have

16             read in medical records, --

17                      MR. CAVALIER:      Well, Seth,

18             irrespective of the records, it's

19             clearly relevant now.

20                      MR. CARSON:     It's not a license

21             to ask her about every guy she's ever

22             had sex with.      It's not a license to

23             ask her about every guy she's ever

24             spoken to and then ask her if she's


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1              had sex with that guy, and I'm not

2              going to let it happen.

3                       MR. CAVALIER:      Seth, first of

4              all, that's not what I'm doing.

5                       THE WITNESS:      Yes, it is.

6                       MR. CARSON:     If that's what

7              you're going to do to my client right

8              now, then we need to get Judge Wilson

9              on the phone.      Because I think -- I

10             mean, clearly, you're trying to

11             intimidate and harass and rile her

12             up, and it's not -- you're not asking

13             questions for --

14                      MR. CAVALIER:      Seth, I wanted

15             to give you the respect of having the

16             conversations --

17                      THE WITNESS:      Excuse me.     I

18             have a question, ma'am, court

19             reporter, whoever.       I have a question

20             for the court reporter.         Did Mr. Jon

21             Cavalier swear to tell the whole

22             truth and nothing but the truth?

23             Because he's not being honest right

24             now.


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                                                                     Page 65
1                       MR. CARSON:     Lisa, you don't

2              have to ask any questions to the

3              court reporter.       So --

4                       MR. CAVALIER:      You can ask me

5              whatever questions --

6                       MR. CARSON:     You can keep

7              asking questions, but I'm going to

8              start instructing her not to answer.

9                       MR. CAVALIER:      Seth, we just

10             had a phone call off the record where

11             we explained to you why this was

12             highly relevant why it's based on

13             documented evidence --

14                      MR. CARSON:     I'm not going

15             to --

16                      MR. CAVALIER:      -- that was

17             given by the witness today to her

18             treating physician and why it's

19             relevant to the damages in this case.

20                      MR. CARSON:     That does not --

21                      MR. CAVALIER:      You agreed to

22             that.

23                      MR. CARSON:     Jon, that doesn't

24             give you a license to ask her about


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1              every guy, the name of every guy

2              she's ever come in contact with and

3              then ask if she's had sex with that

4              guy.

5                       MR. CAVALIER:      Not what I'm

6              doing.

7                       MR. CARSON:     And if you think

8              that's --

9                       THE WITNESS:      Yes, it is.

10                      MR. CARSON:     -- a license to do

11             that -- Lisa, just let me handle it.

12                      If you think that gives you a

13             license to do that, then we need to

14             get Judge Wilson on the phone.

15                      MR. CAVALIER:      Fair enough.

16             Argumentative.

17    BY MR. CAVALIER:

18       Q.     Tell me the names of -- I wanted to

19    do this a different way but your counsel is

20    insisting, so I'll apologize in advance.

21              Tell me the names of all of the

22    people that you've had a sexual relationship

23    between 2017 and today.

24       A.     That's none of your business.


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1                       MR. CARSON:     Objection.       You

2              don't have to answer that question.

3                       THE WITNESS:      I'm not going to.

4              It's not fair to them.

5                       MR. CARSON:     Yes, you don't

6              have to.

7                       THE WITNESS:      That's

8              disrespecting --

9                       MR. CARSON:     Lisa, --

10                      THE WITNESS:      -- their privacy.

11                      MR. CARSON:     Lisa, just let me

12             put the objection on the record.

13             Let's have a clear record after this

14             is over today.      All right?      You

15             answer Jon's questions, and I'll put

16             the objections on the record.          If I

17             instruct you not to answer, you don't

18             answer.    All right?

19                      I'm going to put an objection

20             on the record.      The question is

21             designed to embarrass, harass and

22             intimidate.     You don't have to answer

23             that question.

24                      THE WITNESS:      Thank you.


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1                       MR. CAVALIER:       Are you

2              instructing the witness not to answer

3              any more questions along this line?

4                       MR. CARSON:       Jon, I think the

5              record is clear.       If you want the

6              court reporter to read back what I

7              just, my objection, then she -- you

8              can ask her to do that.

9                       MR. CAVALIER:       Is there an

10             instruction to the witness pending?

11                      MR. CARSON:       Do you -- can we

12             please read back my last objection?

13                            -   -   -

14    (The court reporter read the pertinent part

15                       of the record.)

16                            -   -   -

17                      MR. CAVALIER:      So, in response

18             to that, I'll say that we had a

19             conversation off the record where we

20             addressed this, we explained why it's

21             relevant, not to mention the fact

22             that the witness just gave a

23             statement where she blamed all of

24             this directly on The Middle East


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                                                                     Page 69
1              Forum and Gregg Roman, and I'm

2              entitled to explore it.

3                       MR. CARSON:     You ask your

4              questions, I'll put my objections on

5              the record, and I'll give my client

6              the instructions I think are

7              appropriate.

8                       MR. CAVALIER:      That's fair

9              enough.

10    BY MR. CAVALIER:

11       Q.     So I'll ask the question again.           Was

12    your relationship with Mr. Will Chamberlain

13    ever sexual in nature?

14                      MR. CARSON:     Objection.     I'm

15             instructing you not to answer.

16                      MR. CAVALIER:      All right.     I'll

17             acknowledge your instruction for now.

18    BY MR. CAVALIER:

19       Q.     Does the name "Twin" mean anything to

20    you?

21       A.     Yes, he's a friend of mine.          I spoke

22    to him today.

23       Q.     You spoke to him today about what?

24       A.     The election.      He asked me if Trump


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                                                                     Page 70
1     was going to win.       Because they're praying

2     for him to win over there.

3        Q.     What's his full name?

4        A.     His -- we always call him "Walton".

5     But it's Ashley and Aaron is his full name,

6     Aaron Walton.

7        Q.     What's the nature of your

8     relationship with him?

9        A.     Friends.

10       Q.     Did you ever have a sexual

11    relationship with him?

12                      MR. CARSON:     Objection.     You

13             don't have to answer.        I'm

14             instructing you not to answer.

15                      THE WITNESS:      I figured.

16    BY MR. CAVALIER:

17       Q.     Was Twin involved with the Tommy

18    Robinson campaign?

19       A.     He worked as a security guard for

20    them once.

21       Q.     When?

22       A.     In Manchester.

23       Q.     Who is Dave Sandman?

24       A.     I don't know a Dave Sandman.


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                                                                     Page 71
1        Q.     Who is Sandman?

2        A.     I have a friend named Patrick

3     Sandman.

4        Q.     What's the nature of your

5     relationship?

6        A.     Very good friends.        He's a --

7        Q.     I'm sorry.     Go ahead.

8        A.     He's a, what do you call it, a clerk

9     for the Supreme Court.

10       Q.     What's the nature of your

11    relationship with him?

12       A.     Friends.

13       Q.     Have you ever had a sexual

14    relationship with him?

15                      MR. CARSON:     Objection.     I'm

16             instructing the witness not to

17             answer.

18                      THE WITNESS:      I talked to him

19             yesterday too.

20                      MR. CARSON:     There's no

21             question pending.

22    BY MR. CAVALIER:

23       Q.     Who is Ryan Coyne?

24       A.     Ryan Coyne is somebody that I date.


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                                                                     Page 72
1        Q.     Currently?

2        A.     We stopped.      We basically stopped

3     dating March, but I currently hang out with

4     him.    I was with him watching the election

5     yesterday.     And no, I didn't have sex with

6     him last night if you wanted to know.

7                       MR. CAVALIER:      There's

8              background noise on somebody's mike,

9              guys.

10                      THE WITNESS:      Not mine.

11                      MR. CAVALIER:      No, it's not

12             yours.

13                      MR. CARSON:     Yes.    There's one,

14             two, three, four, there's four people

15             who are listening who don't have

16             their mikes muted.

17                      MR. CAVALIER:      Yes, you got to

18             mute your mikes, guys.

19                      MR. CARSON:     Everyone needs to

20             mute.

21                      MR. CAVALIER:      Can the person

22             who is running this deposition mute

23             the other, the other audio?          Guys,

24             mute your mikes.


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                                                                     Page 73
1                       THE WITNESS:      Very

2              professional.

3                       MR. CAVALIER:      Can the court

4              reporter control the muting of the

5              microphones?

6                       THE COURT REPORTER:        I think

7              it's the videographer.

8                       MR. CAVALIER:      Can the

9              videographer control the muting of

10             the microphones?

11                      THE VIDEOGRAPHER:        Yes, I

12             just -- I muted one of the phones

13             that were --

14                      MR. CAVALIER:      Can you mute

15             everybody except me, the witness and

16             Mr. Carson, who is labeled "Erica"?

17                      THE VIDEOGRAPHER:        You got it.

18                      MR. CAVALIER:      Thank you.

19             Sorry about that.

20    BY MR. CAVALIER:

21       Q.     When did you meet Ryan Coyne?

22       A.     October, no, sorry, September 6th.

23                      MR. CARSON:     You guys muted me.

24                      THE WITNESS:      No, you're not.


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                                                                     Page 74
1                       MR. CAVALIER:      You're not

2              muted.

3                       MR. CARSON:     Yes, you did.

4                       THE WITNESS:      We can hear you.

5                       MR. CARSON:     You muted my

6              phone.

7                       MR. CAVALIER:      Seth, your icon

8              has been marked "muted" the whole

9              time.    We can hear you.

10                      MR. CARSON:     You only can hear

11             me when I un-mute the computer.           I'm

12             using my phone.       They muted my phone.

13                      MR. CAVALIER:      All right.

14    BY MR. CAVALIER:

15       Q.     When did you meet --

16                      MR. CARSON:     Can you un-mute my

17             phone, please?

18    BY MR. CAVALIER:

19       Q.     When did you meet Ryan Coyne?

20       A.     September 6th --

21                      MR. CARSON:     You guys can't

22             continue.     My phone is muted.       You

23             need to un-mute my phone now.

24                      MR. CAVALIER:      Can the court


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                                                                     Page 75
1              reporter, the videographer un-mute

2              Erica or un-mute --

3                       THE VIDEOGRAPHER:       I'm sorry.

4              Who am I un-muting?

5                       MR. CAVALIER:      Seth Carson by

6              phone.

7                       THE VIDEOGRAPHER:       Which phone

8              number is that?       9554 and a 4848?

9                       MR. CAVALIER:      Seth?    Which

10             number is yours?

11                      MR. CARSON:     Can you hear me

12             now?

13                      THE WITNESS:      It's echoing.

14                      MR. CARSON:     My phone is still

15             muted, and the reason it's echoing

16             is the only way you can hear me is

17             when I un-mute my computer.

18                      MR. CAVALIER:      Seth, which

19             phone is yours?

20                      MR. CARSON:     My phone number is

21             484.678.2210.

22                      MR. CAVALIER:      Can the

23             videographer please un-mute the 2210

24             number?


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                                                                     Page 76
1                       THE VIDEOGRAPHER:       I clicked

2              "ask to un-mute", so he'll have to

3              actually -- there should be a prompt

4              on his Zoom app on his phone.

5                       MR. CARSON:     This is really --

6              you guys are screwing this up.          It's

7              still muted.      Why are you taking five

8              minutes to un-mute my phone?          Can you

9              hear me now?

10                      THE WITNESS:      Yes, it's better.

11                      MR. CARSON:     Now mute everyone

12             else.

13                      THE WITNESS:      Can we --

14                      THE VIDEOGRAPHER:       Everybody

15             else is muted.

16                      MR. CAVALIER:      I apologize for

17             the confusion.

18    BY MR. CAVALIER:

19       Q.     When did you meet Ryan Coyne?

20       A.     September 6, 2019.

21       Q.     Where?

22       A.     Harry's.     I was right at -- I went

23    to -- I was writing speeches late and I went

24    to have din-, like eat with my work people


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1     and I went back to the Capitol after work,

2     and I met him when we went to get food at

3     Harry's in D.C.

4        Q.     When did you begin dating Mr. Coyne?

5        A.     That day.

6        Q.     Were you looking to date when you met

7     with Mr. Coyne?

8        A.     No.

9        Q.     It just happened?

10       A.     He was outside.       One of his

11    employee's wives was yelling at him and I

12    looked over thinking it was dramatic, and he

13    looked over and he's like, "Help me.            Don't

14    leave".     And I went inside anyway and then I

15    went outside again and he came out and he

16    said, "I hear you're an Eagles fan too and

17    that I should talk to you", and so we did and

18    I dated him after that.

19       Q.     You called him your boyfriend, I

20    think?

21       A.     Yes, he was.

22       Q.     Would you consider it a serious

23    relationship?

24       A.     Uh-huh.


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                                                                     Page 78
1                       THE COURT REPORTER:       Yes?

2                       THE WITNESS:      Yes.

3     BY MR. CAVALIER:

4        Q.     So that relationship went on from

5     September of 2019 through March of 2020?

6        A.     Correct.

7        Q.     And it was a sexual relationship in

8     addition to the dating relationship, correct?

9        A.     It was a full-on relationship, yes.

10       Q.     Did you love him?

11       A.     Yes.

12       Q.     Did you tell him that?

13       A.     Yes.

14       Q.     Why did you break up?

15       A.     Because he cheated on me with seven

16    women.

17       Q.     Were you exclusive with him on your

18    end while you were seeing him?

19       A.     Yes.    Well, we broke up a lot, but

20    yes, for the -- when we were together, yes.

21    We were off and on quite a bit.

22       Q.     Did his cheating on you upset you?

23       A.     Yes.

24       Q.     Why?


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                                                                     Page 79
1        A.     Because he told me that he wasn't

2     going to do that.

3        Q.     He told you that you'd be exclusive?

4        A.     Uh-huh.

5                       THE COURT REPORTER:       Yes?

6                       THE WITNESS:      Yes.

7     BY MR. CAVALIER:

8        Q.     And the fact that he was lying about

9     that was upsetting to you?

10       A.     Correct.

11       Q.     Because you loved him?

12       A.     Uh-huh.

13       Q.     And you told him so?

14       A.     Yes.

15       Q.     Do you still have a relationship with

16    him?

17       A.     Yes.

18       Q.     How would you classify that

19    relationship?

20       A.     Friends.

21       Q.     I don't mean to split hairs here, but

22    I got to ask the question.          I --

23       A.     I'm not having sex with him, if

24    that's what you're asking.          I went -- I


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                                                                     Page 80
1     watched the election with him last night.              We

2     did not have sex.       I didn't sleep at his

3     house.    We are friends.       I went to his

4     election work party yesterday.

5                       MR. CARSON:     Lisa, Lisa, don't

6              answer questions he's not asking you.

7              Just wait for the question.

8                       THE WITNESS:      I'm just saying

9              we're not, no, we're not having sex

10             anymore.

11                      MR. CARSON:     I know --

12    BY MR. CAVALIER:

13       Q.     Did the sexual component of the

14    relationship end in March?

15       A.     Yes.    Uhm, there was a time or two

16    after that.

17       Q.     Did you ever tell Mr. Coyne that you

18    wanted to begin dating him again?

19       A.     Yes.    I do want -- I mean I love him,

20    so fine.

21       Q.     So you want to continue a romantic

22    relationship?

23       A.     I don't know.      I don't know.      It's

24    very complicated.       Sometimes I do.       Sometimes


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                                                                     Page 81
1     I don't.     I'll probably never be able to

2     trust him, so maybe not.         I don't know.      It's

3     very complicated.

4        Q.     How are you able to balance that kind

5     of a relationship with your marriage?

6        A.     My marriage is -- I love my, I love

7     my husband very much.        One thing that I am

8     always is honest with my husband.           I don't

9     lie to him.      I tell him everything.        He knows

10    everything.      He knows every little -- he

11    knows almost everything about me.

12              My husband is like my best friend and

13    I would -- I don't know, and that's another

14    part of the reason why it's complicated,

15    because I don't know if I actually want to

16    get divorced.      There's part of me that still

17    wants to work it out with Vasili.           I just --

18    it's just damaged right now.          I've asked him

19    to go to therapy and stuff.          He doesn't

20    believe in that.       But I don't want to ruin my

21    home life with my kids.         My husband has been

22    my rock.

23              And, you know, him and Ryan talked on

24    the phone at one point about real estate when


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                                                                     Page 82
1     I was in Las Vegas with Ryan.          Like they know

2     each other.      Like it's not, it's not a, it's

3     not a secret in my house.         Ryan and Vasili

4     talk about business.

5        Q.     Have you ever told -- is it okay if I

6     refer to your husband as "Vasili"?

7        A.     Yes.

8        Q.     Have you ever told Vasili that you

9     wanted a divorce?

10       A.     I have in anger sometimes, but I --

11    and he has sometimes too.         But then we both

12    decide that we don't.        And we've had a

13    conversation a couple weeks ago saying that

14    we wanted to work it out.         I mean we

15    vacillate.     It's a -- marriage is complicated

16    sometimes.

17              I don't really believe in divorce

18    either.     That was the weird thing.         I never

19    thought I would get divorced.

20       Q.     Why do you say that?

21       A.     I believe that I made a commitment to

22    God.    You know, I feel like I'm letting him

23    down.    I feel like I'm letting my husband

24    down.    I feel like I'm letting my kids down.


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                                                                     Page 83
1        Q.     And to be fair, your husband is also

2     dating, correct?

3        A.     Uh-huh.

4                       THE COURT REPORTER:       Yes?

5                       THE WITNESS:      Yes.

6                       MR. CARSON:     You have to say

7              "yes" or "no".

8                       THE WITNESS:      Yes.

9     BY MR. CAVALIER:

10       Q.     Do you know who he's currently

11    dating?

12       A.     Skye.    I can't pronounce her last

13    name.

14       Q.     And who is that?

15       A.     She's his assistant I think, yes, his

16    assistant.

17       Q.     And he works for a real estate

18    company.     Is that correct?

19       A.     Correct.

20       Q.     And she is his assistant within that

21    real estate company?

22       A.     Correct.

23       Q.     When did you find out that he was

24    also dating?


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                                                                     Page 84
1        A.     I kind of encouraged him to date at

2     one point.      When I was dating Ryan, I was

3     like, you know, "Go get yourself a girlfriend

4     or something".      And he was reluctant.        I was

5     like, you know, "Skye seems to really like

6     you.    What about her"?       And he started dating

7     her.

8               And the only thing I didn't like

9     about that relationship is that he brought

10    her around my kids.        I don't like -- I don't

11    want my children to have another woman

12    around.     I just don't like that.        So that

13    really bothered me about their relationship,

14    but that's the only thing that bothered me

15    about their relationship.

16       Q.     Okay.    And just so the record is

17    clear, have you brought any of your

18    relationships around your children?

19       A.     No.

20       Q.     And I got to ask the question, but is

21    your relationship with your husband currently

22    sexually active?

23       A.     No.

24       Q.     Do you remember when that stopped?


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                                                                     Page 85
1        A.     I would say April of 2018.

2        Q.     What was the, what was that component

3     of the relationship like before April of

4     2018?

5        A.     It was, you know, we have kids, we

6     get tired, but we would still, you know,

7     occasionally I guess.

8        Q.     Okay.

9        A.     I mean it wasn't, it wasn't like

10    super rare.

11       Q.     Okay.    But this wasn't -- I don't

12    want to categorize your relationship, so I'm

13    just trying to understand.          But it wasn't

14    like this was a light switch that was flipped

15    where it went from perfectly great to

16    non-existent, correct?

17       A.     It was pretty light switch-y.

18       Q.     Okay.    So tell me about that.        I'm

19    trying to understand.

20       A.     So, like when I was working in

21    Congress like for Ryan Costello and for

22    Gerlach like all that time, I was, you know,

23    I was strong, confident, happy, and that

24    translated to my home life.          It translated to


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                                                                     Page 86
1     my husband and my kids and my marriage.

2               And then I started working at The

3     Middle East Forum and every -- it was like

4     freakin' torture.       And then I got like sad

5     and depressed, and I wouldn't want to get off

6     the couch.     I barely wanted to play with my

7     kids.    I didn't want to have sex with my

8     husband.

9               I, you know, I would try to vent to

10    Vasili for support, and he didn't really

11    understand and he wasn't like super there in

12    the capacity that I needed him to be.            And I

13    wanted, I wanted him to, -- I'm going to get

14    upset -- I wanted him to, I don't know, be

15    there for me while I was struggling with

16    that, and he wasn't.        So --

17       Q.     You wanted him to support you?

18       A.     So it stopped.

19       Q.     You wanted your husband to support

20    you while you were struggling, correct?

21       A.     With The Middle East Forum, yes.

22    Like they -- it was just I needed to feel

23    good, extra good about myself because they

24    made me feel so bad, and he didn't and I


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                                                                     Page 87
1     resented him for that.

2                       MR. CARSON:     Lisa, if you need

3              a minute to like compose yourself.

4                       THE WITNESS:      No, I'm fine.

5                       MR. CAVALIER:      You can

6              always --

7                       MR. CARSON:     You can get some

8              tissue.

9                       MR. CAVALIER:      If you need one,

10             just say the word.       Okay.

11                      THE WITNESS:      I'm fine.

12    BY MR. CAVALIER:

13       Q.     When did you start feeling that way

14    about or as a result of your work at the

15    Forum?

16       A.     It started like I guess a couple

17    months in, and it all got worse after Israel.

18       Q.     Tell me about why you -- tell me

19    about how you got the job at the Forum.

20       A.     I called, no, I applied through

21    LinkedIn, and -- I applied through LinkedIn

22    and they, Gregg and Matt called me right

23    away, it was like maybe the next day or so

24    and they said they wanted me to come in for


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1     an interview, and I did and I met Matt across

2     the street and I went in for an interview.

3     And then they called me back in for a second

4     interview with Daniel Pipes, and I got the

5     job.

6        Q.     Did you accept the job immediately?

7        A.     No.    We went back and forth about the

8     title because it was kind of like a step

9     down, we went back and forth about money a

10    little bit, and then I accepted it.            But I

11    actually didn't want to accept the job.             I

12    had a bad vibe about it.         I had a bad vibe

13    about the interior, the way -- like the way

14    it looked, I didn't feel like -- I felt like

15    a lot of it was like not super professional.

16              And I expressed those concerns to

17    Vasili, and Vasili actually like convinced me

18    to take the job because I'd be home more, you

19    know, like I wouldn't be commuting and I

20    would be home more because it would -- it's

21    closer to work.

22              And they said that they would have

23    flexible hours and blah, blah, blah, blah,

24    blah.    And I was like, "This will work.           This


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                                                                     Page 89
1     is" -- you know, I took it, reluctantly took

2     it for my husband and my children.

3        Q.     And just to be clear, you were,

4     before that, you were working in West

5     Chester?

6        A.     Yes.

7        Q.     So you were commuting back and forth?

8        A.     Yes.

9        Q.     And what's that, about a 45-minute

10    drive?

11       A.     About that, yes.

12       Q.     Depending --

13       A.     Sometimes less, sometimes more.

14       Q.     Right.    Depending on Schuylkill

15    traffic?

16       A.     Correct.

17       Q.     So being close to home is important

18    to you and your husband?

19       A.     Yes.    To me and my husband, yes.

20       Q.     Tell me more about that vibe that you

21    were talking about.        What was it that made

22    you reluctant to accept the position?

23       A.     Well, Gregg like in the interview --

24    well, a couple things.         Matt on the second


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1     time over said that the reason why, you know,

2     they picked us is because we --

3                       MR. CAVALIER:      Uh-oh.

4                       MR. CARSON:     Her computer

5              froze.

6                       MR. CAVALIER:      Got to love

7              Zoom.    Oh, you're back.

8                       THE WITNESS:      Then in the

9              interview --

10                      MR. CAVALIER:      Hold on.    Lisa,

11             you froze.

12                      MR. CARSON:     Lisa, you froze

13             about 15 seconds.       Can you --

14                      THE WITNESS:      Oh.   Is that

15             better?

16                      MR. CAVALIER:      Yes.   We can see

17             you and hear you fine now.

18                      THE WITNESS:      Okay.

19                      MR. CARSON:     We just didn't

20             hear your -- so like go back and kind

21             of just say your answer again.

22                      THE WITNESS:      Okay.   So there

23             was a couple things that were red

24             flags in the interview to me in


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1              general.

2                       One, when Matt -- so you have

3              to, because of the way the office was

4              set up for security reasons, like you

5              would meet somebody at a different

6              building in the lobby and then walk

7              to the, walk to the actual office.

8              And so on my second interview, like

9              on my second interview on the way

10             over, Matt said that there was

11             another girl that they were hiring

12             that was going to be there, Tricia, I

13             had never met her, and they said -- I

14             said -- and Matt said that she was

15             pretty and he was like, "You both are

16             hot.    That's really why we hired you.

17             We pulled your resumes and looked you

18             guys up".     And I thought that that

19             was weird, right, but I thought "eh,

20             he's this young kid", not young kid

21             but like just trying to be funny, so

22             I kind of like blew that off.

23                      And then we were in the

24             interview with Marnie, and Marnie had


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1              to go, Marnie had to go do a check or

2              something, I forget.        She had to like

3              deposit a check at the bank by a

4              certain hour or a certain time.           She

5              had to do something with a check.           I

6              don't remember exactly what it was.

7              It was my interview.        I wasn't paying

8              that much attention to like what she

9              was doing.

10                      And then while I was there,

11             Gregg Roman was like real weird about

12             like me, "So are you going to take

13             the job?     Like do you think you're

14             going to take it?       Do you" -- like it

15             was almost like -- it wasn't like an

16             interview where, you know, like

17             you're like "ooh, do I have the job".

18             It was almost like they were begging

19             me to work there.       It was a little

20             bizarre.

21                      And then Gregg said to me when

22             Marnie left, "It's just me and you".

23             He's like, you know, "Marnie", he's

24             like, "I probably shouldn't say this,


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1              but like Marnie says that what I

2              really need is like a work wife.           I

3              need a work wife".       And I'm like, all

4              right, well, I used to call the woman

5              Katherine in my office like my work

6              wife, you know.       So I like kind of

7              put that -- I was like that's weird

8              that he would say that on my freakin'

9              interview, but you know, I put it in

10             that category.

11                      And then the interior, when I

12             say the interior, like it didn't look

13             -- you walk into an office of a

14             reputable any business, right.          This

15             place had like a weird green sheet

16             thing that they use as a green screen

17             and there was like this clear thing

18             and it was just like sparse, and it

19             just looked like a hodge-, like a --

20             like it wasn't like a legit business

21             in the thing and it gave me a bad

22             vibe.

23                      You know, I'm used to working

24             in offices that are congressional


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1              offices where they look like actual

2              offices or even the real estate

3              office that I worked in or Vasili's

4              office.    And it just, it looked like

5              a -- I said, I came home and I said

6              to Vasili, "It's like a shit show in

7              there".    Like that's what it looked

8              like.    I don't know any other way to

9              describe it.

10                      But I was very reluctant.         I

11             was reluctant because of those vibes

12             that I got and with the things that

13             they said to me there but I was also

14             reluctant because it just, something

15             was like off about it, but Vasili

16             talked me into it I guess.

17                      And I was reluctant because it

18             was a, basically like a, I was being

19             -- I'm not an assistant.         You know

20             what I mean like?       And I made it

21             clear in my interview that I didn't,

22             like, you know, I didn't want to be

23             an assistant.      I wasn't like making

24             meetings and scheduling things.           Like


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1              that's not my strengths.         That's not

2              anything I'm good at.        Like I could

3              never be a congressional scheduler.

4              Like I am not, that is not me.          And

5              they were very aware that that wasn't

6              going to be my responsibilities.

7     BY MR. CAVALIER:

8        Q.     You made it clear that you wanted

9     greater responsibilities?

10       A.     Well, that I wasn't like going to --

11    like I was never taking the job under the

12    impression that I was going to be like an

13    actual like secretary, and they agreed that

14    that's not what the position was and that's

15    why they changed my title to Executive

16    Liaison.

17       Q.     Okay.

18       A.     It was kind of like, like you know

19    how there's a difference like Huma Abedin to

20    Hillary Clinton.       Like she's her assistant

21    but she's not like making meetings and being

22    a scheduler.

23       Q.     Sure.

24       A.     Right.    That's where we are.


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1        Q.     Okay.    Do you think you would have

2     accepted the job without Vasili's

3     encouragement?

4        A.     No.    Uh, maybe.     Yes.   I mean I did

5     want to be around my kids, and I needed to

6     make a move because there wasn't going to be

7     a job for Congress.        And there isn't any

8     other political jobs really in PA that are

9     Republican, it's hard to find.           So yes, maybe

10    I would have, but his encouragement helped.

11              I don't know.      I mean I can't really

12    speculate.      It was --

13       Q.     Looking back on it now and obviously

14    having had your experience at the Forum, does

15    it bother you that he encouraged you to take

16    the job?

17       A.     No.

18       Q.     Does it both- --

19       A.     Vasili is a very good man.          And he --

20    that man is the, one of the very few people

21    that I have that always has only good

22    intentions.      And so even if Vasili did

23    anything, I would always know that he did it

24    with my best interest at heart, so how could


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1     I ever be mad at somebody for that.

2        Q.     So you take the job?

3        A.     Uh-huh.

4                       THE COURT REPORTER:       Yes?

5     BY MR. CAVALIER:

6        Q.     Tell me about your first couple of

7     weeks at the Forum.        How did it go?

8        A.     Fine.

9        Q.     No issues?

10       A.     I mean it was just like getting

11    acclimated, learning something new.            I mean

12    it wasn't like a, it wasn't where I --

13       Q.     When was the very first time you had

14    a problem with Gregg Roman?

15       A.     Well, Gregg was always kind of like,

16    it's not terrible, but like he was always

17    like weird.      He was like, he'd like leer at,

18    like look at me, stand real close, make me

19    like come like over his shoulder real close

20    and like bend over him to like, you know,

21    "come, no, no, no, come here, like be

22    closer".

23              He was always like aggressive in a

24    whatever, in like a very uncomfortable way,


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1     and I don't mean aggressive, like he wasn't

2     like at that point like yelling or anything

3     like that.     He was just always like, I don't

4     know, like you know how somebody eyes you up

5     and down, like he was always doing that.

6               But to be fair, you asked me earlier

7     if I thought I was an attractive person.

8     Well, I do think that I'm an attractive

9     person, and part of that is because men tend

10    to look at me, okay.        I can't really walk

11    into a Wawa without somebody usually

12    complimenting me on the way that I look.             I

13    just went into a 7-11 yesterday and somebody

14    said like "great dress", right, so -- but so

15    I, you know, I was, at that time, like in the

16    very beginning until like AIPAC happened and

17    then even more so Israel, like, you know, I'm

18    used to men looking at me.

19       Q.     Does it bother you?

20       A.     It doesn't -- it doesn't bother me

21    like in general life.        It bothers me when

22    it's like my boss.       I never had a, I never

23    had a boss do that.        Like Ryan Costello never

24    did that to me.       My boss Corey Walter never


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1      did that to me.      Congressman Gerlach would

2      have never even thought about looking at me

3      like that.     So it bothered me that it was my

4      boss, but like I said, I'm used to it so I

5      kind of figured I could handle it.

6        Q.      Was it a big deal to you at the time?

7        A.      It was, it was enough to be like for

8      me to talk about it.

9        Q.      With who?

10       A.      Yes.

11       Q.      Who did you talk about it with?

12       A.      Like my old co-workers, my --

13     Katherine Urkel, like I told you, she was

14     like my work wife in Congressman Costello's

15     office.    Like I would say to her, "Ugh, my

16     new boss is a creep, but whatever".           Because

17     she would ask me, "How do you like your job"?

18               I talked about it with my mom, like

19     my brother, you know, just like the people

20     that you talk to about your everyday life,

21     especially when you start a new job everybody

22     is asking you "how is it going".

23       Q.      Did you ever talk about it with

24     anybody at the Forum?


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1        A.      No.    Because the way that the Forum

2      is set up there's not a lot of people

3      physically in the office.         So half of the

4      staff I had never really met.          Marnie and

5      Gregg like seemed to be like butt buddies,

6      thicker than thieves.        It would be weird.

7                Matt is a guy that I hardly know

8      like, you know, and there wasn't really

9      anybody to like, you know, really do that

10     with at that time.       Plus I was new.      You

11     know, nobody wants to rock the boat when

12     they're new at a job.

13       Q.      Do you think that being an attractive

14     woman is an advantage in the workplace?

15       A.      I think that --

16                       MR. CARSON:     Objection.

17                       THE WITNESS:     Okay.    Sorry, go

18              ahead.

19                       I think that an advantage in

20              the workplace that I have is being

21              tall.    I don't necessarily know if

22              it's a woman thing or whatever.          But

23              I think that I am tall.        I'm like

24              5'11" and I wear four-inch heels all


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1               the time.    Because when I was little,

2               my mom told me that boys would think

3               that I, that it was the shoes and not

4               me being so tall.       She was wrong.

5                        But I think that being tall

6               helps because a lot of people see you

7               as like an equal.       I mean there are

8               studies done that say that tall

9               people make more money or whatever it

10              is.   I think it's an advantage.         So I

11              think that that's an advantage that I

12              have.

13                       I don't think, I don't think

14              that people hire me because I'm

15              pretty usually.      I mean usually my

16              qualifications and my work ethic and

17              my job performance that I have and

18              the, what do you call it, the reviews

19              that I get.

20                       Like my Congressman Costello

21              was like calling jobs giving me

22              personal recommendations because I

23              was so good at my job.        Him and I

24              still like talk and have lunch, and


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1               he would give me another glowing

2               recommendation.      He used to call me

3               this, you know, like a bulldog to

4               help fight for constituents and fight

5               for homeless people and fight for

6               veterans.    Like that's what I do good

7               at my jobs, all of them.        So I think

8               that my work performance is

9               definitely key in my success.

10     BY MR. CAVALIER:

11       Q.      Sure.    And I didn't mean to imply

12     anything otherwise.       I was asking in a more

13     general sense, not you particularly.            But in

14     the world in which we live, do you think that

15     being --

16       A.      I think that attractive people always

17     have some type of, some advantage in general.

18               Like here's an example with children.

19     You see a little kid and they're shovingly

20     dressed and they're sloppy, right, nobody

21     like wants to go like "oh, cute little kid".

22     But you see a little girl and she's dressed

23     perfect or a little boy and he's dressed

24     perfect with his hair done, not messy, not


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1      sticky face, guess what, people want to talk

2      and be nice to those little kids.           I mean

3      that's just -- that's human nature.

4                So I, you know, I don't think I'm a

5      supermodel here that like gets everything

6      handed to me because I'm beautiful.           I don't

7      think I'm that pretty, but I think I'm an

8      attractive human being.

9        Q.      And, again, this isn't directed

10     particularly at you, but in the greater

11     general world, do you think --

12       A.      I just answered that.

13       Q.      This is a different question.          Do you

14     think it's fair for attractive people to use

15     their physical appearance to get ahead?

16       A.      No.   I think it's disgusting.         I

17     think that just like I think about all things

18     that it should be merit-based.          Everybody

19     should get jobs or get accepted to schools or

20     anything because off of merit.

21       Q.      How do you define "merit"?

22       A.      Merit, your work ethic, your

23     accomplishments, what you do, your test

24     scores, all of that, merit.


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1        Q.      Did you ever think about, before

2      AIPAC -- and by the way, just so the record

3      is clear, when I say "AIPAC", what does that

4      mean to you?

5        A.      The conference that we went to and

6      the incident that happened on the couch and

7      the Ingrites (ph) Airbnb, that whole --

8        Q.      So we're talking about the period of

9      time from when you started at MEF --

10       A.      To the AIPAC conference.

11       Q.      -- to right before AIPAC.         Okay?

12       A.      Uh-huh.

13       Q.      Did you ever think about quitting

14     during that time period?

15       A.      No.   I would never -- I don't quit

16     jobs.

17       Q.      Why not?

18       A.      It's not who I am.       I either -- I

19     don't -- when I say "quit", like I would

20     never just like, I would never -- like I

21     left -- I'm a loyal person.         I left like

22     Congress because his time was up.           I don't

23     think that I would ever -- like unless an

24     amazing, you know, opportunity came up.             But


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1      I wouldn't seek it.       I'm very loyal.

2                The places I work I usually work

3      because I believe in what I'm doing.            I'm

4      more of a person -- I care, like, for

5      example, I care less about, you know, making

6      money.    I care more about the mission and

7      like helping people and being like

8      contributing to society.         That's more

9      important to me.

10               So no, I'm not the type of person

11     that would just like quit a job.           I'm the

12     type of person that will stick it out and

13     find a way and figure out how to make it work

14     especially if I believe in what that

15     organization is doing, like Congress, The

16     Middle East Forum.

17       Q.      What if you don't like --

18                      MR. CARSON:      Jon, can we take a

19              five-minute bathroom break sometime

20              in the next 15 minutes?

21                      MR. CAVALIER:      I'm sorry, Seth,

22              I didn't hear.      You were a little

23              static-y there.

24                      THE WITNESS:      Can we do a


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1               15-minute bathroom break whenever --

2                       MR. CARSON:      No, I asked can we

3               take --

4                       THE WITNESS:      A five-minute

5               bathroom break.

6                       MR. CARSON:      Can we do a

7               five-minute bathroom break sometime

8               in the next 15 minutes?

9                       MR. CAVALIER:      Yes, absolutely.

10                      MR. CARSON:      Okay.

11                      THE WITNESS:      Thank you.

12                      MR. CARSON:      Thank you.

13                      MR. CAVALIER:      Absolutely.      Let

14              me get up to AIPAC, and then we'll do

15              the break.     Okay?

16                      THE WITNESS:      Okay.

17                      MR. CARSON:      Yes.

18     BY MR. CAVALIER:

19       Q.      So I hear you that you're a loyal

20     person and you don't quit jobs lightly.            What

21     if you don't like the job?

22                      MR. CARSON:      Objection.     You

23              can answer.

24                      THE WITNESS:      I don't -- it's


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1               -- I've never, I've never had a job

2               that I didn't like because jobs are

3               more about the greater good.         So like

4               if I needed to like, as my mom will

5               call it, like eat shit, right, like,

6               you know, and do the hard work and do

7               things that you don't like for a

8               greater purpose, that's important,

9               that's sacrifice, that's being a good

10              human, right.

11                       Like there's tons of jobs that

12              people don't like, right.         Like

13              there's -- but the work needs to get

14              done.    And if it serves a good cause,

15              then you do the hard work, you do the

16              work that you don't like, you do the

17              work that you don't like for everyone

18              else.

19     BY MR. CAVALIER:

20       Q.      During this period of time, did you

21     believe that your work at the Forum was for a

22     good cause?

23       A.      Absolutely.     I still do think that

24     the work at the Forum is a good cause, and I


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1      do think that The Middle East Forum has a

2      good mission.

3                As a matter of fact, even when I

4      started working for Congressman Randy Weber

5      after all of this, I asked him to sign on

6      bills that The Middle East Forum was

7      sponsoring.     I've -- people were coming

8      around to meet with my boss and they had a

9      packet, this is after, like my current boss

10     I'm talking, they had a packet that was

11     disparaging The Middle East Forum, and I

12     called up an employee at The Middle East

13     Forum and I said, "Hey, they're passing this

14     around Congress.      Let me give it to you

15     because they're disparaging MEF".           It's about

16     the mission.      It's about what they're doing.

17               Do I think that Gregg Roman is a

18     predator, yes.      Do I think that Daniel Pipes

19     is, you know, letting that predator control

20     him, yes.     Do I think that the work that they

21     both do is good for the world, yes.

22       Q.      Okay.

23       A.      And I will always -- and I will

24     not -- and I will not not support the mission


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1      that they're doing even after all they've

2      done to me.       That's who I am.

3        Q.      Okay.    I appreciate that

4      illustration.      That's helpful.

5                So let me ask this question then.

6      You take the job at the Forum.          And you're

7      working up until AIPAC, right?          We're not at

8      AIPAC yet.     This is just from when you start

9      until AIPAC.      Is there anything that occurred

10     during that time period that you would

11     consider sexual assault happening to you?

12       A.      Assault, no.     Harassment, yes.

13       Q.      Okay.    So I want to be very clear

14     about this.     What during that time period

15     would you consider sexual harassment?

16       A.      The way that Gregg would make me look

17     at chicks on his Facebook and make me look at

18     the way -- and like lean over his desk and

19     the way he would look at me and the comments

20     that he would make about my outfits and the

21     way that he would like -- you know, he would

22     like show me pictures of girls on Facebook

23     and ask me if I thought they were hot.

24     That's inappropriate.        That's sexual


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1      harassment.

2        Q.      So let's take that example.         When he

3      would do something like that, how would you

4      respond to it?

5        A.      "Gregg, you're ridiculous".

6        Q.      So what was your tone?

7        A.      Exactly what I just said.         That was

8      it, "Gregg, you're ridiculous".

9        Q.      So I mean I read your tone as sort of

10     dismissive, like --

11       A.      Correct, dismissive.

12       Q.      -- "stop bothering me with your petty

13     BS".

14       A.      Correct.

15       Q.      "I'm trying to work here".

16       A.      Yes.

17                       MR. CARSON:     Objection.

18     BY MR. CAVALIER:

19       Q.      Did you ever tell him "stop doing

20     this"?

21       A.      Gregg is very scary, and Gregg, you

22     know, he's not the kind of dude that you,

23     like you can -- he's not the kind of guy that

24     you can, I'm sure you know, tell not to do


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1      something.

2                You know, any -- like dismissive,

3      like I would always try to resort to like

4      dismissive humor.       Because then it was more

5      like, "Oh, Gregg, come on, you're being

6      weird", like that, because it was less

7      hostile and aggressive.        Because I was, you

8      know, afraid that he would, I don't know, do

9      something.     He's weird.

10       Q.      So I need you to explain that.

11     Because I've never met the man in person.

12     So --

13       A.      Good for you.

14       Q.      So tell me what you mean by that.

15     I'm trying to understand what you mean when

16     you say that he's scary.

17       A.      Well, I mean physically he's

18     intimidating.      I mean --

19       Q.      Why?

20       A.      Just think about it this way, he's so

21     intimidating that Delaney, a 22-year old

22     girl, when we were having a meeting, thought

23     she needed to bring pepper spray.           She

24     brought pepper spray to a business meeting


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                                                                    Page 112
1      because she was physically afraid of Gregg

2      Roman.

3                Like the man is big, loud,

4      boisterous.      He is -- and he is -- I've seen

5      him be like real manipulative with employees,

6      and that started like from Day 1.           And I'm

7      not just talking -- like Eman Patel was a

8      girl that we worked with, and he told me that

9      she was a walking lawsuit because she was

10     gay, Muslim and a woman.         And so they were

11     giving her, purposely giving her work that

12     she couldn't do because of like constraints

13     on her identity so that would she would leave

14     on her own accord.       And I saw him do that.

15     So I was, you know, like, "This guy is

16     like -- he'll do anything.         I don't know what

17     he'll do.     He's nuts".

18       Q.      So let me unpack that a little bit

19     before we take our break.         Gregg Roman said

20     that to you about Eman?

21       A.      Yes.

22       Q.      What did you say in response?

23       A.      I said, "That's not right".         And he

24     goes, "Well, she's also not good.           She's on


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                                                                    Page 113
1      her way out anyway.       She really doesn't want

2      to be here".     And I was like, "All right,

3      well, I'm not getting involved.          That's not

4      my business".

5                He would say things about all kinds

6      of people, like Judy Goodrob, and "Thelma is

7      just around because Daniel's had her here

8      forever, what does she even do".           Like he was

9      like that about every woman that worked in

10     the office.     Samantha Mandeles.       I can go on

11     for a list of any female employee that he's

12     had that I personally worked with, and he was

13     like that about all of them.

14       Q.      So was Gregg's size part of the

15     reason why you say you felt --

16       A.      Physically intimidated with him, but

17     also, like he's very manipulative.           Like he

18     would say, like for his adversaries, for

19     example, like Mort Klein from a different

20     agency, he would like purposely like leak

21     things to the press and do things

22     underhanded, he was very underhanded to his

23     adversaries in the political arena, and you

24     know, I didn't want him to be underhanded


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                                                                    Page 114
1      like that with me.       So the best thing to do

2      is maintain some type of semblance of what

3      looks like, you know, we're cool and stay

4      safe and put my head down and do my work.

5        Q.      So let me just back up and say

6      something or ask you a question about

7      something.     The arena in which the Forum does

8      its business, it's a tough business, correct?

9        A.      It doesn't, it doesn't have to be,

10     but yes, I mean it's all right.          It's not --

11     like it doesn't have to be tough at The

12     Middle East Forum.       Gregg makes it

13     complicated I guess.

14       Q.      That's a fair distinction.         But what

15     I mean is out in the world, not in the

16     office, but out in the world, --

17       A.      Like jihad?

18       Q.      Yes, I mean there's --

19                      MR. CARSON:      Lisa, wait for the

20              question.

21     BY MR. CAVALIER:

22       Q.      They encounter dangerous people in

23     what they do, correct?        Have there been

24     threats against people who work there?


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                                                                    Page 115
1        A.      So I hear that there was a threat

2      against, like an ISIS threat like way before

3      I ever got there.       But I have never, in the

4      two years that I worked there, I never saw

5      any threats, any anything like that, not even

6      close.

7                Actually, now that I go to Congress

8      and I work down in D.C., I find, and it has

9      nothing to do with me, that I don't even want

10     to tell people that I worked for, that I

11     worked for MEF because they considered them a

12     joke 501(c)(3), which I don't think that they

13     should be a joke 501(c)(3) because I think

14     that they do good work, but that is how they

15     are revered down here.

16               And so no, I think that people -- I

17     don't think there's any danger out in the

18     real world right now.        ISIS is obliterated,

19     Number 1, and Number 2, -- who is their

20     adversary?     Like no, not dangerous at all, I

21     don't think, not anymore.         It wasn't while I

22     was there.     I never, I was never fearful of

23     ISIS or jihad or Muslim extremism while I was

24     there ever.


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                                                                    Page 116
1        Q.      Even when you travelled on behalf of

2      the Forum?

3        A.      The only time that I was fearful for

4      my life is in Israel with Gregg.

5                        MR. CARSON:     We didn't hear

6               what you said, Lisa.       Speak up.

7                        THE WITNESS:     Oh.   The only

8               time I was fearful for my life when I

9               was with, was when I was in Israel

10              with Gregg.     That is the only time.

11     BY MR. CAVALIER:

12       Q.      During the period of time from when

13     you started up until AIPAC, did you ever see

14     Gregg do anything physically aggressive

15     toward anyone?

16       A.      No.

17       Q.      During the time between when you

18     started until AIPAC, did you ever witness

19     Gregg make any overtly sexual comments to

20     anyone?

21       A.      Not overtly -- well, overtly sexual?

22     I've heard, I heard him like, you know, like

23     he would tell me, "I banged that chick on

24     Facebook".      I mean that's overtly sexual.         So


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1      I guess yes.

2        Q.      That's a fair point.        So let me

3      clarify that question.        During that same

4      period of time, did you ever witness or

5      experience Gregg Roman sexually solicit

6      anyone who worked for the Forum?

7        A.      No.

8        Q.      And I know we're going to take a

9      break here, but let me just cover this

10     briefly.

11       A.      Okay.

12       Q.      I think you told me earlier that

13     Gregg has a loud and boisterous personality

14     and he's physically big.

15       A.      Correct.

16       Q.      All true?

17       A.      Yes.

18       Q.      Do you think you share those traits

19     with Gregg?

20       A.      Oh, I definitely am loud and

21     boisterous.

22       Q.      And you're tall?

23       A.      And I'm definitely -- and I'm

24     definitely tall.      And my voice, absolutely


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                                                                    Page 118
1      I'm loud.     It echoes.     We -- I've known that.

2                But it's not the -- it's not -- our

3      personalities are not similar in any stretch

4      of the imagination.       His is a more hostile

5      angry where I'm like a bubbly loud and

6      boisterous, and he is a monster.

7        Q.      But at least up until AIPAC, you

8      didn't believe that?

9        A.      Oh, no, I had inklings.        I actually

10     said to my husband, "I think that he's like

11     on the spectrum or something.          Like the dude

12     is off", and I said that in my interview.

13       Q.      But during this time, you were pretty

14     close with Gregg?

15       A.      No, I'm never close with Gregg Roman.

16       Q.      Did you talk to him about your kids?

17       A.      Of course I talked to him about my

18     kids.    I had to.

19       Q.      What do you mean --

20       A.      I had to talk about my kids.          I had

21     to talk about my family life.          I made sure

22     that I talked about that stuff because that

23     would signal to him that I have a family, and

24     no, you're not going to have sex with me.


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                                                                    Page 119
1        Q.      Did you go out with him socially?

2        A.      Yes.    We definitely.      I invited him

3      out on purpose so that we would be cool.

4      Because if not, you didn't want Gregg on your

5      bad side.     Of course.     Absolutely.

6        Q.      So I don't understand that.         If you

7      were worried about Gregg --

8        A.      The best thing to do with people --

9                        MR. CARSON:     Let him ask the

10              question.

11                       THE WITNESS:     Okay.

12     BY MR. CAVALIER:

13       Q.      What were you just about to say?

14                       MR. CARSON:     Objection.

15                       THE WITNESS:     The best thing to

16              do when people are manipulative and

17              like that is to be on their good

18              side.    And Gregg, there were times

19              where we would go out without Gregg

20              and he didn't get invited, and he got

21              irritated.     So I made sure that he

22              wouldn't get irritated and I was

23              like, "You want to come", and it was

24              like six of us so we would be fine.


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                                                                    Page 120
1               But everybody is like, "Ew, why are

2               you inviting Gregg", and I'm like

3               "because".

4                        Like they do the same thing

5               with a guy Bill in my office right

6               now.    I love Bill.     Nobody else likes

7               Bill.    Whatever, right.      They can't

8               stand him, right.       And I say to them,

9               "If you want to get on Bill's good

10              side, all Bill needs is somebody to

11              be nice to him.      Be nice to him.

12              Invite him out.      He'll stop treating

13              you like that".      And guess what, they

14              did, and he stopped treating them

15              like that.

16                       That's what you do.       That's how

17              you build relationships.        You be nice

18              to people.     You kill them with

19              kindness.

20     BY MR. CAVALIER:

21       Q.      So, if you didn't like Gregg, if you

22     didn't like the way Gregg was behaving but

23     you --

24       A.      I'm trying to kill him with kindness.


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                                                                    Page 121
1      I'm trying to reverse the course of his

2      terrible behavior with kindness, with

3      empathy, with -- I tried to make Gregg feel

4      -- like sometimes I felt like Gregg was, like

5      Gregg knows he's this big, unattractive

6      monster that not a lot of people like.            I

7      mean like he admits to it, you know.

8                And so I feel like a lot of times

9      that people that are like that, at least from

10     my experience in life, is that they just need

11     somebody to be nice to them.          And so I

12     figured maybe if I'm nice to this dude, he'll

13     treat me like a human rather than treat me

14     like his shitty eye-candy secretary.            Maybe

15     if I show how good I am at work or maybe if I

16     show him that I have compassion and empathy

17     that he'll treat us right.         I mean that's

18     who -- that's the kind of person I am.

19     That's what I do, and I do it all the time.

20               I build, I'm very good at building

21     relationships.      I always said if I could put

22     that on my resume, it would be my top thing.

23     For example, my current office, we have, we

24     have like lots of people, but not until I


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1      worked there did everyone become really like

2      closer and a family and like I get them all

3      to talk again.      Like they had two staffers

4      had a problem with the Legislative Director,

5      and now it's gone.       Because I encourage

6      people if you just show people kindness,

7      sometimes their bark dies down.

8        Q.      So, if Gregg was behaving in a way

9      that you didn't like and you were not telling

10     him to stop and you were killing him with

11     kindness, how would he ever know that what he

12     was doing was wrong?

13                      MR. CARSON:      Objection.

14                      THE WITNESS:      Hold on a second.

15              Because when I would kill him with

16              kindness and be dismissive, I'm like,

17              "Gregg, stop.     You're gross.      It's

18              inappropriate", like in a dismissive,

19              funny way.     I mean I was still

20              letting him know.

21                      Just because my tone wasn't

22              like "Gregg, you're the most

23              disgusting person on the planet"

24              doesn't mean -- he's not, he's not an


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1               idiot.    Gregg is very smart.       He

2               knows when he's inappropriate.          He's

3               an adult.    He knows how to act.         He

4               knows what's right and wrong, I hope

5               so, unless he's a complete sociopath,

6               which he might be.

7                        I mean you're a human.        You

8               know when you're doing right and

9               wrong, don't you?

10     BY MR. CAVALIER:

11       Q.      But he wouldn't know --

12       A.      Yes, he would.      He definitely knew it

13     was unwelcome, 100 percent.

14       Q.      Well, okay, let's say --

15       A.      Friend zone a guy, right.         Like girls

16     all the time, women talk about all the

17     time, --

18       Q.      What does "friend zone" mean?

19       A.      -- "Put the guy in a friend zone.             He

20     knows he's in the friend zone".          Men are very

21     aware that they're in the friend zone, "I'm

22     never getting anywhere with this girl.             She's

23     in the friend zone".

24               I was trying to make sure Gregg was


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                                                                    Page 124
1      super friend-zoned.       I talked to him about my

2      husband, my family, my kids.          I invited him

3      to places, well, in group events only.            I

4      never invited Gregg out one-on-one, never.

5      Would never do that in a million years.            I

6      tried to kill this dude with kindness and

7      make sure he knew he was friend-zoned.

8      Because he was.

9        Q.      And what do you mean by

10     "friend-zoned"?

11       A.      It's like the standard urban

12     dictionary if you want to look it up what

13     "friend zone" means.       "Friend zone" means

14     you're not going to have sex with that

15     person.    You're in a zone that has no sexual

16     components to it at all.

17       Q.      When you use the term "friend zone",

18     does it imply that that's a negative place

19     for a guy to be?

20       A.      I mean --

21                      MR. CARSON:      Objection.

22                      THE WITNESS:      I guess.     I mean

23              it depends if -- if the guy likes the

24              girl, I guess it's negative for him.


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                                                                    Page 125
1               If the girl -- you know, it depends

2               on like the context I guess.

3      BY MR. CAVALIER:

4        Q.      I'm just trying to understand.            I've

5      been married for 400 years.         This is new to

6      me.

7        A.      You've never heard of "friend-zoned"?

8        Q.      I've heard of it, but I want to know

9      what it means to you.

10       A.      I just told you.       It means that --

11                      MR. CARSON:      Objection.

12                      THE WITNESS:      -- you can have a

13              professional or a friendship

14              relationship with somebody and they

15              know clear as day that they're in a

16              friend zone, there's no sex

17              happening, no kissing, no holding

18              hands, no physical contact,

19              inappropriate, all of it.         Friend

20              zone, no sex.

21     BY MR. CAVALIER:

22       Q.      Amongst friends, is it common to

23     have, even amongst friends in the friend

24     zone, is it common to have banter about sex


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                                                                    Page 126
1      in general?

2        A.      Not in the workplace.

3                       MR. CARSON:      Objection.

4      BY MR. CAVALIER:

5        Q.      I'm not asking about the workplace.

6      I'm just asking in general.

7                       MR. CARSON:      Objection.

8                       THE WITNESS:      I guess, yes, but

9               not in a workplace situation.

10     BY MR. CAVALIER:

11       Q.      You have -- I don't want to assume,

12     so I'll ask the question.         Do you have

13     discussions with friends of any sex or gender

14     that you're not involved with sexually about

15     sexual things?

16       A.      Yes, but -- yes.

17                      MR. CAVALIER:      All right.

18              Let's break.

19                      MR. CARSON:      All right, Jon.

20              It's 1:05.     Just 1:15?

21                      MR. CAVALIER:      Why don't we do

22              this, Seth?     I'm of the mindset that

23              everybody always shorts the break

24              time and then comes back late for


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1               depositions.       So let's just say 1:20,

2               and we'll do 1:20 on the nose.

3                        MR. CARSON:       Okay, that's fine.

4                        MR. CAVALIER:      Fair enough,

5               okay.

6                        THE VIDEOGRAPHER:      1:05 p.m.,

7               we're off the record.

8                              -   -   -

9                      (A recess occurred.)

10                             -   -   -

11                       THE VIDEOGRAPHER:      The time is

12              1:22 p.m.    We are on the record.

13     BY MR. CAVALIER:

14       Q.      Okay.    Ms. Barbounis, is there

15     anybody with you?

16       A.      Like in my home right now?

17       Q.      In the room.

18       A.      No, nobody in the room.

19       Q.      Has there been anybody in the room

20     during the time we've been on the record?

21       A.      No.

22       Q.      Okay.

23       A.      My friend James is in the next room.

24       Q.      James who?


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                                                                    Page 128
1        A.      Klug.

2        Q.      Have you talked to him about the

3      case?

4        A.      No.

5        Q.      Did you attend a Christmas party in

6      New York City in December of 2017?

7        A.      I did.

8        Q.      Who did you attend with?

9        A.      Marnie, Tricia, Lea Merville.          I

10     think that was it.       I don't remember.

11       Q.      Who is Raymond James?

12       A.      I don't know.

13       Q.      In connection between Raymond James

14     and that Christmas party in 2017 doesn't mean

15     anything to you?

16       A.      Is that the name of the place, like

17     the company that we went maybe?          I don't

18     know.    Maybe.

19       Q.      Fair enough.     Was there drinking at

20     the party?

21       A.      Not really.     A little bit.      Honestly,

22     I don't even know if I had a drink at the

23     party.

24       Q.      Were other people drinking?


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                                                                    Page 129
1        A.      I think so.     It was very uneventful.

2        Q.      What do you mean by that?

3        A.      We watched a Christmas tree light up.

4      I said hi to a nice lady with some jewelry.

5      I don't know, there wasn't much to that

6      party.

7        Q.      Did you stay in New York overnight?

8        A.      We did.

9        Q.      Did you observe any of the other

10     people who you attended with drinking?

11       A.      I mean like maybe they had a glass of

12     champagne or something, but nobody was like

13     drinking to excess or drunk or anything like

14     that.    We went out afterwards.

15       Q.      Were you drinking then?

16       A.      Uh-uh.    I mean like I think I had --

17     I think we went to a cigar bar and I think I

18     had a drink at the cigar bar, if I remember

19     right, and nobody felt like going home so we

20     got a hotel room.       Excuse me.

21       Q.      Who went to the cigar bar?

22       A.      Me, Tricia.     Was Caitriona there?        I

23     don't know if Caitriona was there or not.             I

24     think she was.      Me, Tricia, Marnie, Lea,


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                                                                    Page 130
1      whoever went.

2        Q.      And you said --

3        A.      I'm trying to think if Caitriona was

4      there or not.      She might have been there.

5        Q.      You said you stayed overnight?

6        A.      We did.

7        Q.      Did all of you stay in the same

8      place?

9        A.      We stayed at the same hotel, yes.           We

10     got, I think we got two rooms.          Because I

11     stayed with Tricia.

12       Q.      Did you consider the Christmas party

13     a work event?

14       A.      Well, kind -- yes.       I mean Marnie

15     wanted to go so she said "do you want to go",

16     so we're like "sure".        Because I wanted to

17     see the tree lit up at Rockefeller Center.

18     And then Gregg made us take Lea and which we

19     weren't like loving, but we did it anyway

20     because he said so because whatever Gregg

21     says goes, so we did.        That was it.

22       Q.      Were you hungover the next day?

23       A.      No.   I was tired for sure.

24       Q.      Do you ever drink while you're at


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                                                                    Page 131
1      work?

2        A.      While I'm at work?

3        Q.      Yes.

4        A.      No, I never drank while I was at work

5      at The Middle East Forum.         I have drank at

6      work at my current job.        My boss like, you

7      know, on Fridays, sometimes like our old

8      Chief of Staff would, you know, we would play

9      cards and whatever.       And we had a cookout at

10     work in the office, like we pulled a grill

11     and grilled up Texas barbecue, and you know,

12     the smoke detectors went off, the Capitol

13     police came, they thought it was funny, they

14     joined us.

15               I mean yes, we do, we do that at work

16     at my current job, but I never drank on my,

17     at any other job I've ever had.

18       Q.      Was there a lot of social activity

19     during your work at the Forum?

20       A.      I mean not really.

21       Q.      How frequently --

22       A.      Me and Tricia --

23       Q.      How frequently would you say you'd go

24     out with your co-workers from the Forum?


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1        A.       I could probably count maybe ten

2      times.

3        Q.       Ten times from when to when?

4        A.       Two years.    The whole entire time I

5      worked there.

6        Q.       Okay.

7        A.       I think I went out with like the

8      group.     Like we had the one event, like the

9      AIPAC event at Alma de Cuba.          That was like

10     the group.     I did another event down there.

11     But then like I went out with Marnie once, we

12     went out as a group without Gregg once, we

13     went to a happy hour once with him, and I

14     think I went out with like just Tricia and I

15     like five times maybe.

16               I didn't really go out a lot then in

17     general.    Because I had the kids, I was home

18     all the time, I was doing stuff with the

19     kids, I was also in school, I had class two

20     nights a week.      You know, I didn't have time

21     to go out.

22       Q.      During the time that you were working

23     for the Forum, how often would you say that

24     you drank?


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                                                                    Page 133
1        A.      I hardly ever.      Hardly ever.

2        Q.      During the time that you worked for

3      the Forum --

4        A.      Tricia would make fun of me saying

5      that she would, she could -- it was like

6      pulling teeth to get me to come out.            Because

7      she was single.

8        Q.      During the time you worked at the

9      Forum, did you ever -- well, let me ask this

10     a different way, first of all.

11               It's my understanding that you are,

12     during the time you were at the Forum, that

13     you were taking certain prescriptions?

14       A.      I take Adderall.

15       Q.      Did you take that during your time at

16     the Forum?

17       A.      Yes.    I've been taking it since 2008.

18       Q.      Any other prescriptions?

19       A.      No, I mean unless I had like a

20     medical issue.      I have bad kidneys.       I get

21     kidney infections and kidney stones all the

22     time.    Nothing other than that.

23       Q.      So nothing --

24       A.      Later, I started taking Zoloft in


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                                                                    Page 134
1      like that November.       What is that?      Like 2018

2      I guess.

3        Q.      Okay.    So, putting aside any what

4      I'll call emergent issues, any other

5      prescriptions during that time?

6        A.      No.

7        Q.      So you said you had some kidney

8      issues?

9        A.      Yes.

10       Q.      Do you remember when they occurred?

11       A.      I don't.    I had kidney stones.        I

12     have them often.      I mean I had it -- I have

13     kidney issues so often that it's like -- I

14     was just hospitalized this Christmas for two

15     things.    I had an emergency surgery and then

16     a second one.      So I mean I have them.

17       Q.      Surgery for the kidney stones?

18       A.      Yes.

19       Q.      How long have you had issues with

20     your kidneys?

21       A.      Since I was in high sch- -- grade

22     school.

23       Q.      How often does it arise?

24       A.      Once every like six months maybe.


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                                                                    Page 135
1      Sometimes every, once a year.

2        Q.      Is it triggered by anything in

3      particular?

4        A.      Making babies.      When I had -- like my

5      body like made extra kidney stones both times

6      I was pregnant.      But no, it's just it is what

7      it is.

8        Q.      It's not caused by stress or anything

9      like that?

10       A.      No.

11       Q.      Okay.

12       A.      I mean, like I've said, I had it

13     since I was in grade school.          I remember I

14     had like, I was taking antibiotics Macrobid

15     and they were yellow and black and the one

16     fell like out in the car, and I was like

17     legit in eighth grade.        And this lady calls

18     my mom, "Lisa had a thing in her thing".             My

19     mom is like, "It's Macrobid.          It's black and

20     it's yellow.      She's got bad kidneys".        Like

21     it is what it is.

22       Q.      Is it painful?

23       A.      It's always acute.

24       Q.      Okay.


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1        A.      So it's painful at the time, but it's

2      not like a lingering pain.         It's like a --

3      until I have an issue, it doesn't hurt.

4        Q.      So, short of surgery, what's the

5      treatment for it?

6        A.      You pass the stone and call it a day.

7      I get kidney infections, and I take an

8      antibiotic.

9        Q.      Do you take pain medication for it?

10       A.      No.

11       Q.      Have you ever --

12       A.      As a matter of fact, my body doesn't

13     really recognize pain medicine really that

14     well.    My last kidney like stone they gave --

15     like I have to take the non-, the only thing

16     that will relieve my pain is non-narcotics

17     anyway.    So Toradol is usually what they give

18     to treat me.     So there's no pain medicine

19     really other than like a high Ibuprofen or

20     a -- or something like Toradol.

21       Q.      When was the last time you took

22     Toradol?

23       A.      For my kidneys?      Is that January?

24     Like so I had my first surgery this year was


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                                                                    Page 137
1      the end of December, and then my second

2      surgery was right after New Year's I think.

3      So January.

4        Q.      And you qualified that as for your

5      kidneys.    Have you taken Toradol for anything

6      besides your kidneys since then?

7        A.      No.     I mean that's the only time I've

8      ever taken that was for my kidneys.           Like

9      they -- like it's given intravenously.

10       Q.      Do you ever take narcotic

11     medications?

12       A.      No.   I had, I only had narcotic

13     medication after my first c-section.            I

14     didn't even have it after my second.

15       Q.      When was your first c-section?

16       A.      2014.    Yes, 2014.

17       Q.      Okay.    So, from the day you started

18     at The Middle East Forum until today, you've

19     never taken narcotic pain medicine?

20       A.      No.

21       Q.      You've never taken Percocet?

22       A.      No.

23       Q.      Let me go back to briefly -- we're

24     still in the period of time before AIPAC.


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                                                                    Page 138
1      Okay?

2                Did Gregg give you more

3      responsibility at the Forum?

4        A.      He was always like dangling it like a

5      carrot in front of my face, but not -- I

6      never really had like increased

7      responsibility.      Even when he left, I didn't

8      get -- whatever.      No, not really.       I mean it

9      was always promised.

10       Q.      Did he ask you to organize an Israeli

11     delegation of Parliament members on a trip to

12     Washington, D.C. in November of 2017?

13       A.      I mean I was -- that's part of my

14     regular routine responsibilities.           That's not

15     like -- that wasn't anything extraordinary,

16     no.    It's part of my job, my basic duty.

17       Q.      I mean it seems like a big deal to

18     me.    No?

19       A.      I mean I work with Congress members.

20     They're members of the Knesset.          Same thing.

21       Q.      Do you think that Gregg trusted you

22     to organize things like that?

23       A.      I mean he should trust me because

24     it's my job.     I think that he expected me to


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1      do my job, which I did.

2        Q.      Did Gregg share his personal affairs

3      with you?

4        A.      Not really.     I mean there were things

5      that like -- I don't know.         Gregg like -- the

6      only thing that like was ever really personal

7      that we ever really discussed was his kid,

8      one of his younger kids has like a disability

9      or something, and his wife had said or put on

10     a calendar something that there was like a

11     nurse coming to the home.         And I said,

12     "Gregg, don't you think that you should be

13     there for that", and he's like, "No".            And I

14     was like (witness made a sound).           And that

15     was like the, really only the time we like

16     discussed his personal anything really.

17       Q.      Did you guys talk about finances?

18       A.      He did say that he was like looking

19     to buy, I mean looking to buy a home or, no,

20     rent a home.     Because he couldn't buy or

21     something like that.       And so I said, "Well,

22     have Vasili help you out".

23       Q.      Did he use Vasili?

24       A.      I don't think he used Vasili.          I


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1      think they talked once.        I don't know.      But

2      he didn't use him, no.

3        Q.      So he knew you were married to Vasili

4      at that time?

5        A.      Oh, yes.

6        Q.      And he knew Vasili --

7        A.      I brought Vasili to the Christmas

8      party.    Me and Vasili were in a really good

9      spot when I -- like for a long time, even

10     when I was at The Middle East Forum.            Like it

11     was, you know, it was like a, The Middle East

12     Forum was like a slow, bad spot that pulled

13     me down.

14                      MR. CAVALIER:      So, Seth, I'm

15              about to go into an area here and I'm

16              not really sure where it's going to

17              go, but it relates to Forum business.

18              Can we agree to seal this next piece?

19                      THE WITNESS:      Seth?

20                      MR. CAVALIER:      We can't, we

21              can't hear you.

22                      THE WITNESS:      Is he muted?

23              He's calling somebody.

24                      MR. CARSON:      I hope all my


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1               objections were getting in.         By

2               "seal", you mean if we use it as an

3               exhibit we'll file it under seal?

4                       MR. CAVALIER:      Yes, it's not a

5               document.    I just want to seal this

6               portion of the transcript because it

7               relates to -- I think there's a

8               potential security issue.         It may be

9               nothing, but before I go into it, I

10              just want to --

11                      MR. CARSON:      Yes.   Just let me

12              know when that, when that, when

13              you're done with that, and then if we

14              use any portion of this as an exhibit

15              in any motion, we'll file that

16              exhibit under seal.

17                      MR. CAVALIER:      We agree.     All

18              right, thank you.       I appreciate it,

19              and I'll be quick about it.         So, from

20              this point on, we're going to mark

21              this as sealed.

22     BY MR. CAVALIER:

23       Q.      Did Mr. Roman go on a trip in

24     February of 2018?


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1        A.      Gregg went on a lot of trips.

2        Q.      Fair enough.      Do you remember him

3      going to Egypt in 2018?

4        A.      No.

5        Q.      You don't remember?

6        A.      Not Egypt, no.      Never Egypt actually.

7      I don't ever remember that at all.

8        Q.      He never talked to you about an Egypt

9      trip?

10       A.      Uh-uh.

11                       THE COURT REPORTER:       No?

12     BY MR. CAVALIER:

13       Q.      Did you notice any change in his

14     behavior when he came back from travel in

15     2018?

16       A.      No.

17                       MR. CAVALIER:     All right.     We

18              can mark that as the end of the

19              sealed portion.

20     BY MR. CAVALIER:

21       Q.      Just so we're clear on that, you have

22     no recollection of Gregg Roman going to Egypt

23     in February of 2018?

24       A.      None.


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                                                                    Page 143
1        Q.      Okay.    All right.     Tell me about

2      AIPAC.

3        A.      What do you want to know?

4        Q.      How did it start?       How did the trip

5      come about?

6        A.      Okay.    So, apparently, every year

7      they go to the AIPAC conference, and I

8      actually wanted to go to the AIPAC

9      conference.     I wanted to go.       They were like,

10     "No.    We're only paying for" -- whoever, you

11     know, Gregg and EJ I think it was, whatever.

12     And then Gregg was like, "All right, well,

13     let's throw a big dinner for our donors".

14     And so Gregg was looking at like Airbnbs to

15     host them like in a house because they do a

16     lot of those like lunches in people's houses

17     kind of thing, like it's part of their

18     fund-raising style I guess, but then Tricia

19     was helping with the planning and I think

20     that they decided on Alma de Cuba.

21               So we went to Alma de Cuba.         We were

22     told to go and mingle with the guests, me and

23     Tricia because we're hot, and we did.            We

24     went.    EJ was there though.       I think Cliff


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1      was there.     So we went.     And then afterwards

2      we went to, Gregg took us to like some other

3      event, I forget what it was, Camera maybe,

4      like they were hosting an event at a bar.              It

5      was all -- that was strange.          He was like

6      talking to some girl about a jo- -- I don't

7      even know.     It was like weird.       I was trying

8      to stay away from him.

9                And then Raheem was with us.          I met

10     Raheem, who I liked.       He's a very interesting

11     individual.     I met Raheem at that dinner.           I

12     sat next to him and we talked and talked and

13     talked, and we just like got along like right

14     away.    We had a lot in common.        He thought

15     Tricia was cute.

16               So Raheem and I are hanging out, and

17     then we went -- then Gregg took us to another

18     bar.    I forget where it was.        I think at that

19     time he stole battleship from the bar.            It

20     was like some joke from the office.           And then

21     -- oh, and at the end of the night, I was

22     like hanging out with Raheem.          We were like

23     having like all these like cool and

24     interesting conversations.


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                                                                    Page 145
1                At the end of the night, Gregg was

2      like, "It's time to go", whatever, like the

3      bars were closing up or whatever.           And Gregg

4      was like, "We're going back to the Airbnb I

5      got.   I got this awesome Airbnb.          We're going

6      to have people back there.         The Pinsker" --

7      the Pinskers were like I guess -- they

8      weren't donors.      They were like -- we gave

9      them money I think.       They were young though.

10     They were like in their 20s.          So Gregg was

11     like, "Oh, we're coming".         I was like, "I'm

12     going to go hang out with Raheem.           Because

13     Raheem and I are like friends and having a

14     good time".     Gregg is like, "No, you're going

15     to get in this SUV right now".          I was like,

16     "All right", so we left, and I left Raheem.

17     But then the Pinsker kids told Raheem where

18     we were, and then Raheem showed up.

19               So I remember we're all sitting

20     around.    I was on this -- there was like this

21     big sofa and it was pretty.         I was like

22     taking pictures.      I was having Tricia take

23     pictures of me out on the balcony because the

24     view was so awesome.       And I -- and what


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1      happened?     So we're all sitting on this couch

2      and Gregg pulls out, which I thought was so

3      terrible, like a freakin' box of like

4      marijuana with like five different ones on

5      it, and he was smoking pot.         I don't smoke

6      pot.   I smoked pot when I was like in high

7      school.    It made me paranoid.        I don't smoke

8      pot.   I don't like it.       I don't like anything

9      it does.    So, if you're going to ask that

10     later, I do not partake in that, no.

11               So -- what was I going to say?          Oh.

12     So, anyway, he pulls it out and the Pinsker

13     kids are like whatever.        I'm like, "Gregg,

14     like these are our people or whatever", and

15     so he was like "eh, whatever".          So he grabbed

16     me like by my shoulder.        I was on his right.

17     Tricia was on his left.        He grabbed me by my

18     shoulder and then he grabbed Tricia like

19     under her ass, pulled us almost onto his lap,

20     I think she was like touching him, and he was

21     like, "Nobody else needs to be here but us".

22     And I was like (witness made a sound).

23               Actually, before that even happened

24     though -- was that after?         No, it was before


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                                                                    Page 147
1      that even happened.       Raheem showed up at the

2      door, and so I said, "Somebody go let Raheem

3      in".     Because you had to like have a thing to

4      get in the building.        You know what I mean?

5      Like you couldn't just -- you had to like go

6      down and let him in.        You couldn't just like

7      buzz him in.     It was like this, built like,

8      you know, a penthouse in a building.            And so

9      I said, "I'm going to go get Raheem since

10     none of you people will".         And somebody

11     yelled out like "Raheem can suck a dick" or

12     "you can suck a dick" or somebody said that

13     like something flippant.         And I said, "Funny.

14     None of you's will know, you know, how I am

15     at that", like insinuating like I'm not going

16     to suck anybody's dick and don't talk to me

17     like that, right.       So I go down and let

18     Raheem in.     Then the couch thing happens.

19     And then I got up, went in the kitchen.

20               We ordered pizza.       I ate a piece of

21     pizza.    And I was tired and I fell asleep on

22     the couch.     Marnie like put a blanket on me.

23     Apparently, they like drew straws until like

24     who was going to get the bedroom.           I think


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1      Tricia like won the straw or whatever it was.

2      I don't know, I was sleeping.          And then -- or

3      Marnie did.     I forget, but whatever.         And

4      like we just stayed there because it was late

5      and everybody was tired.

6                So then the next day Matt calls me

7      and he said that like Gregg woke up and was

8      like, "Did my assistant just say that she

9      gives good blow jobs"?        No, that's not what I

10     said, but okay.      The whole point of that

11     comment was like, "Ain't none of you getting

12     any of that".      So that was that night.        Gregg

13     was Gregg, you know, gross and inappropriate.

14                      MR. CARSON:      Hello?

15                      THE WITNESS:      Yes.

16                      MR. CARSON:      Hello?

17                      THE COURT REPORTER:        Hello.

18                      MR. CAVALIER:      Yes, we can hear

19              you.

20                      MR. CARSON:      I can't hear

21              anybody.    Hang on a second, please.

22                      THE WITNESS:      So tired.

23                      SPEAKER:     Enter your

24              Participant's ID followed by --


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1               please enter the Meeting password.

2               You are in the meeting now.         There

3               are 12 participants in the meeting.

4                         THE WITNESS:    12?

5                         SPEAKER:   This meeting is being

6               recorded.

7                         MR. CARSON:    Sorry about that,

8               guys.     I don't know what happened.

9               I'm back.

10                       MR. CAVALIER:     Can you hear us

11              now?

12                       MR. CARSON:     Yes.   I don't

13              know, my phone just hung up all of a

14              sudden.    I don't know what happened.

15                       MR. CAVALIER:     Okay.

16     BY MR. CAVALIER:

17       Q.      Let me back up a little bit.          Before

18     you went back to the Airbnb -- it was -- I'm

19     sorry, it wasn't an Airbnb.         It was a hotel

20     room, correct?

21       A.      No, it was an Airbnb.

22       Q.      So it was like an apartment in a

23     high-rise?

24       A.      Yes.


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1        Q.      Okay.

2        A.      Mid-rise, but yes.

3        Q.      Mid-rise, fair enough.        But it was

4      there were nice views, it was a pretty

5      apartment?

6        A.      Yes, it was gorgeous.

7        Q.      Before you went back there, you

8      were -- what were you doing?          Was the group

9      out at dinner?

10       A.      No.    We were on our second bar.

11       Q.      You were on your second bar.          So

12     there was drinking, yes?

13       A.      Yes.    I wasn't drunk though, not even

14     close.

15       Q.      Okay.    Where do you draw the line

16     between drinking and being drunk?

17       A.      Like I think I maybe had like three

18     drinks all night long.        I was just too tired

19     to drink that night.       There was too much to

20     do.

21       Q.      Okay.

22       A.      But that was over -- and that's over

23     like a seven-hour period I mean from like the

24     time dinner came until 2:00 in the morning.


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1      You know what I mean?        Like it was forever.

2                Where do I draw the line between

3      being drunk and drinking?         I don't know,

4      where like you're like, I don't know, loopy

5      feeling in your head.

6        Q.      Were there other people drinking --

7        A.      Yes.

8        Q.      -- at the bars?

9        A.      Everybody was, yes.

10       Q.      Was anybody drunk?

11       A.      I don't think anybody was drunk, not

12     one person.      I don't even think Gregg was

13     drunk.

14       Q.      So you go back to the Airbnb?

15       A.      Uh-huh.

16       Q.      And everybody is just hanging out?

17       A.      Uh-huh.    They were talking, they were

18     talking like to the Pinsker kids, talking

19     about work and what they do and, you know,

20     just like BS'g.      I forget, there might have

21     been other people there too.

22               I know the Pinsker kids were there.

23     I was so tired.      I remember being tired.         But

24     like there was the Pinsker kids were there,


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1      Raheem was there, there was a couple other

2      people there.      It wasn't -- and it was like

3      Marnie, me, Tricia, Matt, the Pinsker kids,

4      somebody else.

5        Q.      Was the purpose of the evening to

6      entertain the Pinskers?

7        A.      I think Gregg just wanted to hang

8      out.

9        Q.      Okay.

10       A.      He clearly didn't want Raheem there,

11     which I thought was --

12       Q.      Why do you say that?

13       A.      -- so bizarre.      I don't know why.

14       Q.      But why do you say that?

15       A.      I just, it's what I remember of the

16     night.    He just didn't want Raheem there.           I

17     was, I thought it was so strange.           Like

18     you're letting these weird Pinsker kids come

19     back that are like 20 and Raheem is like

20     smart and like the editor of Breitbart and

21     has connections, and you would rather hang

22     out with these like three, little dweebs.             I

23     don't know, it was like weird.

24       Q.      So I'm trying to figure out why you


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1      would say that.      Did he say to you, "I don't

2      want Raheem here"?

3        A.      Yes.    Yes.   I said -- because he was

4      going to come with us like in the SUV, and he

5      said, "I don't want Raheem to come".            And I

6      was like, "Why"?      I thought it was weird.

7        Q.      Okay.    And you thought it was weird

8      because Raheem was a smart, intelligent guy?

9        A.      Not only that, like he begged Raheem

10     to come to the dinner.        So it didn't make

11     sense to me.

12       Q.      Okay.    Did you tell him it didn't

13     make sense?

14       A.      Yes.    I said, "Why"?      Like, "Why

15     not"?    He's like, "I just don't want him

16     there".    I was like, "Okay".

17       Q.      Okay.

18       A.      Gregg is the boss.       Like you don't

19     understand, Gregg is like -- Gregg is The

20     Middle East Forum, right.         Like Daniel Pipes

21     was giving it all over to him.          Gregg makes

22     all the decisions, he makes all the rules,

23     he's responsible for all MEF policy.

24               He's like my legit boss.         I'm going


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                                                                    Page 154
1      to do what my boss says.         He's like, he is

2      the top guy.      You know what I mean?       You're

3      not going to be like "no" to him for

4      anything.

5        Q.      Okay.    So --

6        A.      He says "go", you go.        You know what

7      I mean?    Like go on a work trip.         All right,

8      that's what we're doing.

9        Q.      So you're back at the Airbnb.

10       A.      Uh-huh.

11       Q.      And Raheem shows up.        And somebody

12     says, "Raheem is here".

13       A.      I said, "Raheem is here".         Because he

14     texted me.     And I --

15       Q.      And someone else says --

16       A.      And I said, "I'm going to go let

17     Raheem in".     Somebody yelled out, "Raheem can

18     suck a dick".

19       Q.      Do you know who?

20       A.      I don't know who.       I still to this

21     day don't know who said that.

22       Q.      Was it Gregg?

23       A.      I don't think it was Gregg actually.

24       Q.      What did you take that comment to


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                                                                     Page 155
1      mean?

2        A.       I don't know, they were just being

3      flippant.     They didn't want Raheem around.             I

4      don't know, it was weird.

5        Q.       Well, my question to you is:         Sitting

6      there in that room, --

7        A.       Uh-huh.

8        Q.       -- did you take that comment as

9      sexual in nature or was it more of a, you

10     know, "what's fucking Raheem doing here"?

11       A.      It was -- yes, that was more it.           It

12     was like not directed towards me.           It was

13     directed towards him.

14       Q.      And it wasn't sexually toward him,

15     right?    He wasn't there.

16       A.      Right.     I guess yes, they just said

17     it.

18       Q.      Okay.    But it wasn't a sexual

19     comment?    It was just a remark made by

20     somebody showing displeasure that Raheem

21     showed up?

22       A.      Uh-huh.

23                       THE COURT REPORTER:       Yes?

24                       MR. CARSON:     Yes or no?


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                                                                    Page 156
1                       THE WITNESS:      Yes.    I'm sorry.

2               Yes.

3      BY MR. CAVALIER:

4        Q.       And your response was?

5        A.       My response?     Oh, you're wondering

6      why I said like, "Ain't none of you going to

7      get that"?      Because Gregg had been creepy all

8      night, been touchy-feely, like looking at you

9      being creepy.      So I made it clear, "Ain't

10     none of you getting that".

11       Q.      But your response to a non-sexual

12     comment was sexual in nature, and I'm trying

13     to understand why.

14       A.      Because Gregg made me feel

15     uncomfortable all night, the way he got in

16     the car.    I kind of -- like even with the

17     Raheem thing, like that's who I was hanging

18     out with, and he didn't want him there.            Like

19     the whole thing was like weird.           It was like

20     Gregg was trying to get at me.

21       Q.      So you took Gregg not wanting Raheem

22     to come back to the Airbnb as Gregg's attempt

23     to try and get with you?

24       A.      Well, it was weird because like --


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                                                                    Page 157
1                       MR. CARSON:      Objection.

2                       THE WITNESS:      Like it was

3               weird --

4                       MR. CARSON:      Objection.

5                       THE WITNESS:      -- and that's why

6               I didn't understand.       And so kind of,

7               yes, because -- so the person that

8               I'm hanging out with the whole time

9               who is way more influential than

10              these little kids you don't want

11              around, you don't want him around and

12              you're looking at me and you're

13              trying to sit next to me and you're

14              trying to talk to me and you're

15              trying to do all that and I'm just

16              paying attention to Raheem, and

17              that's the one you don't want there.

18              And then you're like "come back to

19              the Airbnb and like", blah, blah,

20              blah, blah, blah, "get in the, get in

21              the car".    Because he didn't want --

22              everybody else was going to go.          I

23              was just going to leave with Raheem.

24              He's like, "No, get in the SUV".


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1                       It was me.      He was -- he gave

2               me that sexual, creep-ass vibe all

3               night long.     That's who he is.

4                       MR. CARSON:      Can you guys hear

5               me?

6                       MR. CAVALIER:      We're hearing

7               you.

8                       MR. CARSON:      Just checking.

9               Because I said "objection" earlier.

10              I just wanted to make sure.

11                      THE WITNESS:      Oh.

12                      That's the vibe -- like a woman

13              knows when a guy is like creepy, and

14              that's Gregg.

15     BY MR. CAVALIER:

16       Q.      So is it fair to say then that the

17     basis of your conclusion that Gregg was

18     looking to get with you was your own

19     intuition?

20                      MR. CARSON:      Objection.

21              Mischaracterization of prior

22              testimony.     You can answer.

23                      THE WITNESS:      I'm thinking.

24              I'm not not answering.        I'm thinking.


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                                                                    Page 159
1                       MR. CARSON:      Take your time.

2                       THE WITNESS:      My own intuition?

3               Well, of course there is intuition

4               there, but it was also like the way

5               he was looking at me, the way that

6               he, you know, was behaving.         Like we

7               were -- it was definitely like Gregg

8               was on a mission to get laid.

9                       Like there was a girl at the

10              one event, I don't remember who it

11              was, she had dark hair and she was

12              sitting like, she was sitting with

13              Gregg and she was like -- and it was

14              clearly like he was trying to kind of

15              offer her a job or -- I forget what

16              the nature of it was, but Gregg

17              clearly in his mind you could tell

18              wanted to get laid.       He was like

19              hitting on her, and he asked me if I

20              thought she was hot, whatever.          And

21              then I -- and then like it was his,

22              it was like his mission.

23                      And I don't think it was just

24              me.   I think it was like whatever


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                                                                    Page 160
1               girl was available.       That's why I

2               think that he grabbed Tricia the way

3               he did.    Like that, it was like Gregg

4               was out, he was partying, he wanted

5               to get laid, and I was just making

6               sure everybody in the room knew that

7               wasn't me.

8      BY MR. CAVALIER:

9        Q.      Okay.    But --

10       A.      And Matt would tell me, like Matt had

11     told us before any of this went down, like

12     Matt would say that him and Gregg were wild

13     when they would go out.        He's like, "Last

14     AIPAC was wild.      We were like banging chicks

15     and drinking all night and doing all kinds of

16     crazy stuff", and Matt said like when they

17     would go out to California together they

18     would do all that.

19               Like it was like you know -- like it

20     was very much like you could feel it, like

21     not just intuition but like the way he was

22     acting, the words that he was using, his

23     tone, his demeanor, the way he carried

24     himself, the way he spoke to other women, the


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1      way he was.      He was just like a big, gross,

2      drinking Gregg wanting to have sex, and no, I

3      don't think he was drunk.

4        Q.      Have you ever gone out with friends

5      of yours and observed them to be trying to,

6      for lack of a better word, get laid?

7                        MR. CARSON:     Objection.

8                        THE WITNESS:     Yes.

9      BY MR. CAVALIER:

10       Q.      That's not uncommon among friends,

11     correct?

12                       MR. CARSON:     Objection.

13                       THE WITNESS:     It's not uncommon

14              among friends, no.

15     BY MR. CAVALIER:

16       Q.      So, given the social nature of the

17     situation that you guys were in at a bar, is

18     it possible that Gregg was just treating you

19     as one of the guys in the group?

20       A.      No.

21       Q.      Why?

22       A.      Why?    Because, A, Gregg has always

23     been like looking at me like I was not one of

24     the guys of the group, the way he looks at


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1      me, talked to me, made me look at his

2      Facebook friends and, you know, like say he's

3      banging them.      I mean it was constant,

4      constant sexual innuendo from Gregg all the

5      time.

6                And that goes back to my Raheem

7      thing.    Like why didn't you want him there?

8      Right, the guy I was hanging out with all

9      night, that's the only one you don't want to

10     come back to the house.        Come on.     Any --

11     let's be real here.

12       Q.      Well, have you ever talked to any of

13     your friends about guys you found attractive?

14       A.      My friends, yes.       Not at work.

15       Q.      And have your friends --

16       A.      It's not a boss here.        Like are you

17     forgetting that he's my boss?          He's not my

18     friend.    He is the director of The Middle

19     East Forum.     He is the head honcho.

20               Like no, that's so inappropriate and

21     it's so unwanted and it's so unwarranted.

22     It's gross.     And Gregg is not my friend.

23     He's not my friend.       He's the boss, and he

24     should know that he's the boss.


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                                                                    Page 163
1        Q.      Is Vasili's relationship with Skye

2      inappropriate?

3        A.      Yes, technically.       But she -- see,

4      he's not -- Skye, albeit his assistant, is

5      not Vasili's employer, David Snyder is, who

6      runs the team, and she assists everybody on

7      the team.       She is not Vasili's boss.

8        Q.      But they're co-workers?

9        A.      Yes.

10       Q.      Can somebody be both a boss and a

11     friend?

12       A.      If --

13                       MR. CARSON:     Objection.

14                       THE WITNESS:     If you want it to

15              be that way.     Did I want Gregg Roman

16              to be my friend, no.

17     BY MR. CAVALIER:

18       Q.      Did you ever tell him that?

19       A.      What, that I don't want to be friends

20     with him?

21       Q.      Yes.

22       A.      No.    Why would I tell him that?        He's

23     the head guy who's manipulative and freakin'

24     mean-spirited and vengeful.         No, I'm not


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1      going to tell that guy I don't want to be his

2      friend.    What are you, crazy?

3                Nobody wants to be his friend.          He

4      doesn't have any friends.

5        Q.      So you make the comment.         Raheem

6      comes up.

7        A.      Uh-huh.

8        Q.      Who's there in the room at that

9      point?

10       A.      Pinsker kids, I think another person

11     I'm not 100 percent sure, Marnie, Matt,

12     Gregg, me, Tricia.       That's it.

13       Q.      And did the physical contact happen

14     with all of those people in the room?

15       A.      The Pinsker kids were getting up and

16     saying their goodbyes, yes.

17       Q.      Okay.    And so describe the physical

18     contact that you're complaining of.

19       A.      Like big, Gregg take his big

20     wingspan, I'm over here, grabs me like this

21     like from my shoulder like into him, so I'm

22     like this now.      Like can you see what I'm

23     doing?    I'm like leaning, right.         He grabbed

24     me like this into him, and then the other


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1      hand takes Tricia and basically by her bottom

2      half and sticks it on her lap.

3        Q.      How did you know that his hand was

4      around her bottom half?

5        A.      I could see him.       I'm going like

6      this.

7        Q.      Okay.

8        A.      I was halfway in his lap.

9        Q.      Did you feel like that conduct was

10     sexual in nature?

11       A.      Yes.

12       Q.      Why?

13                       MR. CARSON:     Objection.     You

14              can answer.

15                       THE WITNESS:     Because it was.

16              You don't, you don't grab -- I've

17              never grabbed my friends like that.

18              No friends of mine have ever grabbed

19              me like that.

20     BY MR. CAVALIER:

21       Q.      Well, I'm assuming you've given hugs

22     to your friends, correct?

23       A.      That was not a hug.       That was a pull

24     you into me move.       That was not a hug.


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1        Q.      Did he kiss you?

2        A.      No.

3        Q.      So I'm not understanding the

4      distinction.     Can you help me with that?

5        A.      What do you mean?       He pulled me into

6      him in like a gropey, unwanted way.           It was

7      sexual in nature, and he said, "No other men

8      need to be in this room".         That's sexual.

9                What does men being in a room, other

10     than you and you pulling me into you, I mean

11     that's not, that's not a friendly gesture,

12     it's not a friendly statement, it's not

13     anything like that.       That is an unwanted

14     sexual advance.

15       Q.      I'm not trying to be difficult.

16       A.      Yes, you are.

17       Q.      No, I'm really not, but --

18                      MR. CARSON:      Objection.

19                      THE WITNESS:      That's your job.

20              Don't think I'm fooled by your like

21              nice guy routine.       I know what your

22              job is, and your job is to --

23                      MR. CARSON:      There's no

24              question pending.


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                                                                    Page 167
1                       THE WITNESS:      -- make me very

2               uncomfortable and catch me in stuff.

3               So it's not going to happen because I

4               only tell the truth.

5                       MR. CARSON:      There's no

6               question pending.

7      BY MR. CAVALIER:

8        Q.      I'm not trying to be difficult.

9        A.      Yes, you are.

10                      MR. CARSON:      Okay.    Thank you,

11              Jon.

12     BY MR. CAVALIER:

13       Q.      What you're describing to me sounds

14     like a hug.

15       A.      Would you feel comfortable, would you

16     feel comfortable -- excuse me.

17                      MR. CARSON:      Lisa, --

18                      THE WITNESS:      Would you feel

19              comfortable if you had a daughter and

20              said her boss did that to her?          Would

21              you, would you like that?         Would you

22              think that that was sexual in nature?

23              Or is it just because it's me that

24              you don't think so or because you're


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                                                                    Page 168
1                his lawyer?

2      BY MR. CAVALIER:

3        Q.      I'm trying to find out what this is.

4                       MR. CARSON:      I didn't get my

5                objection, I didn't get my objection

6                on the record for the last question,

7                so I'm objecting.

8      BY MR. CAVALIER:

9        Q.      I'm trying to find --

10                      MR. CARSON:      Keep --

11                      MR. CAVALIER:      I'm sorry, Seth.

12              Go ahead.

13                      MR. CARSON:      No, keep going.      I

14              just wanted to state an objection.

15              That's all.

16     BY MR. CAVALIER:

17       Q.      I'm trying to find out what this is.

18       A.      It was sexual in nature.         I said it

19     four times, and if you want me to repeat it

20     again, he said, "There doesn't need to be

21     any, another man in the room".          He grabbed

22     me, pulled me into him, and was creepy Gregg

23     sexual.    It's not a hug.       You don't hug your

24     employees.     He's my boss.      He shouldn't be


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1      touching me at all.

2        Q.      That's not --

3        A.      Get it through your head.         It's

4      wrong, it's inappropriate, and you know it, I

5      know it, the whole world knows it.

6        Q.      That's not what I'm asking you.          I'm

7      just --

8        A.      It's not a hug.      It was sexual in

9      nature.    That's what you asked me, and I'm

10     answering.

11       Q.      A hug can be sexual in nature.

12       A.      It wasn't -- I'm telling you right

13     now it was gross.       That's what it was.

14       Q.      I'm not disputing your, the way

15     you're describing it, but I'm trying to, I'm

16     trying to figure out exactly when you say,

17     when you say that he pulled, he pulled you

18     into him and wrapped his arms around you?

19       A.      His one arm.

20       Q.      His one arm.

21       A.      And whispered in his creep Gregg

22     voice that --

23       Q.      Okay.

24       A.      -- "there shouldn't be any other men


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1      in this room".      That was so sexual.       You

2      couldn't even -- there's nothing else it

3      could be.     And that's not intuition.         That's

4      facts.

5        Q.      Fine.    Fine.

6        A.      And he admitted to doing it to his

7      boss, who did nothing about it.

8        Q.      I understand.

9        A.      He's working there.       He's a creep.

10       Q.      I understand that.       What I'm trying

11     to get you to detail is exactly what the

12     nature, not the nature but the details of the

13     physical --

14       A.      I just said it to you.        He grabbed

15     me, put his big, --

16                       MR. CARSON:     So, Lisa, --

17                       THE WITNESS:     -- disgusting arm

18              around me, grabbed my arm, pulled me

19              into him so my head is basically in

20              the middle of his chest area, let's

21              get as descriptive as possible, so

22              that my head is in the, near his,

23              under his right breast, okay, in

24              between his bellybutton and his


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1               breast, okay, pulls my head there, so

2               now I'm looking either down at his

3               penis or I'm looking down at him with

4               his hands under Tricia's ass on his

5               lap.     That's what I was looking at.

6                        So yes, the whole thing was

7               sexual.    I don't know how much more

8               detail you need.      That's what

9               happened.

10     BY MR. CAVALIER:

11       Q.      Okay.    And at which point did he make

12     the comment to you?

13       A.      While my head was stuck there.

14       Q.      How long was your head stuck there?

15       A.      Probably like, I don't know, -- let's

16     count, let me just do -- six seconds until I

17     like got enough muster up to pull away.

18       Q.      Okay.    So you pulled away?

19       A.      Uh-huh.

20       Q.      Then what?

21       A.      And then I got up and went into the

22     kitchen.

23       Q.      And did what?

24       A.      Talked to Matt.


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                                                                    Page 172
1        Q.      About what?

2        A.      I don't remember.

3        Q.      Did you tell Matt what happened with

4      Gregg?

5        A.      I tell -- I told Matt.        Yes, we

6      talked about it the next day.          I said, "Gregg

7      was creepy all the time", and then he's like,

8      "That's funny that you say that because" --

9      that's when he told me that Gregg said the

10     thing about his assistant giving good blow

11     jobs.

12               Yes, I told Matt.       Guess what?     Matt

13     was a director too.       Did he do shit, nope.

14       Q.      So that comment about his assistant

15     giving blow jobs, Gregg never made that

16     comment to you?

17       A.      He made it to Matt.

18       Q.      You didn't hear it?

19       A.      I did not hear it.

20       Q.      Okay.    Matt told you about it,

21     correct?

22       A.      Correct.    But how convenient, how

23     convenient that when we go to Israel the

24     thing that he's pushing is good blow jobs.


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1      That's rich.

2        Q.       So I don't understand that.        What do

3      you mean by that?

4        A.       So, when we go to Israel weeks later,

5      he's like, "I just need a good blow job.             I

6      just need a good blow job.         I just need a

7      release.    You know, don't you think I deserve

8      a release"?      Ugh.

9        Q.       Do you think Gregg had a lot of power

10     over you?

11       A.      Yes.    He did.    He's the whole Middle

12     East Forum.      He's my boss.

13               Think about it.      I love the work that

14     I'm doing, right, like the mission.           I love

15     my kids.    It's hard to get a job in Philly,

16     right.    My kids, I want to spend time with

17     them.    I don't want to be halfway two hours

18     away in D.C.      I want to be with my children.

19     I want to be with my family.          There's no

20     political jobs.      Of course I'm going to do

21     everything I can to keep my job and keep

22     doing the good work of the freakin' Middle

23     East Forum.

24       Q.      Do you think that --


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                                                                    Page 174
1        A.      Yes.    He had, he had tons of power

2      over me, tons, too much actually.

3        Q.      Do you think Gregg knew all of that?

4        A.      Of course he did, yes.        We would talk

5      about it.     I talked about it with them in my

6      interview.     I said, "I want to be close to my

7      kids, I want to be with my family, and there

8      are no conservative political jobs here".             I

9      said it in my interview.         Of course he knew.

10       Q.      Did --

11       A.      Yes, Gregg knows who he has power

12     over, just like he did with Alana, "Oh, I

13     won't give you that New York Times story

14     unless, you know, you come up to my room",

15     embarrassing her in front of people, whipping

16     his penis out and pissing on a wall.            Ew, the

17     man is a predator.

18       Q.      Did he ever outright ask you for a

19     blow job?

20       A.      Yes.

21       Q.      When and how?

22       A.      In Israel.

23       Q.      What did he say?

24       A.      He said, "Don't I just need a


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                                                                    Page 175
1      release?    Don't I deserve a release?           Come

2      on, Lisa.     You can give me a release".         I

3      said, "No, Gregg, stop being gross".

4                And I got a knife and I went -- and I

5      got a knife from the kitchen because he went,

6      he came home twice.       So he came into Israel,

7      right, he came home drunk once that I didn't

8      go out because I had work to do and I don't

9      freakin' drink like that.         So he came out,

10     right, and he came back and he was like that

11     and he said he couldn't get laid by Lea, she

12     turned him down or whatever.          Then he went

13     out again to go try to get laid again when it

14     didn't work the first time, and then he came

15     back a second time and was doing it even

16     more.    The dude is gross.

17       Q.      Are you paraphrasing his words to you

18     or are you quoting him?

19       A.      I'm quoting him.       I remember that day

20     like it was yesterday.        I remember what side

21     of the couch I was sitting on.          It was

22     shocking.

23       Q.      So he said to you, "Don't I deserve a

24     release"?


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                                                                    Page 176
1        A.      Uh-huh.

2                        THE COURT REPORTER:       Yes?

3      BY MR. CAVALIER:

4        Q.      Yes?

5        A.      He said, "I work hard.        I know I have

6      a wife.    We don't really get along", blah,

7      blah, blah, blah, blah.         She wasn't hot.        I

8      shouldn't have married her, but I was young

9      and she was Israeli and I thought it was the

10     right thing to do.       And since then, I've been

11     fucking Lea".      He was talking about Lea's

12     body and how she was so hot and she was a

13     dancer and she was on top of him.           Like I

14     don't need to hear all that.

15       Q.      Sitting here today, do you

16     specifically, and under oath, do you

17     specifically remember Gregg Roman saying to

18     you, "Can't you just give me a release"?

19       A.      Yes.

20       Q.      Do you know why you wouldn't have

21     alleged that in your Complaint?

22       A.      Didn't I?

23                       MR. CARSON:     Objection.     The

24              witness did not draft the Complaint.


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                                                                    Page 177
1                        THE WITNESS:     Isn't that in the

2               Complaint?

3      BY MR. CAVALIER:

4        Q.      Not to my knowledge.

5        A.      Well, it should be.

6        Q.      Okay.

7                        MR. CARSON:     Objection.

8      BY MR. CAVALIER:

9        Q.      Did you -- let's go back since you

10     jumped ahead to Israel there.          In the kitchen

11     after the physical contact, did you tell Matt

12     Bennett what had just happened with Gregg

13     Roman?

14       A.      I don't know if I told him right

15     then.    That night is like -- I told you I was

16     exhausted that night.        We had been, we

17     travelled down from D.C. and we were out all

18     day and all night, and I was walking around

19     in five-inch high heels all night.           I was

20     tired.    I don't really remember.         I just

21     wanted to go to bed, I remember that, and I

22     couldn't leave and I just wanted to go to

23     bed, so I curled up on the couch and I fell

24     asleep.


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                                                                    Page 178
1        Q.      Were you afraid?

2        A.      Not afraid.     There was 100 people

3      there.    That was an exaggeration clearly,

4      100, but there were like, you know, six,

5      seven people, five people there, I don't

6      know.

7                At that, like by the time I curled up

8      on the couch, it was Marnie, Tricia, me,

9      Matt, Gregg, five.       So, like besides Gregg,

10     like those four people wouldn't let anything

11     happen to me.      And Matt wouldn't really let

12     any-, I don't think Matt would have let

13     anything happen to me.        I know Marnie sure as

14     hell wouldn't have, and I know Tricia

15     wouldn't have.

16               So no, I was not afraid.         I was

17     afraid when I was alone and with him in

18     Israel.

19       Q.      Were you uncomfortable at that point

20     in time?

21       A.      Yes.

22       Q.      Why?

23       A.      Because I didn't want to be there,

24     Number 1.     Number 2, I was like forced to be


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1      there.    Number 3, Gregg was just sexually

2      inappropriate with me and he was being weird

3      with the whole Raheem thing.          I just wanted

4      to go bed.       So yes, I was uncomfortable.

5        Q.      Well, let's back up a little bit.

6      When you say you were forced to be there, --

7        A.      Yes, Gregg made me get in the SUV.           I

8      said I wanted to go home like ten times.

9      He's like, "No, you're staying.          You guys are

10     staying".

11       Q.      Let's be clear.      He didn't physically

12     force you to be there, correct?

13       A.      No, he did not physically force me.

14                       MR. CARSON:     Objection.

15                       THE WITNESS:     But like he's my

16              boss.    I prefer not to piss him off

17              and be in trouble the next day and

18              have him treat me bad.

19     BY MR. CAVALIER:

20       Q.      He told you --

21                       MR. CARSON:     And just for the

22              record, objection to the last

23              question.

24     BY MR. CAVALIER:


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                                                                    Page 180
1        Q.      He told you --

2                        MR. CARSON:     Maybe just slow up

3               a little bit, Lisa, just so I get my

4               objections in.      That's all.

5                        THE WITNESS:     Sorry.

6      BY MR. CAVALIER:

7        Q.      He told you he wanted you to be

8      there, correct?

9        A.      Yes.    He said, "You're staying here",

10     yes.

11       Q.      And you interpreted that as an

12     instruction?

13       A.      Correct.    This isn't a hanging out

14     situation.     It's a work situation.        The whole

15     thing was a work event.        Every event, every

16     bar that we went to or whatever, they were

17     work.

18               Like it was like a host company, like

19     a -- Camera, whatever that stands for, I

20     can't remember off the top of my head, but

21     they were like hosting a pa-, like a

22     reception at a bar.       Every one we went to was

23     work related, and then he had work people

24     back at the thing.       He was telling me I had


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                                                                    Page 181
1      to be there.

2        Q.      It's a common thing in this business

3      to be working in social situations, correct?

4        A.      Yes.    I do it now.

5                        MR. CARSON:     Objection.

6                        THE WITNESS:     But that doesn't

7                mean it's a social event.        It's still

8                a work event that is by nature

9                social.   But it is not, it is not a

10              social event.     That is not the prime

11              objective of the night.

12     BY MR. CAVALIER:

13       Q.      So what you're saying is --

14       A.      He was acting as my boss all night.

15     He was not acting as my friend.          It was a

16     work function.

17       Q.      So, if he was acting as your boss all

18     night, is it also fair to say that you were

19     working all night?

20       A.      Yes, pretty much.

21       Q.      So you sleep on the couch at the

22     Airbnb.    Did anything else happen that night?

23       A.      I was asleep.

24       Q.      That's a "no"?


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1        A.       It's a "no".     I mean I was asleep.

2      If it did, I don't know, but I -- because I

3      was asleep.     I don't know if anything

4      happened with other people there, but I was

5      asleep.

6        Q.       Did you notice --

7        A.       I'm sure other stuff happened because

8      people stayed up.       I don't -- you know what I

9      mean?    Like, I don't know, did somebody go to

10     the bathroom?      I'm sure that did happen.

11     Something happened.       I don't know, I wasn't

12     there.

13       Q.      Did anything more happen to you?

14       A.      No, nothing happened to me.

15       Q.      Did you observe Gregg having physical

16     contact with anyone else throughout the

17     night?

18       A.      Other than when he touched Tricia,

19     no, but him and Marnie did going into the

20     bedroom.    I don't know what they were doing

21     back there.     I don't know happened in that

22     situation, but I saw that happen.

23       Q.      How long were they in the bedroom?

24       A.      Five minutes.      It was like when we


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1      first got there, I think.

2        Q.      So you wake up in the morning on the

3      couch at the Airbnb the next day?

4        A.      And I said, "Can we all get out of

5      here, please", and then we all got in an Uber

6      I think and went back to our hotel.           I don't

7      really remember, but yes.

8        Q.      What happened with the rest of the

9      trip?    Anything of note?

10       A.      No.   We all went home.

11       Q.      Okay.    So you get back from AIPAC.

12     Did you ever confront Gregg about what

13     happened in D.C.?

14       A.      No.   Why would I?      He's my boss.      He

15     doesn't like what I say, I'm fired.

16       Q.      Did you ever tell him that he made

17     you feel uncomfortable?

18       A.      No.   That would only, that would only

19     like make Gregg angry and mean and vengeful.

20       Q.      Did you ever tell him that you didn't

21     like being touched by him?

22       A.      No.   Who is going to say that to

23     their boss, "Please don't touch me"?

24       Q.      Did you ever tell him that he made


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1      you feel uncomfortable in social situations?

2        A.       How could he not tell when I jerked

3      myself away from him?

4        Q.       Did you ever verbalize to him that

5      you were uncomfortable with him in social

6      situations?

7        A.       No.   Should I need to?      I mean, like

8      if somebody punches you in the face, you know

9      that's inappropriate, do I need to tell them

10     that that was wrong that they punched me in

11     the face?

12       Q.      Did you ever tell him not to touch

13     you anymore?

14       A.      No.    Should I tell people not to tell

15     me not to -- please don't punch me in my face

16     anymore?    I mean, like you know it's wrong,

17     right?

18       Q.      Did you ever tell Daniel Pipes that

19     you were uncomfortable with Gregg Roman?

20       A.      I hardly ever saw Daniel Pipes.

21     Daniel Pipes would come into the office maybe

22     once a month to pick up his mail, he'd sit in

23     his office, he may come in my office and put

24     a thing on my desk to fax.


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1                I think I had, I think of the hours

2      of time I talked to him before the, like when

3      Marnie went to him with all of our complaints

4      and everything that happened, I probably had

5      talked to him for a total of 20 minutes,

6      including my interview with him.

7        Q.      Did you have his phone number?

8        A.      He's non-existent.       Gregg is -- Gregg

9      runs everything.

10       Q.      Did you have his phone number?

11       A.      No.

12       Q.      Did you have his e-mail address?

13       A.      Yes.

14       Q.      So you at least knew how to contact

15     him?

16       A.      I did.

17       Q.      Prior to --

18       A.      It wouldn't matter anyway.         Gregg

19     runs the whole thing.        Gregg is the MEF.       It

20     is Gregg.     Even when, even when Daniel ousted

21     him, he was still giving Gregg advice.            He

22     was still running the show.         He was still in

23     charge of everything.        He was still in charge

24     of the finances.


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1                He was hiding things from Daniel

2      Pipes, including that he was paying our, half

3      of our insurance or that he spent $400,000 on

4      a website that had nothing happen.           I saw him

5      lie to Daniel Pipes about donors.           Telling

6      Daniel Pipes isn't going to do anything.

7        Q.      Did you ever go to HR at this point

8      in time?

9        A.      Marnie is HR.      And I did tell her

10     when I came back from Israel, well, I

11     attempted to tell her, but then it got

12     awkward and then I didn't say anything.            But

13     I told Matt.     I felt comfortable enough with

14     Matt.

15               Because Marnie and Gregg were like,

16     were like two little peas in a pod kind of

17     thing.    Like Marnie, when Gregg would do

18     things wrong, Marnie would like stick up for

19     him, and like I never understood that, like I

20     never got it.      And that's a lot of the reason

21     why Marnie and I didn't get along for the

22     very first part of like the whole first year.

23     I mean Marnie and I were not like -- we

24     butted heads all the time, and it was because


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1      she had this weird thing with Gregg and I

2      didn't trust her one bit.

3        Q.      Is she a trustworthy person?

4        A.      Yes.    Marnie is loyal.      And see, and

5      that's what she was doing.         She thought she

6      was being loyal to Gregg, to her boss.

7                So yes, Marnie is definitely

8      trustworthy.      It depends on, you know, -- it

9      doesn't depend.      I mean, if she's on your

10     side, you know, she's like, you know, you can

11     trust her with her life, you know.           And

12     that's what, she thought that Gregg, I don't

13     know what she thought he was, but she hitched

14     her wagon to him.

15       Q.      But we don't know how she would have

16     reacted to her, to you telling her about

17     this, right?

18       A.      No.    But I was, I was too nervous to

19     find out.     I didn't want to lose my job.

20               And then again, here's another thing,

21     I'm -- I consider myself, and I told you

22     this, you've heard this before, I'm a strong,

23     independent woman.       I consider myself like --

24     you know, you asked if I was capable -- super


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1      capable, right, and I -- always, people would

2      always say like, "Lisa, you're like one of

3      the strongest women I know", right.           There's

4      something that I am.

5                So I will -- I was willing, like not

6      willing but like I was enduring, I figured I

7      can endure this, it's fine, it's just

8      another -- it's just something for me to

9      overcome.     Like I will sacrifice how I feel

10     in this situation for my kids, for my family,

11     for the mission, for anything, like for the

12     right things, for the good cause.           So it was

13     a matter of just sit and endure it, you know.

14               I'm a conservative woman.         Like I

15     told you, I'm not out, going to be out

16     running around being like, "Ah, I'm a woman,

17     and therefore, I'm vulnerable".          I'm not like

18     that.    I am on equal playing field when I

19     walk into any room with any man.           And so

20     that's not -- I don't do the victimhood

21     mentality thing.      That's not my style.

22     That's not who I am.       So I'm not going to go

23     play victim.     Do you know what I mean?         Like

24     I'm just not, I'm not that person.


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                                                                    Page 189
1                It got -- it's just the problem with

2      Gregg it was just so intense and it wouldn't

3      stop and it was forever that I finally felt

4      like I needed to protect myself, and that's

5      why I went to a lawyer because I needed to

6      protect myself.      That is the only reason.

7        Q.      Okay.    So let's talk about Israel.

8        A.      Let's talk about Israel.

9        Q.      How did your participation in that

10     trip come about?

11       A.      Apparently, Gregg asked Marnie to go.

12     The whole thing was weird about why he wanted

13     anybody to go anyway, right.          He wanted

14     Marnie to go.      First, he asked Marnie to go,

15     and she said no because she's a single woman

16     and she wanted her own hotel room, right.

17     And Gregg was like, "No, we're not doing

18     that", whatever.

19               So then he asked me to go, right, and

20     I was like, "Well, I've never been to Israel.

21     Of course I want to go see freakin' Israel.

22     I want to go to the Knesset.          I want to do

23     all these cool things.        Yes, I'll go".      So

24     he's like, "Okay.       Well, I'll have you work


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1      on this like Little Project", or whatever,

2      some sneaky project he was doing, Saudi

3      thing, I don't know, right, and so -- well, I

4      do know like some of it but I don't really

5      recall all the details, but I don't know who

6      hired him or any of that stuff.          All I know

7      it was called the Little Project and it was

8      about like influencing people on how to do

9      it.

10               So he claimed that like he was

11     bringing me because you weren't supposed to

12     like do that stuff on American soil and I can

13     help him with the PowerPoint presentation and

14     whatever.     But then why would you ask Marnie

15     to go?    I didn't think about this until

16     later.    Like why would you ask Marnie to go?

17     She don't do PowerPoint presentations, right.

18     Like what do you need somebody to go with you

19     on that trip for?       I didn't think about it.

20     I said, "I want to go to Israel.           I've never

21     been there".

22               I had never travelled much at all.           I

23     didn't go on my first airplane until I was

24     25-years old and I went, you know, Vasil-, my


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1      husband took me to Paris.         But like, you

2      know, I'm not well-travelled, and I always

3      wanted to be.      So why not jump on an

4      opportunity to prove to my boss that I can be

5      flexible, I can travel, and I can get work

6      done that he needs and be involved?           Of

7      course I would want to go on that trip.

8        Q.      So the first person that he asked to

9      go on the trip was Matt Bennett, right?

10       A.      First that I know he asked was

11     Marnie.

12       Q.      Okay.

13       A.      I didn't know about him asking Matt.

14       Q.      So, when you heard that this trip was

15     happening and found out that Marnie did not

16     want to go, did you go to Gregg and tell him

17     that you wanted to go?        Did you express

18     interest?

19       A.      Yes.    Well, he said, "Do you want to

20     go"?   I said, "Hell, yes, I want to go.           I

21     want to go.       Let me go".

22       Q.      Okay.    After what happened at AIPAC,

23     you weren't concerned about what you just

24     described to me as all of his creepy


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1      behavior?

2        A.      It's creepy behavior.        But like I

3      said, I'm strong, I can handle that stuff,

4      and normally, I could.        I didn't think that

5      he would be as crazy as he was in Israel.             I

6      never thought that.       Because I've never

7      experienced anything like this.

8                I've never had bosses talk to me like

9      this.    I've never had co-workers treat me

10     like this.     I've never had any of that in my

11     whole life, and I worked in Congress where

12     apparently that's supposed to be rampant.             I

13     mean I was an intern down there mingling with

14     all people.     Nobody ever, ever, ever was like

15     this with me in a work environment, ever.

16       Q.      I understand.      But at the same time,

17     I mean you just --

18       A.      I just told you I'm strong, didn't I?

19     Didn't I just tell you that I would do it and

20     I wanted to go to Israel?         Didn't I just tell

21     you that the reasons that I thought I could

22     handle myself because I didn't expect Gregg

23     to be like that?      So he looks at me --

24       Q.      You did.


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1        A.      So he looks at me creepy here and

2      there, right.      Like okay, well, then let me,

3      let me, you know, tell him it's not cool and

4      get work done.      Maybe if he sees me as an

5      equal, he'll start treating me with some

6      respect.    Maybe if I show him what a good job

7      I do here in Israel and how professional I

8      can be in front of members of the Knesset,

9      then he'll have some respect for me.

10               You don't see how anybody would think

11     that?

12       Q.      Is it fair to say then that what

13     happened at AIPAC didn't bother you that

14     much?

15       A.      Oh, it bothered me.

16                      MR. CARSON:      Objection.

17                      THE WITNESS:      Wait a minute.

18              It bothered me, okay, that much at

19              the time, right.      But, you know, I

20              chalk it up to, okay, maybe he's

21              drinking, he was smoking pot, maybe

22              he's high, right.

23                      Like it bothered me, very much

24              it bothered me, very much it bothered


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1               me.   But did I think that it would be

2               an ongoing thing?       No.   Because who

3               does that?     Who acts like that?

4      BY MR. CAVALIER:

5        Q.      So --

6        A.      And it was an ongoing thing.

7        Q.      So, even though you had this

8      interaction with him with other people around

9      that you consider sexual in nature and it

10     bothered you, --

11       A.      I've never had anybody be like that,

12     so I don't -- so I did not --

13                       MR. CARSON:     Lisa, let him

14              finish the question.

15                       THE WITNESS:     And I was

16              being -- excuse me.       You asked me a

17              question.     I'm finishing.

18     BY MR. CAVALIER:

19       Q.      It's not me interrupting you.

20                       MR. CARSON:     No, there's no

21              question that's asked.        So you know

22              what he's asking you?

23                       THE WITNESS:     I'm sorry.     Say

24              that again.     Say it all over again.


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                                                                    Page 195
1               Go.

2      BY MR. CAVALIER:

3        Q.      My question is:      You just described

4      to me a physical interaction with Gregg at

5      AIPAC that you considered sexual and very

6      uncomfortable?

7        A.      Correct.

8        Q.      That occurred with multiple other

9      people around?

10       A.      Correct.

11       Q.      And it's part of your Complaint in

12     this case?

13       A.      Correct.

14       Q.      But then a month later, you

15     enthusiastically join him one-on-one on a

16     trip to a foreign country where you'd be

17     staying in the same building at least?

18       A.      Correct.

19       Q.      And what I'm trying to understand is

20     how you square those two things.

21       A.      Because, A, I didn't think that there

22     would be any drinking involved in the trip.

23     B, I trusted Gregg that he wouldn't be -- you

24     know, like I didn't think, I don't, I didn't


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1      think that this would happen again.           I

2      thought this was like a one-time weird Gregg

3      moment.    It wasn't.     It turned out it wasn't.

4      I was being naive.

5        Q.      But you also told me that Gregg was

6      constantly weird?

7        A.      He was constantly weird.         But men are

8      constantly weird with me all the time, just

9      never my bosses.      Do you know how many guys

10     hit on me a week?       No offense, like I'm

11     not -- I'm not saying like I'm this most

12     beautiful girl in the world, but like men are

13     constantly looking at me like that.           I can --

14     like I said, I went to the gas station the

15     other day, the 7-11 the other day.           The guy

16     was like, "Nice dress".        I mean people are

17     always leering at me.        Yes, it happens.

18     Should it happen in your work environment,

19     should it make you uncomfortable, should it

20     affect your work product, should it affect

21     your home life and your mental instability,

22     no.

23               Most men look at me.        So I figured

24     that he was one of those most men and I would


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1      just deal with it.       I didn't think that he

2      would solicit me for blow jobs, put his foot

3      up my ass, and like say things that aren't

4      inappropriate and make me actually nervous

5      and scared.     And no, I didn't think that he

6      would be out drinking.        It's not like it was

7      a work thing.      I didn't -- we weren't

8      supposed to be entertaining anybody.            I

9      didn't think he'd be drinking.

10               And the first night I chalked it up

11     to, okay, A, Gregg is creepy all the time; B,

12     this is an isolated incident because he was

13     drinking or high or whatever his excuse was.

14     And like I said, I didn't think he was drunk,

15     but he was definitely drinking and he was

16     definitely freakin' smoking pot.

17       Q.      But I don't understand --

18       A.      I didn't think that any of that would

19     happen now.

20       Q.      So you just said he's creepy all the

21     time but this was an isolated incident?

22       A.      The physical element of it was an

23     isolated incident.

24       Q.      Okay.


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1        A.      That's what I thought.

2        Q.      Okay.

3        A.      I thought that that was a one-time

4      thing that he wouldn't do it again, that it

5      was an isolated incident.         That's what I

6      thought.     I believed that.

7                Because I don't believe that most

8      people are creepozoids like Gregg Roman.

9      Because that's not -- like that would be

10     thinking that everybody is like a terrible

11     person, and I don't believe that about the

12     human race.

13       Q.      So --

14       A.      I didn't actually even believe that

15     Gregg was.     I thought that he was, you know,

16     weird, sad, ugly and maybe needed attention

17     because he didn't get it when he was younger,

18     I don't know.      Like I didn't think he was a

19     bad, horrible human.

20               I thought that he was like okay, he

21     found me attractive, and when he was drinking

22     at an event and smoking pot, that he was, you

23     know, doing whatever he was doing that night

24     and that I did not expect for that to happen


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1      again.    Because in what world would you think

2      that that would happen?

3        Q.      So, just to be --

4        A.      I wouldn't.     I mean, that's not in my

5      world view.     Is that in your world view that

6      everybody is a sexual predator?          Because it's

7      not in my world view.

8        Q.      My world view is not really relevant

9      right now.

10       A.      Well, I just told you mine.

11       Q.      So --

12       A.      You're going to ask me the same

13     question again?

14       Q.      No.

15                       MR. CARSON:     Lisa, let him ask

16              the question.

17     BY MR. CAVALIER:

18       Q.      Because the -- you categorized the

19     physical touching at AIPAC as a one-time

20     incident at that --

21       A.      I thought, I said I thought it was

22     going to be a one-time incident.

23       Q.      Right.    So --

24       A.      And by the way, are you -- I just


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1      answered your question.        Are you trying not

2      to be difficult right now or are you

3      purposely trying to be difficult?

4        Q.      I'm just trying to ask a question.

5        A.      Because the last time I couldn't

6      remember.

7                        MR. CARSON:     Just let him ask,

8               and then you can answer.

9      BY MR. CAVALIER:

10       Q.      Up until that point, was it in fact a

11     one-time incident?

12       A.      The physical touching up until that

13     point, yes.

14       Q.      So you arrive in Israel.

15       A.      And by the way, my mom, because I

16     told her what happened at AIPAC, told me not

17     to go to Israel with him.

18       Q.      Why?

19       A.      Because she saw the signs too.          I was

20     the one that was naive.

21       Q.      What did your mom say to you about

22     Israel?

23       A.      She said, "Don't go.        I don't think

24     it's a good idea".       She didn't trust him.


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1      Mother's intuition, I guess.          Does that count

2      as a thing, that kind of intuition?

3        Q.      But you ignored your mother's advice?

4        A.      I did ignore my mother's advice.

5      I've done that a lot in my life, to my

6      chagrin.

7        Q.      So you arrive in Israel.         What

8      happens when you land?

9        A.      Nothing.    It's fine.      Everything is

10     getting ready, like whatever.          We get there

11     and he's like, "Oh, this place only has one

12     bathroom.     I know I promised you your own

13     bathroom.     I didn't know.      That's like what

14     the advertisement said".         I was like

15     "whatever" at that point.

16       Q.      Did it bother you?

17       A.      We were right in the kitchen.

18       Q.      Did it only have one bathroom?

19       A.      It only had one bathroom, and he

20     promised me two.

21       Q.      Did that bother you?

22       A.      Yes.    I don't want to share a

23     bathroom with him.       I don't want to share a

24     bathroom with any man to tell you the truth.


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1      Like what if I have to use the facilities --

2        Q.      So --

3        A.      -- in the middle of the hallway?

4        Q.      -- did it make you sexually

5      uncomfortable or was it annoying?

6        A.      Well, I had to shower right outside

7      his room, and I don't like to particularly

8      put my clothes on wet steamy.          I like to take

9      my towel and like get in my room and then get

10     dressed, but -- so now I had to like adjust

11     myself because I didn't want to walk around

12     in the ho-, in the room in a towel, yes.             It

13     was --

14       Q.      It was annoying?

15       A.      -- uncomfortable.       Of course it was.

16       Q.      That's what I'm trying to ask.          Did

17     you make that known that you had a problem

18     with the arrangement?

19       A.      No.   I figured I'd deal with it.          I'd

20     just get dressed in the steamy shower.

21       Q.      So, when he said to you, "I'm sorry

22     this place was supposed to have two

23     bathrooms, it only has one, I know I promised

24     you your own bathroom", --


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                                                                    Page 203
1                        MR. CARSON:     Object to form.

2               Assuming facts not in evidence.          Go

3               ahead.

4      BY MR. CAVALIER:

5        Q.      Could you repeat --

6        A.      In a way --

7        Q.      Could you repeat to us what Gregg

8      Roman said about the bathroom situation?

9        A.      He just said -- well, originally,

10     when he said, he's like, "I got us an Airbnb

11     because it's cheaper".        He's like, "You'll

12     have your own room and your own bathroom".

13     And I was like, "Sold.        I'm in.    Fine".

14       Q.      Okay.    So you get there, there's one

15     bathroom.     What did Gregg say?

16       A.      He immediately addressed it, which

17     made me feel like -- like we just walked in

18     like the door and there was like this French

19     guy, he was pretty nice, and the French guy

20     leaves -- maybe he wasn't French, but he was

21     speaking French.      Whatever.     Maybe he was

22     French, I don't know.        Anyway, he leaves, and

23     then that's like the first thing Gregg said.

24     It wasn't like he even like toured around the


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1      place.    It's like he knew.       It's like ugh.

2                Anyway, so that was uncomfortable,

3      but that -- and -- but that was fine.               We

4      were there for a while.

5        Q.      What did --

6        A.      And it wasn't until --

7        Q.      What did he say to you about the

8      bathroom?

9        A.      He just said, "I'm sorry that there's

10     one bathroom.      I know I promised you that

11     you'd have your own".        And I was like

12     "whatever".     What am I going to say at that

13     point?    We're there.

14       Q.      Okay.    Okay.   So then what happened?

15       A.      We went about our business.         We went

16     to the IDF.     We went to the Knesset.         I

17     worked on like the Little PowerPoint

18     presentation.

19               He did tell me not to like put it up

20     on Facebook or put it anywhere because he

21     didn't want Daniel Pipes or his wife to know

22     that I was there.       I thought that was weird.

23     And, accidentally, I slipped and said it to

24     EJ, and I was like, "Uh, EJ, we're having the


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1      project directors' call.         Don't let anybody

2      know that you know that I'm in Israel because

3      Gregg doesn't want none of that".           And he's

4      like, "Why does he want to know that"?              And I

5      was like, "I don't know".         So I thought that

6      was weird.

7        Q.       When did he tell you that?

8        A.       He didn't want Daniel Pipes to know.

9      He didn't want his wife to know.

10               And then like he would have, he would

11     like FaceTime his wife and his kids and like

12     make me go in his room, like not in his room,

13     my room.    My husband, I would FaceTime my

14     husband out in the open, whatever.           Like

15     everybody knows what I'm doing.          That was

16     weird.

17       Q.      When did --

18       A.      When I was on the project directors'

19     calls, he wanted me to pretend like I was

20     still in the United States.

21       Q.      When did he tell you that you

22     couldn't post anything on social media?

23       A.      Before we left.

24       Q.      Okay.    So then you felt that was


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1      weird?

2        A.      Yes.     I mean like why can't anybody

3      know that I'm here?       What's the problem?

4        Q.      Did you think he was trying to pull

5      something with you?

6        A.      I didn't know what it was.         I just

7      thought it was weird.        Like I don't sit there

8      and like analyze every second of everybody's

9      being, by the way.       Like it's not like I'm

10     sitting there thinking, "Ooh, what does that

11     mean?    What's" -- do you know how like I

12     would be?     My head would be cluttered.

13               I got too much stuff to do.         I got

14     kids and a husband and work and bills.            I

15     mean I got a life here.        I can't analyze

16     every five seconds of a statement that Gregg

17     Roman makes.

18       Q.      Right.    But I think it's fair to ask.

19     I mean you said that he creeped you out

20     before.

21       A.      He does.

22       Q.      He creeped you out at AIPAC.          Now

23     he's telling you you can't post on social

24     media.    You find it weird.


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1        A.      I did find it weird.

2        Q.      Yet you're still getting on a plane

3      with him by yourself to go to Israel.

4        A.      True.

5                        MR. CARSON:     Objection.     You

6               can answer.

7                        THE WITNESS:     Clearly, in

8               hindsight, -- hindsight is 20/20,

9               isn't that what they say -- poor

10              judgment on my part.

11     BY MR. CAVALIER:

12       Q.      And at the same time, you never told

13     him, "You're being creepy.         Stop"?

14                       MR. CARSON:     Objection.

15                       THE WITNESS:     He knew he was

16              being creepy.      Please stop

17              insinuating like that man did not

18              know.    Please, you're insulting your

19              own and my intelligence by

20              insinuating that Gregg didn't

21              understand what, how his behavior was

22              making people feel.       I mean he would

23              have to be a total moron to not know

24              how he was making people feel.


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1      BY MR. CAVALIER:

2        Q.      That's not my question.        My question

3      is:    Did you ever tell him, "You are making

4      me uncomfortable?

5        A.      We went over this.       How many times

6      did we go over this?        Do you want me to

7      answer for the 5th millionth time?           No.

8                        MR. CARSON:     Asked and

9               answered.

10                       THE WITNESS:     Didn't I answer

11              that like seven times?        No.   No.

12     BY MR. CAVALIER:

13       Q.      Did you tell him --

14       A.      No.    No.

15       Q.      Did you tell him that it made you

16     uncomfortable that he was instructing you

17     that you couldn't post anything on social

18     media?

19       A.      Yes.    I said, "That's weird".        I did

20     say that.

21       Q.      You told him you thought that was

22     weird?

23       A.      Yes, I did, as a matter of fact.

24     That I did.


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1        Q.      And what did he say?

2        A.      I don't remember.

3        Q.      Did he say it was for security

4      reasons?

5        A.      It's not for security reasons, and

6      no, he did not say that.

7        Q.      So you said, "This is weird" --

8        A.      I think he was, didn't want his wife

9      to know because she would object to it.

10     That's what I think.       I think he probably has

11     a history of cheating and his wife wouldn't

12     like him in a room with a woman.           That's

13     what, that's what I think.

14       Q.      Did you tell him that?

15       A.      No.

16       Q.      You just said, "That's weird"?

17       A.      Yes.    That's how I talk.

18       Q.      You said, "That's weird", and he said

19     nothing and walked away?

20       A.      I don't remember what he said.          Do

21     you not understand that this was two years

22     ago?   I don't remember everything like a -- I

23     don't -- and I don't have super memory.

24                       MR. CARSON:     Obje- -- yes.


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1      BY MR. CAVALIER:

2        Q.      Well, at the same time, I mean these

3      seem like pretty significant events in your

4      life, no?

5                       MR. CARSON:      Objection.

6                       THE WITNESS:      Yes, that's why I

7               remember crystally clear like the

8               actual events that happened, but like

9               the minutia surrounding it is not

10              like that.     I mean that's classic.

11                      I remember if I have a really,

12              if I have an argument with my

13              husband, I can almost remember

14              everything he says verbatim.         Do I

15              remember the conversation I had with

16              him yesterday during the day, no, I

17              don't remember any of that.

18                      Like it's minutia compared to

19              the actual stressful key event.

20                      Can we take a break for a

21              minute?

22                      MR. CAVALIER:      Of course.

23                      MR. CARSON:      Yes.

24                      MR. CAVALIER:      How long you


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1               want?

2                        THE WITNESS:       Five minutes, not

3               even.

4                        MR. CAVALIER:       Five minutes

5               doesn't work.      It never works.      Let's

6               make it ten so that we all get back

7               at 2:43.

8                        THE WITNESS:       Fine.

9                        MR. CARSON:       Yes, I'm going to

10              walk downstairs and grab a coffee.

11                       THE VIDEOGRAPHER:      2:33.

12                             -   -   -

13                    (A recess occurred.)

14                             -   -   -

15                       THE VIDEOGRAPHER:      2:47 p.m.,

16              we're back on the record.

17     BY MR. CAVALIER:

18       Q.      Okay.    So, despite all of the prior

19     history that you guys had, you still wanted

20     to go on the Israel trip, yes?

21       A.      Yes.

22       Q.      So you get there.         There's an issue

23     with the bathroom.       What happens then?

24                       MR. CARSON:       Yes, I'm back.


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1               Not in front of my camera yet, but

2               I'll be there in a second.         You can

3               start though.

4                        THE WITNESS:     What happened?

5               We already went over this.         I -- what

6               are you specifically referring to?

7      BY MR. CAVALIER:

8        Q.      Did you start working?

9        A.      Yes.    I think we went first to, we

10     had an IDF meeting at the --

11                       MR. CARSON:     Wait.    Can you

12              guys --

13                       THE WITNESS:     Wait, what?

14                       MR. CAVALIER:     I can hear you,

15              Seth.

16                       MR. CARSON:     All right.     It

17              sounded like you got started before I

18              got back.

19                       THE WITNESS:     Oh.    Are you

20              back?    I thought you said --

21                       MR. CAVALIER:     We are starting.

22              I thought you were back.

23                       MR. CARSON:     Yes, no, I just

24              got on, but go ahead.        It's okay.


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1      BY MR. CAVALIER:

2        Q.      You had a meeting with the IDF?

3        A.      He did, yes.      And I stayed and

4      answered e-mails in like a, there was like

5      this coffee place I ate at, and then he met

6      me there.     I'm trying to think of what --

7      like I don't know what you want to know here.

8        Q.      Okay.    So was the first day of work a

9      normal workday?

10       A.      Yes.    I think it was until like the

11     second -- we were there for a while.             I think

12     we were there for like seven days or

13     something.     I forget how long we were there.

14       Q.      Okay.

15       A.      It just felt like forever.         I

16     couldn't wait to get home.

17               It was -- Gregg -- I didn't smoke at

18     the time.     Gregg usually chews nicotine gum.

19     He was -- but he smoked there.          And there was

20     this outside balcony and it was kind of cold

21     there or whatever, so he was out there

22     smoking and he was like, "Come out here and

23     talk to me".      So I did.    Like I sat.       This is

24     at nighttime.      Well, I don't know which day


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1      it was, but it was one of the days.           And he

2      sat -- I sat like -- I don't know, like he

3      was one side of this like long couch thing

4      outside.

5        Q.      Okay.    I don't, I'm sorry, I don't

6      mean to interrupt you.        I'm going to ask you

7      to pick right back up.        But we're assuming

8      this is like the second night you're in

9      Israel?

10       A.      Like maybe the second or third.          It

11     was like --

12       Q.      First, early in the trip?

13       A.      Earlier in the trip, right, yes.

14       Q.      Okay.    Up until that point, did

15     anything happen about which you would

16     complain?

17       A.      Physically, no.

18       Q.      In any way?     Verbally?

19       A.      I mean the two incidents that

20     happened there like cloud my memory.            Do you

21     know what I'm saying?        Like it was just like

22     I just -- I hardly remember any of the trip.

23     I remember those things.

24       Q.      That's fair.


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1        A.      Like I remember -- there's certain

2      things I remember.       Like I remember being at

3      the Knesset.      I remember eating lunch there.

4      I remember going to a different lunch with

5      the interior Sud guy.        I remember going, like

6      going out by myself.        I remember going to --

7      like not, Gregg not letting me go see the old

8      city, whatever.      Like there's certain --

9      there's like -- I remember like chunks of it.

10     Like you know what I mean?         I don't know how

11     to explain it.

12               But that, you know, I don't remember

13     exactly what day it was, but I remember that

14     it happened.      You know what I mean?       I don't

15     even remember -- I remember we ate.           I'm

16     trying to, if I could try to think right, we

17     had dinner one night that we got there, and

18     it was fine.      Yes, I don't remember --

19       Q.      Okay.

20       A.      -- anything like that like sticks out

21     other than these like two crazy things.

22       Q.      Okay.    So tell me about the two crazy

23     things.

24       A.      So the one, like I said, he was out


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                                                                    Page 216
1      smoking a cigarette and asked me to come

2      outside.    So I did.

3        Q.      Early in the trip?

4        A.      What?

5        Q.      Early in the trip still, right?

6        A.      Yes.    This is the early in the trip

7      one.

8        Q.      Okay.

9        A.      And he was like -- I sat like further

10     down.    It was like a long couch, and he was

11     like on one side and I was on the other.             So

12     he's like big though.        Like Gregg is tall.

13     So he was like getting comfortable, he had

14     the blanket, he's smoking a cigarette and he

15     like, like moves his body like this, like,

16     you know, to the whatever side to me, puts

17     his feet there, and I was sitting like kind

18     of like, like with my legs up kind of

19     comfortable, you know.        And he slides his

20     like foot like under my butt and he was like,

21     "Oh, I guess we reached a new spot in our

22     relationship.      My foot is on your ass".        I

23     was like, "Gregg".       And then I moved, like I

24     went and moved away or whatever, and then we


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                                                                    Page 217
1      just continued our conversation.           He's like,

2      you know, "You really need to be like my

3      right hand.     It's going to be like me and

4      you.   Like you're my, you know, you're my

5      second in command.       We're going to make you

6      all this.     Like, you know, you're going to,

7      you're going to be leading this.           We'll make

8      you like some type of Chief of Staffer.            You

9      can eventually like run the project

10     directors, you can run the calls, all that

11     stuff".

12               So that incident I was like "ugh,

13     what is this dude doing", like I thought

14     like -- whatever.       And like I said, it was

15     uncomfortable and I didn't like it, but here

16     I am in Israel.      What am I going to do, like

17     find a flight home and go to a foreign, like

18     navigate a foreign country where I don't

19     speak the language and whatever?           Like there

20     were air raid sirens.        I was like nervous

21     there in general.       Like we weren't -- he said

22     the area we stayed in were nice, was nice,

23     but let me tell you, like it was like one

24     building was nice and the next one had


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                                                                    Page 218
1      graffiti on the wall.        Like you know what I

2      mean?    I didn't feel safe there at all.          And

3      Gregg made it feel like it wasn't safe,

4      "Because I got this because there's extra

5      security.     You can see like the camera

6      outside, and like, you know, you need" -- he

7      always kind of like made me fearful in

8      general for my life.

9                Like the reason I said "hey, can I go

10     to the old city", right, like when we went to

11     the Knesset and he was like, "Oh, there's not

12     going to be any time", blah, blah, blah.

13     "Well, I'll just go by myself, and I'll meet

14     you back there".      You know what I mean?        Like

15     let me just go look.       And he was like, "No".

16     He was like, "You're a pretty girl and like

17     something bad will happen to you, and like

18     I'll be responsible for you like getting

19     attacked".     Like he always made me feel like

20     if I left his side or wasn't in that room

21     that something like terrible was going to

22     happen to me.      He just, he was like always

23     like inciting fear.

24               And so when he put his foot under my


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1      leg, under my butt and stuff, I'm like, "What

2      am I going to do here?        How am I going to get

3      out of this situation?        So I'm just going to

4      avoid him".      So that's what I did for the

5      most part.     I tried to avoid him as much as

6      possible.

7        Q.      Let me back you up a second.          You

8      said that he always made you feel unsafe.             I

9      mean it wasn't the safest --

10       A.      While I was there.       When I got to

11     Israel, he made me feel unsafe.

12       Q.      But you also told me that it wasn't

13     that nice a neighborhood, right?

14       A.      Yes.    He made me feel --

15                       MR. CARSON:     Objection.

16                       THE WITNESS:     He made me feel

17              unsafe like -- it wasn't that nice of

18              a neighborhood, and he made me feel

19              unsafe in that like he reinforced

20              that like -- he said it was a nice

21              neighborhood, but like you don't know

22              who is out to get us and you don't

23              know who is like whatever.

24                       Like he made me feel like if I


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                                                                    Page 220
1               wasn't like, I don't know, like

2               attached at the hip to him that like

3               I -- you know, there was a time where

4               like I went out, finally after the --

5               it was the night after the real big

6               incident with him, the blow jobs and

7               all that that like he was like, "I'm

8               having somebody over to the house for

9               meetings.    You can go like walk

10              around".    I was like, "All right.

11              Well, I'm going to go to like that

12              little market that was down there

13              that looked cool or whatever", and

14              that's what I did.       And I went to the

15              beach and like put my feet in the

16              water.    And I was like, you know,

17              thinking and reflecting.        And I tried

18              to stay there as long as possible.

19              And he's like, "Are you coming back?

20              Are you coming back"?

21                       Like just he -- it was like

22              such a bad experience.        It was just

23              like, you know, like he tried to

24              make, Gregg always tried to make,


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                                                                    Page 221
1               like always made you, and this is not

2               just Israel trip, always made you

3               feel like you needed him, like you

4               needed him, he's in control, he's the

5               boss, he's everything, you need him.

6               You know what I mean?        And like --

7               and Israel it was heightened and it

8               was -- and he made me nervous.          And

9               I'm not like a scared person.          I mean

10              I've lived in rough neighborhoods in

11              Philly.    Like that's not -- I'm not

12              that kind of person.       Like I'm not

13              afraid, usually.      And he just made me

14              like uncomfortable.

15                       And so when he touched me like

16              with his foot, like I'm thinking

17              like, "What do I do here?         Do I go to

18              the police?     Do I freakin' leave?        Do

19              I go get my own place?        Like what do

20              I do"?    And I was like, "I'll just

21              avoid him".     I talked to my husband

22              and he was like, "Just avoid him.

23              Just avoid -- just like, you know,

24              but it doesn't have to be work, just


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1               go sit in your room".

2                        And so I tried to be in my room

3               as much as possible.       I even would

4               say like, I even would like make

5               stuff up like, "Oh, my husband is" --

6               it was like weird hours.        "Oh, my

7               husband is calling me.        I'm going to

8               go in my room".      You know what I

9               mean?    Like just I like had to avoid

10              him.

11                       Now, I FaceTimed and like did

12              stuff in front of him, but like that

13              was also like a signal like I'm with

14              my family and doing -- you know, I

15              just, ugh, it was the whole thing was

16              awful.

17     BY MR. CAVALIER:

18       Q.      Given the fact that the neighborhood

19     wasn't that nice and there are air raid

20     sirens going off and you're meeting with

21     certain high-level groups, isn't it possible

22     that his concern for your safety was just

23     legitimate concern for your safety?

24                       MR. CARSON:     Objection.


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1                        THE WITNESS:     I mean it's

2               possible, but that's not, that's not

3               how he made me feel.

4      BY MR. CAVALIER:

5        Q.      Okay.    But you don't have any reason

6      other than your own feeling to believe that

7      that wasn't his motivation, do you?

8        A.      No.

9                        MR. CARSON:     Objection.

10     BY MR. CAVALIER:

11       Q.      All right.     So did you say anything

12     to him when he put his foot underneath you?

13       A.      I said, "Gregg, stop".

14       Q.      Did he stop?

15       A.      Yes.

16       Q.      Okay.    Did you tell anybody else that

17     you encountered on the trip about what had

18     happened?

19       A.      No.    They were his people.       I -- they

20     barely even spoke English, half of them.

21       Q.      You told me that you told your

22     husband what happened?

23       A.      But you said anybody that was on the

24     trip I thought you said.


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1        Q.      Yes, I did.     I'm asking you --

2        A.      My husband wasn't on the trip.

3        Q.      Right.    But you did tell your husband

4      what happened?

5        A.      I did.    I told my husband; my mom;

6      Katherine Urkel, who is the lady that like,

7      well, my work wife.       I told a bunch of

8      people.

9        Q.      Did you ask any of them to try to

10     arrange for you to get home?

11       A.      No.   I mean my husband just said,

12     "Just avoid him", so that's what I did.

13       Q.      Okay.    And so --

14       A.      And my mom goes, "I told you that was

15     going to happen".

16       Q.      Right.

17       A.      "Yes, mom, I'm an idiot".

18       Q.      Right.    But you thought avoiding him

19     was --

20       A.      Sufficient.

21       Q.      -- a practical, a sufficient

22     resolution to the issue?

23       A.      At the time, yes.       In hindsight, I

24     was naive.


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                                                                    Page 225
1        Q.      Okay.    So you're avoiding him, and

2      otherwise, work goes on as normal on the

3      trip?

4        A.      Yes, until he went out that night.

5        Q.      What night?

6        A.      The night before we left.

7        Q.      Okay.    So we're now a couple days

8      after the foot incident --

9        A.      Uh-huh.

10       Q.      -- on the eve of you going back, of

11     everybody going back home, both of you going

12     back home?

13       A.      He had a meeting the next day, and

14     then I think we were flying out -- it was

15     like the night or two before we left.

16     Because the next day he had those meetings

17     that I wasn't a part of and then I walked

18     around, and I think that was my last day

19     there.    And I don't remember if we flew out

20     in the night or first thing in the morning.

21     I can't remember when we flew out.

22       Q.      Okay.    In between the foot incident

23     and the second incident, did anything of a

24     sexually offensive nature occur?


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                                                                    Page 226
1        A.      No.

2        Q.      Tell me about the second incident.

3        A.      So Gregg goes out and he says he's

4      got a meeting, and I'm wondering why I can't

5      go because I had been going to most of them.

6      And he goes out to a meeting and he comes

7      back and he's clearly drunk, and I was

8      working on this PowerPoint presentation.

9      He's clearly drunk, and I'm sitting on the

10     couch.    And there's two couches.         I was on

11     the left-hand side one.

12               And he's like stomping around and

13     talking to me about how he -- he comes in and

14     he was like, "Ugh".       He's like, "Did you know

15     that I had sex with Lea Merville"?           And I was

16     like, "Excuse me.       What?    Lea"?   And I -- and

17     I heard whispers of that from like Matt, but

18     I didn't really believe him because I didn't

19     think Lea Merville would ever sleep with

20     Gregg Roman.     And so he said -- but I didn't

21     hear any details from Matt.         Like I just

22     heard that it happened.

23               And so then I was like, I don't know,

24     like, "Whatever.      Like I don't want to hear


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1      about you sleeping with Lea Merville".            He

2      was like, "Well", --

3        Q.      Did you say that to him?

4        A.      What?

5        Q.      Did you say that to him?

6        A.      No.   I was just like, "I didn't know

7      that".

8        Q.      Okay.

9        A.      No.   Like I said, I was trying to

10     like avoid him.      Like I didn't want to get

11     into a conversation with him, so I'm not

12     going to like talk to him.         Do you know what

13     I mean?    That wasn't my intention to like

14     engage more in conversation.          I was like,

15     "No, I didn't know that".

16               But, anyway, he told me that Lea, he

17     was like, "Did you know she was a dancer?

18     She's got a rocking body.         I fucked her".

19     And I was like -- and then I said, I asked

20     him, "When", right, because like I -- she was

21     our intern there.       And he was like, "When we

22     were in Israel, we met up at an event and she

23     needed her paperwork signed like to certify

24     her internship at MEF".        She was no longer an


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1      intern but she needed this paper for her

2      class credit or whatever.         And he told me

3      that, he said that the paperwork was up in

4      his room and she went up there and one thing

5      led to another and she gave him a blow job,

6      she was on top, I got the whole thing, about

7      her dancer body, and just gross and

8      inappropriate, you know.

9                And he was like -- and then he

10     started like trying to justify like why he

11     was cheating on his wife and that it's hard

12     having three kids and being a director and

13     that it's a lot of pressure and all that kind

14     of stuff.     And that's when he was like, you

15     know, "Sometimes I just need a release.

16     Sometimes I just need a release.           Like why

17     can't I just have a good blow job.           I tried

18     to meet up with Lea and she said no".            And I

19     was like (witness made a sound).

20               So, anyway, he was drunk and he was

21     running around, and I wasn't engaging in that

22     at all, right.

23       Q.      Did you say --

24       A.      That was the extent of my engagement


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1      in him.    So I guess --

2        Q.      You said nothing to him in response

3      to what he was saying?

4        A.      I mean I was just like, "I didn't

5      know that.     I can't believe that you slept

6      with Lea.     She's young".      You know what I

7      mean?

8        Q.      Okay.

9        A.      It was just weird to me.         So he

10     leaves I guess because I'm not engaging in

11     the conversation or whatever.          He's like,

12     "I've got another event.         I'm going out",

13     blah, blah, blah, blah, blah.

14               Then he comes back the second time

15     and says that he tried to meet up with his

16     ex-girlfriend and she denied him too.            And he

17     was like, "I don't know what it takes to just

18     get laid around here.        Like I want a blow

19     job.    I just need a release".        "Lis", -- what

20     was he, what did he say?         He said, "Lis", he

21     was like, "can't you just give me a release"?

22     And I was like, "Gregg, no.         Stop it.     You're

23     being creepy", right.

24               And then I was texting my husband, I


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1      was like, "Gregg is being creepy.           FaceTime

2      me, whatever", and he -- my husband was like

3      laughing like thinking it was funny.            Like I

4      don't think that he understood at the time

5      the severity of like how uncomfortable I was.

6                So then I started texting Tricia, and

7      I like went in my room and I started texting

8      Tricia and I was like, "Dude, Gregg is being

9      disgusting".     And she was like, "What, like

10     AIPAC couch".      And I was like, "No".        Because

11     he was worse than that.        Like he was, you

12     know, like asking me and talking about sexual

13     conquests.     He used the word "conquests", and

14     I remember that.      I remember him just being

15     so crazy.

16               So I got a knife.       I said to her,

17     "I'm going to get a knife and put it under my

18     bed".    Because, A, my door didn't lock it.

19     So the way my room was set up it was a big,

20     glass like wall maybe that had curtains, and

21     my door barely even shut all the way.            It

22     like didn't lock.       And so I was like, "I'm

23     going to put a knife under my bed and sleep

24     with it".     Because he's big.       Like I think


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1      I'm strong and I'm tough, but I can't fight

2      6'5", 300-pound Gregg, like I can't do it.

3      So I slept with a knife under my bed, and I

4      said that to her.       And I came home and I told

5      her, I told my mom, I detailed it in text to

6      Katherine Urkel.      Like I told people.        It was

7      awful.    It was awful.

8                And then when he said I didn't have

9      to go to the meeting the next day, I was so

10     relieved, I just wanted to get out of there.

11     I was gone as long as possible.          I stayed

12     away as long as possible, and I just could

13     not wait to get home.

14       Q.      Did you tell Gregg that he made you

15     so uncomfortable that you slept with a knife

16     in your bed?

17       A.      No.   Why would I tell him that?         I'm

18     afraid of him.

19       Q.      I mean --

20       A.      Especially at that point, he was

21     drunk, out of control.        He was saying crazy

22     things.

23       Q.      The next day --

24       A.      I didn't know how he was going to be


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1      that day --

2        Q.      The next day on the plane ride home?

3        A.      So I can just go missing there and

4      nobody would know, right, like because I'm in

5      this scary land and in this scary --

6        Q.      Okay.

7        A.      -- neighborhood and it's a scary

8      time, and I'm a pretty, tall, white girl

9      according to him.

10       Q.      At the airport --

11       A.      What?

12       Q.      At the airport or on the flight home

13     or when you got back to Philadelphia, did you

14     ever tell him like, "Hey, you made me so

15     uncomfortable in Israel I slept with a knife

16     in my bed"?

17       A.      Do you think I wanted --

18                       MR. CARSON:     Objection.

19                       THE WITNESS:     -- to lose my

20              job?

21     BY MR. CAVALIER:

22       Q.      It's your belief that you would have

23     been fired for telling your boss he was

24     making you uncomfortable?


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1        A.       Yes, a hundred thousand million

2      percent.

3        Q.       Did you ever tell Gregg that you had

4      something that was concerning you but you

5      were afraid that if you told him he would

6      fire you?

7        A.       No.   But he noticed he -- he noticed

8      the change in me because he brought it up to

9      Marnie.

10       Q.      What do you mean by that?

11       A.      Like I was not the same old like

12     nice-to-him Lisa and like I was different.

13     And Marnie said -- and then Marnie said --

14     and then he started like right away, it was

15     like, "Lisa is not going to sleep with me.

16     There's no use for me, for Lisa anymore

17     really".    Like it was like a day after we got

18     back or something, and then he started

19     criticizing something I did.          I don't

20     remember what it was.

21               And I sat down and talked to Marnie

22     about it, and she was telling me like what

23     his issue was, which was weird because Gregg

24     normally would come to you.         He wouldn't go


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1      to like a third party.        So -- and I was like,

2      "Really?     After the way he acted in Israel,

3      that's how -- that's -- like he's going to

4      complain about this the way he treated me".

5      And she goes, "What are you talking about"?

6      And I was like, "Nothing, never mind".

7      Because I -- and she tried to pull it out of

8      me.    She was like, "What happened in Israel"?

9      And I was like, "I'm not getting into this".

10               And I told Matt, and I told Tricia.

11     And Matt was like, "Well, we should do

12     something.     We should go to Daniel.        We

13     should do something".        And I was like, "I

14     don't want to get involved.         Like I don't

15     want to lose my job.       I'm like not interested

16     in this.    It would be bad for my reputation

17     as like a conservative pers-, like Me Too

18     person".    And we had lengthy, lengthy

19     conversations.      I would sit in Matt's, on

20     Matt's floor in his office and complain to

21     him and tell him everything.

22       Q.      Okay.

23       A.      Matt knew everything.

24       Q.      So --


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                                                                    Page 235
1        A.      Tricia knew everything, and right

2      away.

3        Q.      Did you say you talked to Marnie?

4        A.      I started to talk to Marnie.          I said,

5      "With the way he acted in Israel and this is

6      how he's going to be, the way he treated me".

7      And she's like, "What happened in Israel"?

8        Q.      She tried to get it out of you?

9        A.      And then she told me later that Gregg

10     told her that I came onto him in his room.

11     Like on what freakin' planet.

12       Q.      So I just want to, I want to clarify

13     something.     You told me that Marnie tried to

14     pull the story of what happened in Israel out

15     of you?

16       A.      She did.

17       Q.      That's what you said?

18       A.      Uh-huh.

19       Q.      But you just terminated that

20     conversation?

21       A.      Well, I start- -- I was about to open

22     up to her, but something in me was like

23     don't.    Because she's in like Gregg's pocket.

24       Q.      So you didn't tell her the story?


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                                                                    Page 236
1        A.      Uh-uh.    I didn't tell her.       I just

2      told Matt and Tricia.        I trusted them.      At

3      the time, I wasn't, I wasn't like on good

4      terms with Marnie like.

5        Q.      What was Matt's, what was Matt's

6      position at the time?

7        A.      The Director of Development.

8        Q.      And he said that you should go talk

9      to Daniel Pipes with him?

10       A.      He suggested it, and he said we

11     should go to Daniel Pipes with him.           And then

12     Tricia is like, "You should definitely do

13     something about it because what if it's

14     another girl".      And he's like, "I've got

15     Caitriona starting soon.         Like what if this

16     happens to her", blah, blah, blah, blah,

17     blah.

18               And I was like, "I know", and -- but

19     I was really hesitant because I kept thinking

20     about my job and my money and my kids and,

21     you know, all of that.        Like I didn't want

22     to, I didn't want to lose a job, and I didn't

23     want to ruin my reputation.

24       Q.      So, in the end, you told Matt and


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                                                                    Page 237
1      Tricia, what, "thanks for the advice but no

2      thanks"?

3                        MR. CARSON:     Objection.

4                        THE WITNESS:     Well, no.     I

5               think we collectively, collectively

6               decided that like, "Okay, well,

7               nobody is going anywhere with Gregg

8               after that again anymore, and like

9               just to watch out.       And just come

10              into work, do your job, and then go

11              home".

12     BY MR. CAVALIER:

13       Q.      Okay.    Okay.   Did you ever have text

14     message conversations with Gregg in which you

15     referred to him as, quote, baby?

16       A.      I don't think so.

17       Q.      Do you ever remember having text

18     message conversations with Gregg Roman where

19     you said to him that, "You should feel

20     comfortable telling me when you're upset"?

21       A.      He should feel comfortable --

22                       MR. CARSON:     Objection.

23                       THE WITNESS:     -- telling me

24              when he was upset, yes.


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                                                                    Page 238
1      BY MR. CAVALIER:

2        Q.      Why?

3        A.      I probably said that.

4                        MR. CARSON:     Objection.

5                        THE WITNESS:     It's definitely

6               something I would say.        It's

7               something I say to everybody.

8                        MR. CARSON:     Lisa, let me get

9               the objections in.

10                       THE WITNESS:     Sorry.

11                       MR. CARSON:     I'm going to

12              object to the mischaracterization of

13              the text message.       I think you should

14              show her the text message, work text

15              message.

16     BY MR. CAVALIER:

17       Q.      You said that you -- he should feel

18     comfortable telling you when he's upset.              Why

19     do you, what do you mean by that?

20                       MR. CARSON:     Objection.     If

21              you're going to show her a text

22              message, I think you should show it

23              to her.

24                       MR. CAVALIER:     I'm not


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                                                                    Page 239
1               referring to the text message

2               anymore.

3                       MR. CARSON:      Okay.

4                       MR. CAVALIER:      I'm referring to

5               the witness' testimony.

6                       MR. CARSON:      I'm going to

7               object based on the fact that you're

8               talking about a text message that you

9               haven't presented to the witness that

10              was sent a long time ago.         But if she

11              remembers, she can --

12                      THE WITNESS:      I do want to know

13              about the "baby" thing.

14     BY MR. CAVALIER:

15       Q.      We'll get there.

16       A.      Well, can we get there now since we

17     were there first?       Because that's the first

18     question you asked me.        So I'd like to go to

19     that first.

20       Q.      Well, I can appreciate that, --

21                      MR. CARSON:      Lisa, --

22     BY MR. CAVALIER:

23       Q.      -- but I have a question pending.

24                      MR. CARSON:      He's going to do


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                                                                    Page 240
1               the dep in the order he wants to do

2               it in, but like -- yes, my objection

3               is on the record.

4      BY MR. CAVALIER:

5        Q.      You said when I asked you that

6      question that, "He should feel comfortable

7      telling me when he's upset".          Do you

8      remember --

9        A.      Yes.    Everybody should feel

10     comfortable telling me when they're upset.

11     Because I'm an honest, good person, and

12     people should be able to tell me when they're

13     upset or unhappy with my work performance or

14     anything like that.       Like I'm not going to

15     freak out.

16               But, see, Gregg saw me as a

17     liability, so of course he wasn't going to

18     tell me when he was upset.         He's going to

19     tell other people.       Because now I'm a

20     liability just like Eman was to him, --

21       Q.      Why do you say that?

22       A.      -- a liability.      So, of course, I

23     would say "yes, I want you to tell me if

24     you're upset with me or my work performance",


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                                                                    Page 241
1      of course.

2        Q.      Why do you view yourself as a

3      liability?

4        A.      What?

5        Q.      Why do you say --

6        A.      Because he knows what he did to me.

7                        MR. CARSON:     Yes, objection.

8               She said Gregg viewed her as a

9               liability.     She didn't say she viewed

10              herself that way.

11                       MR. CAVALIER:     That's fair

12              enough, Seth.

13     BY MR. CAVALIER:

14       Q.      So why do you, why do you feel that

15     Gregg viewed you as a liability?           Did he ever

16     say that to you?

17       A.      It was the way he treated me.

18       Q.      Did he take your responsibilities

19     away?

20       A.      He kind of did.      I mean over time --

21     after Israel, like he starts downplaying

22     stuff and giving me stuff that he thought was

23     rough.    That's the reason why I got the Tommy

24     Robinson thing.


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                                                                    Page 242
1                The Tommy Robinson project was not,

2      was absolutely not like an extra

3      responsibility.      It was something that Gregg

4      was pawning off on me because he didn't want

5      to do it.     He thought it was ridiculous.

6        Q.      Did he ever tell you you were a

7      liability?

8        A.      No.   He told me Eman was, so I know

9      how he thinks.

10       Q.      But you're Caucasian?

11       A.      He said she was a woman, she was a

12     lesbian, and she was a Muslim.          That's what

13     he said.

14       Q.      But you're not a Muslim?

15       A.      He gave me those three things.

16       Q.      But you're not a Muslim?

17       A.      I'm a woman.     I qualify for one of

18     those.

19                      MR. CARSON:      Just wait for a

20              question.

21                      THE WITNESS:      Sexually

22              harassed.

23                      MR. CARSON:      Just wait for a

24              question.


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                                                                    Page 243
1                        THE WITNESS:     And he admitted

2               to it.

3                        Let's all not forget Gregg,

4               wait, let's not forget that Gregg

5               admitted to all of this, and he said

6               he did it because he was a social

7               junkie.    That was his excuse.        He

8               admitted it.     It's in e-mail.       He

9               admitted all of it.

10     BY MR. CAVALIER:

11       Q.      Just to be clear, you don't share the

12     same characteristics that Eman does, right?

13       A.      I'm a woman.

14       Q.      But you're not a Muslim?

15       A.      So what.

16       Q.      You're not a lesbian?

17                       MR. CARSON:     Just answer the

18              question.

19     BY MR. CAVALIER:

20       Q.      Correct?

21       A.      Yes, correct, correct.

22       Q.      Is Gregg Roman a direct person?

23       A.      No.

24       Q.      He had power over you?


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                                                                    Page 244
1        A.      Yes.

2        Q.      While you were in Israel, did he ever

3      outright ask you for a blow job?

4        A.      I just told you "yes".        He said --

5        Q.      You told me --

6        A.      No, not a blow job.       A release.

7        Q.      A release.     So --

8        A.      A release.

9        Q.      -- the answer to my question about

10     the blow jobs is "no"?

11                       MR. CARSON:     Objection.     That's

12              a mischaracterization of her

13              testimony.     Go ahead.

14     BY MR. CAVALIER:

15       Q.      Did he ever specifically ask you for

16     a blow job in Israel?

17       A.      Let's characterize what he did say.

18       Q.      Sure.

19       A.      He said, "I just want a blow job.           I

20     need a release.      Lisa, can you give me a

21     release"?

22       Q.      Okay, fair enough.       Did he say

23     anything else that was sexual in nature

24     during the Israel trip besides that?


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                                                                    Page 245
1                       MR. CARSON:      Objection.     Other

2               than everything she already testified

3               to?

4                       THE WITNESS:      He also put his

5               foot on my ass and --

6                       MR. CARSON:      Are you talking

7               about in addition to everything else

8               she already testified to, anything

9               else beyond that?

10                      MR. CAVALIER:      All right.     I'll

11              clarify the question.

12     BY MR. CAVALIER:

13       Q.      Besides his remark when he put his

14     foot under you and besides the comment about

15     needing a release, can you give him a

16     release, did he --

17       A.      And besides him explicitly detailing

18     his sexual encounter with Lea Merville,

19     besides him explicitly talking about his

20     sexual relationship with his wife, besides

21     him explicitly talking about his sexual

22     relationship with his ex-girlfriend, besides

23     him talking about all his other

24     ex-girlfriends and sex for a long time?


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1                Maybe.    Not that I recall right this

2      second.    Maybe he did.      Maybe he didn't.

3      They're the ones that stick out in my mind.

4        Q.      Did he ever specifically, other than

5      the comment about needing a release, ask you

6      for anything that you would have interpreted

7      as a sexual favor during the Israel trip?

8        A.      No.

9        Q.      You mentioned Tommy Robinson.          You

10     said, "That's why I got the Tommy Robinson

11     thing".    What did you mean about that?

12       A.      Why I got the Tommy Robinson project.

13       Q.      Right.

14       A.      It was like a nothing to him.          He

15     hate -- he thought the whole thing was

16     ridiculous and stupid.

17               So like you were, like you asked me

18     if he gave me increased responsibility.            No.

19     As a matter of fact, --

20       Q.      But you didn't --

21       A.      -- he made me start making more

22     meetings and doing dumb stuff that I hated

23     and he would criticize things, and they would

24     make things up that I did wrong or didn't do


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1      wrong or whatever.       It was non-stop.

2                Let me tell you, Gregg Roman is a

3      machine of a terrible person.          I kept

4      thinking in my head that there was some

5      redemption in this man.        There isn't.      He is

6      a terrorist to women.

7        Q.      Was the Tommy Robinson project a

8      nothing project?

9        A.      According to -- well, he thought it

10     was in the beginning until it got blown up,

11     and then he made comments about like, "I

12     haven't even met this guy, and you're on CNN

13     and I'm not.      This is -- I can't believe how

14     big this has gotten.       This is ridiculous".

15       Q.      Did that upset you?

16       A.      He thought it was a nothing until it

17     got to be something.

18       Q.      Did it upset you that he treated it

19     that way?

20       A.      Huh?

21       Q.      Did it upset you that he treated it

22     that way?

23       A.      I mean partially yes, partially no.

24     Like do I think that I should, you know, be


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1      recognized for doing a good job or whatever,

2      yes.   Do I understand that like Gregg demeans

3      anything that I did after that point,

4      absolutely.

5                Like before Israel, he would like

6      talk me up and be so proud, and blah, blah,

7      blah, blah, blah.       After Israel, everything

8      changed.    He would still be sexually gross,

9      and then he started treating me like shit.

10     So it was like the weirdest thing ever.

11       Q.      Okay.    Well, so then let's talk about

12     the period of time between Israel and

13     November, early November 2018.          Was Gregg

14     still making sexual comments to you during

15     that period of time?

16       A.      Not comments, but still overtures.

17     Still talking about women and making me watch

18     his deejay videos and like breathing down my

19     neck, making me sit close to him.

20               There was other times where he was

21     like, you know, after Israel, like he would

22     try the whole, you know, "Lisa, it's just me

23     and you" thing, like "we're a team", you're

24     my partner", "you're my number 1 here", like


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1      that kind of thing but like in that like

2      whatever way.      You know what I mean?        Like he

3      would be like -- or if I wore flats, he'd be

4      like, "You're not wearing your high heels

5      today", like.

6        Q.      I'm having trouble reconciling this

7      again.    Because on the one hand you're saying

8      he's treating you like shit, and then on the

9      other hand you're saying he's saying "you're

10     my number 1 partner, I need you" and all

11     this.

12       A.      Correct.    Correct.

13       Q.      So it sounds to me like whether he

14     praises you or criticizes you you're upset

15     about it?

16       A.      No.   Oh, no, no.      This is because --

17                      MR. CARSON:      Wait.    Wait.

18     BY MR. CAVALIER:

19       Q.      Is that the case?

20                      MR. CARSON:      Let me get an

21              objection in.     I'm going to object to

22              the mischaracterization of the prior

23              testimony.     Object to form.

24              Argumentative.      You can answer.


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                                                                    Page 250
1                       THE WITNESS:      Okay.    This is

2               the deal, Gregg would do these little

3               things to manipulate.        Like he would

4               say "you didn't get this whatever

5               out" or "I don't like the way the

6               project director minutes went out

7               today", like, "I don't like the

8               format they were in", which is the

9               format they were always in, or

10              whatever, something like that, right,

11              and he would start nitpicking at like

12              weird things.

13                      So then they did -- this is

14              like the strongest example of it in

15              my mind, which happened after like we

16              went to Daniel Pipes, but here's an

17              example of this kind of stuff that

18              they would always do.        So there was a

19              call where we were on the phone,

20              project directors' call, and this is

21              when I was like supposed to be

22              putting articles out.        And so I was

23              supposed to be putting articles like

24              on, like out like sending them to our


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1               subscriber list.      And on the call, it

2               was like, "Hey, we're not sending

3               like the IW newsletters out anymore".

4               And I was like, "Well, nobody did

5               that before me", right.

6                       So then he goes -- now, Daniel

7               Pipes wasn't on the directors' call.

8               So then he goes and must have said

9               something to Daniel Pipes.         So Daniel

10              Pipes says, "Lisa, it's come to my

11              attention that you haven't been

12              sending out the IW articles", and I

13              was like, "Well, nobody ever told me

14              that I had to.      The project director

15              didn't tell me to.       It's not

16              something that anybody before me did.

17              Because I sat in on the training for

18              the first, for the two people that

19              did it before me".       And so he's like,

20              "This is unacceptable", whatever

21              happened.

22                      So then I went to the guy who

23              did the job before me in May, and I

24              said, "Hey, did you send out these


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1               articles"?     And he goes, "No.       Here's

2               an e-mail list, a chain that we

3               weren't going to do that anymore".

4               Both CC'd on there was Daniel Pipes

5               and Gregg Roman.      I brought that to

6               their attention.      All of a sudden,

7               that went away.

8                       So what he would do is he would

9               smile and be like he's nice but then

10              he would do those terrible,

11              manipulative things; that he knew he

12              sent the directive out not to put the

13              IW articles out and then accused me

14              of not doing my job.       That's the kind

15              of things he would do.        He was awful.

16                      And then he would call me.          He

17              would call me at 11:00 at night, "I'm

18              driving home.     I need to rant.       You

19              need to take down my thoughts".          Like

20              no, not at 11:00 at night.         He would

21              call me at home and I would have to

22              send him videos, "Gregg, this is what

23              I'm dealing with.       This is my kids.

24              I can't handle, I can't talk to you


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1               right now.     It's past work hours".

2               He would do those things.         He would

3               do those abusive like lying,

4               manipulating things, and then he'd

5               smile in your face and still tell you

6               "where is your high heels".         Like he

7               is that person.      So please do not

8               mischaracterize me whether it's

9               praising me or not praising me.

10                      He did tell me, yes, he would

11              try to like butter me up like "oh,

12              yeah, you're my number 1, you'll be

13              in charge of this, you'll be this".

14              All those things never came to

15              fruition of course, clearly not.          But

16              then he would undermine my work, and

17              it wasn't because I wasn't doing a

18              good job.    It was because of Gregg

19              and how he runs his show and how he

20              lies and manipulates.        And it was

21              almost like I was, like as soon as I

22              wouldn't sleep with him, I was

23              expendable.     But if he felt like, if

24              he felt like "mmm, maybe I might try


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1               again and see how it happens" and

2               that didn't work out, then I was

3               expendable again.       If I didn't kiss

4               Gregg's ass, he would treat me like

5               shit.

6      BY MR. CAVALIER:

7        Q.      Okay.    All right, fair enough.        Let

8      me, let me ask you about that then.           If -- do

9      you feel like when you were kissing his ass

10     he treated you well?

11       A.      Yes.    I mean like here's an example.

12     If he would call me and I would actually

13     answer the phone at 11:00 at night, the next

14     day I would have a decent workday, right.

15     And if I didn't like, if he didn't say

16     something like, you know, like "oh, come look

17     at my video on the thing and like stand next

18     to me", if I didn't do those things, the next

19     day he was, he would nitpick my work.            They

20     were directly correlated.         He would nitpick

21     my work or he would do something.

22               So absolutely, if I didn't like be at

23     his beck and call or I was even like showing

24     the least like bit of displeasure in him, the


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1      next day he was an animal.         It would be "you

2      went to the bathroom today six times" or it

3      would be "your" -- "you went to the bathroom

4      six times" or "oh, your door was closed, your

5      office door was closed for an hour today, who

6      are you on the phone with, what are you

7      talking about, what are you doing".           Like it

8      was an interrogation all the time.           It was

9      unbearable.     It was awful.

10       Q.      Did you think about quitting?

11       A.      I did.    I did.    I actually put a

12     couple resumes out.       I did, and I wasn't

13     getting much back and so I stayed.           I did

14     think about quitting.        At that point after

15     Israel, especially like it got worse as time

16     went on, I did think about quitting.            I

17     thought about quitting more than once.

18       Q.      So let me understand what you mean by

19     that "it got worse".       Did it get worse in a

20     sexual sense or did it get worse in a he's

21     being an asshole sense?

22       A.      Both.

23       Q.      Okay.    So tell me how --

24       A.      Because the sexual stuff continued,


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1      okay, right.     And it wasn't like, it wasn't

2      like the direct assault kind of things,

3      right, but it was like the innuendo, the

4      breathing down your neck, like the high heel

5      stuff, like my clothes.

6                Like the sexual stuff was still

7      there, but on top of the sexual stuff, then I

8      got the -- on top of that, it started like

9      the hostility and like the negativity.            It

10     was like both.      It was compounded, and it was

11     brutal.

12       Q.      Did you ever have a conversation with

13     Gregg during that time about how you were

14     feeling?

15       A.      I had said to him a number of times

16     -- like one time he picked up the phone and

17     he screamed at me.       He was screaming at me.

18     He called me at home to apologize because he

19     was screaming so loud that I walked out.             I

20     walked out of the office.         I hung up on him

21     and I said, "You don't speak to anybody like

22     that", and I walked out of the office.

23               He was brutal to me.        You don't know.

24     You didn't live it.       You think it's a joke


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1      because you're this fucking lawyer.

2                        MR. CARSON:       If you need a

3               minute, Lisa?

4                        THE WITNESS:       No.   This sucks,

5               man.    Because Gregg Roman gets to

6               treat everybody like this and he gets

7               away with it.

8                        MR. CARSON:       Jon, why don't we

9               just take just two minutes so she

10              can --

11                       MR. CAVALIER:      You want to take

12              five?

13                       MR. CARSON:       Yes, just five

14              minutes.    Okay, thank you.

15                       THE VIDEOGRAPHER:        3:24 p.m.,

16              we're off the record.

17                             -   -   -

18                     (A recess occurred.)

19                             -   -   -

20                       THE VIDEOGRAPHER:        The time is

21              3:33 p.m.    Back on the record.

22     BY MR. CAVALIER:

23       Q.      Who is Tommy Robinson?

24       A.      Political activist, citizen


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1      journalist out of the U.K.

2        Q.      How did you become aware of

3      Mr. Robinson?

4        A.      Not aware of Mr. Robinson until Gregg

5      called me in his office and said "we have a

6      donor who wants to donate money to this

7      person" and that he wanted to find a way to

8      help him, and we were thinking about ideas.

9      That was the first time I ever heard of him,

10     which is funny because apparently my dad had

11     heard of him before.       And I told my dad what

12     I was doing at work, and he goes, "I know

13     that guy.     I watched his videos".        So I

14     didn't know who he was until then.

15       Q.      So Gregg brought it to your

16     attention?

17       A.      Correct.

18       Q.      What did he instruct you to do?

19       A.      He said that we would find ways, like

20     they do demonstrations in the U.K. and like,

21     you know, we could bus people to the court

22     proceedings and whatever, but like let's look

23     at ways to do this.

24               So I went looking on Facebook and I


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1      found a guy who was throwing a rally in the

2      Forgan (ph) in support of Tommy Robinson and

3      he already had 5,000 people interested in

4      going to the march, and I thought that that

5      was a considerable amount and I brought it to

6      Gregg's attention.       I said, "I found this guy

7      and this is what he is".         And he's like,

8      "Well, get in contact with him", and that's

9      what I did.      So I think I Facebook

10     Messengered the guy and, Danny Tommo, and we

11     went from there.

12       Q.      So I have two follow-up questions

13     just to clarify points.        "Danny Tommo" is

14     Danny Thomas?

15       A.      Yes.    I'm sorry.     He was on Facebook

16     as "Danny Tommo".

17       Q.      You don't have to apologize.          I know

18     who you're referring to and you'll know who

19     I'm referring to if we say "Danny Tommo", so

20     that's fine.

21               And I just want to be clear.          Did

22     Gregg task you with finding out ways to go

23     about supporting Tommy Robinson?

24       A.      Yes.


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1        Q.      Okay.    So was that a normal part of

2      your job to support things like this or to

3      find ways for the Forum to support things

4      like this?

5        A.      Yes.    I mean like, you know, I would

6      have to -- you know, he would ask me to like

7      come up with ideas all the time on different

8      things, like, you know, new places to go,

9      donors to meet, whatever.

10       Q.      Okay.    He valued your input on those

11     kinds of things?

12       A.      It was my job.      I don't know if he

13     valued it or not.       I can't make assumptions

14     on Gregg's value judgments, but he expected

15     me to do my job and that was to do the things

16     that he asked me to do.

17       Q.      He asked you for your ideas

18     regularly?

19       A.      Yes.    I mean yes, I guess.       For the

20     most part, yes.

21       Q.      Okay.

22       A.      That was what my job was.

23       Q.      Okay.    So did Tommy Robinson, did

24     Tommy Robinson's platform align with the


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1      mission of the Forum?

2        A.      Yes.    I mean absolutely.       They had

3      supported Tommy Robinson in the past

4      apparently.      They paid for some of his legal

5      defense in the past.        It definitely aligned

6      with the mission, yes.

7        Q.      Okay.    So you reached out to Danny

8      Tommo?

9        A.      Uh-huh.

10                       THE COURT REPORTER:       Yes?

11     BY MR. CAVALIER:

12       Q.      And then what happened?

13       A.      Yes.    I'm sorry.     Yes.

14       Q.      So what did you tell Danny Tommo when

15     you reached out to him?

16       A.      I said, "We have a donor" -- well, I

17     said, "I see that you're having a rally.

18     We -- I'm from this organization from the

19     United States.      They supported Tommy in the

20     past and they want to support him now, and we

21     have a sizable amount of money", which I

22     think at the time was 20 or $30,000 and, --

23     yes, 30, 20 or 30, something like that -- and

24     that a donor specifically wanted to designate


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1      to Tommy Robinson and that we could help make

2      this demonstration bigger, get speakers and

3      bus people in.

4                And we were looking at all different

5      ways to make that happen.         We were trying to

6      bus people in, but that was difficult because

7      bus companies didn't want to participate and

8      it was hard to like get the logistical

9      things.    And so Gregg made the decision, so

10     like I presented him the options and, you

11     know, like all the things, and Gregg like

12     made the decision on how we were going to

13     move forward.

14       Q.      So you said the bus companies didn't

15     want to participate.       Is Tommy Robinson's

16     message or persona controversial in England?

17       A.      Yes.    He's definitely

18     mischaracterized in the media, but yes, he's

19     definitely a controversial figure.

20       Q.      In what respect?

21       A.      So he speaks out about

22     Muslim-grooming rape gangs.         That's his like,

23     his thing that he started.         He is

24     anti-Islamic extremism and they have a heavy


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1      Muslim population in the United Kingdom, so

2      he's pretty unpopular.

3        Q.      Okay.    And was he in prison at this

4      time?

5        A.      He was.

6        Q.      For what?

7        A.      He had, he had gone to a trial

8      hearing.    It was a Muslim rape gang.          I think

9      there was like seven men, if I recall

10     correctly, that were on trial.          They had

11     already, they had already been like convicted

12     or something like that.        Like the verdict

13     came down and now they were like going to

14     sentencing I believe.        And so Tommy went and

15     he checked on the door to see if there were

16     court reporting restrictions because their

17     rules are clearly different than ours, and he

18     didn't see any on the door.         He actually went

19     in the office and asked if there was any

20     court reporting restrictions.          They said they

21     weren't aware of any.

22               So, in the amount of five hours, he

23     was reporting, the police came, they arrested

24     him on contempt of, I'm sorry, disrupting the


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1      peace originally was what they told him he

2      was charged with when they picked him up, and

3      then in the matter of five hours, he was

4      charged and no jury trial.         And they changed

5      his thing to contempt of court, and contempt

6      of court doesn't need a jury.          And so they

7      imprisoned him for asking these defendants

8      how they felt about their verdict and

9      videotaping them.

10               And he was sentenced to I think it

11     was like 18 months or something crazy in

12     prison, and because the prisons are heavy

13     Muslim population, he basically wound up in

14     solitary confinement for those months.            I

15     mean both times he was in he was in solitary

16     confinement and he was by himself.           So it was

17     really like a torture sentence for this

18     violation of court reporting restrictions,

19     although they didn't comply with their own

20     thing, so -- and all he was doing was asking

21     these people, you know, whatever.

22               So, end of story, that's why he was

23     in prison and that's why we threw a

24     demonstration.      Because, clearly, he didn't


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1      do anything wrong, and he was -- and later,

2      he was found innocent of those charges, so --

3        Q.      Okay.    Just for my own ignorance, and

4      please forgive that, but what is a Muslim

5      rape gang?

6        A.      So there are these rape gangs in

7      England called grooming gangs, and they are

8      majority Pakistani Muslim gangs.           I mean it's

9      a thing there.

10               There's a town in Rotherham where

11     there were, there was like 3,000 Muslims in

12     the whole town, there were like 3 percent,

13     3,000 Muslims in the whole town, yet 1,700

14     girls were victim to this and I think there

15     was over 700 men participating in this rape

16     gang, and -- it was 14, I'm sorry, 1,400

17     girls were sexually exploited.

18               So these grooming gangs, as they

19     called them, they lure girls into like pizza

20     and chicken shops, because like they own

21     these pizza and chicken shops, they give them

22     drugs, they give them whatever, and then they

23     sexually abuse them, they call them infidels

24     and they -- it's religiously-based a lot of


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1      it and they exploit these young girls as

2      young as ten-years old, and it has been

3      covered up in the United Kingdom for quite a

4      while now.       And it's finally being reported

5      on, but it's only being reported on because

6      Tommy Robinson really like highlighted a lot

7      of it.    You can look it up.

8        Q.      I can hear it in your voice.          This is

9      a cause you're passionate about, yes?

10       A.      Yes.    I don't want to see any little

11     girls get raped.

12       Q.      Sure.    But I mean your support of

13     Tommy Robinson in speaking out against this

14     is something you're passionate about, yes?

15       A.      Yes.

16       Q.      Okay.    So you reach out to Danny

17     Tommo and you tell him, "We have money.            We

18     want to help you, we want to help you with

19     your rally"?

20       A.      Right.    And he said that he had

21     reached out to like Raheem Kassam.           Because

22     Raheem has done stuff with, the same Raheem

23     from AIPAC, that Raheem had done stuff with

24     Tommy in the past.       He did like a free speech


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1      event once and -- but he couldn't get

2      anywhere.       And I was like, "Well, I know him.

3      We can put you in touch with him.           We can get

4      line-up speakers, and we did a" -- like, and

5      that was what we were charged to do.

6        Q.      So who was in, for MEF, on MEF's

7      side, who was in charge of finalizing the

8      deal with --

9        A.      Gregg.

10       Q.      -- Tommy Robinson?

11       A.      Gregg is in absolute charge of every

12     decision that is made there.          If Gregg

13     doesn't want it to happen, it doesn't happen,

14     period.

15       Q.      So it was Gregg's decision to send

16     money to Danny Thomas?

17       A.      100 percent.

18       Q.      Okay.    Was there a contract with

19     Thomas --

20       A.      There was a grant agreement.          Marnie

21     drew that up.      I had nothing to do with that.

22     That was all Gregg and Marnie.

23       Q.      Did you ever see it?

24       A.      No.    I didn't, I like didn't -- I


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1      think I might have e-mailed it to Danny or

2      something like that, but I never even read

3      it.

4        Q.      Okay.    Do you know if it detailed

5      what the monies were to be used for by

6      Thomas?

7        A.      I don't know if the grant agreement

8      said that.     However, when we were in

9      communication with Danny, I had asked him via

10     e-mail like, you know, "Give me a breakdown

11     of what everything will cost and get me, you

12     know, like the information", and he gave me

13     all of that, it had a number on it, it went

14     to Gregg, Gregg approved it, end of story.

15       Q.      Do you know how much money went from

16     MEF to Thomas?

17       A.      I feel like it was 30,000.         It might

18     have been, it might have been 20.           I don't

19     remember exactly.

20       Q.      Does 32,000 sound right?

21       A.      It sounds about right.        I think

22     because when -- I think that why I'm thinking

23     20 is because pounds versus dollars.

24       Q.      When was the first time you went to


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1      London in connection with Tommy Robinson?

2        A.      I went for that demonstration I think

3      it was June, the demonstration that was on

4      June 9th I believe.       I'm not exact, --

5                        MR. CARSON:     Object.

6                        THE WITNESS:     -- but June.

7                        MR. CARSON:     I just wanted to

8               put an objection on the record with

9               the characterization of "in

10              connection with Tommy Robinson", but

11              go ahead.

12                       THE WITNESS:     Okay.

13     BY MR. CAVALIER:

14       Q.      And your answer to that question was

15     June of 2018?

16       A.      I believe so, yes.

17       Q.      Okay.    Did you meet Danny Thomas

18     during that trip?

19       A.      Briefly.    I met him for all of

20     30 seconds.

21       Q.      What did you talk about?

22       A.      Nothing.    I said hi, he thanked me, I

23     thanked him for, you know, pulling it off,

24     and that was it.


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1                 He went up on stage.       He was talking.

2      Tricia and I hung in the back.          We went on

3      stage like once to look at the huge crowd,

4      and we really hung out with Raheem that

5      entire time.

6        Q.       You hung out with Raheem the entire

7      time you were in London for that first time

8      in June of 2018?

9        A.       Yes.    Like, so like Raheem would hang

10     back and like talk to us because he was the

11     only person we really knew.         We didn't know

12     anybody.    Like I think I met Tommy's cousin

13     for like a brief couple seconds.           I met Geert

14     Wilders.    I met Gerard Batten.        He's a member

15     of Parliament.

16       Q.      Did you --

17       A.      I -- I'm sorry.      The phone was

18     ringing.    I met like --

19       Q.      Did you --

20       A.      You know, like that event was so

21     crazy.    I mean we had 25,000 people there.

22     They were like banging on the gates of

23     Ten Downing.       We had to like tell, I had to

24     tell Raheem to grab the mike and tell


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1      everybody to like calm down and relax.              And I

2      just hung back and like just watched the

3      event.    It was unlike anything I had ever

4      seen before in my entire life.

5        Q.      Were the elements of the

6      demonstration that you expected to be there

7      that were supposed to be paid for with MEF's

8      funds actually present?

9        A.      They did have one issue about they

10     couldn't get the television prompter or

11     something in like that because of security

12     they said.     There was supposed to be like a

13     big screen, and they couldn't get it done but

14     that was because of the security.

15               What happened was there was like a

16     counter-demonstration and they blocked off

17     like a part of the road, and they couldn't

18     get it to the demonstration.          We actually had

19     speakers that were having a hard time getting

20     to the demonstration themselves.           We had

21     people that showed up super late because they

22     couldn't get in either.

23       Q.      During that trip, did you tell Raheem

24     Kassam that you were concerned that Danny


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1      Thomas might have stolen money from MEF?

2        A.      I didn't hear of Danny Thomas

3      stealing money until December.

4        Q.      December of what?

5        A.      That year.

6        Q.      2018?

7        A.      Uh-huh.

8        Q.      Okay.

9                        THE COURT REPORTER:       Yes?

10     BY MR. CAVALIER:

11       Q.      Did a person named Vinnie Sullivan

12     ever tell you that he thought Danny Thomas

13     might have stolen money from MEF?

14       A.      So Vinnie Thom-, Vinnie Sullivan

15     said --

16       Q.      Vinnie Sullivan.

17       A.      -- that Danny Thomas, said that Danny

18     Thomas was, said that Danny Thomas was like

19     not doing his part and that he cut him out

20     and Vinnie Sullivan wanted his own cut, like

21     whatever it was, and he was like -- Vinnie

22     Sullivan is like a total loser.

23               Like I couldn't even understand half

24     the words that he was saying and not because


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1      of his accent, because like he just was

2      incoherent.     And him and this guy Jan both

3      said that they were cut out of the deal and

4      that -- and that like apparently they were

5      supposed to help with like merch or shirts or

6      they were supposed to be able to speak, but

7      then Tommy's family didn't want Vinnie

8      Sullivan speaking.       Because like his family,

9      it came down from his family that they didn't

10     want him because he's like crazy and a

11     lunatic and weird, and apparently, he was one

12     of Danny's associates, right.          So he was real

13     like crazy angry, and he was trying to

14     insinuate that the money that he was supposed

15     to get Danny took, but not any additional

16     money I don't believe.

17       Q.      Okay.

18       A.      But that dude is crazy.        And so then

19     we paid him to just shut up.          Gregg did.

20       Q.      Who is "we"?

21       A.      Gregg made a payment to Vinnie

22     Sullivan to go away.

23       Q.      For his merch?

24       A.      For his like, he said he like drew


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1      something up.      I don't even know.       But that

2      was all discussed with Gregg, and Gregg paid

3      him.   I told Gregg every word that kid said,

4      and Gregg paid him to go away.

5        Q.      But at that point in time, did

6      Sullivan tell you that he thought Thomas

7      misappropriated funds that were meant for

8      Tommy Robinson?

9                        MR. CARSON:     Objection.     She

10              just answered that question.         You can

11              answer.    Go ahead.     Asked and

12              answered.

13                       THE WITNESS:     He may have.      I

14              don't, I don't remember my

15              conversations with him directly

16              because they were so insane.         But

17              Gregg Roman was in-, was included on

18              every, was included in that whole

19              thing.    Every word that that man said

20              I told Gregg Roman.

21     BY MR. CAVALIER:

22       Q.      Okay.

23       A.      And Gregg Roman paid him.

24       Q.      Did you facilitate the transfer of


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1      the money from MEF to Thomas?

2        A.      What do you mean by "facilitate"?

3        Q.      Did you arrange for the transfer?

4        A.      They asked me for his bank details or

5      Marnie did, and I put him in connection with

6      Marnie.    And then I think that there was some

7      issue with his bank account like receiving

8      the money because it was such a large amount,

9      so I put him in contact with Marnie, and

10     Marnie and him did all that.

11       Q.      Okay.    So was the rally a success?

12       A.      It was.

13       Q.      Okay.

14       A.      It was.    I definitely thought it

15     could have been handled like a little better.

16     I felt like it was a little lost trust, to be

17     honest.    And that is why for the second

18     demonstration, which was I think on the 14th

19     of July, I suggested that Raheem be in charge

20     of all of that stuff because I felt like he

21     would be more organized than Danny was and

22     that he should get the money and everything

23     should go through him and he should pay the

24     vendors and all of that stuff, and that's


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1      exactly what happened.

2        Q.      Did you view your time in England

3      during June of 2018 as work for MEF?

4        A.      Not really.     So that's why I wanted

5      to go because I wanted to see what it was

6      like.    I haven't travelled.       Like, you know,

7      I'm interested in travel.         And so I asked

8      Gregg if I could go, and he was like, "No,

9      there's no real reason for you to be there".

10     I'm like, "But I really want to see it",

11     blah, blah, blah, blah, blah.          And I was

12     like, "I'm going to pay for my own ticket.

13     I'll just take off those days and I'll go".

14               And so Gregg reimbursed us, like

15     Tricia went too, and it was supposed to be

16     like 300 each, so 600 total.          But I paid for

17     my own hotel, my flights, any food, or

18     anything that I did that time was mine.            So

19     it was that one day I guess like I counted,

20     but since the rest of, they were only paying

21     for my, half of my flight, I figured I'll go

22     and have a good time the rest of the time.

23     And that's what I did.

24       Q.      How long were you there for?


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1        A.      Three days I think.       Three, four

2      days.    Three days.     Three nights, four days,

3      something like that.

4        Q.      Were you a salary employee at Middle

5      East Forum?

6        A.      Uh-huh.

7                        THE COURT REPORTER:       Yes?

8                        MR. CARSON:     Yes?

9      BY MR. CAVALIER:

10       Q.      Yes?

11       A.      Yes.    Yes.   Yes.    Yes.    Yes.

12       Q.      Okay.    Did you have an allotment of

13     vacation time?

14       A.      I did.

15       Q.      Did you have to use your vacation

16     time for that London trip?

17       A.      I don't remember.       I think so.

18       Q.      Do you ever remember discussing that

19     with Gregg as to whether you'd be charged

20     vacation time to go to London?

21       A.      I think I said I was taking vacation.

22     I'm almost, I'm almost sure that I did.

23       Q.      Okay.

24       A.      Because I think it was -- because we


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1      were like, we were sightseeing, you know.

2      Like it wasn't -- there was only one day to

3      do work there.      So I'm almost positive that I

4      had to take vacation.        I'm not sure, but a

5      pretty good indicator.

6        Q.      Okay.    And, again, I don't want to, I

7      don't want to characterize or mischaracterize

8      your testimony, but is it fair to say you

9      viewed the trip as partly work, partly

10     vacation, mostly vacation, a little bit of

11     work?    How would you describe that?

12       A.      Partly work, mostly vacation.

13       Q.      Okay.    Okay.   So the rally ends, you

14     do some sightseeing, and then what, you come

15     back to the United States?

16       A.      Correct.

17       Q.      Do you have any further

18     communications with Danny Thomas?

19       A.      No.   Just it was very friendly, like

20     "good job, nice to meet you", whatever,

21     whatever.     And then when the second, like

22     when they wanted to do a second

23     demonstration, he reached out to us and -- or

24     I forget what happened there, but -- I don't


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1      know if he reached out to us or -- yes, he

2      reached out to us.       They were planning a

3      second one.

4                And then I asked Gregg if he wanted

5      to be involved, and he did.         And we got go,

6      sort of go, and then Gregg told me I wasn't

7      allowed to go.      They wanted to -- they were

8      going to fire Cliff, so they were going to

9      throw him a bone and let him go to England.

10     And they were like, "Well, he has the better

11     connection with the congressmen", even though

12     he didn't make any of the meetings, he had no

13     idea who the meetings were, what they were.

14     I made all the meetings even though Raheem

15     was supposed to be charged with that.

16               And I didn't, I didn't go to that

17     one.   So I didn't have any -- you know, I was

18     just doing the thing.        We had a limited

19     conversation with Danny Thomas about like

20     security and the plan, but really there

21     wasn't much there.

22       Q.      Okay.    So you didn't going to that

23     one?

24       A.      Uh-uh.


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                                                                    Page 280
1                        THE COURT REPORTER:       No?

2                        THE WITNESS:     No.

3                        MR. CARSON:     Yes or no?

4      BY MR. CAVALIER:

5        Q.      Were you upset that you didn't get to

6      go?

7        A.      For a minute.      Because like who

8      doesn't want to go?       It was amazing the first

9      time.

10       Q.      Okay.    You did ultimately go back

11     though, yes?

12       A.      Yes.

13       Q.      When did that happen?

14       A.      So Tommy was being released from

15     prison.    He was released from prison, and

16     then they called and they FaceTimed me to

17     thank me for like, you know, helping them or

18     whatever.     Because I was the only contact

19     information that they had, and they told me

20     to thank Gregg and The Middle East Forum and

21     Daniel Pipes and all that stuff.

22               And then they said that they were

23     having a dinner, and then they -- there was a

24     court date, and they wanted us to come for


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1      that.    Because there was going to be another

2      rally and they were going to show their

3      appreciation by having us at the dinner, and

4      if I wanted to say a couple words, I could.

5      And Gregg was talking about how they wanted

6      me to speak and that, you know, -- he was

7      going back and forth, vacillating, speak,

8      don't speak, speak, don't speak.           I don't

9      know, it was like back and forth with that

10     the whole time.

11               And so I -- and so I went to -- I

12     said, "Do you want me to go to this one", and

13     they said, "Yes".       And that one was a work

14     trip.    That one was definitely a work trip.

15       Q.      "That one" being October of 2018?

16       A.      Yes.

17       Q.      Okay.    Who paid for that trip?

18       A.      So they paid for, they paid for my

19     flight, they paid for my hotel, and they

20     reimbursed me for transportation and food.

21       Q.      Okay.    How long were you there for?

22       A.      I think it was three days, two nights

23     or something, something very nominal.

24       Q.      Okay.    Who went with you?


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1        A.      My mom.

2        Q.      Who paid for your mom to go?

3        A.      She did.

4        Q.      Any particular reason why you brought

5      your mom?

6        A.      My mom had never been --

7                        MR. CARSON:     Lisa, --

8                        THE WITNESS:     And she liked

9               Tommy and she was excited, and she

10              said, "Can I go with you"?         I said,

11              "Sure, come with me.       You'll stay in

12              my room".

13                       MR. CARSON:     Lisa, it seems

14              like your arm is bothering you.          Do

15              you need a break?

16                       THE WITNESS:     No, it's fine.

17              Sorry, I'm picking.       I'm just -- I'm

18              tired.

19                       MR. CARSON:     I just want to

20              make sure you're okay.        That's all.

21              It looked like --

22                       THE WITNESS:     I'm fine.

23                       MR. CARSON:     -- it was

24              bothering you.


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                                                                    Page 283
1      BY MR. CAVALIER:

2        Q.      So what did you do while you were

3      there?

4        A.      I went to the demonstration.          We hung

5      out, like I hung out with a group of people.

6      You know, we did a press release.           I had a,

7      we had a meeting on the phone.          Like we had

8      some like conference calls even with Gregg

9      back in England about like what the plan was

10     and the media release and all that kind of

11     stuff and being on the ground, meeting the

12     reporters, making relationships with the

13     reporters because they still wanted -- there

14     was Ezra Levant from Rebel Media had pulled

15     in other reporters, like Cassandra Fairbanks

16     at the Gateway Pundit and Avi Yemini, and it

17     was like, you know, there was, there was

18     members of Parliament that came to speak,

19     like Janice Atkinson.

20               And it was all about, you know,

21     networking, making those relationships with

22     the reporters, with the people, with -- doing

23     all those things on top of being at the

24     demonstration, seeing how it went off and all


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1      that stuff.     But I don't know if MEF paid any

2      money for that demonstration.          I don't

3      remember if they did or not.          I don't think

4      they did.

5        Q.      Was there any particular reason why

6      you didn't bring your husband on this trip?

7        A.      Well, somebody had to watch the kids.

8        Q.      Okay.

9        A.      And my mom doesn't, my mom doesn't do

10     well with watching two kids at once.            She

11     just started doing that for the first time

12     last week.

13       Q.      During any of your trips to London,

14     did Gregg ever indicate a desire to go with

15     you?

16       A.      No.   Probably because he knew I

17     wouldn't sleep with him because of Israel.

18       Q.      But he never indicated any such

19     desire?

20       A.      No.

21       Q.      Did you meet Danny Thom-, not meet,

22     did you encounter Danny Thomas on this trip?

23       A.      I did.

24       Q.      How did you meet?


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1        A.      We were organizing going to the

2      dinner and it was me, him and Avi, and we

3      were all going to share a ride up to Bedford

4      because it was far.       First, we were going to

5      take the train, but then the trains coming

6      home at night, that wasn't like safe, so then

7      we decided to take like an Uber up.           So we

8      all went together, --

9        Q.      To dinner?

10       A.      -- me, my mom, Cassandra, Avi, Danny

11     and my mom, yes.

12       Q.      To dinner?

13       A.      Huh?

14       Q.      To dinner?

15       A.      To dinner.

16       Q.      What was the dinner like?         I mean

17     were you, were you the center of attention?

18       A.      Not at the dinner, no.

19       Q.      Okay.    What was discussed at the

20     dinner?

21       A.      Tommy just did a little speech

22     thanking people, there was plenty there to

23     thank, and then he was like taking pictures

24     with people.      And, you know, we were just all


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1      mingling for the most part.

2        Q.      Okay.    So the dinner ends cordially.

3      Do you see Thomas later?

4        A.      We all share a taxicab home.          We

5      tried to get an Uber, there weren't any, and

6      then they finally had to call a cab.            We had

7      to call a cab.

8                Then there was no -- like the guy

9      wouldn't take our credit card.          Then I had to

10     like run around in like subway stations and

11     like try to find an ATM to get cash out to

12     pay the guy, but that just left me and my

13     mom.   We dropped Danny and Avi off at their

14     places, Cassandra too, and then me and my mom

15     went back to our hotel.

16       Q.      Did you go back out later?

17       A.      No.

18       Q.      You didn't see Thomas later that

19     night?

20       A.      Nope.

21       Q.      Did you have drinks with Thomas and

22     others after the dinner?

23       A.      Not after the dinner, no.

24       Q.      At any point during the day?


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1        A.      Not that day.

2        Q.      At any point the next day?

3        A.      Yes.    The next day was the

4      demonstration and Tommy got a good verdict

5      and we all went out to celebrate afterwards,

6      and my mom went back to her hotel room and it

7      was like all of us celebrating.          We went to a

8      pub, Red Lion I want to say it is or

9      something like that, right near Whitehall.

10     It was right around the corner from my hotel

11     room with my mom, my hotel with my mom.

12       Q.      Okay.    And was your mother present at

13     that point in time?

14       A.      She was not.     She showed up.       She

15     like -- she was a little tired because it was

16     cold that day, so she went back to the hotel.

17     And then we were still out, and then she came

18     and met us out and came back out and then she

19     went home.     And then there was like a fight

20     about to break out or something like that,

21     and me, Danny and Tommy like went a different

22     direction.     Because there was something

23     happening crazy.      I forget what it was.

24     Somebody started -- I think actually it was


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1      Danny starting a fight with somebody.            I

2      don't even remember.

3                Anyway, we wound up going to this

4      other bar and like restaurant, and there was

5      like the security guys in Tommy's like inner

6      circle came over and we all hung out that

7      night.    And it was like late and so they were

8      like, "All right, we got to get Tommy home",

9      because I know this is where you're going

10     with it, "we want to get Tommy home", so

11     Tommy went home.      And he was like, Tommy said

12     "make sure Lisa gets home okay" to Danny.

13               And so Danny had been like, you know,

14     flirting.     Danny was flirting with everybody.

15     Danny was flirting with my mom.          Danny was

16     flirting with everybody, right.          But, anyway,

17     he was like flirting with me, and we were

18     walking back to go towards my hotel room.             He

19     was going to walk me to my spot.           Because he

20     was apparently living in London at the time

21     at some like veterans thing, I don't know.

22     So he was walking and he grabbed my hand and

23     it was in front of the cathedral and it's all

24     lit up and it was like very romantic, and I


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1      had drinks in me and I was definitely buzzed

2      100 percent and he kissed me.          And I was just

3      like all thrown off by it in general, but I

4      knew that I like liked it at the moment.

5      Because, I don't know, I hadn't felt good in

6      a long time, you know.        So -- poor decision

7      again.    So I -- so, anyway, he kissed me.

8      Nothing else happened.        I went back to my

9      hotel room.     I talked to my mom.

10               I called, as soon as I got home -- we

11     left the very next day in the morning.            I

12     called my -- I went home to my husband and I

13     cried and was like, "Something is wrong.

14     This is what happened".        He's like, "It's all

15     right.    You're going through a phase.          Your

16     work has been awful", blah, blah, blah, blah,

17     blah, and we talked about it and we talked

18     about it for a while at length.          And then,

19     you know, I said, "Well, then, you know,

20     something needs to change here with us or

21     something needs to go on", like, you know,

22     whatever.     I was just in a very low mental

23     state, and for, you know, to have somebody

24     think that I'm the world, it felt good.


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1        Q.      So how did your husband react to

2      this?

3        A.      I just told you.       He said, "It's

4      okay.    You're going through a phase.          You're

5      going through something because work is

6      awful".

7        Q.      How did that make you feel?

8        A.      That he was supportive and

9      understanding, but I also kind of wanted him

10     to be like, you know, fight for me a little

11     bit or something.       I don't know.      I don't

12     know.

13       Q.      I mean it seems like a pretty mild

14     reaction from your husband when you just told

15     him you kissed a guy.

16                      MR. CARSON:      Objection.

17                      THE WITNESS:      Yes, it was.

18     BY MR. CAVALIER:

19       Q.      So didn't that upset you?

20                      MR. CARSON:      Objection.

21                      THE WITNESS:      No.   Because my

22              mental -- like you don't understand.

23              I was so beat down at that point that

24              my mental state wasn't right.          Like I


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1               don't know how to explain it, but I

2               wasn't thinking clearly.        I wasn't

3               thinking about the things that I

4               normally prioritize, which is my

5               family and my kids.       Like you know

6               what I mean?

7                       Like I mean I was -- oh, at the

8               time, I was just thinking like, "I

9               just need to feel better".         And it's

10              very unlike me, it's terrible

11              actually, and I've had a lot of guilt

12              about it until this day.

13     BY MR. CAVALIER:

14       Q.      Did kissing Thomas --

15       A.      I can't be mad at my husband for

16     anything because it's not his fault.

17       Q.      No, I'm not asking if you're mad at

18     your husband.      I'm asking you how your

19     husband's reaction to this made you feel?

20       A.      I wasn't mad at him.

21       Q.      Did you wish he would have reacted

22     more strongly?

23                      MR. CARSON:      Objection.

24                      THE WITNESS:      I don't know.      I


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1               really don't know.       I don't have a

2               real answer to that.

3      BY MR. CAVALIER:

4        Q.       Do you remember telling your

5      therapist or your doctor that you wished he

6      would have reacted more strongly?

7        A.       Maybe.   I talk to my, I've been

8      talking to my therapist about all kinds of

9      stuff.

10               Yes, I mean Vasili my whole life, and

11     I don't know if this matters, like in

12     general, like he's such the calming factor.

13     He's always the one that's like, you know, if

14     I say somebody is like terrible, they're

15     like, "Well, their motivations are",

16     whatever.     Like he likes to call it

17     compartmentalizing, right, but like he -- he

18     always like finds like the reasonable or

19     whatever.     Like he -- and sometimes I wish

20     that he wouldn't be always like super

21     reasonable.     Sometimes I wish that he, you

22     know, would stand up and fight for me or

23     stuff like that, yes.        That's definitely like

24     a thing.    It's like a -- but it's a trait of


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1      his.    It's part of what makes him so strong

2      and good for me, and it's also a part of him

3      that, you know, makes me kind of feel like

4      I'm not as important to him as I should be.

5      And so, you know, it's like a conflicting

6      thing that I have with him.         Because it's

7      what makes him good for me, and it's also --

8      it's like a double-edged sword.          So I can't

9      say that I wish he would have maybe in a

10     time.

11               I've gone through a lot of emotions

12     since all this happened, and so it's a lot of

13     them that are very uncharacteristic for me.

14     So I can't really -- I've vacillated between,

15     you know, being upset, being sad, being

16     angry.    You know, it's all, it's all

17     different all the time.        Because as I talk

18     this out about like what happened to me at

19     The Middle East Forum, things become, you

20     know, like, you know, I can start to

21     identify, you know, what my real feelings

22     are.    I don't know if that makes sense.

23       Q.      Do you feel like your husband's

24     reaction to your disclosure drove you to a


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1      sexual relationship with Danny Tommo?

2        A.      Yes, probably.

3        Q.      And you did in fact begin a sexual

4      relationship with Danny Tommo after this --

5        A.      I did.

6        Q.      -- disclosure?

7                When did that start?

8        A.      December.

9        Q.      You didn't have any sexual contact

10     with Danny Thomas in October of 2018.            Is

11     that true?

12       A.      Other than that one kiss, no.

13       Q.      Okay.    What did you go to England in

14     December of 2018 for?

15       A.      So it was a, that was a double thing

16     too.   Tommy was, Tommy was interested in --

17     and Tommy and I had stayed in communication.

18     He valued my opinion on things, especially

19     political things and whatever.          So he was

20     talking about -- he was always interested in

21     making a swing and turning like a little bit

22     political, you know, where else was he going

23     to go.    He thought that it would be the

24     greatest thing ever if he like, you know, got


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1      to be in the House of Lords or, you know, be

2      a member of Parliament or European

3      Parliament, and so he was talking about

4      getting involved with Brexit and UKIP.

5                And so UKIP was planning to do a

6      Brexit march, and Tommy wanted my input on

7      that because the other demonstrations had

8      been successful and he asked me to come.             And

9      I also wanted to see Danny, clearly, and so

10     it was both that I went.

11       Q.      And during that visit, you commenced

12     a sexual relationship with Thomas?

13       A.      Uh-huh.

14                      THE COURT REPORTER:        Yes?

15                      THE WITNESS:      Yes.

16     BY MR. CAVALIER:

17       Q.      Where did that occur?

18       A.      At my hotel.

19       Q.      Did you give Danny Thomas money

20     during that trip?

21       A.      No.

22       Q.      Did you give him a loan for

23     Christmas?

24       A.      I did.    I gave him a loan, correct,


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1      yes.

2        Q.      How much was the loan for?

3        A.      It wasn't for Christmas.         The loan

4      was because he needed to go, Tommy wanted him

5      to go to Germany or something like that and

6      he needed flights, he needed a flight out to

7      Germany or whatever, like one up and one back

8      or something like that.        And so he said, "I

9      need a favor".      I mean I still have all his

10     text messages.      And he screenshot it like a

11     thing, and he's like, "It's a little favor".

12     Like, "It looks like a big favor".           And I

13     think it was like $200 for a flight and 60

14     for a different, a little other flight back.

15               And so -- and I was like, "I need" --

16     I was like, "I'll lend it to you only because

17     you have this money coming in through

18     PayPal", which he showed me through a

19     screenshot that it wasn't cleared yet through

20     PayPal but it was there, so like it needed

21     time to clear his account.         And I said,

22     "Okay", and I said, "But" -- he said he would

23     pay me back by Thursday.         I went "okay" and I

24     lent it to him, and then he didn't pay me


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1      back.    Typical.    He's like, "It's Christmas".

2      I'm like, "It's Christmas for me too, pay me

3      back", and he didn't.        That was it.

4        Q.      Did he ever pay you back?

5        A.      No.

6        Q.      Did you ever give him a credit card?

7        A.      No.

8        Q.      Did you ever give him access to your

9      credit card?

10       A.      I did.    One time when he was in

11     Brussels with me, he looked like such a poor

12     soul, and I was embarrassed that he was going

13     to be around the people that he was at.            I

14     said, "Go get yourself a jacket", like

15     a, what do you call it, like a blazer or

16     something, right.       And he was like, "They're

17     not expens-", he's like, "if I go to this

18     place, they're not expensive".          And I was

19     like, "All right.       Well, I have to hurry up

20     and get ready.      Go".

21               So I gave him, I let him use my debit

22     card that day, and he came back and bought

23     himself extra stuff, awesome, and I was

24     like -- I yelled at him for that, and he's


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1      like, "I'll give you money back".           And he

2      gave me my card back and he never had access

3      to it again, and I never gave him money after

4      that again.

5        Q.      Between the first --

6        A.      But I couldn't be, I couldn't be with

7      him like dressed like he was in a

8      professional capacity at all.

9        Q.      Between the first time that you

10     kissed Danny Thomas and the December of 2018

11     trip, did you -- were you in communication

12     with him?

13       A.      Yes.

14       Q.      Were those communications sexual in

15     nature?

16       A.      They were romantic in nature.

17       Q.      What do you mean by that?

18       A.      He was like singing to me and being

19     sweet and cute and romantic.          What do you

20     mean what do I mean?

21       Q.      Were they sexual in nature?

22                       MR. CARSON:     Objection.     Asked

23              and answered.

24                       THE WITNESS:     I just answered


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                                                                    Page 299
1               that.    They were romantic.

2      BY MR. CAVALIER:

3        Q.      So I'm trying to understand the

4      distinction between sexual communications and

5      romantic communications.

6        A.      I'm trying to ask you what you mean

7      by "sexual".      I mean like he was like a guy I

8      was dating.

9        Q.      So did you consider yourself to be

10     dating him at that point in time?

11       A.      I was seeing him, yes.        Yes.

12     We cons- -- I considered that.          He considered

13     that too.

14       Q.      Okay.    But at that point, you hadn't

15     had any sexual communications?

16       A.      He told me he loved me, so --

17       Q.      When did that occur?

18       A.      Multiple times.

19       Q.      When was the first time?

20       A.      I don't know.      When we were, on the

21     first time, we were on a trip, we were in a

22     car going to Huddersfield to interview a kid.

23       Q.      In October of 2018?

24       A.      No, December.


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                                                                    Page 300
1        Q.      Okay.    When you went to London in

2      December of 2018, did you assume that you

3      would begin a sexual relationship with

4      Thomas?    Was that your intention?

5        A.      It wasn't -- it was my intention to,

6      yes, like to -- I guess.         I mean it wasn't

7      like I just went there for sex.          I mean

8      please don't characterize it --

9                        MR. CARSON:     Objection.

10                       THE WITNESS:     -- like that.

11     BY MR. CAVALIER:

12       Q.      When did you find out that -- well,

13     who is Jazmine Bishop?

14       A.      Danny's baby's mama.

15       Q.      Was she his fiancé also?

16       A.      No.

17       Q.      Was she his girlfriend?

18       A.      Yes.    Well, I didn't know that at the

19     time.    When I met him, he was living in

20     London in like that place, some VA thing.

21               The first time I met him he was

22     living in that whatever and he had said that

23     he had broken up with her and he was -- not

24     the first time I met him.         When I met him,


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                                                                    Page 301
1      when I saw him in October, he was living in

2      that place in London, and he said that he had

3      broken up with her.       He said it to me, my

4      mom, Cassandra.      I didn't think they were

5      together anymore.

6        Q.      Was that a true statement?

7        A.      A true statement on his part?

8        Q.      Yes.

9        A.      Apparently not.       Well, apparently,

10     they were I guess at the time.

11                       MR. CARSON:     Objection.     Lisa,

12              only testify what you know.         Don't

13              say --

14                       THE WITNESS:     Well, I don't

15              know.

16                       MR. CARSON:     -- "apparently".

17                       THE WITNESS:     All I know is

18              that I think that they were broken up

19              when I met him, and I think they got

20              back together while I was seeing him

21              but I did not know that.

22     BY MR. CAVALIER:

23       Q.      Okay.    Did you later come to find out

24     that they were not in fact broken up?


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                                                                    Page 302
1        A.      Oh, yes.

2        Q.      Okay.    How did you find that out?

3        A.      Jazmine started harassing me.

4        Q.      Okay.    Harassing you about what?

5        A.      Danny.

6        Q.      And your relationship with him?

7        A.      Yes.

8        Q.      How was she harassing you?

9        A.      She would call me names, call -- like

10     make fake accounts on Twitter, on Instagram,

11     on Facebook.      She was incessant.       She would

12     call me all the time.        She would message me.

13     She would message Vasili.         She would -- she

14     was a psycho.      She was just crazy.

15       Q.      She reached out to your husband?

16       A.      Yes.

17       Q.      How often would this occur?         I mean

18     was it a daily thing, a weekly thing?

19       A.      Daily and weekly.       Like she would go

20     on a rant for like, you know, a couple days

21     and then she would give it a rest for a week

22     and then she'd start up again.          I mean she

23     was doing this for two years, even when I

24     tried to be nice to her.


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                                                                    Page 303
1                I tried to be so nice to that girl.

2      I told her to get an education.          I would help

3      her find a school there, you know, grant

4      programs that would like help her get

5      educated so she wouldn't be in this situation

6      that she was.

7                She cried to me.       She talked to me

8      about her mom.      She was crazy.

9        Q.      That seems like it would be pretty

10     upsetting to you?

11                      MR. CARSON:      Objection.

12                      THE WITNESS:      Why would it be

13              upsetting?     The only part that was

14              upsetting to me is when --

15                      MR. CARSON:      Lisa, --

16                      THE WITNESS:      Sorry.

17                      MR. CARSON:      Objection.     Facts

18              not in evidence.      Object to form.

19              Argumentative.      You can answer.

20                      MR. CAVALIER:      I'll rephrase

21              the question.

22     BY MR. CAVALIER:

23       Q.      You said she was harassing you for

24     two straight years.       Did that upset you?


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                                                                    Page 304
1        A.      It was annoying.

2        Q.      Did it upset you?

3                       MR. CARSON:      Objection.     Asked

4               and answered.

5                       THE WITNESS:      It was annoying.

6               That's all it was, annoying.

7      BY MR. CAVALIER:

8        Q.      Was it a minor annoyance?

9                       MR. CARSON:      Objection.     Asked

10              --

11                      THE WITNESS:      Minor.

12     BY MR. CAVALIER:

13       Q.      Was it a minor annoyance or a major

14     annoyance?

15                      MR. CARSON:      Objection.

16                      THE WITNESS:      Minor annoyance.

17     BY MR. CAVALIER:

18       Q.      So how did you respond to that minor

19     annoyance?

20       A.      In the time, there were times where I

21     yelled and screamed at her.         There were times

22     where I ignored her.       There were times when I

23     blocked her.     There were times when -- there

24     were all different times.         There were times


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                                                                    Page 305
1      where I tried to talk to her nicely.            There

2      were times where I tried to coach her and

3      help her and be a friend to her.           We even

4      hung out once.

5        Q.      All right.     Can you see that

6      document?

7        A.      Yes.

8        Q.      Do you recognize it?

9                        MR. CARSON:     It is what it is.

10                       THE WITNESS:     It's either

11              something I wrote to her or she wrote

12              to me.    I would have to see the

13              whole, --

14                       MR. CARSON:     Take a minute.

15                       THE WITNESS:     -- I would need

16              to see the whole thing.        I can

17              probably find it.

18                       MR. CARSON:     Take a minute.

19                       No, no, Lisa, put your phone

20              down.    You're not going in your phone

21              today.    All right?     You're not --

22                       THE WITNESS:     Well, I would

23              like to see the rest of the context

24              of that.    Because there's got to be a


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                                                                    Page 306
1               lot of more context to that.

2      BY MR. CAVALIER:

3        Q.      Well, you have messages from Jazmine

4      Bishop in your phone?

5                       MR. CARSON:      Objection.       She's

6               not -- I'm instructing her not to

7               answer that question.        All the text

8               messages in her phone were turned

9               over through Cornerstone.

10                      Lisa, put your phone away.

11              Don't reference it again.         Okay?    And

12              take a minute, look at the document,

13              and then answer his questions about

14              the document and only the document.

15                      THE WITNESS:      I don't know if I

16              wrote that to her or she wrote that

17              to me, but it was probably a

18              conversation between the two of us.

19     BY MR. CAVALIER:

20       Q.      Have you looked at your phone while

21     we've been doing this deposition today?

22       A.      No.   Only the one time it rang and I

23     put it down.

24       Q.      You haven't read text messages today?


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                                                                    Page 307
1        A.      No.

2        Q.      You haven't referenced notes today?

3        A.      No.   Swear to God.

4        Q.      When we go back and look at the

5      video, we won't see you looking at your phone

6      except that one time it rang?

7        A.      Correct.

8                        MR. CARSON:     Objection.     Not in

9               evidence.

10                       MR. CAVALIER:     I'll ask the

11              question again.      I don't see a basis

12              for --

13                       THE WITNESS:     I said no, you

14              will not see me doing that.         Because

15              I didn't do it.

16     BY MR. CAVALIER:

17       Q.      No.   I want to ask the question as to

18     whether you have communications with Jazmine

19     Bishop on your current phone.

20                       MR. CARSON:     Objection.     All

21              the communications that are on her

22              phone between her and Jazmine Bishop

23              have been turned over.

24                       MR. CAVALIER:     That's not my


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                                                                    Page 308
1               question, Seth.      I want to know if

2               she has examples of this on her phone

3               still.

4                        MR. CARSON:     Okay.    You guys

5               have equal access to everything

6               that's on the phone as she does and

7               that I do.     All right?     All the

8               exhibits were turned over to

9               Cornerstone.

10                       MR. CAVALIER:     I understand

11              your representation.

12                       MR. CARSON:     So anything that's

13              not -- so anything on her phone that

14              wasn't turned over is deemed not

15              relevant.    If you guys want to make

16              an argument about that to the Court,

17              you can.    She's not going to take her

18              time and go through her phone today.

19                       THE WITNESS:     What I don't

20              understand is where is the rest of

21              the context between this?

22     BY MR. CAVALIER:

23       Q.      Well, we'll get to that.         We just

24     want to know if you recognize this statement.


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                                                                    Page 309
1        A.      "Well, we'll get to that"?         That's so

2      sneaky.

3        Q.      My only question is to you:         Do you

4      recognize this statement?

5                        MR. CARSON:     Yes.   Lisa, just

6               take your time, read the document he

7               puts in front of you, --

8                        THE WITNESS:     I just --

9                        MR. CARSON:     -- and answer

10              questions about it.

11                       THE WITNESS:     Guys, I will

12              repeat this again, it looks like

13              something that I either said to her

14              or she said to me.

15     BY MR. CAVALIER:

16       Q.      Well, seeing as it starts with

17     "Lisa", --

18       A.      That could have been received.          I

19     could have gotten that from her.

20       Q.      Do you ever remember Jazmine Bishop

21     calling you the biggest fucking loser that

22     she's ever met in her entire life?

23       A.      Yes.    Yes.   Yes.    She's called me

24     worse.    She's called me a slag and a pathetic


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1      ho.    She's called me crazy things.         She's

2      called me worse than that.

3        Q.      But that was only a minor annoyance?

4        A.      That's in response to her attacking

5      me.

6        Q.      But it was only a minor --

7        A.      You didn't read the whole text

8      string.

9        Q.      Let's go to the next one.

10                       MR. CARSON:     Lisa, if he --

11              he's asking you just simple yes-or-no

12              questions.

13                       THE WITNESS:     Okay, fine.

14     BY MR. CAVALIER:

15       Q.      Do you recognize this statement?

16       A.      Yes.    That's definitely something I

17     wrote.

18       Q.      Okay.    So what did you mean by "she's

19     on meds"?

20       A.      She's bipolar and is on heavy

21     medicine because she's not stable.

22       Q.      So you say to her here, "You're the

23     one that stays with somebody who physically

24     beats you, asks you to get abortions and


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1      cheats on you, and you're the one that's sick

2      in the head?      You're a fucking mess".

3        A.      It says, "And I will" --

4                        MR. CARSON:     Lisa, there's no

5               question pending.

6                        THE WITNESS:     Well, he read it

7               wrong.

8      BY MR. CAVALIER:

9        Q.      What upset you so much that made you

10     write this?

11                       MR. CARSON:     Objection.

12                       THE WITNESS:     She was harassing

13              --

14                       MR. CARSON:     Wait.    Lisa, wait.

15              Wait.    Objection to the

16              mischaracterization of the document,

17              to the mischaracterization of my

18              client's testimony.       She already

19              testified it was a minor annoyance.

20              Lisa, you can answer.

21     BY MR. CAVALIER:

22       Q.      Okay.

23       A.      She was annoying me by saying things

24     just like that to me, so I was responding.


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                                                                    Page 312
1        Q.      Do you recognize this statement?

2        A.      Yes.    I said that.

3        Q.      That doesn't seem to me to be the

4      kind of thing that somebody would say to

5      somebody who was being a minor annoyance, do

6      you agree?

7                        MR. CARSON:     Objection to the

8               mischaracterization of my client's

9               testimony.     You can answer.      Object

10              to form.    Argumentative.

11                       THE WITNESS:     When we say

12              "minor annoyance", okay, a minor

13              annoyance is something that could be

14              I broke my foot, and in the time that

15              I broke my foot, it was extremely

16              painful.    Is it a minor annoyance in

17              the grand scheme of life, yes.

18              However, it doesn't mean that I

19              wasn't upset at the time.

20                       So she's a, in the grand scheme

21              of my life, she is a minor annoyance.

22     BY MR. CAVALIER:

23       Q.      Do you see this as a rather extreme

24     reaction to that kind of a minor annoyance?


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                                                                    Page 313
1                       MR. CARSON:      Objection.

2                       THE WITNESS:      You're clearly

3               leaving out all her communication

4               that came before that.        She started

5               all of that, and she would not leave

6               me alone.    She was incessant, and

7               this is one of the ways that I tried

8               to make her go away.

9      BY MR. CAVALIER:

10       Q.      Did the incessant-ness of her

11     bothering you, as you put it, cause stress in

12     your life?

13       A.      No.

14                      MR. CARSON:      Objection.

15                      THE WITNESS:      No.

16     BY MR. CAVALIER:

17       Q.      So then it's fair to say that this is

18     the kind of response you have to something

19     that is not stressful to you?

20       A.      The time --

21                      MR. CARSON:      Objection.

22                      THE WITNESS:      Why are you

23              totally --

24                      MR. CARSON:      Objection.


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                                                                    Page 314
1                       THE WITNESS:

2               -- mischaracterizing what I'm saying?

3      BY MR. CAVALIER:

4        Q.      I'm trying to figure out what you're

5      saying.

6                       MR. CARSON:      Objection.

7               Argumentative.      Object to form.

8                       THE WITNESS:      I'm going to tell

9               you again --

10                      THE COURT REPORTER:        You're all

11              on top of each other.        Please.

12                      THE WITNESS:      Because --

13                      MR. CARSON:      Lisa, --

14                      THE WITNESS:      -- dishonest.

15                      MR. CARSON:      Lisa, listen, just

16              take a breath and just -- he's --

17              just listen to his question and

18              answer his question.

19                      THE WITNESS:      Okay.    Say it

20              again, sir.

21     BY MR. CAVALIER:

22       Q.      I said this strikes me as a -- I'm

23     trying to understand your response to what

24     you deem a minor annoyance.


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                                                                    Page 315
1        A.      And I'm going to say this one more

2      time so that you can clearly understand it.

3                       MR. CARSON:      There's no

4               question pending.

5      BY MR. CAVALIER:

6        Q.      So my question to you is:         Doesn't

7      this seem like a rather extreme thing to say

8      to another person who is merely being a minor

9      annoyance in the grand scheme of your life?

10                      MR. CARSON:      Objection.     You

11              can answer.

12                      THE WITNESS:      In the moment, it

13              was extremely annoying.        It was more

14              than extremely annoying.        It was

15              harassment, okay.       But after I get

16              done yelling at her, I go about my

17              normal day and try to forget about

18              her.

19                      So, therefore, no, in the grand

20              scheme of my life, she was a minor

21              annoyance.     In the heat of the

22              moment, she was a major annoyance.

23              Things are relative.

24     BY MR. CAVALIER:


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                                                                    Page 316
1        Q.      Okay.

2        A.      I would not call Jazmine Bishop a ma-

3      --

4                        MR. CARSON:     There's no

5               question pending.       There's no

6               question.

7      BY MR. CAVALIER:

8        Q.      I didn't hear what you said.          You

9      said you would not call Jazmine Bishop what?

10       A.      Nothing.

11                       MR. CARSON:     You can answer.

12                       THE WITNESS:     Can we just

13              continue, please?       Go.

14     BY MR. CAVALIER:

15       Q.      Do you recognize this?

16       A.      Yes.    I said that.     I think I -- I

17     think that I said that though.

18       Q.      You did.      This is not a text message.

19       A.      Oh.    Yes.    Yes.

20       Q.      You acknowledge saying that?

21       A.      Yes.

22       Q.      So help me understand.        This is how

23     you reacted to somebody who was, in your

24     words, harassing you, correct?


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                                                                    Page 317
1                        MR. CARSON:     Objection.     We've

2               asked -- we're now going in circles.

3               It's asked and answered like seven

4               times.    Lisa, you can answer again.

5                        I object to form.

6               Argumentative.      Mischaracterization

7               of prior testimony.

8                        THE WITNESS:     Repeat the

9               question.

10     BY MR. CAVALIER:

11       Q.      This is how you react to somebody who

12     was, in your words, harassing you?

13                       MR. CARSON:     Same objections.

14                       THE WITNESS:     This is how I

15              react to a woman who is not my

16              superior who has no influence on my

17              work life harassing me, yes.

18     BY MR. CAVALIER:

19       Q.      But Jazmine Bishop reached out to

20     your boss, didn't she?

21       A.      Apparently.

22       Q.      So she did have at least some impact

23     on your work life?

24       A.      They didn't care.


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                                                                    Page 318
1        Q.      Why do you think they didn't care?

2        A.      Because they never brought it up.

3        Q.      Because they trusted you?

4                        MR. CARSON:     Objection.

5                        THE WITNESS:     I think that they

6               don't care about anything that has to

7               do with --

8                        MR. CARSON:     Lisa, there's no

9               question.

10     BY MR. CAVALIER:

11       Q.      If you were a marginal employee and

12     you were getting random people from other

13     countries calling your bosses and talking

14     about affairs that you were having, wouldn't

15     you expect your bosses to sit you down and

16     say, "Hey, what's going on here?           Why are we

17     getting these calls"?

18       A.      I'm pretty sure that they could tell

19     that she was clearly out of her mind.

20       Q.      So they never even talked to you

21     about this?

22       A.      Nope.

23       Q.      They didn't bring it up?

24       A.      Nope.


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                                                                    Page 319
1        Q.      They didn't discipline you for it?

2        A.      Nope.

3        Q.      Nothing?

4        A.      Nothing.

5        Q.      Okay.    So when did you find out that

6      Danny Thomas stole money from MEF?

7                        MR. CARSON:     Objection.

8               Objection.     Assuming facts not in

9               evidence.    Mischaracterization of

10              prior testimony.      Argumentative.

11              Object to form.      You can answer.

12                       THE WITNESS:     I, to this day,

13              do not know if Danny Tommo stole any

14              money from The Middle East Forum.

15              Hand to my heart, God as my witness,

16              I do not know.

17                       Jazmine had alleged that, and I

18              asked her to prove it.        She recanted

19              it.   I asked Tommy if he knew

20              anything about it.       He didn't.     To

21              this day, I have zero evidence, zero.

22              Only innuendo or, not innuendo, only

23              hearsay that that may have happened.

24                       I asked Danny about it.        He


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1               told me "no".      Everyone told me "no".

2               She even recanted it.        She actually

3               even broke down in her recanting it

4               that his mom bought his car and that

5               his mom paid for the deposit on their

6               house.

7                        So I have no idea to this day,

8               hand to my heart, if he ever stole

9               any money.

10     BY MR. CAVALIER:

11       Q.      Do you recognize this document?

12       A.      I can't see it.      There's something in

13     the way.    Hold on a second.

14                       MR. CARSON:     Just take your

15              time.    Take ten minutes --

16                       THE WITNESS:     I'm looking.

17                       MR. CARSON:     -- if you need it.

18                       THE WITNESS:     I can't -- I have

19              to move the thing to see it.

20                       MR. CARSON:     Just take your

21              time and read it.       Just let him know

22              when you're ready.       Take as much time

23              as you need.

24                       THE WITNESS:     Yes.


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                                                                    Page 321
1      BY MR. CAVALIER:

2        Q.      What is this message?

3        A.      It's a message that I had with

4      Jazmine.    And that is exactly, if you look at

5      the two, three text messages that come after

6      it, when she recants it.         I said "give me the

7      evidence", and she said "no" and she took it

8      back.    So you don't have the full

9      conversation.

10       Q.      You say "it was always in the back of

11     my mind because it didn't add up, and the

12     whole Vinnie and you thing".          What did you

13     mean by that?

14                      MR. CARSON:      Objection.     You're

15              reading a snip-it of a text message.

16              If you want to show her the full text

17              message, you don't even know what

18              she's referring to there, so I'm not

19              going to let you like --

20                      MR. CAVALIER:      Seth, stop with

21              the speaking objections.        I'm asking

22              her what she meant by her words.

23                      MR. CARSON:      No.   You're

24              putting one snip-it of a conversation


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                                                                    Page 322
1               in front of her and trying to trick

2               her, and I'm not going to let you do

3               that.    So --

4                        THE WITNESS:     Right.

5                        MR. CAVALIER:     So, if I

6               understand your objection correctly,

7               your objection is asking her what she

8               meant by her words is trying to trick

9               her?

10                       MR. CARSON:     Yes.   Because --

11                       THE WITNESS:     You're pulling

12              out of context, and you know you are.

13                       MR. CARSON:     If you want to

14              give her a document, give her the

15              complete document.

16     BY MR. CAVALIER:

17       Q.      I'm asking you what did you mean when

18     you said "it was always in the back of my

19     mind because it didn't add up"?

20                       MR. CARSON:     Objection.

21                       THE WITNESS:     I have --

22                       MR. CARSON:     Impossible for her

23              to -- it's impo- -- I mean, unless

24              you remember that conversation, Lisa,


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                                                                    Page 323
1               sitting here today, I don't know how

2               you can answer these questions, but

3               you can try I guess.

4                       MR. CAVALIER:      Seth, that's a

5               wildly improper objection.

6                       MR. CARSON:      It's not.     When

7               you give someone a document, you

8               don't give them half the document and

9               then ask them to remember -- you're

10              talking about something that happened

11              a year and-a-half ago, and you're

12              trying to trick the witness.

13                      MR. CAVALIER:      She just

14              referred to this conversation without

15              the document.     Now she remembers

16              less --

17                      THE WITNESS:      When did I refer

18              to the conversation --

19                      MR. CAVALIER:      -- because the

20              document is in front of her.

21                      THE WITNESS:      -- without the

22              document?    When did I do that?

23     BY MR. CAVALIER:

24       Q.      When you told us that Jazmine


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1      Bishop mentioned it and then recanted it.

2                       MR. CARSON:      Objection.     You

3               can answer, Lisa.       Go ahead.    But I

4               think that is improper --

5                       THE WITNESS:      Because -- wait a

6               minute.    Because the only time we

7               ever talked about it was the only

8               time she recanted it.        That's all I

9               remember.

10                      Like what you don't get is I

11              know that there is more to this than

12              what is here, and that's what I was

13              saying.    So don't you dare

14              mischaracterize me.       That's --

15     BY MR. CAVALIER:

16       Q.      Look, this is how --

17       A.      That's dishonest of you.

18       Q.      This is how your attorney produced

19     the document.      We didn't break these up.

20                      MR. CARSON:      You guys --

21     BY MR. CAVALIER:

22       Q.      Your attorney produced the document

23     this way.

24       A.      You guys have access to all my stuff.


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1      You have access to that whole conversation.

2      And if I'm not mistaken, you get a search

3      word and you get 50 words here and after it,

4      right, before and after.         So where is the

5      50 words before and after your search term?

6        Q.      Believe me, the last thing you want

7      to do is start talking about discovery during

8      this deposition.

9                Do you recall this conversation?

10     That is the question.

11       A.      I don't believe anything you say.

12     You are representing somebody that you know

13     is reprehensible.

14                      MR. CARSON:      Lisa, just stop

15              and listen to his question.

16     BY MR. CAVALIER:

17       Q.      I'll rephrase the question.         Do you

18     recall this conversation with Jazmine Bishop?

19       A.      Not verbatim.

20       Q.      That's not my question.        Do you

21     recall having this conversation with Jazmine

22     Bishop?

23       A.      I recall talking to her about some of

24     this, yes.


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                                                                    Page 326
1        Q.      Do you recall talking to her about

2      money that Danny Thomas misappropriated from

3      The Middle East Forum?

4        A.      I do.

5                        MR. CARSON:     Objection.

6      BY MR. CAVALIER:

7        Q.      What do you recall about that

8      conversation?

9        A.      Jazmine was very angry, and Jazmine

10     was saying all kinds of wild and outlandish

11     things.    And I was trying to get her to give

12     me proof if that happened.         Because I can't

13     do anything without proof that it happened.

14     I can't just go wildly accusing people of

15     things if I don't have evidence of it, and so

16     I was trying to get Jazmine to get me proof.

17     And in that conversation to ask her to get me

18     proof, she recanted.       So there was no proof,

19     and there was nothing for me to do.

20               And I would, if I had proof, I would

21     definitely have a moral thing in my heart to

22     tell everybody, but I don't have any proof.

23     To this day, I do not have any proof.            I

24     asked her for bank statements.          I've asked


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                                                                    Page 327
1      her for things.      Never gave them to me.

2        Q.      But you suspected long before this

3      conversation --

4        A.      No.   I said that in a conversation so

5      that she would, so that she would be willing

6      to give me more information.

7        Q.      So you lied to her?

8                       MR. CARSON:      Objection.

9               Mischaracterizes prior testimony.

10              Object to form.      Argumentative.

11     BY MR. CAVALIER:

12       Q.      I'm trying to understand.         Because

13     when I asked you about Vinnie earlier, you

14     told me that --

15       A.      There are plenty of things that I was

16     not completely honest with Jazmine Bishop

17     about.    She's a lunatic.

18       Q.      Earlier, when I told, when I asked

19     you about Vinnie, you mentioned that he said

20     something to you about a concern with this

21     money that Tom, that Danny Thomas may have

22     taken from the Middle East Forum.           Now, in

23     this message, --

24       A.      And I told --


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                                                                    Page 328
1        Q.      I haven't asked the question yet.           In

2      this message, you say "it", referring I think

3      quite obviously to the money, "was always in

4      the back of your mind because it didn't add

5      up and the whole Vinnie" --

6                        MR. CARSON:     I'm going to --

7                        THE WITNESS:     That her and

8               Vinnie.

9                        MR. CARSON:     Wait, Lisa.     I'm

10              going to --

11                       THE WITNESS:     That her and

12              Vinnie, her and Vinnie having a

13              relationship.

14                       MR. CARSON:     Lisa?

15                       THE WITNESS:     Her and Vinnie.

16                       MR. CARSON:     Lisa, just hang

17              tight.    All right?     I'm going to

18              object.

19                       THE WITNESS:     He's taking this

20              out of context.      He's trying to piece

21              two things together, but they're

22              totally irrelevant.

23                       MR. CARSON:     Taking the partial

24              snip-it of a partial document out of


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                                                                    Page 329
1               context.    Mischaracterization of

2               prior testimony.      Argumentative.

3               Object to form.      You can answer.

4      BY MR. CAVALIER:

5        Q.      So what were you -- what do you mean

6      when you say "it didn't add up"?

7        A.      Her rela- --

8                       MR. CARSON:      Objection.

9                       THE WITNESS:      I think what I

10              meant was her relationship with

11              Vinnie and all the back and forth

12              that they were having.

13                      Because her and Vinnie had --

14              were like calling reporters and doing

15              crazy stuff, I don't know.         So right

16              here, I'm trying to get information

17              out of her so that I can tell the MEF

18              if he did.

19     BY MR. CAVALIER:

20       Q.      What was -- what were you referring

21     to when you say "it was always in the back of

22     my mind", right there?

23       A.      I don't know.      I'd have to see the

24     rest of the conversation.


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                                                                    Page 330
1        Q.      You don't think that -- the prior

2      sentence says --

3        A.      I thought she had, I thought she had

4      an affair with --

5                        MR. CARSON:     Lisa, --

6                        THE WITNESS:     -- Vinnie.

7                        MR. CARSON:     -- let him finish.

8      BY MR. CAVALIER:

9        Q.      Where do you see --

10       A.      I don't know what that girl is doing.

11     And I would like to, listen, I would like to

12     see the rest of the conversation.

13                       MR. CARSON:     Just do me a

14              favor, just take a deep breath.          Just

15              let's keep the record clean.

16                       THE WITNESS:     Because it could

17              be referencing something from -- it

18              doesn't mean it has to reference

19              that.    That's not like -- we --

20                       MR. CARSON:     Okay.

21                       THE WITNESS:     I would have --

22                       MR. CARSON:     No question --

23                       THE WITNESS:     I'm not done.      I

24              would have conversations and


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                                                                    Page 331
1               reference --

2                        MR. CARSON:     No question

3               pending.

4                        THE WITNESS:     -- six lines back

5               or forward.

6                        MR. CARSON:     There's no

7               question.

8                        So Jon is going to ask a

9               question.    You're going to take a

10              minute and wait for me to object.           If

11              I don't object, you'll answer.          If I

12              do object, let me put my objection on

13              the record, --

14                       THE WITNESS:     Fine.

15                       MR. CARSON:     -- and then you

16              answer.

17                       THE WITNESS:     Sorry.

18                       MR. CARSON:     And everyone just

19              stay calm and just let's get through

20              this.    It's not a big deal.

21                       THE WITNESS:     How many hours?

22                       MR. CARSON:     I'm sorry.     You

23              have to sit for seven hours.         It's

24              been about five and-a-half hours.


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                                                                    Page 332
1                        THE WITNESS:     Oh, my God.

2               Okay.

3      BY MR. CAVALIER:

4        Q.      So the very, the very first line of

5      this message, do you agree with me that the

6      first line of this message says, "And I

7      didn't know about the money that he took from

8      MEF until you told me"?        Did I read that

9      correctly?

10       A.      You did.

11       Q.      The very next word and phrase is

12     "it was always in the back of my mind".

13               Is it your testimony sitting here

14     today under oath that you don't believe that

15     the "it" in that sentence refers to the money

16     that he took from MEF?

17       A.      I said I'd need to see the whole

18     context of the thing.        I don't remember this

19     conversation verbatim.        That's what I said.

20       Q.      I'm not asking you if you remember

21     the conversation verbatim.

22       A.      You're asking me my opinion, but I'm

23     not going to assume anything without the

24     whole text.


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                                                                    Page 333
1        Q.      Do you find it strange that the "it"

2      in that sentence in your mind could refer to

3      something that is not mentioned anywhere else

4      in this document?

5        A.      It could.     Because that's not a

6      document.     That's a piece of a document.

7        Q.      Fair enough.      So is it at least fair

8      to say that as of Thursday, March 7, 2019,

9      you at the very least suspected that there

10     was a possibility that Danny Thomas had

11     misappropriated money that belonged to The

12     Middle East Forum?

13       A.      Let me just correct you.

14                      MR. CARSON:      Objection.     You

15              can answer.

16                      THE WITNESS:      Let me just

17              correct you too because you're

18              misguiding my testimony.        I told you

19              that she first told me about that in

20              December, December.       You just asked

21              me March.    I already testified that

22              she told me about it in December.

23     BY MR. CAVALIER:

24       Q.      I'm not asking you what she told you.


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1      And okay, fair enough, I'll ask the question

2      that way.

3                As of December 2018, did you at least

4      suspect that there was a possibility that

5      Danny Thomas misappropriated money from The

6      Middle East Forum?

7                        MR. CARSON:     You can answer

8               that.

9                        THE WITNESS:     Yes.

10     BY MR. CAVALIER:

11       Q.      What did you do about that?

12       A.      I asked Jazmine to provide proof, I

13     asked Tommy Robinson if he knew anything

14     about it, and I asked Danny Thomas himself.

15     She recanted.

16       Q.      So --

17       A.      Excuse me.     I'm not done.      She

18     recanted.     She never provided me proof.

19     Danny Thomas denied it, and Tommy Robinson

20     said, "I was in jail at the time.           I know

21     nothing about it".

22       Q.      So the baby mama, as you put it, of

23     the man who misappropriated the money told

24     you --


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1        A.      We don't know that he misappropriated

2      the money, and please stop saying that he

3      misappropriated it because we don't know if

4      he did or he didn't.

5        Q.      All right, I'll rephrase.         The baby

6      mama,    --

7                         MR. CARSON:    --

8                         THE WITNESS:    What?

9                         MR. CARSON:    --

10     BY MR. CAVALIER:

11       Q.      -- to use your words, the baby mama

12     of the man MEF alleges misappropriated this

13     money tells you Danny Thomas stole the money,

14     then recants it, and that's good enough for

15     you?

16                      MR. CARSON:      Objection.     You

17              can answer.

18                      THE WITNESS:      She said wildly

19              outrageous lies about plenty of other

20              people.    So I wasn't really taking a

21              scorned, crazy woman at face value.

22                      And so no, I was not going to,

23              I was not going to, you know, hurt

24              MEF, I was not going to hurt Tommy


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1               Robinson, all for some crazy girl

2               who's already made up lies about like

3               five other people.       She made up lies

4               about Archie.      She made up lies about

5               this one and that one and everybody.

6               That's all she did.

7                       And she would call everybody.

8               It wasn't just me she was harassing.

9               She was harassing Tommy.        She was

10              harassing Archie.       She was harassing

11              all these people.       Like the girl just

12              lied all the time.

13                      So no, I wasn't going to take

14              her at face value, I'm sorry.          I'd

15              need evidence to do that.

16     BY MR. CAVALIER:

17       Q.      Did you talk to anybody else about

18     your suspicion that Tommy, that Danny Thomas

19     may have misappropriated money from The

20     Middle East Forum?

21       A.      I might have talked to Twin about it.

22                      MR. CARSON:      Objection.

23     BY MR. CAVALIER:

24       Q.      You might have talked to Twin about


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                                                                    Page 337
1      it?

2        A.      Yes, I don't know if I did or not.           I

3      might have.

4        Q.      Do you remember the context of that

5      communication?

6        A.      I just said I don't remember.

7        Q.      Do you remember --

8        A.      I might have.      I might have been on

9      the phone with him.       I talked to him on the

10     phone a lot, I don't know.

11               I might have talked to Archie,

12     Shamus.    I might have talked to a bunch of

13     people about it.      I was trying to figure out

14     if he did or he didn't.

15       Q.      Why didn't you enlist MEF's help to

16     find out if he did or he didn't?

17       A.      How would they know?        And what's the

18     point?    You want me to drag them into baby

19     mama drama over something that probably isn't

20     true?

21       Q.      Well, you already told us that

22     Jazmine Bishop injected the baby mama drama

23     herself.

24       A.      She did.


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                                                                    Page 338
1                         MR. CARSON:    Wait.    There's no

2               question yet.      Just wait for a

3               question.

4      BY MR. CAVALIER:

5        Q.      She was already, she was already in

6      it?

7        A.      Not --

8                         MR. CARSON:    Objection.

9                         THE WITNESS:    Not to me she

10              wasn't.    Like they didn't, they

11              weren't hearing from her on the

12              regular.    She wasn't harassing them

13              on the regular.      She didn't say any

14              of that to them.      Why didn't she tell

15              them that?

16                      And here's another question, if

17              he did steal the money, --

18                      MR. CARSON:      Wait.    Just wait

19              for a question.      Just answer --

20                      THE WITNESS:      Fine.

21                      MR. CARSON:      A deposition is a

22              question-and-answer session.

23                      THE WITNESS:      I'm sorry.     I'm

24              so annoyed.


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                                                                    Page 339
1      BY MR. CAVALIER:

2        Q.      What's your question?

3        A.      I'm just so tired.       I want this to be

4      over.

5                       MR. CARSON:      If you don't

6               understand it, I object.

7      BY MR. CAVALIER:

8        Q.      As an employee of The Middle East

9      Forum, don't you think you have a duty to

10     tell them about it if you suspect somebody

11     stole their money?

12                      MR. CARSON:      Objection.     Calls

13              for a legal conclusion.        Objection.

14              Calls for assuming facts not in

15              evidence.    Argumentative.       Object to

16              the form.    You can answer.

17                      THE WITNESS:      A, I was a

18              low-level employee; B, I didn't know

19              it to be true; and, C, I would have

20              if I had proof that it happened but I

21              don't, and I still don't to this day.

22     BY MR. CAVALIER:

23       Q.      But that's not my question.         My

24     question is:     As an employee, as somebody


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1      who -- a self-described very loyal person, --

2        A.      Uh-huh.

3        Q.      -- if you suspected that this money

4      had been stolen, at least that it was a

5      possibility that it had been stolen, don't

6      you think you have an obligation to at least

7      say, "Hey, we might have a problem here to

8      your bosses"?

9        A.      I mean I definitely --

10                      MR. CARSON:      Same objection as

11              before.    Go ahead.     It's also asked

12              and answered.

13                      THE WITNESS:      So morally, I

14              think that if morally speaking, if

15              that's what you're asking me as a

16              loyal person, right, that if I

17              thought, if I thought deep down in my

18              heart that he did it, then yes.

19                      But I don't.      I don't even

20              think he did it now.

21     BY MR. CAVALIER:

22       Q.      Did you ever tell anybody else that

23     you had heard these allegations and didn't

24     believe them?


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1        A.      That was already asked, and I told

2      you that.

3        Q.      I don't think I asked that question

4      already.

5                       MR. CARSON:      You did.    You can

6               answer again if you want.         I mean not

7               if you want.     You can answer.

8                       THE WITNESS:      I told people

9               that I was concerned about it.

10     BY MR. CAVALIER:

11       Q.      Who did you tell that you were

12     concerned about it?

13       A.      Tommy Rob- -- I just told you Tommy

14     Robinson.     I might have talked to Twin and

15     people about it.      I don't know.      I talked

16     about it though.

17               I definitely went to Tommy Robinson

18     about it.     Definitely talked to Jazmine about

19     it.    Probably talked to my husband about it.

20     I mean I'm a talker, can't you tell?

21       Q.      You're aware, are you not, that Tommy

22     Rob-, that Danny Thomas has admitted taking

23     this money from MEF, correct?

24       A.      I did not know that.


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                                                                    Page 342
1                        MR. CARSON:     Objection.

2               Assuming facts not in evidence.          You

3               can answer.

4                        THE WITNESS:     But under what?

5               Like is MEF making him pay it back?

6      BY MR. CAVALIER:

7        Q.      That's not my question.

8        A.      I mean that's my question.         I didn't

9      know that, I didn't know that he admitted to

10     taking it.

11       Q.      Okay.

12       A.      That's the first I'm hearing of it.

13       Q.      Have you read the transcript of a

14     call between Gregg Roman and Danny Thomas in

15     which he admits that?

16       A.      No.   The only thing I got was a

17     portion of a transcript that Daniel Pipes

18     e-mailed me personally that talked about

19     cocaine use.

20       Q.      Okay.

21       A.      That's all I have.

22       Q.      Have you read The Middle East Forum's

23     counterclaim against you?

24       A.      I haven't, and I won't.        Because I


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1      made my husband read it, and I hear that it

2      was so outlandish that I didn't.           And so no,

3      I will not read that.

4        Q.      Same answer if I asked you if you

5      looked at the exhibits to the counterclaim?

6        A.      I haven't looked at it.

7        Q.      So, based on what I've told you and

8      that you now know having Danny Thomas admit

9      to Gregg Roman that he took the money, does

10     that change how you feel about the

11     reliability of the evidence that you had

12     prior to that?

13       A.      No.

14                      MR. CARSON:      Objection.     Still

15              assuming facts not in evidence.

16              Argumentative.      Object to the form.

17     BY MR. CAVALIER:

18       Q.      The fact that Danny Thomas admitted

19     to taking the money is in evidence.           Whether

20     he did or he didn't, I'll grant you that,

21     but --

22       A.      Under what con- --

23                      MR. CARSON:      Jon, --

24                      THE WITNESS:      Under a paid


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                                                                    Page 344
1               conversation with Gregg Roman?

2                        MR. CARSON:     Lisa, let me

3               handle it.     He didn't admit to taking

4               money.    Gregg Roman offered to pay

5               him money if he said he admitted to

6               it.

7                        If The Middle East Forum is in

8               the process of doing anything against

9               Daniel Thomas for money Daniel Thomas

10              stole, my client has no knowledge of

11              that, but you can ask her questions

12              about it still.

13                       MR. CAVALIER:     So I'd advise --

14                       MR. CARSON:     As long as --

15                       MR. CAVALIER:     I'd advise --

16                       MR. CARSON:     I objected --

17                       MR. CAVALIER:     -- very careful

18              making those kind of allegations on

19              the video record here.

20                       THE WITNESS:     Him or me?

21                       MR. CAVALIER:     Especially when

22              your witness has already admitted

23              your only basis for it is the

24              testimony of somebody that she


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                                                                    Page 345
1               herself deems unreliable --

2                       MR. CARSON:      First of all, I

3               don't have to be careful.         All right?

4               I'm accusing Gregg Roman of offering

5               money to Daniel Thomas based on the

6               word of Daniel Thomas.        That's the

7               person he said it to.        Okay?   So --

8               and I've made those allegations on

9               the record already so everyone here

10              is aware of them, and everyone here

11              is an agent of the party or a party

12              themselves to the case.

13                      Furthermore, you're sitting

14              there injecting facts into this

15              deposition and then trying to ask my

16              client questions about those facts.

17              So, as long as we're injecting facts

18              into the deposition, I think it's

19              important that we keep everything in

20              context.

21                      You can continue with your

22              examination.

23     BY MR. CAVALIER:

24       Q.      Ma'am, are you still there?


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                                                                    Page 346
1        A.      Yes.    I just had to stand up for a

2      minute.    My legs are bothering me.

3        Q.      All right.     I think we need you at

4      least on the screen.

5                Did you ever tell Danny Thomas not to

6      talk to Gregg Roman?

7        A.      No.    I've never -- I haven't spoken

8      to Danny Thomas since like Manchester.

9        Q.      Did you ever threaten him?

10       A.      Threaten him how?       No.   I didn't

11     threaten anyone.

12       Q.      Did you ever threaten Jazmine Bishop?

13       A.      No, not that I can remember.          I might

14     have said I'll like -- she threatened to beat

15     me up one time.      I said I would like to see

16     her try or something like that.

17               But she threatened to beat me up.

18     She wanted to fight me.        She said she was

19     going to fly over here or next time I was

20     here I better watch my ass.         She threatened

21     me.

22       Q.      Did you ever threaten to sleep with

23     Danny Thomas again just to upset Jazmine

24     Bishop?


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                                                                    Page 347
1        A.      Probably said it jokingly in anger

2      maybe.    I don't know.      I don't remember

3      saying that, but I -- maybe.

4        Q.      Is that the kind of thing you would

5      typically --

6        A.      Get under her skin.

7        Q.      Is that the kind of thing you would

8      typically say as a joke?

9        A.      I would never actually sleep with

10     Danny Tommo again.       Like that would be gross.

11     I don't know, I also said the things I said

12     about abortion.

13       Q.      What makes it gross now?

14       A.      What makes it gross now?         He punched

15     me in my face and chipped my tooth.

16       Q.      Okay.

17       A.      That's what makes it gross now.

18       Q.      So let's talk a little bit about that

19     briefly.    Where did that occur?

20       A.      Brussels.

21       Q.      Why did you go to Brussels?

22       A.      I went to Brussels because Janice

23     Atkinson asked me to speak at a, to the

24     European Parliament, and I was planning to


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                                                                    Page 348
1      until she told me that Alex Jones was going

2      to speak and then I pulled out.          And then she

3      told me Alex Jones wasn't going to go and

4      then I still had reservations about it, but I

5      still went to watch the event.

6                They were paying for my hotel room,

7      not The Middle East Forum, Janice Atkinson

8      did, and I paid for my own flights and my own

9      everything out there.        So it was a personal

10     trip.

11       Q.      Okay.    And so Tommy Robinson joined

12     you in Brussels?

13       A.      No.   He was originally invited to

14     speak and then he was dis-invited to speak

15     because they thought that they wouldn't let

16     him in the Parliament or something like that,

17     but he was flatboard (ph) --

18       Q.      So Tommy Robinson wasn't really a

19     part of that trip then?

20       A.      No.

21       Q.      But Danny Thomas was?

22       A.      I asked him to come join me.

23       Q.      Okay.    And did he do so?

24       A.      Uh-huh.


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                                                                    Page 349
1        Q.      Why did you ask him to join you?

2        A.      Because I was seeing him then.

3        Q.      Okay.    Did you pay for him to make

4      the trip?

5        A.      I don't remember.       I might have paid

6      for his train or something like that.            I

7      don't know.     Maybe.

8        Q.      Did you meet a woman named Amy

9      Mekelburg while you were in Brussels?

10       A.      I did.

11       Q.      Who is that?

12       A.      She's a friend of mine.

13       Q.      What does she do for a living?

14       A.      She helps people with wrongful

15     convictions, and she has a website called

16     RAIR that highlights, that highlights the

17     intersectionality of Communism and Islamism.

18       Q.      Have you ever done any work for her

19     organization?

20       A.      I proofread her stuff and, you know,

21     like things you do for a friend.

22       Q.      Have you ever tried to raise money

23     for her organization?

24       A.      She at one time -- so she is friends,


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                                                                    Page 350
1      she was already friends with David Horowitz

2      and Adam Milstein.       They're friends that

3      she's had for like quite a long time.            They

4      follow her on Twitter and they have, and

5      they've had regular communications.

6                But they always asked her to submit

7      like actual, you know, proposals, and she

8      didn't know how to write them up.           So I was

9      trying to help her, you know, to do that.

10       Q.      Did you ever try to solicit money

11     from MEF for her organization?

12       A.      She asked me to submit a proposal to

13     Daniel Pipes, I helped her with it, and he

14     lambasted it.      He said it was juvenile I

15     believe were his words.        Sophomoric.

16       Q.      Do you ever --

17       A.      It might have been "sophomoric".           I

18     can't remember.

19       Q.      Did you ever provide Amy Mekelburg or

20     her organization with an MEF donor list?

21       A.      No.

22       Q.      Did you send her an MEF document,

23     confidential document marked, a fund-raising

24     document marked Confidential?


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                                                                    Page 351
1        A.      Apparently I did.

2        Q.      I'm asking you.

3        A.      No.

4                        MR. CARSON:     Objection.

5                        THE WITNESS:     At the time that

6               I sent it, A, I didn't know it was a

7               confidential document.        I wasn't

8               paying attention.       I was just trying

9               to like -- I just pulled one and

10              said, "Look, this is how you write a

11              proposal".

12     BY MR. CAVALIER:

13       Q.      Okay.    So you --

14       A.      At the time, I wasn't aware it was

15     confidential.

16                       MR. CARSON:     This is not the

17              trade secret case.       The scope of your

18              examination, if it's going to go to

19              the trade secret case, I did not

20              prepare my client, and she did not

21              prepare today for testimony on that

22              case.    So, you know, --

23                       MR. CAVALIER:     Well, two

24              things.


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                                                                    Page 352
1                        MR. CARSON:     I don't think it's

2               proper to question her knowing that

3               there's another case to try to go

4               after her in connection with that

5               case when we're here today to talk

6               about another case.

7                        MR. CAVALIER:     So, if that's

8               the extent of your objection, I'll

9               respond by saying she acknowledged at

10              the beginning of this deposition that

11              she didn't prepare at all, so I don't

12              think that's very valid, and

13              secondly, I mean anything that may

14              even lead me to evidence is

15              permissible in this deposition.          But,

16              nevertheless, I won't belabor the

17              point.

18     BY MR. CAVALIER:

19       Q.      My point is, my question is this:           Do

20     you recall sending Amy Mekelburg a document

21     called Foundations List?

22       A.      I made that.     That wasn't an MEF

23     document.     I made that from the websites.

24       Q.      When did you make it?


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1        A.      I don't remember.       I was trying to

2      help her with the thing, and it's -- all the

3      information that I gave her was public access

4      information.      I gave her -- I even put like

5      website links so she could check out the

6      foundations on it.       It wasn't an MEF

7      document.

8        Q.      Is the amount of money that was on

9      that document from MEF donors public

10     information?

11       A.      Yes.    Everything that is over I think

12     500, $5,000, whatever, it has to be listed on

13     your 990.

14       Q.      So were there donations on that

15     document that were in excess of $5,000?

16       A.      They were only in the excess of

17     $5,000.    All public information.

18       Q.      Did the document include reference to

19     e-mails that were in the public domain?

20       A.      I believe so.

21       Q.      Did it include reference to e-mails

22     that were not in the public domain?

23       A.      I don't think so.

24       Q.      Where did you get the information


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1      that went into the document?

2        A.      On the websites.

3        Q.      What websites?

4        A.      The foundations' websites.

5        Q.      What foundations?

6        A.      I don't remember what they were off

7      the top of my head.

8        Q.      The foundations that provided the

9      money or the MEF website?

10       A.      What?

11       Q.      I'm trying to figure out --

12       A.      The foundations that had the money.

13       Q.      Okay.    Did you include any

14     information on that document that were not

15     from those websites?

16       A.      I don't believe so.

17       Q.      During the trip to Brussels in 2018,

18     did you tell Danny Thomas that or did Danny

19     Thomas tell you that he was ending your

20     relationship?

21       A.      No.

22       Q.      He didn't tell you that he was ending

23     the sexual relationship that you guys were

24     carrying on?


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                                                                    Page 355
1                        MR. CARSON:     Objection.

2                        THE WITNESS:     No.   Actually,

3               not even a little bit, no.

4      BY MR. CAVALIER:

5        Q.      Okay.

6        A.      As a matter of fact, Danny --

7                        MR. CARSON:     Again, --

8                        THE WITNESS:     Hold on.

9                        MR. CARSON:     -- referencing a

10              document that was paid for or that

11              someone offered to pay for, Jon.

12                       THE WITNESS:     But additionally,

13              just so that you know, when I was in

14              England in, for the Tommy Robinson

15              MEP campaign, Danny tried to sleep

16              with me then too and he tried to date

17              me then too, and I told him "no".

18                       So no, Danny Thomas did not --

19              as a matter of fact, there were text

20              messages from Danny where I tried to

21              end it, and he goes, "I ain't going

22              nowhere".    He wasn't, he wasn't ever

23              trying to leave me.

24     BY MR. CAVALIER:


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                                                                    Page 356
1        Q.      So you told me he gave you a black

2      eye and chipped your tooth.         How did that

3      happen?

4        A.      We were having sex.       He was drunk.

5      We were having sex.       I tried to push him off

6      me.    He was smacking me.       He didn't -- I

7      don't think he punched me.         It was like his

8      hand, he was smacking me.         I tried to push

9      him off.    I said, "Danny, it hurts.         It's too

10     hard".

11               I had a cornea problem.        I had an

12     x-ray.    I crawled to the ER by myself.           He

13     got drunk and passed out.         He didn't even --

14     I was in there for like nine hours.           He

15     didn't even come until the next day until I

16     woke him up and begged him to come get me

17     because I couldn't see.

18               And then he took care, like

19     technically took care of me like for the next

20     couple days because I couldn't see.           Like he

21     helped me wash my hair and like did those

22     type of things because he blacked my eye and

23     chipped my tooth.

24       Q.      How did you feel about that?


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                                                                    Page 357
1                         MR. CARSON:    Objection.

2                         THE WITNESS:    I think that I

3               rationalized it in my head as like he

4               was drunk and he didn't really

5               understand how hard he was hitting

6               me.

7                         And then it wasn't really I

8               guess until later when Jazmine sent

9               me all the pictures of how beat up

10              she had been by him that I realized

11              that like this is a common occurrence

12              for him, and that really made me sick

13              to my stomach.

14     BY MR. CAVALIER:

15       Q.      So you took yourself to the hospital?

16       A.      I did.    Well, I felt the way down the

17     hallway and went down to the hotel lobby and

18     I said, "I need an ambulance", and they put

19     me in an ambulance.

20       Q.      They called an ambulance for you?

21       A.      They did.

22       Q.      Did you ever report that to anybody

23     in authority?

24       A.      No.   No.    It's a very embarrassing


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1      thing.    I didn't even tell my mom about it

2      until the other day.

3        Q.      Did you consider it an assault?

4        A.      I, like I said, at the time, I

5      considered it to be accidental.          He was

6      drinking and didn't realize his strength is

7      what I took it to be at the time, and maybe

8      that's why I wasn't as angry about it as I

9      should have been at the time.

10       Q.      Do you ever remember telling Tricia

11     McNulty that in a weird way you may be happy

12     that he punched you because he then took care

13     of you afterwards?

14       A.      He did take care of me after.

15                       MR. CARSON:     Objection.

16                       THE WITNESS:     I might have said

17              that.    Because I was in a really bad

18              mental spot.

19                       I mean think about that

20              statement that you're just making.

21              Think about that.

22     BY MR. CAVALIER:

23       Q.      I can understand that.

24       A.      I was certainly not myself.


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                                                                    Page 359
1                        MR. CARSON:     No question.

2      BY MR. CAVALIER:

3        Q.      Was the rough sex aspect of your

4      relationship typical?

5        A.      No.

6                        MR. CARSON:     Objection.

7               Objection.     I'm instructing her not

8               to answer.

9      BY MR. CAVALIER:

10       Q.      Where did you stay when you got out

11     of the hospital?

12       A.      My hotel room.

13       Q.      And is that where Thomas was taking

14     care of you?

15       A.      Yes.    And then I got -- and it was

16     only like a day or two after, I think it was

17     a day after, maybe a day and-a-half, and then

18     I went on a train to Amsterdam with my friend

19     who met me there.

20       Q.      Okay.    And how long were you in

21     Amsterdam for?

22       A.      A couple days.

23       Q.      It's obviously a popular thing to do

24     in Amsterdam, so I'll ask the question.            Did


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1      you smoke pot while you were in Amsterdam?

2                        MR. CARSON:     Objection.     You

3               don't have to answer.

4                        THE WITNESS:     I don't have to

5               answer that?

6                        MR. CARSON:     You can I guess.

7               I think it's a question designed to

8               harass, embarrass and intimidate, but

9               whatever.    It doesn't matter.

10                       THE WITNESS:     I mean I have no

11              problem answering that because I told

12              the guy -- I'll tell you the truth.

13              I'll tell you that now.        I tell the

14              truth all the time.       Pot makes me

15              paranoid.    It's something that I

16              don't like, it's something that I

17              don't like to do, right, and so --

18              and they always say that in Amsterdam

19              they have pot that has a strain that

20              won't make you paranoid, right.

21                       So I tried it in Amsterdam and

22              it still made me freakin' paranoid.

23              It was awful.     It was the worst thing

24              ever.    And I was like, "They lied.


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1               They don't even have a strand of pot

2               that makes you not paranoid like they

3               said they would, and Amsterdam is

4               supposed to have everything".

5                         So I did.   I tried.     I took two

6               hits off the thing.       I thought I was

7               going to lose my mind.        I was so

8               paranoid that everybody was there

9               laughing at me.       I thought -- I

10              dropped a French fry and I thought

11              the whole place was staring at me.

12              It was like the most awful,

13              uncomfortable feeling in the entire

14              world.    That's it.

15     BY MR. CAVALIER:

16       Q.      Did Danny Thomas accompany you to

17     Amsterdam?

18       A.      No.   No.

19       Q.      Who were you with?

20       A.      What?

21       Q.      Who were you with again?

22       A.      Allison.

23       Q.      Who is Allison?

24       A.      Teddy.    Her name is Ingrid Allison


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                                                                    Page 362
1      Teddy.

2        Q.      Okay.    And she's just a friend of

3      yours?

4        A.      Yes.

5                        MR. CAVALIER:        Seth, I'm going

6               to -- I got some documents to do and

7               I'd like a minute to organize them.

8               So why don't we take -- it's almost

9               5:00.    Why don't we take hopefully

10              just ten or so, and then, you know,

11              we can hopefully move this along

12              close to the end.

13                       Is that good with everybody?

14                       MR. CARSON:        Okay, yes.   Sounds

15              like a plan.       Take your time.       We'll

16              get back on at -- what do you want,

17              ten after 5:00, five after 5:00?

18              It's up to you.

19                       THE VIDEOGRAPHER:       4:55 p.m.,

20              off the record.

21                             -    -   -

22                    (A recess occurred.)

23                             -    -   -

24                       THE VIDEOGRAPHER:       5:13 p.m.,


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1               back on the record.

2      BY MR. CAVALIER:

3        Q.      Have you had any conversations with

4      Seth Carson today via phone or text?

5        A.      I've had conversations with him

6      today, but --

7        Q.      Tell me what you talked about.

8                       MR. CARSON:      Objection.

9                       THE WITNESS:      Uhm.

10                      MR. CARSON:      Wait.    You don't

11              have to answer that.       That's

12              privileged.

13                      MR. CAVALIER:      Seth, she's

14              under oath on the witness stand, and

15              you're having conversations with her.

16              That's not privileged.

17                      THE WITNESS:      Wait a minute.

18                      MR. CARSON:      Yes, it is.     Lisa,

19              just stop.     Every conversation I've

20              had with her today has been

21              privileged.     We haven't discussed any

22              testimony.

23                      MR. CAVALIER:      Well, we're

24              going to come back and revisit that.


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                                                                    Page 364
1                        THE WITNESS:     For the record,

2               we haven't discussed any testimony.

3               I asked her, I asked him how long

4               this was going to be, and why --

5                        MR. CARSON:     No, Lisa.     Stop.

6               Lisa, we're not waiving any privilege

7               right now.

8                        MR. CAVALIER:     Like I said, we

9               can revisit that later.

10                       MR. CARSON:     We can revisit.

11              I'll instruct her not to answer

12              again.

13     BY MR. CAVALIER:

14       Q.      Did you ever expect to receive

15     $100,000 commission by facilitating a meeting

16     between Ezra Levant and Terry Giles in London

17     in March of 2019?

18       A.      Uhm.

19                       MR. CARSON:     Objection.     Facts

20              not in evidence.

21                       THE WITNESS:     Do I answer?

22                       MR. CARSON:     Yes, you can

23              answer.

24                       THE WITNESS:     So Ezra Levant --


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                                                                    Page 365
1               I had met a man named Terry Giles in

2               London through Tommy unrelated to MEF

3               stuff, and when I met him, he's a

4               very nice man and he was super

5               interested in the work of Tommy and

6               super interested in the work of Ezra.

7                       Ezra was looking to start a new

8               branch in America and needed funding

9               for that.    And him and I talked, and

10              I was trying to desperately leave The

11              Middle East Forum and I wanted to --

12              and I said, "Listen, if I can pull in

13              a donor for you", who was Terry

14              Giles, unrelated to MEF, MEF never

15              talked to them before, never met them

16              before, "if I can make that happen

17              when I go to meet with him again,

18              would you be interested", yes.

19                      So did he talk about a $100,000

20              commission?     He said -- he had

21              offered that.     But really what I

22              wanted to do was work for him.          He

23              also gave me the option to work, I

24              could either be a journalist for them


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1               or he also gave me the option to run

2               the whole thing.

3      BY MR. CAVALIER:

4        Q.      Okay.    But just so the record is

5      clear, your answer to my question then as to

6      whether you were ever expecting a $100,000

7      commission for helping Ezra Levant raise a

8      million dollars to open an office is "yes"?

9        A.      It's --

10                       MR. CARSON:     Objection.

11                       THE WITNESS:     It's not a

12              yes-or-no question.       It was one thing

13              he offered out.

14                       Would I have taken that option,

15              no.   I wanted to work for him.

16     BY MR. CAVALIER:

17       Q.      Okay.    So he offered you a $100,000

18     commission, yes?

19       A.      I think it was that.

20                       MR. CARSON:     Objection.

21     BY MR. CAVALIER:

22       Q.      Did you tell Daniel Pipes that he was

23     a potential MEF donor?

24       A.      That who was?


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1        Q.      Ezra Levant.

2                       MR. CARSON:      Objection.

3               Assuming facts not in evidence.

4                       THE WITNESS:      No.

5      BY MR. CAVALIER:

6        Q.      Did you ever tell Daniel Pipes that

7      Terry Giles was a potential MEF donor?

8        A.      I said that I --

9                       MR. CARSON:      Objection.

10              Assuming facts not in evidence.

11                      THE WITNESS:      I said that I

12              would like to get him to be a

13              potential donor.      I was going to try

14              to, I was going to try to get him to

15              donate to MEF as well as, as well as

16              -- Terry Giles is a billionaire.          I

17              was going to try to get him to donate

18              to MEF and to The Middle East Forum.

19              As a matter of fact, I would like

20              Terry Giles to donate to Randy Weber

21              right now.

22     BY MR. CAVALIER:

23       Q.      And you told --

24       A.      He's a billionaire.


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1        Q.      And you told that to Daniel Pipes,

2      correct?

3        A.      Yes.

4        Q.      Who knew about your arrangement with

5      Ezra Levant?

6                        MR. CARSON:     Objection.

7               Objection.     Assuming facts not in

8               evidence.    What arrangement are you

9               talking about?

10                       THE WITNESS:     Yes.    What

11              arrangement?

12     BY MR. CAVALIER:

13       Q.      All right, that's fair.         So who knew

14     about your, the discussion of the $100,000

15     commission?

16       A.      Probably --

17                       MR. CARSON:     Object.

18              Objection.     Assuming facts not in

19              evidence.    Object to the form.         You

20              can answer.

21                       MR. CAVALIER:     Seth, if you

22              want to put an objection to form on

23              the record, why don't you just put an

24              objection to form, and if I ask for


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1               clarity, you can give it to me?

2               Otherwise, we'll just let your

3               objection stand.      Fair enough?

4                        MR. CARSON:     I mean I'll put

5               the objections on the record that

6               I'm -- I'm going to state precisely

7               my objection, why I'm objecting, and

8               then the witness can answer after I'm

9               done.

10     BY MR. CAVALIER:

11       Q.      You can answer the question.

12       A.      I talked about the prospect of the

13     commission, of working with them, of -- I

14     even -- with lots of people, my mom, Tricia,

15     lots of people.      Because I'm so wanting to

16     get out of the Middle East Forum.           I thought

17     that that would be a great opportunity for

18     me.

19       Q.      Did you send Terry Giles a proposal?

20       A.      No, I never sent him --

21                       MR. CARSON:     Objection.

22                       THE WITNESS:     I never sent

23              Terry Giles a proposal.        Terry Giles

24              met with Ezra in a meeting with me


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1               and Ezra in England.

2      BY MR. CAVALIER:

3        Q.      Did Tricia McNulty know about your

4      discussions with Terry Giles?

5        A.      Some of them, yes.

6        Q.      Did Grayson Levy know about your

7      discussions with Terry Giles?

8        A.      Most likely.

9                        MR. CARSON:     What discussions

10              are you talking about here?

11                       THE WITNESS:     The discussions

12              about potentially working for Rebel

13              Media.

14     BY MR. CAVALIER:

15       Q.      Did you ever ask any -- let me

16     rephrase.     Did you ever ask Grayson Levy,

17     Tricia McNulty or Marnie Meyer to edit

18     documents that you gave to Terry Giles?

19       A.      I don't know, I might have.         That's

20     something I would, something I would likely

21     do.    I value Grayson's opinion majorly.          And

22     Grayson was actually, I think Grayson was

23     actually even helping with that.           I think

24     Grayson had, like was using it for some of


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1      his idea.     I think that that's how it all

2      started.

3                I think that Grayson and Ezra talk,

4      and he knew that Ezra was looking to do this

5      and that I could be -- Grayson was trying to

6      help me get out of MEF because he hates Gregg

7      too.

8        Q.      Did you ever tell Daniel Pipes about

9      the potential commission?

10       A.      Why would I?     It's a separate deal.

11       Q.      Did you ever tell Daniel Pipes about

12     your discussions with Ezra?

13                       MR. CARSON:     Objection.     What

14              discussion?

15     BY MR. CAVALIER:

16       Q.      When I say "discussions", do you

17     understand that I'm talking about the

18     discussions that we just talked about?

19       A.      Talking about me working for Rebel

20     Media?

21       Q.      Yes, and the potential commission and

22     your potential --

23       A.      Fine.

24       Q.      -- for employment with Rebel Media.


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1      Do you understand that that's what I'm

2      referring to?

3        A.      Okay, yes.

4                        MR. CARSON:     When you say --

5               whatever.    Objection.      I think -- you

6               can answer.

7      BY MR. CAVALIER:

8        Q.      Did you --

9                        THE WITNESS:     There wasn't any

10              question.

11                       MR. CAVALIER:     Yes.

12                       MR. CARSON:     Okay.

13     BY MR. CAVALIER:

14       Q.      Did you ever tell Daniel Pipes that

15     you went to England with your children?

16       A.      Yes.    He told me to say that.

17       Q.      What do you mean by that?

18       A.      He called me when I was in England

19     after the Guardian article was there, after

20     the Guardian article came out, and he told me

21     to specifically, when he came to my political

22     affairs, to make sure it was very separate

23     from Middle East Forum business because

24     they're a 501(c)(3) and they can't be seen as


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1      political activ-, like politi-, like involved

2      in actually like political stuff like that.

3      And so -- so I said, "When I put in the

4      request, I made sure, like you told me to, to

5      put in that it was a vacation request".            It

6      was the only time I've ever even actually I

7      think wrote a full vacation request out is

8      because they instructed me to.

9                And then when he saw me in England,

10     when he saw the article that came out in

11     England, me on like my cell phone in the

12     picture, he called me, and he was very nice,

13     very diplomatic.      We talked about it on the

14     phone, and he was like, "Okay, we're just

15     going to make sure we tell the Guardian that

16     you were there, it was a private work trip,

17     you were with your family, blah, blah, blah,

18     blah, blah.

19               So then -- and then weirdly, he wrote

20     me ba-, he wrote me like a week or two later

21     saying it again but in writing, and so I just

22     reiterated what we talked about on the phone

23     back to him in that e-mail.         I thought he was

24     covering his butt.       So, yes, that's -- I


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1      definitely did.

2        Q.      So you thought that as part of this

3      disinformation about your purpose in England

4      that --

5        A.      Because they were trying to --

6      because he was worried --

7                         MR. CARSON:    Wait.

8                         THE WITNESS:    Sure.

9                         MR. CARSON:    Let him finish his

10              question.

11     BY MR. CAVALIER:

12       Q.      Right.    Right.    But what I don't

13     understand is why part of that would involve

14     telling that same thing to Daniel.

15       A.      Well, --

16                       MR. CARSON:     Objection.

17                       THE WITNESS:     -- because I

18              think that he wanted it in writing to

19              cover his behind instead of just

20              saying it was a conversation on the

21              phone.    Why else would he bring it up

22              again in an e-mail unless to have it

23              in writing to show the Guardian or

24              who would ever come asking?         Document


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                                                                    Page 375
1               it.

2      BY MR. CAVALIER:

3        Q.      Did you ever conceal your involvement

4      in the Tommy Robinson campaign for European

5      Parliament from Daniel Pipes?

6        A.      Did I conceal it?

7                       MR. CARSON:      Objection.

8                       THE WITNESS:      Yes.

9                       MR. CARSON:      What's your

10              answer, Lisa?

11     BY MR. CAVALIER:

12       Q.      Did you ever tell --

13                      MR. CAVALIER:      Seth?

14                      MR. CARSON:      Did she answer?

15                      MR. CAVALIER:      Yes.

16                      THE WITNESS:      Daniel Pipes told

17              me I could do what I wanted on my own

18              time and that he was reluctant to

19              like tell me what to do in my

20              personal life.      They frowned upon it.

21     BY MR. CAVALIER:

22       Q.      Okay, so let's talk about that.          Did

23     he ever express to you that he was unhappy

24     with your work for Tommy Robinson?


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1        A.      At one point, he didn't, he wasn't

2      liking the coverage of the political part of

3      it.

4        Q.      Okay.    And what did you take that to

5      mean?

6        A.      We had discussions in his office,

7      him, me and Gregg, saying that I could do it

8      on my own time as long as I was

9      inconspicuous, so I was.

10       Q.      Okay.    So, if he gave you permission

11     to do it, why would you conceal it from him?

12                       MR. CARSON:     Yes, she never

13              testified that she concealed it.

14              That's what I'm saying.

15                       THE WITNESS:     No, I know

16              that --

17                       MR. CARSON:     I think you --

18                       THE WITNESS:     No, I think that

19              you guys are all mischaracterizing

20              like what happened.       He gave me

21              permission, they gave me permission

22              to do it, right.      Then they didn't

23              like the Guardian thing, so then they

24              said like keep it on the low.          Like,


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1               he said, I think that his words were

2               in an e-mail to me like, "I'm not

3               happy with that.      You know, you'd

4               have to get it approved from me,

5               blah, blah, blah, blah, blah.

6                        But then again, after that,

7               there was another conversation after

8               he said that where he was like, "Do

9               what you want on your own time.

10              Don't -- just as long as you're

11              inconspicuous", so I was.

12     BY MR. CAVALIER:

13       Q.      Did he ever revoke that permission?

14       A.      Yes.    And then he gave it to me

15     again, just like he did, just like he did

16     with the National Conservative Conference.

17     Same thing he did that to me then too.            He

18     said I could go, and he said I could go, I

19     could do whatever I wanted, blah, blah, blah,

20     blah, blah.      And then I go and he sees me

21     there and he looks horrified that I'm there

22     even though he gave me permission.

23               So then Marc Fink writes me an e-mail

24     saying, "You were -- we told you that your


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1      political activity was", blah, blah, blah,

2      blah, blah, like this damning e-mail.            And

3      then I sent Marc back the screenshots of

4      Daniel giving me permission, and then, oop,

5      they stopped talking about it.          Same thing.

6      Same exact thing.

7        Q.      Did it upset you that Daniel was

8      unhappy with your involvement in the Tommy

9      Robinson campaign?

10                       MR. CARSON:     Objec- --

11                       THE WITNESS:     It was weird.

12                       MR. CARSON:     Objection.

13                       THE WITNESS:     It didn't upset

14              me because he was weird.        He would

15              vacillate.     One minute he would be

16              happy.    One minute -- one time he

17              told me, "Good.      Tommy needs good

18              people around him".

19                       He also said to me, when we had

20              that big conversation, he was shocked

21              that Gregg Roman took my name off of

22              the press release because why would

23              you do that, you did all the work,

24              right.    He -- there was many of times


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1               where he praised my work with Tommy

2               Robinson.

3                       So it was very conflicting with

4               Dr. Pipes.     Dr. Pipes would be the

5               nicest gem to you on the phone and

6               then say the weirdest, strangest

7               things in e-mails, and he would go

8               back and forth like that all the

9               time, --

10     BY MR. CAVALIER:

11       Q.      Did you ever hold --

12       A.      -- all the time.

13       Q.      Did you ever hold yourself out as the

14     Director of Communications for TR News while

15     you were employed by The MEF?

16       A.      I volunteered.      I worked for Tommy as

17     a volunteer purpose, and that's the title

18     that we used for my volunteer purposes to

19     help Tommy to get media coverage.

20       Q.      Did you think that that was in

21     accordance with Daniel Pipes' instructions

22     about your involvement with Tommy Robinson?

23       A.      I changed my name.       I was under --

24     for Middle East, as far as Middle East Forum


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1      was concerned, I was Lisa Barbounis.            As far

2      as Tommy Robinson was concerned, I never used

3      the last name Barbounis, I only used

4      Reynolds.

5        Q.      Why?

6        A.      So that it would be separate from

7      MEF.

8        Q.      Did you ever discuss that separation

9      by using different names with Daniel Pipes?

10       A.      I told him that, yes.

11       Q.      What did he say in response?

12       A.      Nothing.    He's like, "Okay.       Just as

13     long as, you know, you don't involve The

14     Middle East Forum".       I said, "All right".        We

15     talked about that, 100 percent.

16       Q.      Did your mother or father ever

17     express to you a fear that Gregg Roman would

18     have you killed?

19       A.      Yes.

20       Q.      In what way?

21       A.      We were very worried about that when

22     Daniel Pipes asked me to meet him at the

23     train station.      Everything they do is like

24     covert and sneaky.       I felt like it was


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1      something out of a movie, "We'll meet at the

2      train station and sit at a booth and nobody

3      can listen, and it just needs to be me and

4      you".    I mean it was like something out of a

5      spy movie.      And Gregg is notorious for

6      hacking into e-mails and documents and crazy

7      stuff, and I wouldn't put anything past Gregg

8      Roman.

9                I'll tell you why I wouldn't put

10     anything past Gregg Roman.         Gregg Roman would

11     call us usurpers, right.         After all this

12     happened, he called us usurpers.           And we were

13     doing a radio show after all that happened,

14     and he said to me, right, when he was saying

15     it on the radio, he looked up at me knowing

16     that we knew he called us usurpers and he was

17     talking about something in Turkey and he

18     goes, "All usurpers must be destroyed".            Yes,

19     we were all scared.

20       Q.      Just to make it clear, for the

21     record, you've never observed Gregg Roman

22     engaging in violent behavior, correct?

23       A.      No.

24                      MR. CARSON:      Objection.     Apart


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1               from what she's already testified to,

2               Jon?

3                        THE WITNESS:     True.    Thanks,

4               Seth.

5                        MR. CAVALIER:     Yes, Seth.

6               We'll put you under oath next.

7                        MR. CARSON:     I mean --

8      BY MR. CAVALIER:

9        Q.      So, because he said, he called you

10     usurpers and --

11       A.      "All usurpers must be destroyed".

12       Q.      Okay.    Because he said "all usurpers

13     must be destroyed", --

14       A.      And looked straight at me.

15       Q.      When did he say that?

16       A.      He said that at a radio event after

17     he left and came back.

18       Q.      In what year?

19       A.      2019, spring of 2019.

20       Q.      Okay.    So approximately 15 months

21     ago, Gregg Roman said, "All usurpers must be

22     destroyed", and at some point, he may have

23     hired a hacker --

24       A.      No.    He is a hacker.


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1        Q.      -- and that's why your parents were

2      afraid he would have you killed?

3        A.      There's more than that though.          Like

4      Delaney, you don't think it's odd that

5      Delaney thought to go into a meeting with six

6      other people, including Gregg Roman, that she

7      needed to bring Mace?        This is how this man

8      makes you feel.

9        Q.      I don't know why Delaney did that.

10     I'm asking why you --

11       A.      I'm telling you that this man makes

12     you feel like he's capable of anything, and

13     he says all the time his enemies must be

14     destroyed.     The dude, I don't -- I wouldn't

15     put it past him, not one heartbeat, not one

16     iota at all.     I think that he's totally

17     capable of violence.

18       Q.      Did it concern you when your parents

19     expressed a fear to you that Gregg Roman

20     would have you killed at this meeting with

21     Daniel Pipes?

22       A.      I -- it wasn't at the meeting.          But

23     it was at the meeting with me and Daniel,

24     yes.   I definitely -- I had the same fear.


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1        Q.      Did it upset you hearing your parents

2      express that fear to you?

3                       MR. CARSON:      Objection.

4                       THE WITNESS:      No.

5                       MR. CARSON:      You can answer.

6                       THE WITNESS:      Why would that

7               upset me?

8      BY MR. CAVALIER:

9        Q.      Did you ever record a phone call, one

10     or more phone calls with Marnie Meyer without

11     her knowledge?

12       A.      Did I record a phone call with Marnie

13     Meyer without her knowledge?          There was one

14     conversation with Marnie where she was

15     totally being what I considered to be out of

16     control and, you know, acting like I was the

17     one that was there, and to protect myself, I

18     did.   But I told Marnie that I did it.

19       Q.      When did that occur?

20       A.      I don't remember.       It was before, it

21     was before November of 2018 I believe.

22       Q.      Where were you at that time?

23       A.      At work.

24       Q.      At The Middle East Forum?


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1        A.      Correct.

2        Q.      Where was Marnie?

3        A.      Where was Marnie?       On the phone.      I

4      don't know where she was.         And Matt Bennett

5      was in the office with me.         Matt actually

6      told me to record it.

7        Q.      But you didn't have her consent to

8      record it at the time you recorded it,

9      correct?

10       A.      No.   I didn't say, "Marnie, I'm

11     recording you".

12       Q.      Have you ever --

13       A.      I didn't even know that that was not

14     okay, honestly.

15                      MR. CARSON:      Obje- -- Lisa,

16              wait for a question.

17                      THE WITNESS:      Sorry.

18     BY MR. CAVALIER:

19       Q.      Have you ever recorded your husband

20     Vasili Barbounis without his knowledge?

21                      MR. CARSON:      Objection.

22                      THE WITNESS:      I record my kids

23              without their knowledge too to play

24              it back for my husband.


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1      BY MR. CAVALIER:

2        Q.      Well, that's not what I'm asking you.

3      Have you ever recorded a phone conversation

4      with your husband without his knowledge?

5        A.      No phone conversations, no.

6        Q.      Have you ever recorded a live

7      conversation with your husband without his

8      knowledge?

9        A.      He knows.     I say, "I'm recording

10     you".

11       Q.      Have you ever done it without

12     notifying him first?

13       A.      I don't think so.

14                       MR. CARSON:     Objection.

15                       THE WITNESS:     I don't know.

16              Maybe.    Maybe not.

17                       I never started recording

18              anybody until The Middle East Forum,

19              by the way.

20     BY MR. CAVALIER:

21       Q.      Did you ever record a phone

22     conversation with Gregg Roman without his

23     knowledge?

24       A.      No.


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1        Q.      Did you ever record an in-person

2      conversation with Gregg Roman without his

3      knowledge?

4        A.      No.

5        Q.      Did you ever record a phone

6      conversation with Alana Goodman without her

7      knowledge?

8        A.      No.

9        Q.      Did you ever record a phone

10     conversation, an in-person conversation with

11     Alana Goodman without her knowledge?

12       A.      Absolutely.

13       Q.      Where did that occur?

14       A.      In D.C.

15       Q.      You were both physically present in

16     D.C.?

17       A.      Yes.

18       Q.      Why did you record a conversation

19     with her without her knowledge?

20       A.      So that was the second time I ever

21     hung out with Alana Goodman.          We were out for

22     my friend's birthday.        And three men came up

23     to the bar to hit on all of us, and we said,

24     "First, what are you" -- they first said -- I


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                                                                    Page 388
1      said to them, "The first thing we need to

2      know is are you Republican or are you

3      Democrat", being funny.        And they go, "Oh,

4      no, we're Democrats, #MeToo".          She laughed

5      and she looked at me, she goes, "You know,

6      I've only ever had a Me Too Movement once in

7      my life, and it happened to be with your

8      boss".    And I said, "Excuse me".         She said,

9      "Yes".    I said, "Come outside.        I need to

10     hear this story".

11               So we went outside, and I recorded

12     it.    Because I don't know her like that,

13     Number 1.     I don't like -- you know, who

14     wants to get involved in lawsuits or legal

15     stuff?    So I said "tell me the story" and she

16     did, and I recorded her.

17       Q.      Why didn't you tell her ahead of time

18     that you were going to record it?

19       A.      Because who wants to be recorded?

20       Q.      So you --

21       A.      I didn't think she would be as honest

22     if she knew she was being recorded.

23       Q.      Okay.    Did Gregg introduce you to

24     Alana Goodman?


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                                                                    Page 389
1        A.      No.   Raheem Kassam introduced me to

2      Alana Goodman.      The first time I ever met her

3      was the first New Year's Eve party at Raheem

4      Kassam's house.      She came over.      Raheem

5      introduced me to her.        I hung out with her

6      that night and I hung out with her after

7      that, and since then, we've become friends.

8        Q.      Do you know if Gregg Roman ever

9      worked with Alana Goodman while he was at

10     MEF?

11       A.      Apparently.     It's on the recording.

12       Q.      Do you have any recordings of Gregg

13     Roman in your possession, including, but not

14     limited to, on your phone?

15       A.      No, I don't think so.

16       Q.      Did you ever record any conversations

17     with Congressman Randy Weber without his

18     knowledge?

19       A.      No.

20                      MR. CARSON:      Objection.

21     BY MR. CAVALIER:

22       Q.      Have you ever recorded any

23     conversations with Ryan Coyne without his

24     knowledge?


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                                                                    Page 390
1        A.      No.

2                       MR. CARSON:      Objection.

3                       THE WITNESS:      There's actually

4               an accidental recording of us at a

5               thing, but I didn't do it.         Like I

6               didn't actually record him.         He knows

7               about that too.

8      BY MR. CAVALIER:

9        Q.      I don't understand what you mean when

10     you say there was an accidental recording.

11       A.      So there's like -- so I don't know

12     what happened but my phone was in the thing,

13     it recorded our conversation, and then like I

14     don't even know what happened.          And he has

15     it.    Like because somehow it got to him.

16               I don't know, like we -- I definitely

17     think that I was hacked by Gregg Roman.

18     There was like all these conversations going

19     back and forth and they were deleting

20     themselves, and some crazy stuff was

21     happening with my phone, like whatever.            It

22     happened in realtime and Ryan saw it too, and

23     we were both like "what is going on here".

24     We were like freaked out, both of us.            And so


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1      we were -- it was like a conversation that we

2      were having.      It was like a -- like I don't

3      know why anybody would have taped that.

4                But no.    And Ryan knows that that

5      exists or that it did exist, and there was --

6      it doesn't matter.       Like it was just us like

7      --

8                        MR. CARSON:     Objection.

9                        THE WITNESS:     -- at the casino.

10     BY MR. CAVALIER:

11       Q.      So, just so we're clear, and I want

12     to back up for a second just so we're clear

13     here, sitting here today, do you have any

14     evidence that Gregg Roman hacked your phone?

15       A.      Do I have any evidence or do I

16     suspect him?

17       Q.      Do you have any evidence that Gregg

18     Roman hacked your phone?

19                       MR. CARSON:     Objection to the

20              extent that it calls --

21                       THE WITNESS:     I'm not going

22              to --

23                       MR. CARSON:     -- for a legal

24              conclusion.


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                                                                    Page 392
1      BY MR. CAVALIER:

2        Q.      Sorry.    Can you repeat your answer?

3        A.      No.

4                       MR. CARSON:      I'm objecting to

5               the extent that it calls for a legal

6               conclusion.     If you know the answer,

7               you can answer.

8      BY MR. CAVALIER:

9        Q.      Have you ever recorded conversations

10     with anyone in the Congressman's office?

11       A.      No.

12                      MR. CARSON:      Objection.

13                      THE WITNESS:      Never.

14     BY MR. CAVALIER:

15       Q.      Have you ever recorded conversations

16     with the former Chief of Staff --

17       A.      No.

18       Q.      -- to the Congressman that you work

19     for?

20                      MR. CARSON:      Objection.

21     BY MR. CAVALIER:

22       Q.      Have you ever recorded conversations

23     with Jeanette, the current Chief of Staff?

24       A.      No.


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                                                                    Page 393
1                        MR. CARSON:     Objection.

2      BY MR. CAVALIER:

3        Q.      In November of 2018, Gregg Roman's

4      job duties at The Middle East Forum changed,

5      correct?

6        A.      Yes.    Kind of.

7        Q.      Well, he didn't come into the office

8      every day anymore, right?

9        A.      Correct.

10       Q.      And that decision was made by Daniel

11     Pipes, correct?

12       A.      I believe so, yes.

13       Q.      And did Daniel Pipes seek your input

14     into his decision-making process on that

15     issue?

16       A.      I mean on face value.

17                       MR. CARSON:     Objection.

18     BY MR. CAVALIER:

19       Q.      I'm sorry, is that a "yes" or a "no"?

20       A.      On face value.      I don't believe that

21     like his seeking our advice was genuine.             I

22     mean he was still getting advice from Gregg

23     Roman which he told me he was.          So yes and

24     no.


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1        Q.      Did he ask you if you agreed with the

2      changes made to Gregg's work duties?

3        A.      Yes.    It's in an e-mail.

4                        MR. CARSON:     Objection.

5      BY MR. CAVALIER:

6        Q.      And did you in fact agree with those

7      changes?

8        A.      As long as Gregg wasn't going to be

9      around anymore and wasn't going to be

10     harassing me, yes, I was happy with that.             I

11     wanted to stay at The Middle East Forum if it

12     was going to be a healthy work environment.

13     I like their mission.

14       Q.      And you told Daniel Pipes that you

15     were on board with those changes, correct?

16       A.      Yes, sir.

17       Q.      While Gregg was out of the office,

18     how was work at The Middle East Forum?

19       A.      Better, honestly.       Better.    Much

20     better.    But Daniel, you could tell he was --

21     he was struggling.       Daniel was struggling.

22     He's not an administrator.         He admits that

23     he's not an administrator.         He would say that

24     to us he's not an administrator.           He hates


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1      it.    Tricia was struggling a little bit under

2      him.

3                You know, and you could feel that we

4      didn't, like you could feel that -- you know,

5      Daniel tried to hire somebody else and, you

6      know, we sat and had lunch with him, and he

7      asked us what we thought of the director and

8      you know, like he was trying to like -- he

9      was floundering a little bit without a

10     director.     And I could see that it wasn't

11     like, you know, working for Daniel, for the

12     Forum, for all of that, for a lot of people.

13               Matt, there was some like problems

14     like with Matt and leaving and being a

15     direct-, he wanted to be a director or

16     something.     I don't know, it was like a whole

17     hot mess without, you know, without Daniel

18     having somebody he considered to be like in

19     the office, the adminis-, like being, having

20     us report to other than Daniel Pipes --

21       Q.      A manager?     A guy running the office

22     is what you mean, right?

23       A.      Exactly, yes.

24       Q.      Okay.    Do you know if Gregg was


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1      planning to leave The Middle East Forum at

2      this time?

3        A.      I don't know.

4        Q.      Do you know if he had any plans to

5      start his own organization around this time?

6        A.      They had been throwing around that

7      like C(4) thing all the time like over and

8      over again, and then Gregg said -- like

9      because Gregg and I had a conversation about

10     him coming back before I went to Daniel.

11               Matt was the one that originally like

12     brought it to me and I thought that like --

13     and I said to Gregg like, "I don't", on the

14     phone, "I don't" -- like when we first told

15     Daniel what happened, I said to Gregg, I

16     said, "I just told Daniel everything, and

17     you'll never do this to me again".

18               And then the second time that we

19     talked he apologized, and then he was like --

20     you know, I thought that like if he learned

21     his lesson and he wouldn't be like that

22     towards us and we could all be on equal

23     footing that maybe it would help Daniel and

24     it would help The Middle East Forum, so I


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1      asked Daniel to bring him back.

2        Q.      So, backing up, you said that when

3      Daniel made this decision you had a

4      conversation with Gregg about it?

5        A.      I did, Matt and Gregg.

6        Q.      Okay.

7        A.      Matt facilitated the conversation.

8        Q.      And you told Gregg --

9        A.      That I was going to go to ask Daniel

10     to bring him back.

11       Q.      No, no, no, back up, back up.          When

12     you had a conversation with Gregg, you told

13     him, "I told Daniel everything that happened,

14     and you're never going to do this to me

15     again"?

16       A.      I did.    I said that to him -- the day

17     that Marnie went to Daniel and we had that

18     in-person conversation, Gregg was calling me.

19     He was out of the office that day, and he was

20     calling me on my phone.        And he called and he

21     was like, had this like nasty tone in his

22     voice, and I -- that's when I said it to him

23     on the phone.

24       Q.      Okay.


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1        A.      I said, "Gregg, I don't want to, I

2      don't want to talk to you".         I said, "I just

3      told Daniel everything that you've ever done,

4      and you're never going to do this to me or

5      another human being".

6        Q.      Okay.    Was that the first time that

7      you ever told Gregg that he was never going

8      to do this to you or another human being

9      again?

10       A.      I believe so.

11       Q.      Okay.    It was also the first time you

12     ever talked to anybody above Gregg at The

13     Middle East Forum about these issues?

14       A.      No.

15                       MR. CARSON:     Objection.

16              Assuming facts not in evidence.

17                       THE WITNESS:     I already

18              testified that I told you right away

19              I told, I told -- oh, above him?

20     BY MR. CAVALIER:

21       Q.      Yes.

22       A.      Well, there is no really above Gregg.

23       Q.      All right, let me rephrase it.          It's

24     also the first time you ever had conversation


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1      with Daniel Pipes about any of Gregg's

2      behavior that you objected to?

3        A.      Correct.    I mean it was because that

4      we were at like our wits' end.          It was the

5      last straw.       Gregg -- the office had become

6      so chaotic and so hard to work for and that

7      we were scared and I wanted to protect my job

8      and I wanted to protect The Middle East

9      Forum, so that's why we went to Daniel.

10       Q.      Sure.    So the very -- so, for the

11     very first time, you told Gregg "you're not

12     going to do this to me or any other person",

13     and --

14       A.      Because I felt like, I felt at the

15     time when I told Daniel everything that he

16     would protect us, --

17       Q.      Okay.

18       A.      -- and he didn't.

19       Q.      And your response -- and Gregg's

20     response to hearing that was to apologize to

21     you, correct?

22       A.      No.   He didn't apologize to me until

23     Matt Bennett was on the phone until we were

24     talking about bringing him back.


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1        Q.      Okay.    So that occurred later?

2        A.      Uh-huh.

3        Q.      Okay.    Did his apology mean anything

4      to you?

5        A.      I don't really trust Gregg.         It's

6      like, you know, sometimes it's like keep your

7      friends close, your enemies closer.           Like I

8      didn't trust him, but I felt like The Middle

9      East Forum kind of needed him.

10               Gregg is very brilliant.         Like I'm

11     not going to say that Gregg's not smart.

12     He's a very, very, very smart man.           He knows

13     his stuff.     He's, you know, like -- and he

14     does good work.      That's not his problem.

15       Q.      Did you ever tell anybody that you

16     had a Gregg plan in reference to getting

17     Gregg out of the office?

18       A.      It was actually to bring Gregg back

19     to the office.      That was my Gregg plan.

20                       MR. CARSON:     Objection.

21     BY MR. CAVALIER:

22       Q.      Well, I'll get to that question, but

23     my first question to you is:          Did you ever

24     tell anybody that you had a Gregg plan to get


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                                                                    Page 401
1      Gregg out of the office?

2                         MR. CARSON:    Objection.

3                         THE WITNESS:    I don't know.        I

4               mean like I definitely was telling,

5               like talking to people about how we,

6               me and Marnie and Tricia were going

7               to go and tell the truth to Daniel.

8               That's a plan.

9                         Like, "We have a plan to tell

10              Daniel.    We're going to write it

11              down.    We're not going to send it

12              over e-mail.     Like we're letting him

13              know what happened".

14     BY MR. CAVALIER:

15       Q.      Okay.

16       A.      "He's terrible, and he needs to go".

17     And we thought that he would get fired.            We

18     were hoping that he would get fired.

19               So that's the plan, get Gregg fired

20     because he's a freakin' sexual harassing,

21     tormenting tyrant.

22       Q.      And yet several months later, you're

23     advocating to bring him back, correct?

24       A.      The office was in disarray, and I


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1      thought that -- and I thought that -- I find

2      the good in people.       I thought that he would

3      be redeemable, but he's not.

4                I thought that six months out of the

5      office, you know, a thing that you're

6      passionate about, you'd say, "All right.

7      Wake up call.      I did wrong here.       I'm going

8      to say I'm sorry", which he did say I'm

9      sorry, "and I'll do better", which he said,

10     and he didn't do it.

11               I talked to him first before I went

12     to Daniel so that I could make sure that he

13     would say he was sorry and that he wasn't

14     going to do it again, which he did, and he

15     didn't.    I would have never gone to Daniel

16     asking him that had Gregg not said those

17     things.

18       Q.      Okay.    So I want the record to be

19     clear, so I want to ask the question again.

20     Why, in your own words, did you ask Daniel to

21     bring Gregg back?

22       A.      Because --

23                       MR. CARSON:     Objection.     Asked

24              and answered.      You can answer.


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1                        THE WITNESS:     Because Daniel

2               seemed to be floundering without an

3               administrator.      Daniel is not an

4               administrator.      He was also taking

5               advice from Gregg Roman anyway.          We

6               would hear it downwind third-way, and

7               I would hear it like through Gregg

8               through Daniel, like it would come

9               back.    Like things that would happen

10              and advice would come back and it

11              would circulate, and you could tell.

12                       And then I asked Daniel, what I

13              said, "A lot of people in the office,

14              they're like feeling some type of

15              way", and he said and he told me,

16              he's like, "Well, I still take

17              counsel from Gregg Roman", and he

18              did.    And he said he values Gregg's

19              opinion very much.       So -- oh, that's

20              my neighbor.     So he said he valued

21              his opinion, and he was already

22              listening to him.

23                       So, if Gregg could learn his

24              lesson and be a human and, you know,


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1               treat us with respect, then maybe we

2               could all do the good work of The

3               Middle East Forum.

4                       And my goal was to have a

5               stable work environment where, you

6               know, Gregg would be normal.          I was

7               hoping that that would happen.

8               Because Gregg is smart.        He's

9               brilliant.

10                      MR. CAVALIER:      All right.

11              Thank you.     Seth, I'm going to, I'm

12              going to tender it to Sid for some

13              questions.     I may have a couple more

14              questions for you shortly, but --

15                      THE WITNESS:      That's fine.

16                      MR. CAVALIER:      -- for now, I'm

17              going to, I'm going to tender you to

18              my colleague Sid Gold.

19                      MR. CARSON:      I think you, I

20              think you should finish all your

21              questions before turning it over to

22              Mr. Gold.

23                      MR. CAVALIER:      I mean I

24              appreciate your thoughts on that, but


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1               I disagree.

2                       MR. CARSON:        Yes.   I mean we're

3               not going to go back and forth.          This

4               isn't a tag-team match.

5                       So, if you're resting, then the

6               next person who's going to ask

7               questions after Mr. Gold is me, and

8               if you want to ask more questions,

9               you'll have to do it on cross.

10                      So, with that understanding,

11              you're done, but let us --

12                      MR. CAVALIER:       We do not, we do

13              not have an understanding on that

14              point, but it may not be an issue, so

15              we'll see.

16                             -   -   -

17                          EXAMINATION

18                             -   -   -

19     BY MR. GOLD:

20       Q.      Ms. Barbounis, my name is Sid Gold.

21     I think we've met once or twice perhaps.

22       A.      I think once.

23       Q.      I just want to kind of get my

24     bearings straight here.         I know it's been a


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1      long day for you and a long day for

2      everybody.     Are you okay to -- do you need a

3      break or something or are you okay to keep

4      going?

5        A.      I would like to get this over as soon

6      as possible.

7        Q.      Okay.    When did you resign from The

8      Middle East Forum, roughly speaking, the

9      date?

10       A.      August, I want to say before the

11     19th.    Because I started on the 19th.          So

12     August, I don't know.

13       Q.      August of 2019?

14       A.      Something like that.

15       Q.      Okay.    And when did you start sending

16     out appli-, I guess your resume out or trying

17     to find a new position of employment?            Do you

18     recall when that started?

19       A.      I had put like a couple out here and

20     there.    I had such a hard time getting a

21     political job in Philly when I took The

22     Middle East Forum job that I remember how

23     painful and laborious it is.

24               So I threw a couple out like around


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1      like the Ezra time, and I had like feelers

2      out there.     I had asked EJ if he heard, like

3      if he hears of anything let me know.            I had

4      been putting feelers out after I think I put

5      like a resume or two out there, but I really

6      started to apply heavy in the end of June.

7        Q.      Okay.    When you met with Dr. Ziv back

8      in it looks like August of 20--, I'm sorry,

9      September 22, 2020, I think you had told her

10     that in May or June of 2019 you began looking

11     for employment outside MEF and you had

12     applied for approximately 55 local jobs here

13     in the Philadelphia area.         Is that about

14     right?    I'm just trying to get a time frame

15     here.

16       A.      I don't know about -- I don't even

17     remember saying that to her at all actually,

18     but --

19       Q.      Would that be --

20       A.      Excuse me, I'm finishing answering

21     your question.      I was applying for jobs then

22     too.    Like I told you, I put feelers out and

23     things like that.       And I did, like I said,

24     heavy, submit resumes heavy in June, and all


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1      sum total would probably be about 50.

2        Q.      Okay.    And I'm not trying to lock you

3      into a number or a precise date.           I'm just

4      trying to get an approximate time frame here,

5      that's all.

6        A.      Yes, I mean like even when we were

7      doing the Ezra thing I was, that's when I was

8      putting out feelers there.         I was asking

9      Grayson if he knew anything.

10               That -- when was that?        The Ezra

11     thing was in like a year before that, right.

12     That was like in like the December/January

13     area.

14       Q.      December 2018, January 2019?

15       A.      Yes.    I mean, even then, like I was

16     like putting feelers out and stuff, but like

17     May/June really hard.        June was like when I

18     was really like, "I got to get out of here".

19       Q.      Now, before you came to work at The

20     Middle East Forum, you had worked with a

21     congressman?

22       A.      Yes, two.

23       Q.      Who was that?

24       A.      Congressman Ryan Costello.


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1        Q.      And was that in D.C. or was that

2      local?

3        A.      West Chester and sometimes D.C.          I

4      would go back and forth sometimes.

5        Q.      And how long did you work for

6      Congressman -- is it Weber?

7        A.      Weber?

8        Q.      Yes.

9        A.      I started on August 19, 2019.

10       Q.      Okay.    And who was the congressman

11     that you had previously worked for?

12       A.      Congressman Costello and Congressman

13     Gerlach.

14       Q.      Okay.    And how long had you worked

15     for those two congressmen?

16       A.      Five years, four years, something

17     like that.

18       Q.      And why did you leave that position?

19       A.      Congressman Costello decided not to

20     run for reelection.       The seat was going to go

21     to a Democrat, Chrissy Houlahan.

22       Q.      Okay.    And where were they, where

23     were they, what was their geographical

24     location in terms of who they represented?


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1        A.      PA 6th at the time, but we've since

2      been gerrymandered.

3        Q.      Okay.    Have you always been involved

4      in politics or interested in politics?

5        A.      For a long time.

6        Q.      Okay.    So, at some point in time

7      though, you secured a position with

8      Congressman Weber, and how did that come

9      about?

10       A.      I had, like I told you, I had put

11     feelers out to a lot of people, and my old

12     intern from Congressman Costello's office

13     said, "Hey, there's a position open in Randy

14     Weber's office.      They haven't filled it in a

15     while".    And I submitted my resume to my old

16     intern, and she submitted my resume after

17     that to Congressman Weber's office.

18       Q.      And at some point in time, you became

19     the Director of Communications for

20     Congressman Weber?

21       A.      Uh-huh.

22       Q.      Was that a promotion of sorts?          When

23     you became the Director of Communications,

24     was that -- were you a -- was that your


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                                                                    Page 411
1      position when you were hired?

2        A.      Yes.    That was my position when I was

3      hired for --

4        Q.      Okay.    Okay.    So you came in as a

5      Director of Communications, and what is your

6      salary in that position?

7        A.      $80,000.

8        Q.      80,000?    And what was your salary at

9      Middle East Forum?

10       A.      68, I believe.

11       Q.      68?

12       A.      Uh-huh.

13       Q.      And if my memory serves me correct, I

14     think you did get some bonuses at The Middle

15     East Forum.      Do you recall that?

16       A.      I got a 2 percent cost of living

17     adjustment, and then everybody got a

18     six-month addition to their check -- I think

19     that Caitriona and Delaney got 500, and me

20     and Tricia got a thousand or something like

21     that -- to offset, it was not a bonus, it was

22     to offset the extra work that we were doing.

23     Because we were down two directors, including

24     Matt Bennett and Gregg Roman, and we were all


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1      taking on an extra workload.          So it was a

2      six-month, supposed to be a six-month

3      reprieve to help us for the extra workload

4      that we were taking on.

5        Q.      Okay.

6        A.      So it wasn't a bonus.

7        Q.      According to my records, you got

8      $1,000, then you were later given a check for

9      $6,000.    Does that refresh your memory?

10       A.      I never got a $6,000 check from The

11     Middle East Forum.

12       Q.      Okay.

13       A.      That is incorrect.

14       Q.      So, when you applied for this

15     position with Congressman Weber, do you

16     recall filling out an employment application?

17       A.      We did not.

18       Q.      Did not?

19       A.      Nope.    We're not required to.        Our

20     office did not do that.        We don't fill out

21     application.

22       Q.      So there's no application?         You never

23     signed an application in July?

24       A.      Nope.


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1        Q.       Subsequent to your being hired, did

2      you fill out an application?

3        A.       They didn't fill out an application.

4      I just filled out the onboarding forms.

5        Q.       Okay.   Did you ever represent, either

6      at the time you were hired or shortly after

7      you were hired, making this statement, "Since

8      entering upon my role as Director of

9      Communications for The Middle East Forum, I

10     have increased our social media engagement by

11     32 percent"?

12       A.      I had -- that is true.        Because

13     that's an accurate statement.

14       Q.      And how did you -- how were you able

15     to quantify that with that precise

16     percentage?

17       A.      At the time, I had written down when

18     I started being the Director of

19     Communications and tweeting, and we got tons

20     of compliments on there that our Twitter

21     engagement was up and social media in

22     general.    I wrote down the number when I

23     started and then I wrote down the number when

24     I left, the percentage.


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1        Q.      And do you recall what the number was

2      when you started?

3        A.      I don't remember.       I don't even

4      remember, I don't even know what it is now.

5      But I just increased my, our social media

6      engagement and our subscriber list at Randy

7      Weber's office by 52 percent this year.

8      So --

9        Q.      I appreciate that.       But do you have

10     any of the documentation that you used to

11     make that calculation that you had increased

12     the social media engagement by 32 percent?

13       A.      No.    Middle East Forum has all that.

14       Q.      Okay.    So you also put down that from

15     June of 2018 through June of 2019 you helped

16     place 1,128 articles --

17       A.      That's correct.

18       Q.      -- by 56 experts and 97 outlets.           Is

19     that accurate?

20       A.      Yes.    Sure is.    And I'll tell you

21     how.    Because -- are you going to get there?

22       Q.      Yes.    It says here from D.C.'s

23     influential to TheHill to The Wall Street

24     Journal to The Washington Times.           You put


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1      articles in those newspapers?

2        A.      I helped Delaney and I facilitated

3      that and I oversaw all of her, all of her

4      communications.      I would help her rewrite her

5      e-mails when she was placing them.           I helped

6      track them, and they were all trackable on

7      monday.com.

8        Q.      So you say you helped her as opposed

9      to actually placing them yourself?

10       A.      That's why, that's why in my cover

11     letter that you're reading it says

12     "assistant".

13       Q.      It says, "I helped".

14       A.      Okay.    That's helping, isn't it?

15       Q.      And how did you help?

16       A.      I just told you.

17       Q.      How?

18       A.      I rewrote her e-mails.        I would tell

19     her how to reach out to people.          I coached

20     her in all aspects of communication including

21     even formulating e-mails to her bosses,

22     including Gregg Roman and Daniel Pipes.            I

23     helped her write every e-mail she ever wrote.

24       Q.      I'm not suggesting you didn't do it.


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1      I'm just trying to confirm that's what you

2      did say.    Okay?

3        A.      Or that you alleged in a Complaint

4      against me that I lied on that.          So let's

5      not, --

6        Q.      I didn't sign, I didn't sign a

7      Complaint against you.

8        A.      Somebody.

9        Q.      You filed a Complaint.        Okay?

10               The answers were filed to

11     Interrogatories.      I'm not a party to this

12     case.    All right?     I'm asking you a question.

13       A.      What --

14       Q.      I'm not going to engage in an

15     argument with you here today.          I'm asking you

16     a question.     Give me the answer, and don't

17     tell me a story or give a speech.           Okay?

18       A.      Sure.

19       Q.      We'll get out of here a lot quicker.

20     All right?

21                       MR. GOLD:    Go ahead, Seth, put

22              your objection on the record.          Go

23              ahead.    And no speaking objections

24              from you either because you wasted a


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1               lot of time here today with your

2               speaking objections.

3                       MR. CARSON:      So, when you're

4               done, I'll --

5                       MR. GOLD:      I'm done.

6                       MR. CARSON:      Are we ready for

7               me now?

8                       MR. GOLD:      I'm done.    Go ahead.

9                       MR. CARSON:      Lisa, you can

10              answer the question however you

11              understand them, but just answer his

12              questions.     Okay?

13                      THE WITNESS:      Sure.

14     BY MR. GOLD:

15       Q.      You also represented that you

16     arranged for 27 of our experts to be

17     interviewed 92 times by 81 media outlets on

18     both radio and television, arranges from

19     outlets from 124 News to Algesia and Fox

20     News.    Did you put that on your --

21       A.      I did assist in getting them done.           I

22     actually, I actually helped with I24.            I

23     would get, I was getting EJ Kimball and tons

24     of people spots on all of those stations.


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1      Correct, that is correct, I did do those

2      things.

3        Q.      And do you have a list of the 27

4      experts that you did place?

5        A.      It's all in The Middle East Forum's

6      stuff.    You have all of it.

7        Q.      You can't recount the 27 experts

8      right now, can you?

9        A.      I can probably name some of them.

10       Q.      Okay.    Why don't --

11       A.      There was the guy that, there was the

12     guy in Serbia; I can never pronounce his

13     name.    There was a bunch of them.         There was

14     Benjamin Baird.      There was EJ.      There was

15     like a bunch of them.        Grayson even did one

16     for me.    There are like a ton.

17       Q.      We have 1 so far.       You got 96 more to

18     go.

19       A.      I just gave you 4.

20       Q.      Okay.    You got 92 more to go.

21       A.      Okay.    Well, I can't remember them

22     all off the top of my head.         I'm sorry.     It's

23     been years.

24       Q.      I know --


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1        A.      They all have eccentric names.

2        Q.      Okay.    Like what?

3        A.      I can't remember the one guy from

4      wherever he was -- like Iwon Ultimimi, like

5      his name, like I can't, they're not -- I

6      don't know them.

7        Q.      I have a report that your lawyer

8      submitted to us the other day from a Dr.,

9      it's a Dr. Barry Zakirek (sic).          Do you

10     recall meeting with Dr. Zakirek (sic) in his

11     offices at 21st and Pine?

12       A.      No.

13                       MR. CARSON:     Zakireh.

14                       MR. GOLD:    I'm sorry.     Zakireh.

15     BY MR. GOLD:

16       Q.      And maybe it wasn't in his office.

17     You probably did it by Zoom.          I'm sorry.

18       A.      Oh, his -- yes.      Okay, yes.

19       Q.      And Dr. Zakireh was given certain

20     medical records that were I guess furnished

21     to him by Mr. Carson, and some of those

22     records were counseling records of I believe

23     a counsel you were seeing I guess it's in

24     Washington, D.C.


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1        A.      Yes.

2        Q.      Do you recall that?

3        A.      Yes, I've seen a couple.

4        Q.      So -- and based on those records and

5      based on your interviews with him, he

6      submitted a report.       Did you have an

7      opportunity to read that report at all?

8        A.      I did not.

9        Q.      There's a couple things in there I

10     just want to cover with you, and I'm going to

11     ask you whether you made these statements to

12     the doctor.       Okay?

13               According to the doctor, you

14     indicated that you had sought treatment for

15     your psychological symptoms since

16     October 2018 when you began receiving

17     psychiatric services and individual

18     counseling at the Mindoula Health in Silver

19     Springs, Maryland.        Is that -- am I

20     pronouncing that correctly?

21       A.      I think it's "Mindoula", and that's

22     semi-correct of a statement.

23       Q.      Okay.    I'm reading the report.        So

24     how is it incorrect?


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1        A.      Well, I mean I -- so I have had, I

2      was seeing like a med management person in

3      Pennsylvania.      And when I moved to D.C., my

4      regular doctor, like I got a regular doctor,

5      and he wasn't -- he wanted me to see a

6      counselor like for med management for my

7      Adderall prescriptions before he would do

8      that.    And during those conversations about

9      my med management, we would talk about like

10     my life and then they suggested that I go

11     into further therapy, and I saw like that

12     person, this other therapist, the Mindoula

13     people.

14               So it wasn't like it was originally

15     for med management that I went to them

16     because it was -- I actually tried when I got

17     here to get a therapist.         Even in Philly, it

18     was difficult to do on my own.          But that

19     doctor, my regular doctor, Dr. Oshalim helped

20     me with that.

21       Q.      Are you now in Arlington, Virginia,

22     or are you in Philly area?         Where are you

23     situated right this minute for this

24     deposition?


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1        A.      Right now, I'm in Arlington.

2        Q.      Okay, good.     That's what I thought.

3                Okay.    Now, I also noticed that from

4      looking at the records at some point in time

5      the drug Adderall is prescribed to you and

6      you've been taking that for a while for your

7      ADHD?

8        A.      I've been taking that since 2008,

9      correct.

10       Q.      And I see that at certain times the

11     drug Zoloft was prescribed to you as well?

12       A.      Correct.

13       Q.      I also noticed that, in the medical

14     records, that the drug Dexedrine, which I

15     guess goes by the name Dextroamphetamine, was

16     also prescribed to you.        Do you recall taking

17     that medication?

18       A.      Isn't that Adderall?

19       Q.      No, it's not Adderall.        It's

20     Dextroamphetamine.       There was a time when you

21     were given like -- you would take three times

22     a day you were taking 10 milligrams, and then

23     at other points in time you were taking 10

24     milligrams three times a day and


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1      20 milligrams three times a day.           Do you

2      recall that at all?

3        A.      If it -- I don't know.

4                        MR. CARSON:     I think that your

5               --

6                        THE WITNESS:     I don't know what

7               that is.

8                        Wait.   How many times a day was

9               I taking it?     Three times a day is my

10              Adderall prescription, 10 milligrams

11              a day three times a day.

12     BY MR. GOLD:

13       Q.      You were taking both Adderall and a

14     drug called Dextroamphetamine.          Do you recall

15     that at all?

16       A.      No.

17       Q.      Are you still taking

18     Dextroamphetamine?

19       A.      I'm only taking -- I thought

20     Dextroamphetamine -- I'm only taking

21     Adderall.     Like that's it.      Nothing else.

22       Q.      Okay.    Well, --

23       A.      I can go look at my pill bottle.

24       Q.      All right, yes.      I don't want you


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1      checking right now, but during the last

2      couple years, --

3        A.      Adderall -- I think that's the

4      generic form of Adderall, if I'm not

5      mistaken.

6        Q.      It's not, okay.      It's not.     They're

7      two separate drugs.       Okay?    I'm asking --

8        A.      Well, I've only been, ever been

9      prescribed Adderall.

10       Q.      Okay.    So you don't recall any

11     psychologist or psychiatrist prescribing the

12     drug Dextroamphetamine?

13       A.      No.

14       Q.      Okay.    And if you were, I guess you

15     would -- have you ever tried to research what

16     the adverse impacts are of taking Adderall?

17       A.      I've never had any adverse effects

18     I'm on such a low dose.

19       Q.      What's your low dose?

20       A.      I've been taking it for years.

21               30 milligrams a day.

22       Q.      What pharmacy do you get these

23     prescriptions filled at in -- where is your

24     pharmacy located in?


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1        A.       Usually, it's Dupont Circle Pharmacy.

2        Q.       Where is that located at?

3        A.       In Washington, D.C.

4        Q.       Is that where you've been getting

5      your prescriptions filled since you've been

6      in D.C., I take it?

7        A.       Yes, sir.

8        Q.       Now, you also told me Dr. -- hold on,

9      I'll get his name.

10                      MR. GOLD:     Zakireh, is that his

11              name, Seth?

12                      MR. CARSON:      Yes, that's it.

13     BY MR. GOLD:

14       Q.      You told Dr. Zakireh that you were

15     having adjustment difficulties going back to

16     when you were in, I guess in 12th grade and

17     due to strains in your relationship with your

18     parents.    Do you recall that you stated that

19     you had stated -- you had stated that you

20     attended several family therapy sessions when

21     you were younger.       Is that accurate?

22       A.      Yes, a few, but my mom refused to go.

23       Q.      Is that with a psychiatrist or

24     psychologist?


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1        A.      It was a friend's, a friend of the

2      family who was one of them.         I don't know

3      what he was.

4        Q.      Do you recall what you were being --

5        A.      Might be a psychiatrist.

6        Q.      Do you recall what you were being

7      treated for back then?

8        A.      It was just kid stuff.

9        Q.      It also says here that you were

10     enrolled in six-month group therapy program

11     at the Dialectical Behavior Therapy in 2011.

12     Do you recall that?

13       A.      Uh-huh.

14       Q.      What was that all about?

15       A.      I had like, I was having like some

16     issues with, just in general like emotion

17     regulation when it came to my parents and

18     when it came to like Vasili and some of my

19     deep, like personal relationships.           It never

20     affected like school or work.

21               It was always like anybody that was

22     like super close to me I would get very upset

23     with them.     Like my mom, I would always think

24     that she was like criticizing me or whatever,


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1      I don't know.      But it was that, it was

2      emotion regulation.

3        Q.      You were actually a student at Penn

4      at that point?

5        A.      Uh-huh.

6                        THE COURT REPORTER:       Yes?

7      BY MR. GOLD:

8        Q.      You mentioned Vasili.

9                        MR. CARSON:     Yes?

10     BY MR. GOLD:

11       Q.      Did you know Vasili in 2011?

12       A.      Yes.    I've known -- I started dating

13     Vasili in 2006.

14       Q.      Okay.    I didn't know that.

15               Yes, they said that was a voluntary

16     program to enhance coping and problem-solving

17     skills.

18       A.      Uh-huh.

19       Q.      And you benefitted from the program,

20     according to this report?

21       A.      Immensely.

22       Q.      Then it says that you were

23     hospitalized with an acute, in an acute

24     psychiatric facility for 72 hours --


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1        A.      That was an accident.

2        Q.      -- in 2004 when you were 21.          What

3      was that about?

4        A.      I had a fight with a boyfriend.          I

5      had a fight with a boyfriend.          We came back

6      from the Eagles game.        It was on the phone.

7      I was drinking.      I was 21.     Probably couldn't

8      handle my liquor right.        I sma- -- was

9      yelling at him and he was screaming at me,

10     and I was in the bathroom and I just like

11     smashed, like I hit a mirror like with my

12     hand here.     And so I got a cut here, like up

13     here, up here and I was bleeding, and I

14     passed out.     I fell asleep.

15               And so my girlfriend Summer comes

16     over and she sees me sitting there bleeding

17     and whatever and she calls freakin' 9-1-1, so

18     I went.    And I was like yelling at the

19     doctor, because I was drunk, that I didn't

20     need to be there, that it was all a mistake.

21     I was trying to like clean my hand off to

22     show I didn't try to slit my wrist, because I

23     didn't.

24               And the doctor, like the psychiatrist


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1      that like came to evaluate me, he said I had

2      a bad attitude and he was going to teach me a

3      lesson, so they went over there.           So they

4      took me off and they said, "Sign yourself

5      in", and I said "okay" and I did.           And then

6      the doctor is like, "Why are you here", and I

7      was like," I would love to know".           And so we

8      talked about it and they thought it was

9      ridiculous, and I got released.

10       Q.      Was that a voluntary commitment?

11       A.      Yes.

12       Q.      Was that a, was that at a psychiatric

13     facility or a hospital, do you recall?

14       A.      Actually, I tried to find the records

15     for it to like whatever, and I can't even

16     remember -- I tried because I was interested

17     in getting a permit to carry and I didn't

18     know if like that qualified or whatever.

19               And I couldn't even find the

20     location.     I thought it was Friends.         I

21     called there.      It wasn't there.      I don't even

22     know where the facility was.          They just drove

23     me off there.      That was so long ago.        That

24     was like when I was 21, 21.


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1        Q.      Yes.

2        A.      That was like forever ago.         I tried

3      to find those records, and I can't.           I can't

4      even tell you where it was.

5        Q.      Was that a -- you say you punched a

6      mirror.    Was that actually at the Vet or was

7      this actually at another location?

8        A.      It was in my apartment.

9        Q.      Your apartment, okay.

10       A.      I was fighting, crying with my

11     boyfriend, yes.

12       Q.      Okay.    Do you recall that you were

13     diagnosed with any type of --

14       A.      He wasn't there.       He was driving to

15     the shore.

16       Q.      Do you recall that you were diagnosed

17     with any type of a psychological --

18       A.      I was not.

19       Q.      -- at that point?       No.

20               Were you taking any medication beyond

21     the Adderall at that point?

22       A.      No.    I wasn't even taking medication

23     at that point.      That was so -- that was way

24     before medication or I ever saw anybody.


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1      Like that was way before all that.

2        Q.      Do you know whether they did a psych

3      workup on you at the time?

4        A.      I don't know.      I don't really, I

5      don't really remember a lot of that like.             It

6      was like a blur.

7        Q.      Your records --

8        A.      I didn't start seeing any therapists

9      until 2008 I think it was when I went to

10     Penn.

11       Q.      And who do you see there?

12       A.      I saw Dr. Zwil.      And there was

13     another lady, I don't remember her name, it

14     was like so long ago, and I did the CBT

15     program.

16               That all started because I was in

17     class and I was like, you know, messy desk,

18     not paying attention, and one of the, one of

19     the professors was like, "Yo, have you ever

20     been checked out for Adderall?          Like maybe

21     you have ADHD".

22               And I got checked out.        I went to

23     like a psychia-, a sociologist, something.             I

24     did like a multiple series of events with


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1      her.   She diagnosed me with ADHD.          And then I

2      went to Penn for med management, did a little

3      therapy.     It was awesome.

4        Q.      That's great.      Now, you told the

5      doctor when you met with him that you denied

6      any history of substance abuse, correct?

7        A.      Correct.

8        Q.      And you acknowledged that occasional

9      excessive consumption of alcohol, especially

10     when you were in your late teens or early

11     adulthood.      Is that somewhat accurate?

12       A.      That's accurate.

13       Q.      And that indicated that when under

14     stress, over the last two years, you consumed

15     alcohol two to three times per week though

16     generally in moderate amounts?

17       A.      Correct.

18       Q.      Have you ever been treated for

19     alcoholism or anything of that sort?

20       A.      No.

21       Q.      Do you consider yourself to have an

22     alcohol problem?

23       A.      Absolutely not.

24       Q.      You told the doctor that the alcohol


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1      consumption helps you cope with your anxiety

2      or other negative effects in your adaptive

3      manner.    Do you recall telling him that?

4        A.      I don't remember telling him that,

5      but there's times where I'm stressed out and

6      I'll have a beer or a glass of wine.

7      Everybody does.

8        Q.      Have you ever gone on any type of

9      binge drinking for a while when things were

10     really not going well for you?

11       A.      No.

12       Q.      Now, you also told the doctor that

13     you had a strained relationship with your

14     mother, which I think you've alluded to here

15     earlier today, and --

16       A.      When I was younger.

17       Q.      Yes.

18       A.      We're very close now.

19       Q.      Yes, during your childhood or

20     adolescence which you perceived as critical.

21               You indicated that your parents loved

22     you and took care of you but they were not

23     overly affectionate, rendering her hungry and

24     longing for such displays of closer emotional


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1      ties.    What did you mean by that?

2        A.      I mean they're his words.         I don't

3      know.    Like my parents were, they didn't know

4      what ADHD was.      They thought that I was lazy

5      or that I was messy, and I got in trouble all

6      the time.

7        Q.      But you also reported that your

8      relationship with your parents have improved

9      in adulthood, correct?

10       A.      Yes.

11       Q.      You seem to have a close relationship

12     with your mother versus your dad.           Any reason

13     for that or --

14       A.      Oh, no, I love my dad.        Me and my dad

15     are thick as thieves.        I love my dad.

16       Q.      Your dad --

17       A.      My dad -- me and my dad -- actually,

18     more people would classify me and my dad as

19     tighter than me and my mom.         I mean I tell my

20     mom everything, but me and my dad are like

21     best friends.

22       Q.      How old is your dad now?

23       A.      He is, God, 70.

24       Q.      I can identify with that.


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1                You described your father as a

2      functional alcoholic --

3        A.      He is.

4        Q.      -- during your interview with the

5      doctor.    What did you mean by that?

6        A.      My dad -- alcoholism runs in my

7      family on both sides.        My dad comes home from

8      work every day and has, you know, three or

9      four beers, five beers.        And like I've never

10     seen my dad like drunk or anything like that,

11     like or obnoxious or anything like that, but

12     like he definitely drinks every day.

13       Q.      Okay.    I think you said your maternal

14     grandfather as well as your maternal uncles

15     are, were binge drinkers.

16       A.      Binge drinkers, yes.

17       Q.      What exactly is a "binge drinker"?

18       A.      So my uncle or my grandfather were

19     the same way.      They'll go weeks without

20     drinking -- or maybe not even weeks.            My

21     grandfather was a little more than that.             But

22     he would have periods of sobriety, and then

23     he would have periods of alcoholism where

24     like he'd fall down like drunk, like getting


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1      DUIs, you know, slurring his words, not

2      knowing his name, like you know what I mean,

3      like drunk, like drunk.        Like not -- like my

4      dad, I've never seen my dad like that.            My

5      grandfather and my uncle I have.

6        Q.      I forgot to ask, do you have any

7      siblings?

8        A.      My brother.

9        Q.      How old is your brother?

10       A.      36, 37.

11       Q.      Are you close with him?

12       A.      Very.

13       Q.      Is he local or out in --

14       A.      He's in Philly.

15       Q.      Philly, okay.

16       A.      He does not have any problem with

17     alcohol and doesn't use any drugs.

18       Q.      I'm happy about that.

19               Now, you have two children.         You have

20     a six-year old daughter and a four-year old

21     son?

22       A.      That's correct.

23       Q.      And this is your very -- you only

24     have been married one time, correct?


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1        A.      Correct.

2        Q.      You stated to your, you told the

3      doctor during the consultation that you've

4      experienced mental difficulties in the last

5      several years and part due to the work

6      stressors associated with the instant case as

7      well as financial difficulties on the part of

8      her husband.

9        A.      That's true.

10       Q.      Tell me about the financial

11     difficulties that you're having.

12       A.      So -- my husband, especially I love

13     when he tries hard, when we got married,

14     apparently he got audited for years prior, I

15     think they were 2006, seven and eight or

16     something like to that, to our marriage.             And

17     when he got audited, he kind of like didn't

18     tell me he was trying to like do, handle it

19     on his own or he was supposed to -- Vasili is

20     not like the most disciplined, regimented

21     person, and he like didn't follow-up or

22     didn't do what he was supposed to do with

23     that.    And so then he started saying, "Well,

24     I'll just pay it", right.         He was going to


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1      try to fight it, and then he goes, "I'll just

2      pay it".     So then he was going to pay it and

3      then he wound up not paying like, not paying

4      his quarterly taxes, and then before he knew

5      it, he was like snowballed in debt from the

6      IRS.   So he's like, "Okay.        Well, I'm just

7      going to like get a tax attorney to file

8      this", but then he didn't.

9                And so I didn't know any of that was

10     going on.     I filed.    I signed.     I thought he

11     was paying his quarterly taxes, like his

12     estimated quarterly payments.          And then come

13     to find out in like, what, 20--, I don't know

14     when it was, we were living in Oak Road or

15     Catherine Street, it was like right when

16     Olivia was born, 2014, I saw a lien and I got

17     a letter from the IRS.        What am I getting a

18     letter from the IRS?       They take the taxes out

19     of my check.     And they said there's a lien

20     against my name for a certain amount while we

21     were together.

22               So he explained to me his problem,

23     and then I -- so then I kind of like helped

24     take over.     So I -- because I had, like I


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1      worked with taxpayer advocates, so I knew who

2      to talk to.     And I worked with tax- -- like I

3      worked with taxpayer advocates for

4      constituents before.        So I knew who to call,

5      and I got them to like temporarily like stop,

6      you know, like seizing assets or any of that.

7      I filed for injured spouse or whatever

8      spouse, which they denied.         Apparently, it's

9      like a very high threshold to do, even though

10     he admitted that I didn't know about it.             I

11     applied for injured spouse, but either way,

12     we're somewhat on a plan.

13               I started filing, I started filing

14     married but separate, and you know, they're

15     not collecting on me.        They take my return

16     every year.     And then he is, you know, I

17     can't make Vasili go to work and I can't make

18     him write the check and I can't make him sell

19     more houses.     So I separated myself from him

20     financially that way so that I wouldn't be

21     incurring any more debt from him.

22                      SPEAKER:     Are you calling me?

23     BY MR. GOLD:

24       Q.      Was there --


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1        A.      What?

2                        MR. GOLD:     Is somebody talking

3               there?    I'm sorry, I thought I heard

4               somebody say something.

5                        THE WITNESS:     I did too.

6                        MR. CARSON:     I did too.

7                        MR. GOLD:     I'm hearing things

8               now.

9                        THE WITNESS:     No, you didn't

10              hear it.    I heard it too.

11                       MR. CARSON:     It sounds like

12              "are you calling me".        I don't know.

13              Keep going.

14                       THE WITNESS:     Okay.

15     BY MR. GOLD:

16       Q.      So the lien, when you discovered the

17     lien letter from the IRS, was that lien

18     extinguished or is that lien still, you

19     still --

20       A.      Oh, no, it still exists.

21       Q.      Okay.    Was your husband on a payment

22     plan?

23       A.      We were.    We're doing payment plans.

24     We're also trying to do offer and compromise.


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1      I mean we've been working with the IRS pretty

2      closely which is a relief because, you know,

3      I'm not worried about garnished wages or

4      anything like that.

5        Q.      Okay.    So has he been keeping current

6      with that plan to the best of your knowledge?

7        A.      To the best of my ability, yes.

8        Q.      Okay.    And how is he doing?       He's in

9      the real estate business I understand?

10       A.      Yes.    I think that we're -- I mean he

11     does well.     He makes like 200-and-some

12     thousand dollars a year usually, sometimes

13     less.    I don't know, one year he didn't make

14     that much.

15               But, you know, as far as he tells me,

16     I mean I don't -- we have separate bank

17     accounts.     We have one joint account that we

18     just kind of like switch like money into.

19     Like if I need money, I'll say "put $30 in

20     the joint", you know, and I take it out and

21     put it in my own account.         And we've operated

22     like that forever.

23               So it's not like I really know the

24     ins and outs of his things, but from what I


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1      understand, he's doing better.          Like his mom

2      is here to help with his kids so he can

3      concentrate more on work and work harder and,

4      you know, sell more houses and get us out of

5      debt.

6        Q.      His mom lives in Florida or dad lives

7      in Florida?

8        A.      She lives in Florida, yes.         Her -- my

9      father-in-law just died, so --

10       Q.      Sorry to hear that.

11       A.      -- she's up and helping with the kids

12     instead of taking care of him.

13       Q.      Sorry to hear that.       You told the

14     doctor that you had felt insufficient

15     emotional support from your husband and

16     perceived him as downplaying your

17     difficulties with your supervisors at MEF.

18     What did you mean by that?

19       A.      Exactly what we said.        I had said

20     that earlier.      I testified earlier to that

21     today saying that, you know, I was having a

22     really hard time, and he knew it.

23               And remember even when I said, like I

24     told him what was happening with Danny, he's


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1      like, "Oh, you're going through a phase

2      because you're having a hard time at work".

3      But he didn't, he wasn't emotionally there

4      for me like I needed.        I don't know, I just

5      needed a, I needed somebody to pat me on my

6      back and tell me it was going to be okay or I

7      needed somebody to say, "You know what, it's

8      okay if you get another job.          It's okay if,

9      you know, we have to work it out for a little

10     with you living in D.C."         I just need a

11     little more support there from him.

12       Q.      I think you said that's what he said

13     when you told him about the affair you had

14     with Mr. --

15       A.      Danny Tommo.     It wasn't an affair.

16     He knew about it, so --

17       Q.      Okay.    Was he upset -- and you said

18     he wasn't as upset about that as you thought

19     he might be.      Am I stating that accurately?

20       A.      I mean I wasn't -- I didn't know

21     how -- I didn't expect him to have a reaction

22     either way.     I think that when he said

23     "you're going through a phase because you're

24     having such a hard time at work" and he knows


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1      what kind of person I am, I think that he

2      understood somewhat where I was mentally, but

3      he didn't know how to be there for me in the

4      way that I needed him to be.

5        Q.      You told the doctor that your marital

6      difficulties have led to decreased intimacy

7      and sexual relationship with her husband and

8      that you engaged in sexual relations

9      sporadically after the birth of your son in

10     20-- --

11       A.      That's not true.       I never had, I

12     never had touched another man, had been

13     interested in another man until October 23,

14     2018.

15       Q.      Okay.    I'm just reading what the

16     doctor wrote.

17       A.      Well, he must have --

18       Q.      I'm not vouching for the accuracy of

19     it.    If he didn't testify what you said, I

20     don't want to hear that, so that's fine.

21               And he said that you had -- so the

22     fact the doctor wrote down that you engaged

23     in sexual relations sporadically after the

24     birth of your son in 2016, that's not


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1      accurate?

2        A.      No.   I -- we -- after the birth of my

3      son, our sex life decreased for sure.            I mean

4      we had two kids and we were up at night, and

5      that was true, our sex life absolutely

6      decreased after the birth of my son.

7                I mean we had two kids, babies up at

8      night, she's doing one thing, he's doing

9      another, you know, we're just trying to

10     survive for the most part, but I never, I

11     never, ever, ever had any kind of intimate

12     relationship with another man until

13     October 23, 2019, '18.

14       Q.      It says here that for, according to

15     collateral records -- and the records are, by

16     the way, the reports of your therapist that

17     you met with every, often times three times a

18     week or two times a week.         And according to

19     those records, that you had engaged in

20     extramarital sexual relations with several

21     men or boyfriends since diminished intimacy

22     with her husband.

23               Have you had several boyfriends or

24     men that you've had extramarital


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1      relationships since I guess 2018?

2        A.      I have.

3        Q.      And your husband is aware of those?

4      I think you said you told him about them?

5        A.      Yes.    He's spoken to Ryan on the

6      phone.

7        Q.      And you -- it said here that you

8      acknowledge and related that the extramarital

9      relations diminish your self-esteem, and you

10     were seeking validation by dating multiple

11     individuals often in both a compulsive and

12     impulsive manner and feeling unlovable.            Is

13     that somewhat accurate?

14       A.      I think that -- it's kind of

15     accurate.     I started to -- it wasn't the

16     affairs that were making me, that were making

17     me have a diminished self-esteem.           I had a

18     diminished self-esteem and, therefore, was

19     having an affair, well, not affairs, but I

20     was having relationships with people look-,

21     seeking validation.

22       Q.      Do you know what he meant when he

23     wrote you had engaged in both compulsive -- I

24     guess he said the dating and affairs and


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1      relations you had with these men were both

2      compulsive and impulsive in terms of their

3      manner.    Do you have any recollection what

4      you meant by that?

5        A.      I don't -- I didn't say that.

6      They're not words that I use.          It sounds like

7      his interpretation of something that I might

8      have said, but I've never used the word

9      "compulsive".

10       Q.      The doctor said that you told him you

11     felt like you were unlovable.          What did you

12     mean by that?

13       A.      I do sometimes feel like I'm

14     unlovable.

15       Q.      Why is that?

16       A.      Because I make, I make mistakes.           I'm

17     not perfect.

18       Q.      And it says that you cope with your

19     emotional stressors by sexually acting out in

20     a maladaptive or self-destructive manner in a

21     sense of addiction or narcissistic

22     relationships.      Is that accurate?

23       A.      I mean is that what he said?          Jesus.

24     Maybe that's his interpretation.           If I do,


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1      that's pretty sad.

2        Q.      I think it's based on some statements

3      that he read from some of your meetings with

4      your psychologist.

5        A.      Maybe.

6                        MR. CARSON:     Mr. Gold, what

7               report are you reading from right now

8               just so I can keep up?

9                        MR. GOLD:     What's that?

10                       MR. CARSON:     What report are

11              you reading from right now just so I

12              can keep up?

13                       MR. GOLD:    I'm reading from

14              your expert's report.

15                       MR. CARSON:     Dr. Zakireh, okay.

16                       THE WITNESS:     I think that he

17              was --

18                       MR. GOLD:    Yes.

19                       THE WITNESS:     And he was

20              referring -- and he read --

21     BY MR. GOLD:

22       Q.      And he read it, he got it off of the

23     counselor reports?

24       A.      Correct.


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1        Q.       By the way, how often did you meet

2      with these, I guess are these psychologists

3      or are these counselors?         What exactly were

4      they?

5        A.       There's -- the med management people

6      is a counselor.      However, she's not a

7      licensed psychiatrist or a therapist.            She's

8      just a counselor.       And then -- that's the med

9      management people.

10               And then she would -- I would talk to

11     her like once a week for like half an hour,

12     45 minutes, and then she would report that to

13     a psychiatrist, who then would make a

14     determination if my meds were working or were

15     apparent or whatever.

16       Q.      Okay.    Well, it looks like you met

17     with, this must be your primary care doctor.

18     Because it looks like it's 11/20 -- these

19     records, by the way, were supplied by your

20     counsel.    I don't -- that's how I got them.

21       A.      That's fine.     I know that.      I think I

22     gave permission for them to be supplied.

23       Q.      So it looks like you met your primary

24     care physician sometime in November of 2019,


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1      and I guess at that point you had met at the,

2      this is in Washington, D.C. at the offices of

3      Maximilian.

4        A.      Maximilian Oshalim.

5        Q.      What's the name?       How do you

6      pronounce that last name?

7        A.      Oshalim.

8        Q.      Oshalim, okay.      I butcher these names

9      up.    And that was at 2075 L Street Northwest,

10     Washington, D.C.      So definitely you were

11     working for the congressman.          You were

12     working and living in D.C. at the time?

13       A.      Yes.    Like I said, I only went to med

14     manag-, like to even do any of that was for

15     to continue my Adderall.

16       Q.      So it looks like you went --

17       A.      And then it evolved apparently

18     because I have issues.

19       Q.      When you went to visit the physician

20     on November 20th, there's a note here that

21     you had exposure to chlamydia trachoma.            Do

22     you recall that?

23       A.      So Ryan had called me up and said,

24     "We got a problem.       I have an issue".       And I


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1      said, "What?       I don't have anything".       And so

2      we went and both got tested.          He wound up

3      having a urinary tract infection, and we were

4      both fine.      But yes, that was our fake STD

5      scare.

6        Q.       Okay.   I think you had told the

7      doctor you had a recurrent urinary tract

8      infection.      Do you recall that?

9        A.       Like I said before, I have bad

10     kidneys.    I always have.       I almost always

11     have a urinary tract -- I have a urinary

12     tract infection right now.

13       Q.      Okay.    Do you have blood work done

14     that you're taking Adderall?          Do you have

15     blood work done every six months or every

16     year to check your kidneys or kidney

17     functions?      No?

18       A.      No.   I mean I have a urologist.         I

19     had a urologist, but this is something I've

20     been struggling with since way before I ever

21     took Adderall.

22       Q.      Okay.

23       A.      And my kidney function, I mean I just

24     did have a workup with -- I mean I was in


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1      the, I was hospitalized for it and saw a

2      urologist for my last surgery, and it's fine.

3      My kidney function is fine.

4        Q.      The note says you have a recurrent

5      urinary tract infection back in 2019?

6        A.      I know the symptoms.

7        Q.      Okay.

8        A.      I've been getting them my whole

9      entire life.

10       Q.      And it looks like, on that visit, it

11     looks like -- well, let's see what we have

12     here.    You asked me about the

13     Dextroamphetamine.       It looks like we have

14     some records from the urinalysis that was

15     done, and on the record, it says that you

16     were taking Dextroamphetamine 10 milligram

17     tablets three times a day and you were taking

18     Dextroamphetamine 20 milligram tablets two

19     times a day.

20       A.      So you're def- -- that's definitely

21     Adderall, generic for Adderall.          Because I'll

22     tell you why.      I started taking 20 milligrams

23     a day.

24               And the reason that I started taking


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1      20 milligrams of Adderall a day a long time

2      ago, I was always on 30 and then we dropped

3      it down because we thought that the heart

4      palpitations, the PVCs that I had, were

5      related to Adderall.        They weren't.     So, when

6      I went to see Dr. Oshalim, I started on my 20

7      milligram.     I told him I wanted to increase

8      back to 30 milligrams, and he -- and then I

9      saw the Mindoula people, and that's when they

10     increased my dose back to 30 milligrams from

11     when they sto-, from when Dr. Zwil stopped it

12     becau- -- well, actually, I told him that I

13     thought it might be Adderall related.            So he

14     dropped it down to 20 and to see if my heart

15     function, if my heart issue would improve,

16     but it wasn't that.

17       Q.      Okay.    So your understanding was

18     that, even know it's, even though the record

19     states that you were taking

20     Dextroamphetamine, your understanding is that

21     was Adderall?

22       A.      Adderall.     100 percent, yes.

23       Q.      Okay.    There are times though in the

24     records where the doctor indicates that he's


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1      prescribed Adderall for you, not

2      Dextroamphetamine.

3        A.      I'm almost positive it's the same

4      exact thing.     Because I don't think that it's

5      -- because I've never taken anything other

6      than what I considered to be Adderall.            But

7      maybe if I go look at my bottle right now, it

8      might say Dextroamphetamine.

9        Q.      You also took a drug called Ser-,

10     looks like Sertraline.        Do you remember this

11     at all?    Do you remember any medication by

12     the name of Sertraline or something like

13     that?

14       A.      Oh.   So, when I first started seeing

15     those Mindoula people, they were like, "Well,

16     we don't know if the Zoloft is working for

17     you.    Let's switch to what" -- they called it

18     Lexapro, and I didn't like it.          It was giving

19     me headaches or whatever, and they took me

20     off it and we switched back to Zoloft.

21       Q.      And it looks like you then had

22     subsequent visits with the psychologist, the

23     next one being I believe on November 21, 2019

24     and it looks like you had an evaluation, and


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1      it looks like the doctor concluded that you

2      had no depression or anxiety or emotional

3      problems or concerns at that session.            Do you

4      recall him telling you that?

5        A.      Yes.    I mean I pretty much say that I

6      don't have, suffer from depression or

7      anything like that.       Like I'm not a depressed

8      person.    I don't have periods where I think

9      life isn't going to get better.

10               I always think, even as down as I

11     get, and sometimes I get pretty down, I

12     always think that tomorrow is another day and

13     that I'll be a survivor, I'll be fine.            So

14     I'm not a depressed person by any stretch of

15     the imagination, and I never will be.

16       Q.      And it also says on this one that you

17     are to continue your Adderall 10 milligrams I

18     guess a day --

19       A.      Twice a day.

20       Q.      -- or twice a day?

21       A.      Uh-huh.

22       Q.      And it also says that you got this

23     Dextroamphetamine 10-milligram tablet, take

24     that once a day.      So you were taking both the


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1      --

2        A.      No.

3        Q.      -- Adderall and Dextroamphetamine.

4        A.      That's not right.

5        Q.      Is that possible?

6        A.      No, that's not right.        I've never

7      taken -- I've only taken my Adderall and the,

8      what do you call it, the, whatever is Zoloft.

9        Q.      Okay.

10       A.      I don't know what that is.

11       Q.      Okay.

12       A.      I want to like look it up.         Dextro-,

13     somebody Google "Dextroamphetamine, generic

14     for Adderall".

15       Q.      I did it this morning.        You'll find

16     it there.     It's different from Adderall, but

17     that's okay.

18                       MR. CARSON:     I looked.     I think

19              I saw it, Sidney, saying it also.

20                       But maybe you should ask your

21              doctor about it.

22                       THE WITNESS:     Okay, I will.

23              Because --

24                       MR. GOLD:    Don't go by Google.


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1               Do not rely on Google or Sid Gold, by

2               the way, for medication.

3      BY MR. GOLD:

4        Q.      Anyway, it looks like you then went

5      and saw the, I guess you actually met with a

6      psychiatrist on, sometime in January of 2020,

7      and at that point, you had told the

8      psychiatrist that you were taking the Zoloft

9      and the Lexapro.      Is that possible, both of

10     them at the same time?

11       A.      You can't be taking both at the same

12     time.

13       Q.      Okay.    I'm sorry, it says a failed

14     attempt on Zoloft you would try Lexapro.             Is

15     that more accurate?

16       A.      That's what I just said, yes.

17       Q.      Did it help you with your anxiety?

18       A.      No.   I didn't like it.       Remember I

19     told you it gave me a headache.

20       Q.      Oh.   Did the Zoloft, were you then

21     put back on Zoloft?

22       A.      Uh-huh.

23       Q.      And what -- how does the Adderall

24     help you?


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1        A.      It helps me concentrate, focus, be

2      organized and neat.       I'm people that -- my

3      husband says like when I come home from work

4      you can see a trail of like where I've been.

5      It definitely stops and lets me know "sit

6      down, pay attention, focus and be organized".

7        Q.      It says here that your main

8      complaints were trouble with focus and

9      concentration which attributes to her

10     ADHD, --

11       A.      Uh-huh.

12       Q.      -- also anxiety due to family and

13     work situation leading to acting-out

14     behavior.     Is that a comment you would have

15     made at that meeting with your psychiatrist?

16       A.      I mean I have had like some blowups

17     with my mom, you know.        My mom considers them

18     acting out, so --

19       Q.      He said the main focus would be to

20     find a therapist to help the patient cope

21     with the current stressors in her marriage

22     and forced separation from her family and

23     help her gain some emotional stability.

24               Were you at that point separated from


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1      your family, since you were living apart I

2      guess?    Is that what was meant by that?

3        A.      Yes, it's very stressful.

4        Q.      Did he eventually find you a

5      therapist?      Is that how you --

6        A.      No.   I started seeing somebody --

7      they wanted to just give me a therapist they,

8      what they called a trauma therapist is what I

9      was told, and I started seeing somebody but

10     she was basically like, "There's nothing

11     wrong with you.      You're fine.      As long as

12     your decisions aren't hurting nobody, do

13     whatever you want.       You're a good person".

14     And that's like all she would say to me every

15     time.    I'm like, well, this doesn't seem very

16     constructive.

17       Q.      And he renewed your prescriptions on

18     that date again for the Dextroamphetamine,

19     and again, no reference here to the Adderall.

20     I guess so you had that filled at the Dupont

21     Circle Pharmacy?

22       A.      Yes, and I -- like I call that

23     Adderall.     That's what I get.

24               I want to -- I like want to get up


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1      and find my Adderall bottle and see what it

2      says on there.

3        Q.      Okay.    You were asked how often do

4      you drink alcohol.       You said two, three times

5      a week.    Does that sound accurate?

6        A.      Sometimes not at all, but sometimes

7      two, three times a week.

8        Q.      And you smoke, you're an everyday

9      smoker, according to this back at that point

10     in time?

11       A.      So I started smoking in 20--, in

12     October of 2018, actually really started that

13     December trip to England.         Poor

14     decision-making on my part.         And then I just

15     quit for about a month, had a little lapse

16     the other day.      It is what it is.       I'm

17     trying.

18       Q.      And at the end of the day, the doctor

19     concluded that you had no depression, no

20     anxiety or emotional problems, and no

21     psychiatric symptoms.        Did he share that

22     finding with you after you met with him or --

23       A.      Which one?     The --

24       Q.      I think that's the psychiatrist.


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1        A.      Yes.    Because I'm not depressed, and

2      I'm not like -- there's nothing chemically

3      wrong with my brain.

4        Q.      Good.

5        A.      I've just been under, since The

6      Middle East Forum, I've been under some

7      serious mental constraints.

8        Q.      Now, you then saw the therapist on

9      January 6, 2020, and then you met with the

10     psychiatrist again on it looks like

11     January 28, 2020.       Again, he writes the main

12     focus would be to find a therapist helping

13     you cope with the stressors in your marriage

14     and the forced sepa- --

15       A.      You're talking about the Mindoula.

16     It's a woman.

17       Q.      I'm sorry.     Mindoula, okay.      And at

18     that point, are you even seeing Mindoula in

19     January 2020?

20       A.      Yes.

21       Q.      Okay.    I think this is just

22     repeating.

23       A.      And I'm thankful that I have been.

24     Stephanie is great.


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1        Q.      Okay.    And then I guess you met with

2      Mindoula in February of 2020 and you had told

3      the therapist that you were anticipating a

4      promotion, you were married with two

5      children, and husband is a great friend but

6      haven't been intimate in two years,

7      anticipating divorce.        Is that something you

8      would have told a psychiatrist or

9      psychologist?

10       A.      It's pretty accurate.        My husband is

11     like my best friend in the whole world.             I

12     told you that he's like a rock to me.            We

13     vacillate on divorce often.         You know,

14     sometimes we say "yes", then we say

15     "hell no", and we go back and forth.            And it

16     is, it is an option that's still on the

17     table.

18       Q.      But were you anticipating a promotion

19     of sorts?

20       A.      Oh, yes.    Well, so my Chief of Staff

21     was leaving, and I was up for Chief of Staff.

22     I didn't even expect to be up for Chief of

23     Staff.    I had been there six months.          I

24     didn't even ask for that position.           But I had


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1      been doing such a good job that my former

2      Chief of Staff said, "You're the only one

3      that I think should have it".

4                We had a Deputy Chief and we also had

5      a District Director and they both wanted to

6      leave, so I thought of course they would be

7      first in line.      I had just gotten there.           And

8      she was like, "You're the only one that's

9      capable, and I'm recommending that you get

10     the job".     And I was like, "What"?        I was

11     totally not expecting that, totally out of

12     left field.

13               It turns out that last minute we had

14     a new Chief of Staff come in and she had

15     19 years' experience as a Chief and ties to

16     the district, and honestly, I was a little

17     bit relieved that I didn't get that job.

18     Because with everything I have going on right

19     now, I don't know -- I don't know that this

20     is the right time for that position.

21               But yes, I was anticipating that.

22     Yes, it was talked about quite a bit.            And

23     the congressman's wife even said, "I want you

24     to be our Chief".       She actually just re-said


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1      that to me again.       She's like, "How long do

2      you think that So-and-So wants to do this"?

3      I said, "She's going to be here forever", and

4      she's like, "Ugh", she's like, "I'm hoping

5      that you're our Chief".

6        Q.      I think when you met with Dr. Ziv you

7      told her that this job was probably the best

8      job you've ever had, --

9        A.      And it definitely --

10       Q.      -- you were thriving in this job.           Is

11     that accurate?

12       A.      It's like a family work environment.

13     People are kind.      They don't harass you.

14       Q.      You're happy there?       You're happy

15     there?    It looks like you're going to get,

16     you're being successful there, I take it?

17       A.      Yes, very.

18       Q.      And it's very fulfilling, I take it,

19     given whatever your expectations might be?

20       A.      Yes.

21       Q.      You also told the psychologist that

22     you and your husband were dealing with IRS

23     troubles and are not financially sound.

24       A.      That's correct.


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1        Q.      And that you're hearing negative

2      feedback about her parenting so they haven't

3      been speaking for two months?

4        A.      About what?

5        Q.      Something about you were getting

6      negative feedback about your parenting and

7      because you haven't been there, maybe because

8      you hadn't been there for two months?

9        A.      Oh, about my -- no.       My mom for the

10     last couple months I probably said has been

11     like, you know, she's like, "The kids are

12     always like saying Vasili, Vasili, Vasili.

13     You need to be the one at home to put your

14     kids to bed and wake them up in the morning

15     and pick them up from school".          I'm getting

16     that from my mom.

17       Q.      So she was criticizing your parenting

18     skills I guess because you were working in

19     D.C. and not at home?

20       A.      Right.

21       Q.      Now, were you coming back for the

22     weekends or were you --

23       A.      Sometimes I do even more than that.

24     Thankfully, coronavirus has actually been a


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1      Godsend in that because we're allowed to work

2      from home, so sometimes I spend weeks at

3      home.    But I -- the plan was, when I moved

4      down here, to go Friday, Saturday, Sunday and

5      drive home.     I've been -- I did that

6      regularly before coronavirus.          Sometimes I

7      would even go home Wednesday nights.

8                But yes, that was the plan, and then

9      now it's been like, you know, I'll do like

10     four days or three days or, you know,

11     depending on like the kids' school schedule,

12     my work schedule, the things that I need to

13     be home for, that kind of thing.

14               I also have to fly to Texas here and

15     there, so my mom is not loving that.            But I'm

16     not -- I mean not that I don't love that.

17     You know, I just --

18       Q.      This February 18th visit you told

19     your psychologist that you had a boyfriend

20     who is also not stable, --

21       A.      Ryan.

22       Q.      -- that his interactions with you,

23     even though she is in love with him, you

24     added that, --


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1        A.      With seven women.       So yes, that's --

2        Q.      -- you added that you're in constant

3      fear of abandonment and that he's consuming

4      your life.     Is that a statement you made?

5        A.      Did she quote me on that?         Because it

6      doesn't sound how I speak.         I don't say I

7      have a fear of abandonment.

8        Q.      I'm reading from the report.          Did you

9      have a boyfriend at the time?

10       A.      Ryan Coyne.

11       Q.      And were you in constant fear that he

12     would abandon you?

13       A.      I didn't think so.

14       Q.      Okay.    And it says here that you were

15     in love with him but yet you had this fear of

16     abandonment.      It says that you've been

17     working this, been working on this for the

18     last ten years.      Would that be this -- do you

19     have a sense that --

20       A.      I mean I don't know if the fear of

21     abandonment is like the way to put it.            Like

22     I guess that's how she's classifying it.

23               But I mean I definitely have a thing

24     with my family, like my family.          It's always,


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1      like I just said, like loved ones; that if I

2      don't, if I'm not like the perfect mom or the

3      perfect wife or the perfect student or the

4      perfect whatever, I don't know, if -- like I

5      guess I have like a thing where if, and it's

6      only in my inter-, very interpersonal

7      relationships, but if -- like if I mess up,

8      you know, then, I don't know, I guess they

9      won't love me anymore.

10       Q.      Okay.    You said that you had, it says

11     here that you reported that you had been, it

12     says here, "She has been more excessive in

13     sexuality and drinking".         This is in February

14     of 2020.    That's what you reported --

15       A.      That's pretty accurate at the time.

16       Q.      Was there any reason why you became

17     more excessive in your sexuality and

18     drinking?

19       A.      I think that I just wanted to like, I

20     don't know, like escape my little, crazy

21     world that I'm, that is now because of MEF, I

22     guess.    It's been a very hard few years.

23       Q.      It says here that you feel the need

24     to go out and meet people.         She added that


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1      her boyfriend, when your boyfriend, that if

2      her boyfriend is not around she will date

3      someone else.

4        A.      I think what she means "not around"

5      we would break up.       Like he would -- well, we

6      would have -- like I said before, we were on

7      again, off again.       Turns out he was flying

8      other chicks to the Virgin Islands.           So, when

9      I found out, I wanted to see other people so

10     that, you know, I wouldn't care about what he

11     was doing anymore.

12       Q.      And when that started in February --

13     when did your relationship end with, I think

14     you said Ryan or who is this?

15       A.      Yes, at the end of March.

16       Q.      Okay.    So this is now March of 2020?

17       A.      Yes.

18       Q.      And how long had you been seeing him?

19       A.      Since September of 20-- --

20       Q.      '19?

21       A.      -- --19, yes.

22       Q.      So you were pretty serious with him?

23     I guess that was a long-, kind of a long-term

24     relationship?


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1        A.      Yes.    It was, like I said, a little

2      on again, off again, but yes.

3        Q.      Now, the doctor saw you again on

4      February the 6th.       That's the, I guess that's

5      the, your primary care doctor, and he entered

6      in his records that you were not suffering

7      from any depression or anxiety or any

8      emotional problems or concerns.          Is that

9      accurate?

10       A.      Yes.    Like I said, I have like these

11     ups and downs of like, you know, I can get

12     through this, I'm fine, I'm feeling good, and

13     then I get a call from Seth and then my

14     freakin' day is ruined.

15       Q.      Oh.    And he also indicates that he

16     prescribed for you Dextroamphetamine,

17     Ibuprofen, Lexapro, and I guess that other

18     drug that in lieu of the Zoloft you were

19     taking.    I guess it's the -- is it Lexapro?

20     Do you recall why he --

21       A.      You can't be on them concurrently.           I

22     was never --

23       Q.      So this other drug is Sertraline or

24     something.      Do you remember taking that


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1      medication, 50 milligrams one times a day?

2        A.      I think that's Zoloft.

3        Q.      Okay.    And the Lexapro -- so you were

4      taking Lexapro and that together?

5        A.      No.     You can only take one.      I was

6      only taking Zoloft.

7        Q.      Are you allowed to drink with these

8      medications?      I mean --

9        A.      Yes, actually.

10       Q.      You are?

11       A.      Yes.

12       Q.      Okay.    Why did the doctor prescribe

13     Ibuprofen?      Were you having some kind of pain

14     or something?      600 milligrams twice a day?

15     Do you have any recollection?

16       A.      When was this, February?

17       Q.      This is February of 2020.

18       A.      I broke my foot.       That wasn't it.

19     That was recently.

20               I don't remember.       I might have done

21     something.      I don't know.     I'm very klutzy.

22       Q.      In March, he saw you about your

23     primary care doctor again, and it looks like

24     you had some contact with somebody who had


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1      the coronavirus.       Do you recall that?

2        A.       Oh, I wanted to be tested for

3      coronavirus.

4        Q.       He writes suspected, --

5        A.       I was travelling.

6        Q.       -- suspected disease caused by 2019

7      novel coronavirus.

8        A.       Yes.    So I was sick and my parents --

9      and my parents didn't want me to come around

10     them unless, because I had been travelling,

11     if I, if I didn't get tested for coronavirus,

12     and so I got tested for coronavirus.

13       Q.      Okay.     He also wrote down that you

14     stopped the Zoloft and you stopped the

15     Lexapro?

16       A.      I had al- -- I had not been on the

17     Lexapro since whenever, and I ac- -- I don't

18     accidentally.       I don't remember always to

19     take all of my medicine all the time.            Like I

20     don't -- sometimes I even forget to take my

21     Adderall.

22               And so I, at one point, had stopped

23     taking my Zoloft for like a while.           I just

24     started.    Actually, it's been for months.           I


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1      just started up again like last month again.

2        Q.      Okay.    And, again, he noted that

3      you're not suffering from any depression or

4      anxiety or any emotional problems.

5                Okay.    Then we go to February the

6      11th.    I guess this is another meeting with

7      your primary care doctor.         Nothing there

8      significant, except to say that you weren't

9      suffering from any anxiety or depression or

10     any emotional problems or any psychiatric

11     symptoms.     Again, he prescribed the

12     Dextroamphetamine, Ibuprofen and the Lexapro.

13       A.      I don't know what the Ibuprofen is

14     for.

15       Q.      Okay.    So now we're up to a visit

16     that occurred on March the 3rd, and you

17     reported that you were feeling pretty good

18     and that you had a good vacation last week.

19     Were you on vacation the first week of March

20     this year?

21       A.      I was with Ryan in Puerto Rico.

22       Q.      Who is that?

23       A.      Ryan.

24       Q.      Oh, Ryan in Puerto Rico.         Okay.   And


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1      where were you in?       Puerto Rico or --

2        A.       Where was that?     Or maybe that was my

3      trip to Vegas with him.        I don't know, one of

4      the two.

5        Q.       Was that for that Tyson Fury fight?

6        A.       Uh-huh.

7        Q.       How did you meet him, by the way?

8        A.       How did I meet who?

9        Q.       Ryan.

10       A.      He randomly saw me at a bar.

11       Q.      Okay.    I think you referenced that

12     earlier today.       And it says here that you

13     reported that she has been, reported that you

14     had been sexually abused when younger.            Is

15     that accurate?

16       A.      Had a weird thing one time when I was

17     younger.    I was in a car -- and they didn't

18     have cabs back then.       And I was waiting for a

19     ride home, waiting for a ride home, and I

20     like called a cab company.         And, finally,

21     this like pickup truck person came, it was

22     down in Wildwood, well, it was The Villas

23     actually at the time and I needed to get back

24     to Sea Isle.       And he said, "I'll give you a


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1      ride home", and I was like "Awesome".            Poor

2      judgment on my part.

3                I fell asleep in the car.         I woke up

4      to him with his hands inside me.           I didn't

5      say anything.      He dropped me off.       I never

6      heard, never saw that person ever again.

7        Q.      Did you report that to anyone or is

8      this the first time you reported it?

9        A.      I'd never, I'd never tell anybody

10     that stuff, no.

11       Q.      And I think --

12       A.      Well, --

13       Q.      -- you referenced that in these

14     reports here.      I'm not going to belabor that,

15     don't worry.

16                      MR. CARSON:      Yes.   I mean can

17              we, if we file any exhibits, can we

18              do that under seal?       In fact, --

19                      MR. GOLD:     Pardon me?

20                      MR. CARSON:      If we file -- can

21              we mark that confidential just --

22                      MR. GOLD:     Yes, we would not

23              file that in any kind of public

24              record, so don't worry about that.


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1                       MR. CARSON:      Thank you.

2                       MR. GOLD:     And if it comes up,

3               we will.

4                       MR. CARSON:      Thank you.

5      BY MR. GOLD:

6        Q.      All right.     So then you saw your

7      therapist again on March the 10th, and you

8      reported that the use of, that you -- you

9      reported that you discontinued the use of

10     Lexapro because of the abnormal side effects,

11     and you explained that she often is at events

12     for work and noted that she --

13       A.      That's right, I forgot about that,

14     yes.   I noticed that when I was taking that

15     and I would like, I would have like a drink,

16     like a drink or one.       I remember one time I

17     went out for a karaoke event, I wasn't even

18     gone two hours, I came home and I had like

19     one drink, and I was like blackout.           My --

20     was it my roommate said that I was like

21     paralytic I think was what she said.            I had

22     like one or -- she's like, "There's no way

23     you could have gotten that drunk in two

24     hours", like it was -- whatever.


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1                So yes, I forgot, that was another

2      reason why I stopped it, that and the

3      headaches.

4        Q.      When you get your prescriptions,

5      there's usually something in the bag that

6      tells you the things to be cautious about.

7      Do you ever read those, the warning signs or

8      any of those?

9        A.      No.     But I asked her, I asked her

10     about that afterwards, and she's like she

11     never had a patient that complained about

12     that but it was something that happened to

13     me.

14       Q.      Okay.

15       A.      It happened more than once or I

16     wouldn't have put that together.           That was

17     the only thing that was different.

18       Q.      It says here that you drank three

19     drinks and that you blacked out and vomited?

20       A.      Yes.    It was bad.     That was a bad

21     night.    But that wasn't the only time it

22     happened.     It happened another time.         It

23     happened twice.

24       Q.      Okay.    I'm trying to get moving


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1      through these here.       It looks like you saw

2      the doctor again on March the 4th.

3        A.      Are we going over every single --

4        Q.      Oh, I only have selected ones here.

5      I don't have every one of these.

6        A.      God, it feels like it's every week

7      you're going about --

8        Q.      You saw these doctors quite a bit.

9      You said that, when you saw the doctor on

10     March the 4th, you told the doctor you

11     suffered from imposter syndrome.           What is

12     that?    What do you mean by that?

13       A.      Someone said that once to me that

14     they think that I suffered from that.

15     Sometimes I don't think that like I'm good

16     enough.    Like, like, you know, you're in an

17     Ivy League school and you're a kid from

18     community college.       Sometimes you don't feel

19     smart enough to be there.         And sometimes I

20     don't feel like I'm good enough.           I mean, but

21     I think that a lot of people suffer from

22     that.

23               Sometimes I don't feel smart enough.

24     Sometimes I don't feel like, you know, like I


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1      can compete academ- or mentally sometimes.

2      But then I get -- and everybody is praising

3      me.    Sometimes it just doesn't add up, you

4      know.    Like sometimes I don't think I'm as

5      good enough as other people say that I am.

6        Q.      It also said that your on-and-off

7      relationship with your boyfriend was causing

8      you added stress.       Was that becoming

9      stressful for you in March of 2020?

10       A.      I guess.    But she also said that I

11     used my relationship, in later events with

12     her, she said that I used him as a

13     distraction from like Middle East Forum and

14     from other things in my life.          Instead of

15     focusing on like these distractions, I put my

16     focus into like Ryan.

17               So I don't know, but it was -- you

18     know, who wants to be breaking up with a

19     boyfriend and find out they're cheating on

20     you?    It's not fun.

21       Q.      You said he had, you said he had been

22     cheating on you and actually was involved

23     with seven more other women or something?

24       A.      Yes, that's correct.


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1        Q.      How did you find out about that?

2        A.      A girl messaged me on Instagram, and

3      then I looked in his phone and there they all

4      were.

5        Q.      And had he been meeting with those

6      women from the very onset of your

7      relationship?

8        A.      I guess more in, yes, November,

9      December, yes.      I didn't know about it

10     though.

11       Q.      And --

12       A.      He would like say, "Come with me to

13     San Francisco", and I said, "I can't".            So he

14     would fly somebody else out there.

15       Q.      Did you confront him after you found

16     the information on his phone?

17       A.      I did.

18       Q.      What happened?

19       A.      We got in an argument.        I was in

20     Puerto Rico.      I stayed in Puerto Rico.

21       Q.      With him?

22       A.      Yes.

23       Q.      It says -- I think it references that

24     Puerto Rico trip.       Were you -- you wanted to


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1      go jet-skiing and he didn't want to go.              Was

2      that in Puerto Rico?

3        A.       Yes.    He's not as -- she was asking

4      me that because she was asking like what I

5      actually like about him, like, you know, I

6      don't know, whatever.        And she was like,

7      "What are things that you don't like about

8      him"?    I'm like, "I don't like he's not as

9      adventurous as I am".

10               I wanted to go jet-skiing.         He's

11     like, "I don't feel doing that".           So he

12     watched.    He was cute, he took pictures while

13     I was out there, but yes, he didn't want to

14     go.

15       Q.      Okay.     Then you met -- I'm moving

16     pretty quickly now.       March 24, 2020, you told

17     your doctor you were feeling terrible and

18     that your whole world had fallen apart, and

19     you shared with her that your shithead

20     boyfriend is seeing two other people, stated

21     that you were concerned about your

22     vulnerability with STDs due to his

23     indiscretions.       Is that what you told the --

24       A.      That's definitely a worry.         But I


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1      didn't have anything, so we were good.

2        Q.      You reported that you were, that you

3      were -- actually, I guess you did this thing

4      from Puerto Rico.       It says reported that

5      you're still in Puerto Rico and that you're

6      still with this, with your boyfriend, and you

7      expressed a feeling that she is not, that he

8      is not romantic, noting that they are back in

9      the friend mode.      Is that what you told the

10     therapist?

11       A.      Well, we got -- he was like -- once I

12     found out, it was like his little, his little

13     like scheme.     He wasn't like "hey baby".

14     Like it was all in black and white now.            He

15     wouldn't lie to me about it, you know.

16               So then he was like being cold

17     because I was being cold.         I don't know.      He

18     tried to be romantic after that later.            So I

19     don't know, it was very off and on I told

20     you.

21       Q.      And you saw the doctor a week later

22     on March 31st and reported that you were

23     feeling terrible and that --

24       A.      It's not fun when you find out


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1      somebody you love cheated on you.

2        Q.      You said you hadn't been in a great

3      place and you were doing things that were

4      emotionally unhealthy?

5        A.      Yes, like staying there after I found

6      out he cheated on me.

7        Q.      You spoke about your boyfriend Ryan.

8      Found out that he had a whole, that she had,

9      noting that she had found out that she had a

10     whole other relationship with another, meant

11     he, with another girl.        Noted that she and

12     Ryan began arguing over the other woman.             She

13     shared that she recorded the conversation

14     with Ryan and when he was nasty so that she

15     could share it with the other girl.           You

16     explained that she left Puerto Rico that day

17     after a blowout on March 28th, noting that

18     she had been crying ever since.

19       A.      I probably was.      It was a very hard

20     day.

21       Q.      Okay.    And you talked about gas

22     lighting in relation to Ryan.          What exactly

23     is gas lighting?      What does that mean?

24       A.      Like he says like "you're crazy, that


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1      didn't happen" when it's right in front of

2      your face and you know it happened, and you

3      start to think you're crazy because you saw

4      it with your own eyes.

5        Q.      Did you actually play that recording

6      to the other girl he was seeing?           Did you

7      actually relay that recording or not?

8        A.      Courtney, yes.

9        Q.      Courtney -- okay.       Courtney is a

10     friend of yours I understand it?

11       A.      Yes.

12       Q.      So he was actually seeing a friend of

13     yours?

14       A.      No.    We became friends after, through

15     the whole thing.

16       Q.      Okay.    So he started seeing Courtney

17     while he was seeing you, and then you became

18     friendly with Courtney thereafter?

19       A.      She broke up with him before I found

20     out because he had been distant because he

21     was travelling with me.

22       Q.      Okay.    You reported that you were,

23     you did try dating Steve?

24       A.      Yes, Steve was nice.


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1        Q.      Who is that?

2        A.      A guy I met.      He was nice.     He liked

3      me a lot.     Really nice to me.       I just wasn't

4      into him.     Didn't like him.

5        Q.      Yes.    You said that he doesn't feel

6      like he's, that you're -- it does not feel

7      like he's loving her and that you feel

8      unlovable again.

9        A.      Steve loves me.

10       Q.      Pardon me?

11       A.      Steve still loves me.        Maybe it's

12     Ryan that I felt like didn't love me.

13       Q.      Okay.    And then April you went, you

14     had another session, and it looks like --

15       A.      Can I have a break for a minute?

16       Q.      Yes, go ahead.

17       A.      I just need --

18       Q.      Take a break.         Take a break.

19       A.      I'm getting like --

20       Q.      Take a five-minute break.

21       A.      You're killing me.

22                       THE VIDEOGRAPHER:      6:56 p.m.,

23              we're going off the record.

24                             -   -    -


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1                     (A recess occurred.)

2                              -   -    -

3                       THE VIDEOGRAPHER:       7:08 p.m.,

4               we are back on the record.

5      BY MR. GOLD:

6        Q.      I'm going to read from another -- you

7      also -- this is an entry that was made by, on

8      May 5, 2020, which is not that long ago

9      actually.     You reported that you had been in

10     a good mood.     She explained that something

11     unhealthy happened, noting that Ryan messaged

12     her adding that she was at his house from

13     Wednesday to Saturday.          Patient stated that

14     they are friends and are working together,

15     noting that it upset Courtney.          She is

16     understanding.      She stated that on a positive

17     note she wanted to start working or start

18     walking, oh, three miles a day and -- so it's

19     fair to say that as of May you were in a

20     better place and time in terms of your

21     psychological being?        Would you agree or not

22     really?

23       A.      I mean, like I said, a lot of times

24     it's context-dependent.         But, you know, with


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1      my Middle East Forum stress, I'm never in a

2      good place.     I mean, if I'm having a good

3      day, I'm having a good day.

4        Q.      Okay.    Well, I know you, I know you

5      want to attribute everything in your life to

6      that, but --

7        A.      I don't want to attribute everything

8      in my life to that.

9                        MR. CARSON:     Lisa, Lisa, just

10              wait for a question.       Just wait for a

11              question.

12     BY MR. GOLD:

13       Q.      It states here that you were

14     concerned that her boyfriend Ryan called and

15     she jumped.     No regard for family friend

16     Courtney and blew off work on Friday, noting

17     that she felt like a junkie addicted to Ryan.

18     Also, patient stated that she hung out with

19     Courtney in between.       Patient explained that

20     she puts people on a pedestal.          However, if

21     something gets on her nerves, she starts to

22     pull away from them.       She stated that she is

23     aware that her behavior is destructive.

24               Can you explain what happened there?


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1      You got a message from Ryan?

2        A.       Ryan probably called me and said

3      "come over", and I did.

4        Q.       And you did.     And you were with

5      Courtney at the time?

6        A.       Probably.    Yes, and it probably hurt

7      her feelings that I was going over there.

8        Q.       That was in May of 2020.

9        A.       Yes.

10       Q.      When did that relationship end?

11       A.      With Ryan?

12       Q.      Yes.

13       A.      In March.

14       Q.      Well, this is now May of 2020.          I

15     guess it's still going on.

16       A.      I mean I was with him yesterday.

17       Q.      Okay.     So you're still with him, but

18     a different kind of relationship right now?

19       A.      We're not like -- we're not, right

20     now, we're not sleeping together.           We're just

21     friends.    I went to watch the election with

22     him.

23       Q.      Would you hope that you could

24     reignite that romantic relationship again?


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1        A.      I vacillate.

2        Q.      And you actually told your

3      psychologist in May 26th that you were

4      preparing to leave the relationship with your

5      boyfriend and that you would go 90 days

6      without any romantic interaction with Ryan.

7      Try to distract and see if she feels like

8      going back to Ryan.

9                So were you like on the fence I guess

10     at that point in time?

11       A.      I'm on the fence a lot with him.

12     Right now, he's irritating me.          So yes.

13       Q.      And then on May 28th you told the

14     physician that you, the therapist, that is,

15     that you were feeling okay, you're back in

16     Texas, noting that she had a good trip.

17     Explained that Courtney and her family are

18     great, knowing she is trying to remain calm

19     and not get into her own head.          Patient

20     stated she got into a little tiff with her

21     parents regarding her children but it's over

22     the Ryan thing.      She explained that Ryan is

23     now seeing another woman and that another

24     woman that is similar to Courtney.


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1                What does that mean, another woman

2      similar to Courtney?

3        A.      He was -- so Courtney was the pageant

4      girl.    She was Miss Virginia.        Alba was, in

5      2004 I want to say, yes, runner-up for Miss

6      Universe.

7                So she was a pageant girl.         So she

8      looked like me, tall, dark hair, softer

9      features, but she was like a lefty pageant

10     chick, which Ryan is a righty.          Courtney is a

11     lefty pageant chick.

12       Q.      You mean Courtney is a righty and --

13       A.      No, Courtney is a lefty.

14       Q.      Okay.    Meaning left-wing philosophy?

15     Okay.

16       A.      Real like social justice warrior.

17       Q.      Okay.    You said that you would like

18     to have your children move with her to

19     Virginia full-time.

20       A.      I do.

21       Q.      "CM", is that your therapist?          CM

22     encouraged, -- or is that Courtney, "CM"?

23     CM encouraged the plaintiff to explore her

24     core beliefs as they relate to her parents --


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1      I guess that's your therapist, "CM"?            I don't

2      know who that is.

3        A.      Stephanie was my therapist.         I don't

4      know who "CM" is either.

5        Q.      CM encouraged patient to explore her

6      core beliefs as they relate to her parents

7      and to explore where conflict may be arising.

8                Were you still having conflicts with

9      your parents at that point in May of 2020?

10       A.      Not really.

11       Q.      Patient discussed the underlying

12     issues.    She wants, for example, she wants

13     mother to be there for her when needed.            Is

14     that in reference to your mom?

15       A.      Yes.    Like my mom is like tough.         You

16     know what I mean?       She's always been like

17     that.    She's a tough woman.

18               Like when I found out that you guys

19     subpoenaed my boss, I was crying, I was

20     sobbing, right, like just because he doesn't

21     need that crap.      And I called my mom and I

22     was like, "Listen to what they did", and she

23     said "toughen up" and she started screaming

24     at me.    She didn't even say it like saying


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1      it's going to be all right.         She was like,

2      "Toughen up.     Nobody else is crying in the

3      corner".

4                Like that's just how my mom is.

5      Sometimes I'd like her to pat me on my head

6      and say, "Everything is going to be okay",

7      but you know what, she does me a service by

8      telling me to like toughen up.

9        Q.      You told the therapist that you

10     didn't want to blame, you didn't want to

11     share why she is sad because she feels her

12     mother will blame her instead of just being

13     there for her when she needs her.

14       A.      Like just -- that's exactly the

15     example I just told you, blamed me for not

16     being tough enough.

17       Q.      And this is now at about the same

18     time.    Gone past that.      This is on in May.

19     This is probably in relation to your, the

20     answer that you had referred to earlier when

21     you were I guess younger.         It says was in a

22     car, got into an argument with her boyfriend

23     in a cab, was sitting on the curb for a ride

24     home, some guy in a pickup truck drove her


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1      home.    Is that the incident you were

2      referring to?      Okay.

3        A.      (Witness nodded).

4        Q.      And that occurred when you were --

5        A.      Younger.    I was under 18.

6        Q.      You were in Wildwood at the time?

7        A.      Yes.

8        Q.      And then you said you -- your hus- --

9      you wanted -- they recommended -- or you

10     wanted to go through some marriage counseling

11     but your husband wasn't on board?

12       A.      Correct.

13       Q.      Do you recall that?

14       A.      Yes.    He doesn't, he doesn't believe

15     in therapy.

16       Q.      And this is on June 30, 2020.          You

17     said you had an addiction problem,

18     narcissistic sociopathic relationships.

19       A.      Well, --

20       Q.      She explained that this passed when

21     Ryan contacted her and she got ready to go

22     meet him.     Patient stated that she had plans

23     with Courtney on Thursday and Friday, left

24     Wednesday night to try and meet up with Ryan.


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                                                                    Page 494
1      Patient explains that she was at Courtney's

2      house and was upset because she didn't,

3      because he didn't follow-up with calling her

4      to hang out.      Patient stated that she left

5      Courtney to see him, noting that she also

6      didn't go to work on Friday.          Patient

7      explained that she has zero --

8        A.      Didn't we already talk about this?

9        Q.      Did we cover this one?

10       A.      Yes.

11       Q.      Okay.    This one is dated June 30th.

12     So I think what I had reiterated to you was

13     what the doctor had referenced when he

14     referenced that particular --

15       A.      Incident.

16       Q.      Yes.

17               Okay.    This will be the last one I

18     want to cover with you in August 2020.            For

19     some reason, have you seen this therapist

20     since August of 2020?

21       A.      Yes.

22       Q.      Because his notes stop as of August.

23     The therapist's notes stop as of August 2020.

24     Any reason for that?


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1        A.      I mean sometimes with her, like

2      sometimes I would see her once every two

3      weeks.    We started doing once every two weeks

4      for a while, but -- and she was also trying

5      -- August?     What month are we in?

6        Q.      We're now in November.

7        A.      Yes, yes, I've seen her.

8        Q.      Okay, so we'll have to get the rest

9      of the records.

10               During that last visit we have in

11     August 25, 2020, you stated that you and your

12     husband were arguing again last night and you

13     were trying to figure out how to plan your

14     lives together.      Was that resolved or --

15       A.      I mean the conflict is he doesn't

16     want to move to D.C., and I don't have any

17     work up there.      I need to have health

18     insurance for the kids and he doesn't want to

19     move to D.C., and I don't have any work up

20     there.    And I can't keep living like this.

21       Q.      I'm going to come back to the meeting

22     you had with Dr. Zakireh.         You had denied any

23     history of domestic violence and that you

24     never got a protective order against your


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1      husband.    That's not in your marriage.

2                You indicated, she indicated

3      occasional loud arguments with her husband,

4      and it did indicate that she was physically

5      assaulted by her boyfriend in the past.             And

6      who would that have been?

7        A.      Danny Tommo.

8        Q.      Who had been drinking and struck her

9      in the face causing the bruise.          That's the

10     earlier testimony you gave relating to that.

11     The police arrested him, but she did not seek

12     a restraining order.       Ms. Barbounis also

13     stated that she dated a male acquaintance and

14     was --

15       A.      Oh, they're talking about Bobby.

16     That was Bobby.      That was when I was like --

17     that was the same boyfriend that I was

18     arguing with.      I had dated him for four

19     years.

20       Q.      The guy with the Eagles game?

21       A.      Correct, that was him.        He was --

22       Q.      Okay.

23       A.      So that was -- he didn't actually

24     punch me or anything.        I went to grab a drink


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1      out of his hand and he turned around like and

2      his hand hit me, and the police came and they

3      arrested him anyway, yes.

4        Q.      It says here he had been drinking and

5      she struck her, he struck her in the face

6      causing a bruise, but you're saying --

7        A.      It was a red mark.       It wasn't even a

8      bruise.    It was just red because they had

9      come at the same time.

10       Q.      And that occurred when?        What year?

11       A.      Early, my early 20s.

12       Q.      Okay.    And you stated that you had

13     dated a male acquaintance who was involved

14     sexually -- and was involved sexually with

15     him while in England circa October 2018.

16       A.      Danny.

17       Q.      However, he unexpectedly engaged in

18     rough sex with her, became extremely

19     physical, and caused a bruise to her eye.

20     That's what you had referred to earlier?

21       A.      Exactly.

22       Q.      Correct?

23       A.      Yes.    That's Danny, yes.

24       Q.      And you told the doctor you were


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1      satisfied with your current position, and you

2      weren't having any kind of disciplinary

3      problems on this job.        In fact, you were

4      doing quite well, correct?

5        A.      Correct.

6        Q.      You told Dr. Ziv that you were

7      effective in your new role?

8        A.      Yes.

9        Q.      And you said, "They love me.          I've

10     really done good work for them.          They adore

11     me".   Is that accurate?

12       A.      That is true.

13       Q.      That your boss is flexible.         She lets

14     you -- he lets you work from home.           And that

15     you were able to recently reconnect with your

16     children over a nine-day span.          Is that

17     somewhat accurate?

18       A.      Uh-huh.

19       Q.      Okay.

20                       THE COURT REPORTER:       Yes?

21     BY MR. GOLD:

22       Q.      Said that your life improved recently

23     but remarked, "This is not the life that I

24     thought I was building".         You had not


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1      finished your Master's degree, and you say,

2      "Honestly, right now, I don't have the

3      bandwidth to finish that degree".

4                Do you think you'll go back and

5      finish that?

6        A.      I would hope so.       The problem is is

7      that I stopped my degree because of all

8      this -- like I couldn't do it at The Middle

9      East Forum.       Like I stopped that.

10               After that November when we told

11     Daniel everything, there was so much going

12     with the stress of the Middle East Forum that

13     I didn't -- in that, what was it, January, I

14     asked for a leave.       And they granted me a

15     leave, I think, yes, they granted me a leave,

16     and then I was supposed to return and I --

17       Q.      Who is "they"?      The congressman?

18       A.      No, the school, the Master's program.

19       Q.      Okay.    But you only need three more

20     credits, right?

21       A.      Yes.

22       Q.      You got one course?

23       A.      Three more classes.

24       Q.      Okay.    So can't take that online or


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1      something?

2        A.       I haven't honestly explored it.

3      Because I think that the way Penn works is

4      that you only have a certain amount of time

5      where you can return.

6                 But I have -- and honestly, right

7      now, with this four lawsuits and being away

8      from my kids and being in a different state

9      and commuting all the time, I honestly don't

10     have the capability to do a class, not even

11     one.   It's very upsetting.

12       Q.      You said that you told Dr. Ziv that

13     your life has improved.        You said that you're

14     finally enjoying your kids.         You stopped

15     smoking.    You're more engaged with your

16     children.     You're reading books to your

17     children, playing games, hide-and-go-seek.

18     Working on improving your relationship with

19     your husband.

20       A.      True.

21       Q.      Your husband had been dating his

22     assistant, but you didn't want to stop it

23     because you would consider yourself to be a

24     hypocrite.


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1        A.      Correct.

2        Q.      Correct?

3                Has he stopped that though?

4        A.      I don't think so.       I don't know.      He

5      doesn't really te- -- he's not as forthcoming

6      with that information as I am with him.

7        Q.      You did ask your husband to move, to

8      relocate to D.C. with you, correct, or

9      Arlington?

10       A.      Either one.

11       Q.      Okay.

12       A.      It doesn't matter.       I live 11 minutes

13     from the Capitol.

14       Q.      And you said that you didn't feel

15     like you had a leg -- he did not want to move

16     I guess to D.C.?

17       A.      Well, he doesn't think that his

18     business can handle it.        Like a lot of real

19     estate is referral-based and he thinks that

20     it would take a financial, a big, huge

21     financial hit should he relocate, and I would

22     understand that.      But, you know, it would be

23     a hardship.

24       Q.      Okay.    You said you didn't feel like


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1      you had a leg to stand on when you asked your

2      husband to relocate because you, quote,

3      ruined, she ruined her old life by doing

4      exactly what she loathes other women were

5      doing.    Is that in reference to the fact that

6      he was cheating on you and --

7        A.      I think that it's -- I think that it,

8      you know, -- my marriage all like went

9      downhill because I was in a bad mental spot.

10     I made the decision.       I'm not placing all the

11     blame on like The Middle East Forum, but I

12     made the decision, the shit decision to like,

13     you know, strike a relationship up with

14     Danny.    And I made that decision and

15     subsequent decisions because my head wasn't

16     in a good place at all.

17               And so, you know, I feel -- I always

18     said I would never be that person, that I

19     would be a loyal person.

20       Q.      Right now, you're happy at your job.

21     You're making more money than you made at The

22     Middle East Forum.       It sounds like you have a

23     lot more responsibility.

24       A.      I also have more debt.        I have to


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1      have an apartment here.        I have to commute

2      back and forth.      If anything, I'm overdrawn

3      on my account almost every month because I

4      have to have two house payments, and it's

5      like it's way worse.

6                I mean the money that I incur, like

7      that I get extra, I mean it is actually like

8      I'm getting paid less when you consider that

9      I have to have an apartment, a place to stay

10     during the week.

11       Q.      What is that apartment costing you a

12     month?

13       A.      1,950 plus utilities.

14       Q.      And you just live there alone?

15       A.      (Witness nodded).

16       Q.      During COVID, did you have -- were

17     you able to work from home or --

18       A.      I mean we -- I was for --

19                      MR. CARSON:      Hey, guys.

20     BY MR. GOLD:

21       Q.      You were, okay.      You physically have

22     to go into work now?

23       A.      Yes, we go into the office now.          I

24     have to be in there two, three times a week.


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1                        MR. GOLD:    Jon, you have some

2               exhibits I'll be approaching now.             I

3               have a couple -- I'm going to close

4               out with this and just ask you to

5               identify some of these exhibits.

6                        Do you want to post them for

7               me, Jon?

8                        MR. CAVALIER:     Certainly.

9      BY MR. GOLD:

10       Q.      I'll try to get you out of here so

11     you can have some dinner.         I cheated, I ate

12     during one of these breaks.         But I didn't eat

13     all day, so it doesn't matter.

14                       MR. CAVALIER:     You're a smarter

15              man than I am, Sid.

16                       MR. GOLD:    I got my wife here.

17              Otherwise, I'd be drinking.         Okay.

18     BY MR. GOLD:

19       Q.      It looks like this is a post.          Can

20     you identify this for the record at all, Ms.

21     Barbounis?

22       A.      Yes.    It says Gregg doesn't want

23     anything to do with the Tommy stuff.            I

24     testified to that.


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1        Q.      Have you ever seen that before?

2        A.      I testified to that earlier saying

3      that he thought it was a throwaway project

4      and he -- that's why it wasn't increased

5      responsibility.      It was something that he

6      pawned off on me because he didn't want to do

7      it.

8        Q.      And he also testified there was a

9      point in time when Mr. Pipes told you that he

10     didn't want you involved in that Danny stuff

11     as well, correct?

12       A.      The Tommy stuff?

13       Q.      Tommy stuff.     I'm sorry.      Yes, Tommy

14     stuff.

15       A.      He didn't want anything to do with

16     the political aspect of it, but they were

17     still involved.      We even brought Tommy, we

18     were trying to get Tommy here in D.C. so he

19     could do an event on Capitol Hill.           So when

20     was that dated?

21       Q.      This is dated --

22       A.      Because I still have --

23       Q.      -- August 20, 2018.

24       A.      Yes.    He -- yes.     They even did work


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1      after that with them publicly.

2        Q.      So you did actually see this?          This

3      is a text message, I take it, or an e-mail?

4        A.      I'm looking at the date.         It says

5      August 2018 it says, right?

6        Q.      Right.

7        A.      Date, August 2018.       In November of, I

8      think it was November of 2018 I think it was,

9      they did a public event for Tommy Robinson on

10     Capitol Hill.

11       Q.      Okay.    But you got the -- is this

12     something you saw back in November of, back

13     in August of 2018?

14       A.      Yes.

15       Q.      Okay.

16                       MR. GOLD:    Post the next one

17              for me, Jon.

18                       MR. CARSON:     I just want to

19              keep an eye on the time, guys.          We're

20              --

21                       MR. GOLD:    I'm wrapping up.

22              This is the last report.        I won't

23              be -- after this, I'll be done.          I

24              just want to go through these.          I


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1               have a couple of these documents, and

2               we'll wrap it up.

3                        THE WITNESS:     Okay.

4                        MR. CARSON:     Okay.

5                        THE WITNESS:     I'll try to keep

6               --

7                        MR. GOLD:    I don't want to come

8               back another day either, believe me.

9               I don't want Ms. Barbounis to come

10              back either.

11     BY MR. GOLD:

12       Q.      Okay.    This is dated August 6, 2019.

13     It looks like it's a message from

14     215-910-2154.      Is that your phone number?

15       A.      Yes, that's me, and Tricia.

16       Q.      It's a text message to Tricia

17     McNulty, and it looks like it also went to a,

18     I guess Lisa Reynolds.        You sent it to

19     yourself as well.       August 6, 2019, thanks I'm

20     here.    I met a former Congressman on the

21     train and he was like I'll get you a job

22     anywhere, you should run for Congress.            I was

23     thinking with all my IRS debt.

24               Who did you meet on the train?


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1        A.      I forget his name.       He was a local

2      congressman like from like back in the day

3      and he wrote a book, and he was just being

4      really nice to me.       And --

5        Q.      I think --

6        A.      -- I was telling him, you know, --

7        Q.      If I'm not mistaken, you had

8      testified that you had actually -- did you

9      try to apply for a job with this congressman?

10       A.      No.    He's a form-, he was a former

11     congressman from like whatever, and I was --

12     he was like, "You should, you should work

13     back in D.C."      Because I said I like D.C. or

14     whatever.

15       Q.      How did you meet him?        Were you

16     sitting next to him?

17       A.      Yes.    He sat -- like I was sitting so

18     I could work at one of those like, you know,

19     tables and he said, "Can I sit here", because

20     it was a full train in the café part area,

21     and I said, "Sure".

22       Q.      So was he trying to make an advance

23     towards you or what?

24       A.      No.    He was just being a nice man.


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1        Q.      And this is on a train ride from

2      where?    Where were you coming from?         Where

3      were you going?

4        A.      I was either coming or going to D.C.

5      I don't remember which.

6        Q.      Okay.

7                        MR. GOLD:    Next one, Jon.

8      BY MR. GOLD:

9        Q.      This also appears to be I guess a

10     text message from you to Tricia McNulty.             I'm

11     super pissed about the Tommy shit.           DP is

12     acting like there was a whole team of MEF

13     people working on it.        Gregg says let's

14     fund-raise off it and tells me to put a

15     proposal together.       Everyone talked, everyone

16     I talked to loves it including Marc.            Gregg

17     says we are getting bad press but has always

18     said bad press is good.        We have more press

19     than ever and he downplays it, and now him

20     and DP are going to DC to talk to Bannon

21     about Tommy and the movement and I'm not

22     allowed to go.      Raheem says I did everything

23     and said he was impressed on his own without

24     prompting, but I'm watching him and getting


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1      jealous.    I know I'm a child.        I get that I

2      shouldn't look for credit but I want it.               I

3      know it's not cool but it's pissing me off.

4      I kind of said it to Gregg and he said, "If

5      you're doing it for credit, you're in the

6      wrong business" if she doesn't want all the

7      attention -- as if he doesn't want all the

8      attention all the time.

9                My question is:      Do you recall

10     sending that text message to Tricia McNulty

11     and --

12       A.      It definitely looks, it definitely

13     looks familiar to me.

14       Q.      Okay.

15       A.      I mean I wouldn't have remembered

16     that I had sent that before, but yes --

17                       MR. GOLD:    Next one, Jon.      I

18              think the court reporter is going

19              crazy.

20                       THE COURT REPORTER:       (Shook

21              head in the affirmative).

22                       THE WITNESS:     I talk a lot.

23              I'm sorry.

24                       MR. GOLD:    Do you need a break


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1               or something?

2                         THE COURT REPORTER:      A little

3               late now, but thank you.

4                         MR. GOLD:   Okay.    I felt bad

5               just watching you there.        I get a

6               guilty conscious very easily, by the

7               way.

8      BY MR. GOLD:

9        Q.       Okay.    This appears to be another

10     text message from you to Tricia McNulty dated

11     June 3, 2018.      She wasn't understanding what

12     I was asking because she didn't hear me out.

13     She was like I don't want to be in the middle

14     of you and Gregg and I feel you are fucking

15     with me.    Who is that in reference to?

16       A.      I don't know.

17       Q.      Who is the "she"?

18       A.      I don't know.      I would have to see

19     the rest of the conversation.          The only thing

20     that -- I don't know.

21       Q.      Could it be Marnie?

22       A.      Could be.

23       Q.      Okay.

24                        MR. GOLD:   Next one, Jon.


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1      BY MR. GOLD:

2        Q.       This is another text message from you

3      to Tricia McNulty dated August 13, 2018

4      (sic).     I'm going to quit.      Gregg does it on

5      purpose.    I'm looking for a job this week.

6                 And that would have been August 18,

7      2018.    Do you recall sending that text

8      message?

9        A.       I don't recall sending it, but it

10     definitely sounds like me.

11                      MR. GOLD:     Next one, Jon.

12     BY MR. GOLD:

13       Q.      Another text message dated

14     September 26, 2018 from you to Tricia

15     McNulty.    I'm sending e-mails to DP and Gregg

16     high as shit.

17               What did you mean by "high as shit"?

18       A.      I don't know, I don't know what

19     that's referencing to, but it was probably --

20     if it, if I was high as shit off anything, it

21     was probably, I probably had a procedure or

22     had a medical thing and I probably was still

23     trying to work doing whatever that was.

24       Q.      Was that in September of 2018 did you


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1      have a procedure, do you recall?

2        A.      I have procedures for my kidneys all

3      the time.     I think I definitely had a kidney

4      stone while I was there and I showed it to

5      them, so that was probably during that time.

6        Q.      Okay.    And you have no other

7      independent recollection what that's about, I

8      assume?

9        A.      It would -- I definitely think it was

10     when I -- I had passed, during my time during

11     there, an eight-millimeter stone.           I don't

12     know if you know what that is, but like it's

13     --

14       Q.      No, I don't know.

15       A.      -- this big.

16       Q.      Okay.

17                       MR. GOLD:    Next one, Jon.

18                       MR. CARSON:     I'll also --

19                       MR. GOLD:    It's something I

20              don't need to know.

21                       THE WITNESS:     Sorry.    You

22              asked.

23                       MR. GOLD:    Nor do I care to

24              know, right.


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                                                                    Page 514
1                        MR. CARSON:     I'll put an

2               objection to the characterization of

3               the text, but keep going.         Just keep

4               going.

5      BY MR. GOLD:

6        Q.      Okay.    This is a, --

7        A.      That's Ben.

8        Q.      -- a photograph of someone.         Do you

9      recognize that person?

10       A.      Ben, Benjamin Baird.

11       Q.      Ben Baird, okay.       Do you recall if

12     you took this picture?

13       A.      Yes, I did.     He was sleeping.       He

14     looked cute.

15       Q.      Where was this taken?

16       A.      Washington, D.C.

17       Q.      Is this at a hospital room or is this

18     a bedroom?     I can't --

19       A.      A hotel room.

20       Q.      Pardon me?

21       A.      I think it's a hotel room.

22       Q.      Hotel room, okay.       I couldn't tell

23     from the reclining nature of the bed.            I

24     thought it looked like a hospital room.


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                                                                    Page 515
1        A.      He's asleep.

2        Q.      What hotel is this?

3        A.      I don't remember.

4        Q.      Okay.    Do you remember, do you recall

5      the point in time you took it, like time

6      frame-wise at all?

7        A.      No.

8        Q.      Okay.

9                        MR. GOLD:    Next one, Jon.

10                       THE WITNESS:     I sent that to

11              him.   He looked cute in that.

12                       Sorry, I'm just so

13              uncomfortable.      Here we go.

14     BY MR. GOLD:

15       Q.      This is a text message from you to

16     Tricia McNulty dated May 3, 2018, and you

17     state there I want to kill Gregg.           Do you

18     recall what precipitated that e-mail or text

19     message rather?

20       A.      Didn't I tell you that his harassment

21     of me was constant and never-ending?            So it

22     could have been a million -- it could have

23     been any day of the week.

24       Q.      Okay.    But you don't have any precise


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                                                                    Page 516
1      recollection as to what --

2        A.      No.     Did it all the time.

3        Q.      Okay.

4                        MR. GOLD:    Next one, Jon.

5      BY MR. GOLD:

6        Q.      Text message dated January 26, 2018

7      again from you to Tricia McNulty.           Grrrr, and

8      then Gregg is acting like I'm his bitch in

9      front of Sam.      And who is Sam, by the way?

10       A.      Sam Westrop is a project director.

11       Q.      And do you have any recollection of

12     having sent that to Tricia?

13       A.      I don't have any recollection of

14     sending that to Tricia.        However, there's

15     only been a handful of times that I was in

16     front of Sam because he works in Boston, so

17     it had to be one of the times we were in D.C.

18       Q.      Any recollection what that's about or

19     not really?

20       A.      He treated me like that in front of

21     people all the time.

22                       MR. GOLD:    Next one, Jon.

23     BY MR. GOLD:

24       Q.      Okay.    This is a text message -- I'm


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                                                                    Page 517
1      sorry.    Is this a text message or an e-mail?

2      I can't tell.      It looks like a text message.

3        A.      Maybe.

4        Q.      Okay.    It's from Vasili Barbounis to

5      you dated October 1st.        That is your phone

6      number, right?

7        A.      Yes.

8        Q.      Okay.

9        A.      Yes.

10       Q.      October 1, 2019.       Any word from the

11     MEF attorney?

12                       MR. CARSON:     I --

13     BY MR. GOLD:

14       Q.      We need a boost.       I just two offers

15     for a total of 600K and my client just

16     increased her price range to 1.6.           Time to

17     pay bills.

18                       MR. CARSON:     So let me just put

19              an objection on the record.         So I'm

20              going to let her answer the question,

21              but we're not waiving any marital

22              privilege or spousal privilege.          But

23              you can answer the question.

24     BY MR. GOLD:


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                                                                    Page 518
1        Q.      Yes, I'm not asking you to discuss

2      what you and your husband talked about, but

3      --

4        A.      Well, he was just asking me "any word

5      from the MEF attorney", period.

6        Q.      Right.

7        A.      Next question.      Then he goes "we need

8      a boost".     Then he just wrote "I just two

9      offers for a" -- that means he just put under

10     contract two offers for 600K, and "our client

11     just increased her price range to 1.6".

12     That's all positive.       And he's saying that's

13     positive.     It's time to pay bills.        You're

14     not reading that correctly.

15       Q.      No, no, I'm reading correctly.          I

16     just wanted you to acknowledge the fact that

17     your husband sent you that text message.              I'm

18     not here to, you know, --

19       A.      Oh.   Okay.

20       Q.      -- cross-examine you on --

21                      MR. CARSON:      Lisa, go through

22              them so we can get out of here.

23                      THE WITNESS:      Whatever.

24                      MR. GOLD:     Next one.


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                                                                    Page 519
1      BY MR. GOLD:

2        Q.      Here's another one from your husband.

3      Don't forget we need 2K money back from

4      Tommy.    What's he referring to there when he

5      says "2K money from Tommy"?

6        A.      I was --

7                        MR. CARSON:     Objection.     I'm

8               just going to put an objection on the

9               record.    You can answer.      But we're

10              not waiving any marital/spousal

11              privilege.

12                       MR. GOLD:    Understood.

13                       THE WITNESS:     When --

14                       MR. CARSON:     Sidney, just so I

15              don't have to keep interrupting, just

16              generally if you're going to ask her

17              about the texts between her and

18              Vasili, I'll just make that general

19              objection and then I'll shut up.

20              Okay?

21                       MR. GOLD:    Okay, that's fine.

22     BY MR. GOLD:

23       Q.      Go ahead.     What's the -- had you lent

24     Tommy $2,000?


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                                                                    Page 520
1        A.      No.   No.    No.    No.    When I was in

2      England, we were talking -- like Tommy and I

3      were talking about the potential of him

4      paying me for my help, but he didn't and I

5      wasn't going to take it.         So my husband is

6      like, "You need to get that two grand he

7      was -- like, you know, he said he would pay

8      you back".      But we didn't and I never did,

9      and that was it.

10       Q.      And at some point, I think you were

11     asked about the $7,000 that Tommy had

12     received from -- I guess you gave Tommy

13     $7,000 of MEF funds.         Do you recall that?

14       A.      No, no, no, no, no.        I never gave

15     anybody any money.

16       Q.      So how did that come about?

17       A.      You're definitely mischaracterizing,

18     I think you're confusing Danny and Tommy.

19       Q.      I'm sorry, Danny.         I'm sorry, go

20     ahead.    With Danny?

21       A.      So that says Tommy, and Tommy was

22     talking about working at --

23       Q.      Tommy owed you two grand, and --

24       A.      He doesn't owe me anything actually.


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                                                                    Page 521
1        Q.      Okay.    But you say he promised to pay

2      you for your services --

3        A.      No, no, no, no.      My husband thought

4      that I should get paid for working at the

5      campaign for my time over there.

6        Q.      Okay.

7        A.      But you can't get paid.         You can't,

8      so like that's what he's referencing.            I

9      can't get paid for my work for Tommy because

10     of election laws in England.          So like that's

11     a non-issue.

12       Q.      And the $7,000 was to Danny, correct?

13       A.      I don't know about $7,000.

14                       MR. CARSON:     Yes.

15                       MR. GOLD:    Okay.     Next one,

16              Jon.

17     BY MR. GOLD:

18       Q.      Here we go.     This is from you to your

19     husband, October 17, 2019.         I saw the e-mail

20     for Green Lane.      Is that where you live?

21       A.      No.   That's my kids' school.

22       Q.      Oh, okay.

23               We are drowning.       I guess he stopped

24     paying tuition bills at the school or --


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                                                                    Page 522
1        A.      I don't know what that was

2      referencing, honestly.

3                        MR. CARSON:     Same objection.

4      BY MR. GOLD:

5        Q.      Do you recall seeing the e-mail about

6      Green Lane?

7        A.      I don't -- do you know how many

8      e-mails I got from Green Lane?

9        Q.      How many?

10       A.      I get, I get, I still get e-mails

11     from Green Lane.      My kids go to school there.

12       Q.      Are you current with your tuition

13     there?

14       A.      Yes.

15       Q.      Okay.    So I guess at some point in

16     time you fell behind?

17       A.      I don't know.      I don't know what the

18     context of that is, and I don't think so.

19       Q.      I see.

20       A.      We're always pretty good with our

21     tuition.

22       Q.      It was October 2019.        Both your kids

23     are in private school?

24       A.      Yes.


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                                                                    Page 523
1                        MR. GOLD:    Next --

2                        THE WITNESS:     No.   My son is in

3               a daycare, and my daughter is in a

4               private school.

5      BY MR. GOLD:

6        Q.      It's called Green Lane?

7        A.      No.    My son is in Green Lane, that's

8      the daycare, and my daughter is in

9      Philadelphia Classical School.

10       Q.      And that's a private school?

11       A.      Yes.

12       Q.      Okay.

13                       MR. GOLD:    Next one.

14     BY MR. GOLD:

15       Q.      This is dated December 7, 2018,

16     again, from you to your husband.           Me and Avi

17     and Tommy might start our own thing.

18               Do you recall what you meant by that

19     or what you were intending to say by that?

20       A.      Avi was talking about, Avi was

21     talking about like starting a new like TR

22     News and like, you know, working together and

23     like doing our own like little project, and I

24     forget what it exactly was but it surrounded


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1      around news.

2                         MR. GOLD:    Next one, Jon.

3      BY MR. GOLD:

4        Q.      Did you tell Gregg, by the way, you

5      were going to start the project with Tommy

6      and Avi?

7        A.      It was an idea that Avi threw out.           I

8      mean nothing ever -- we never even really

9      went into the nuts and bolts of it.            I don't

10     even know if he even talked about it with

11     Tommy, so I don't know.

12       Q.      If that had happened, would you have

13     left MEF?

14       A.      Maybe.    Depending on what it was, you

15     know, like if it was going to generate

16     revenue or anything.

17       Q.      Here's another text message from you

18     to your husband.      Yes.     I'll be home.     I

19     might have a great plan.         The time frame is

20     November 1, 2018.       Any idea what that's

21     about?

22       A.      It could have been anything.

23                      MR. CARSON:      Objection.

24     BY MR. GOLD:


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                                                                    Page 525
1        Q.      I'm sorry, I missed the answer to

2      that.

3        A.      It could have been anything.          I don't

4      know.    I would have to see the rest of the

5      text messages.

6        Q.      There was some reference to a Gregg

7      plan before.      Is this in line with that or --

8        A.      No, not the same thing.

9        Q.      Okay.    Same thing as the Gregg plan?

10       A.      There was no Gregg plan.

11                       MR. CARSON:     Objection.

12                       THE WITNESS:     There was no real

13              Gregg plan.     The only thing with the

14              Gregg plan was that we were going to

15              finally all go together and tell

16              Daniel the truth.       That was the Gregg

17              plan.

18     BY MR. GOLD:

19       Q.      That was the Gregg plan?

20       A.      I told you that.       We testified to

21     that earlier.

22       Q.      So you don't know -- and is this the

23     same plan?

24       A.      No.    I mean I make plans all the


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1      time.    I have great plans for Halloween

2      costumes.

3        Q.      Okay.    So it could have been about a

4      Halloween costume you were --

5        A.      Well, obviously not on November 1st,

6      but like we do plan family Halloween

7      costumes.     We did it this year too.

8        Q.      Maybe you were planning a year ahead

9      of time, like Mummers' Parade or something.

10       A.      I don't know.

11                       MR. GOLD:    Next one, Jon.

12                       THE WITNESS:     It could have

13              been anything, honestly.        It could

14              have been --

15                       MR. GOLD:    Next one, Jon.

16                       THE WITNESS:     It could have

17              been for his, going to see his

18              parents or something.        I had a plan

19              for that.

20                       Like when I got money, I

21              surprised him and like put it out

22              ahead of time so he could see his

23              mother who he hasn't seen in two

24              years.


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                                                                    Page 527
1                        MR. CARSON:     There's a very

2               easy solution for this.        If you guys

3               have partial texts and you'd like to

4               see the context of those texts, just

5               let me know what they are, and we'll

6               get them for you.

7                        MR. GOLD:    We'll hold you to

8               that.    We'll let you know.

9      BY MR. GOLD:

10       Q.      By the way, why are you using Penn

11     e-mail address?      Were you enrolled in Penn?

12       A.      I don't know.      I think that that is

13     because that's my iCloud.         So, if these are

14     coming from messages, that's what I use as my

15     iCloud I think.      I don't think that that's --

16     because I don't have access to the Penn

17     e-mail address anymore.

18       Q.      So it just automatically drops into

19     that e-mail automatically?

20       A.      I gue- -- I mean yes.        Because I

21     don't -- like when I text people, I don't

22     like send it to my e-mail.

23       Q.      Okay.

24                       MR. GOLD:    Next one, Jon.


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                                                                    Page 528
1      BY MR. GOLD:

2        Q.      Okay.    This is another text message

3      to your husband dated October 30, 2018.             If I

4      didn't have this Tommy thing, I'd quit today.

5                Is that a text message that you sent

6      to your husband on October 30, 2018?

7        A.      Yes.    If I didn't have --

8                        MR. CARSON:     Object.

9                        THE WITNESS:     -- the Tommy

10              project, I would have quit.

11                       MR. GOLD:    Okay.    Next one,

12              Jon.

13     BY MR. GOLD:

14       Q.      A text message to your husband dated

15     October 4, 2018.      I planned the whole entire

16     Tommy thing in London.        I invited Tricia

17     because I wanted company.         Now the

18     president -- and I can't see what that says

19     because of the --

20                       MR. CARSON:     "Thinks".

21                       MR. GOLD:    Let me try something

22              different here and see if I can --

23                       MR. CARSON:     "Now the president

24              thinks".


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                                                                    Page 529
1      BY MR. GOLD:

2        Q.      And now the president thinks both of

3      us planned it.      But it's mine.      Now we are

4      doing another event.        He included her in the

5      e-mail.    So I responded with my ideas and

6      took her off the chain because she didn't do

7      a thing with the first two.         I told her about

8      my suggestions to see if they were good and

9      then she goes back to her office and sends

10     this...I am somehow taken off the e-mail Lisa

11     just sent, but she didn't tell me about it.

12     I think it's a great idea to make this more

13     structured as she mentioned.

14               I also think in addition to an

15     on-stage interview with Tommy, we could make

16     this more in line with how a press conference

17     would run rather than a rally, and take some

18     questions from journalists who are there

19     (prescreened and planned would probably be

20     the best).

21               Is that a text message you sent to

22     your husband?

23       A.      Uh-huh.

24                      MR. CARSON:      I'm just going to


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1               object.

2                        MR. GOLD:    I hear you reserving

3               your objection on the marital

4               privilege, Seth.

5                        MR. CARSON:     Okay.

6      BY MR. GOLD:

7        Q.      And you can authenticate that as

8      being your text message, correct?

9        A.      Uh-huh.

10       Q.      Okay.

11                       MR. GOLD:    Next message.

12                       THE COURT REPORTER:       Yes?

13                       THE WITNESS:     Yes.    Sorry.

14              Thank you.

15                       MR. GOLD:    Next one.

16     BY MR. GOLD:

17       Q.      Okay.    This is from June 19, 2018,

18     again, from you to your husband.           Gregg gave

19     London to the guy he is firing a parting

20     gift, he is firing as a parting gift.            I'm so

21     mad.   Do you recall what that's about?

22       A.      Yes.    The second London trip, I told,

23     I testified to this earlier.          He said that he

24     was going to fire Cliff and that he's giving


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1      it to him as like a parting gift for --

2      because he wants to throw him a bone before

3      he fired him, and then he actually never

4      fired him anyway.

5        Q.       I want to clarify one point on the

6      IRS debt.       Are you telling me that your --

7      you have a lien against you, but your wages

8      are not being garnished, I take it, correct?

9        A.       Correct.    They're not, no.

10       Q.      Okay.    Are your husband's wages being

11     garnished?

12       A.      No.    Because we are working with the

13     IRS to resolve our issues, thanks to my help.

14                       MR. GOLD:    Go to the next one.

15              I'm sorry.

16     BY MR. GOLD:

17       Q.      Another text message to your husband,

18     April 4, 2018.      Except bitch Marnie got here

19     at 7:30.    Any recollection what that's about?

20       A.      I told you me and Marnie weren't on

21     the greatest terms for a while.

22       Q.      How come?

23       A.      Because she was Gregg's little

24     henchman.


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1        Q.      And you thought that she was -- why

2      do you say that, Number 1?         Number 2, did you

3      distrust her?

4        A.      I told you I was -- Marnie was like

5      whatever -- she would always like defend

6      Gregg for weird stuff he did, and she just

7      like -- she certainly just wasn't like --

8      like she felt like she was like, you know,

9      sided with Gregg just because she was his

10     (sic) boss, which she probably was because

11     she was probably scared of him too, but I

12     didn't take it like that when I was there.

13       Q.      When is the last time you spoke with

14     Marnie?

15       A.      Months ago.     No, it was probably a

16     year ago.     I don't even know.

17       Q.      When is the last time you spoke with

18     Tricia McNulty?

19       A.      Yesterday.

20       Q.      Did both of you prepare for your

21     depositions together?

22       A.      No.   I was actually just talking

23     about the election.       She was wishing me good

24     luck.


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                                                                    Page 533
1        Q.      Okay.    And --

2        A.      She's having a baby.        We talked about

3      her baby.

4        Q.      And have you spoken to Delaney

5      Yonchek recently?

6        A.      No.   That's been over a year at

7      least.    I think I wished her a happy birthday

8      somewhere on Instagram once, but no.

9                        MR. GOLD:     Can I get the next

10              one, Jon?

11                       MR. CARSON:     Yes, we're going

12              on nine hours now, guys.        Keep an eye

13              on that.

14                       MR. GOLD:    We're almost done.

15                       MR. CAVALIER:     We're almost

16              through.

17     BY MR. GOLD:

18       Q.      This is another text message from you

19     to your husband.      It says you are a bigger

20     piece of shit than I thought.          You told

21     Tricia I punched YOU.         Is that --

22       A.      I don't remember what the hell that's

23     about.

24       Q.      Okay.    It's --


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                                                                    Page 534
1        A.      When was that?

2        Q.      You have no recollection of that at

3      all?

4        A.      No.

5        Q.      By the way, that address, that

6      lisarey@sas.upenn.edu, do you recall whether

7      you had represented that you -- you mentioned

8      that address, you back it up on the cloud.

9      Is that -- let me get you straight on that.

10     What did you actually say about the --

11       A.      I think -- the only thing that makes

12     sense to me, because it's like on all these

13     messages, is that that's my log-in e-mail for

14     my iCloud.

15       Q.      Okay.    The --

16       A.      Even though I don't have access to

17     that e-mail, it's still like the username

18     part of the AppleID Cloud.

19       Q.      But didn't you deny using that e-mail

20     on your, you backed it up on your iCloud when

21     you took an affidavit back in January or you

22     don't recall that?

23       A.      What did you say?

24       Q.      Back in January, you made a statement


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                                                                    Page 535
1      in the trade secret case that you did not

2      back that up on a cloud.

3        A.      I don't have -- I don't back anything

4      up on a cloud, like back up on a cloud.            Like

5      I don't do a regular backup.

6                I think that these were like, when

7      you use your AppleID, -- I don't know how

8      that works, but like that's the only thing

9      that makes sense about that e-mail.           Because

10     I don't have access to that e-mail, and I

11     don't like regularly back up my phone.            Like

12     it does whatever it does by itself, but --

13       Q.      Do you use an Apple phone?

14       A.      Yes.

15       Q.      Okay.    Have you ever checked -- you

16     can actually check on the phone whether you

17     backed up anything on the cloud.           Have you

18     recently checked that?

19       A.      No.

20                       MR. CARSON:     They looked at her

21              iCloud, and they found all these

22              documents.

23     BY MR. GOLD:

24       Q.      Have you ever used a Telegram app at


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                                                                    Page 536
1      all?

2        A.      Not since I left Middle East Forum.

3        Q.      So did you provide the Telegram app

4      to your counsel --

5        A.      Uh-huh.

6        Q.      -- as your Telegram account?

7        A.      I gave them all the passwords to

8      that, yes.

9        Q.      How about the Telegram conversations

10     that you had, did you provide them to your

11     counsel as well?

12       A.      I don't -- I haven't had the app

13     since I left The Middle East Forum.           So

14     whatever access they have, I gave them like

15     whatever that log-in or whatever they needed

16     was, and they took, they took my phones.

17       Q.      You mean the factory authorization?

18       A.      Anything that they needed, yes.          We

19     had to go through two factory authorizations

20     for a lot of things.

21       Q.      Did you ever use Signal?

22       A.      Hardly ever, no.       Gregg made me

23     download that and Wickr.         I never really used

24     them.


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                                                                    Page 537
1        Q.      Did you ever use Wickr when you

2      worked at MEF?

3        A.      No.    I think Gregg might have

4      messaged me once or twice like testing it

5      out, but no, never -- that wasn't my thing.

6        Q.      How about ProtonMail?

7        A.      ProtonMail I had access to the press

8      e-mail inbox for Tommy Robinson and I would

9      check that for him occasionally, but I

10     haven't accessed that in forever.

11       Q.      Did you ever use ProtonMail or Signal

12     to talk to Ryan Coyle?

13       A.      Ryan Coyne.

14       Q.      Ryan Coyne.

15       A.      Yes.    I think I talked to, I

16     definitely think I talked to Ryan on Signal

17     when I thought my account was being hacked by

18     Gregg, yes.

19       Q.      So then you did have the Signal

20     application on your phone?

21       A.      Yes.    It's not something I regularly

22     use.   I forgot about that.

23       Q.      Did you ever talk to a Ryan Coyne

24     about this case?


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                                                                    Page 538
1        A.      I have talked to him about this case,

2      yes.

3        Q.      When is the last time you spoke with

4      him?

5        A.      About my case?

6        Q.      Yes.

7        A.      Not since like that deposition,

8      Delaney's deposition.

9        Q.      Did you ever call Ryan Coyne, did you

10     call Ryan Coyne and ever told you to go to

11     NPR and take your story public?

12                       MR. CARSON:     I'm going to do

13              like a five-minute warning for

14              everyone.    Because at 8:00 we're

15              going to wrap this up.

16                       MR. GOLD:    Fine.

17                       THE WITNESS:     Did I ever do --

18              I mean plenty of people told me to go

19              tell a story.     I would never do that

20              though because it's not good for me.

21     BY MR. GOLD:

22       Q.      Did you ever discuss that with Ryan

23     Coyne?

24       A.      I don't remember.


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                                                                    Page 539
1        Q.      How about with Tricia McNulty?

2        A.      I don't remember.       I might have.

3                        MR. GOLD:     Get that next one up

4               there for me, Jon.

5      BY MR. GOLD:

6        Q.      Okay.    This is one from you to your

7      husband dated December 13, 2017.           Punching

8      your wife in the head while she is on the

9      ground and your kid is on the bed is another.

10               Do you recall sending that to your

11     husband?

12       A.      No.

13                       MR. CARSON:     Objection.     These

14              are very personal --

15                       MR. GOLD:    Put the next one up

16              for me, Jon.

17                       MR. CARSON:     -- communications

18              between a husband and wife.         They're

19              all privileged and --

20                       MR. GOLD:    You preserved that

21              objection, Mr. Carson.

22     BY MR. GOLD:

23       Q.      Here's another one from you to your

24     hu-, from you to it looks like to Dave


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                                                                    Page 540
1      Reynolds and your husband.         Tommy Robinson

2      wants to speak with me.        That's dated

3      October 2, 2018.

4                Is that a text message you recall

5      sending to both I guess --

6                        MR. CARSON:     Same objection.

7                        THE WITNESS:     I don't know.

8               These are all without context.          I

9               have no idea.

10     BY MR. GOLD:

11       Q.      When you turned in your MEF computer

12     and you reset it to factory settings, who

13     told you to do that?

14       A.      Marnie.

15       Q.      And when did she tell you to do that,

16     do you recall?

17       A.      In a conversation that we had in

18     person on the phone.       We talked about a

19     bunch.

20       Q.      And then thereafter is when you reset

21     it to factory settings?

22       A.      Yes.    I had to like look up how to do

23     it.

24       Q.      And where did you -- how did you do


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                                                                    Page 541
1      it?

2        A.      I don't remember.       Like I looked, I

3      Googled it, did whatever they said and did

4      it.    I don't remember exactly what the

5      methodology was.

6        Q.      Do you remember specifically she told

7      you to reset it to factory settings?

8        A.      Yes.    She said like, she said that,

9      you know, to protect your personal

10     information, because it was supposed to be

11     like your personal device, like basically

12     like a lease thing, that was the policy, she

13     was like, "Since it's a -- you know, reset it

14     to factory settings so that we can use it for

15     like the next person".        So that's what we

16     did.

17       Q.      And you clearly looked it up and you

18     did it yourself?

19       A.      Yes.

20       Q.      And that would be in August of 2019?

21                       MR. CARSON:     Objection.

22                       THE WITNESS:     I guess.     Right

23              before -- yes, probably.        Because

24              it's right before I left, right, yes.


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                                                                    Page 542
1      BY MR. GOLD:

2        Q.      And if Marnie were to testify that

3      you did that on your own initiative, would

4      she be being less than candid or truthful?

5                       MR. CARSON:      Objection.

6               Assuming facts not in evidence.

7                       THE WITNESS:      She would

8               definitely be not truthful.

9                       MR. GOLD:     Okay.    Can I get the

10              next one, Jon?

11     BY MR. GOLD:

12       Q.      This is another one from, it looks

13     like from your mother to you dated

14     October 31, 2019.       No, I'm in a great mood.

15     I just don't like the absence of a mother on

16     days that are important to kids.           And I don't

17     think it's smart of you to post sexy,

18     provocative photographs of yourself on

19     Instagram.     It's not a good scenario for you

20     and your family and your lawsuit.

21               I think you may have referred to that

22     when we were talking about the, you know, the

23     counseling and the mention of your mom and

24     things like that.       Is that accurate?


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                                                                    Page 543
1        A.      Yes.    That was about Halloween.

2        Q.      Okay.    Do you have a phone number in

3      England, by the way?        Do you have an England

4      phone number?

5        A.      For a while, I paid for like a, what

6      was it, like a Skype phone number that would

7      just like go to my phone.

8        Q.      And what about do you have a D.C.

9      phone number as well?

10       A.      I have a work phone that my work

11     provides me.

12       Q.      Would that be area code 202, right?

13     You're in Washington.

14       A.      Uh-huh.

15                       THE COURT REPORTER:       Yes?

16     BY MR. GOLD:

17       Q.      And the England phone number, that

18     would be with a plus 44.         Do you recall that

19     at all?

20       A.      Yes.

21       Q.      Okay.    Did you hand over your

22     Telegram account to counsel as requested

23     during discovery in this case?

24       A.      Yes.


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                                                                    Page 544
1        Q.      Okay.    So -- okay.

2                        MR. GOLD:    Jon, next one.

3                        MR. CARSON:     Guys, it's 8:00

4               now.

5                        MR. GOLD:    The last one.

6      BY MR. GOLD:

7        Q.      It's from your mom to you and your

8      dad.    Oh back to the big threat of no

9      grandchildren.      I think that's from -- you

10     got that from your mother?         You received that

11     text message?

12       A.      Uh-huh.

13                       THE COURT REPORTER:       Yes?

14                       THE WITNESS:     Yes.

15     BY MR. GOLD:

16       Q.      Do you know why your counsel hasn't

17     turned over your Telegram account?           Did you

18     instruct your counsel not to do that?

19       A.      No.   I didn't know it wasn't turned

20     over.    Maybe it didn't produce anything, I

21     don't know.

22       Q.      Are you aware of the various motions

23     for sanctions and motions for contempt that

24     have been filed in this case?


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                                                                    Page 545
1        A.      I mean I heard that you guys file

2      stuff every other day.

3        Q.      Did your lawyer tell you that he was

4      found in contempt of court on two occasions

5      in this case?

6        A.      For?

7        Q.      Whatever.     Have you ever had a

8      conversation with him about that?

9                        MR. CARSON:     Lisa, don't answer

10              that question.

11                       THE WITNESS:     I have no idea

12              actually, Seth.

13                       MR. CARSON:     Just don't answer.

14                       MR. GOLD:    Okay.

15                       MR. CARSON:     All right, we're

16              done.    Thank you, guys.

17                       MR. GOLD:    Thank you.

18              Appreciate it.      Thank you.

19                       MR. CAVALIER:     Seth, before we

20              go off the record and rather than

21              having to go through all of the

22              argument, I have one yes-or-no

23              question.    Do you object to me asking

24              it before we go off?


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                                                                    Page 546
1                       MR. CARSON:        No.

2                       MR. CAVALIER:       All right.

3                       MR. CARSON:        No objection.

4                       MR. CAVALIER:       Thank you.

5                              -   -   -

6                           EXAMINATION

7                              -   -   -

8      BY MR. CAVALIER:

9        Q.      So we're at the end of a very long

10     day.   I just want to remind you that you're

11     still under oath, and I'd like just a

12     yes-or-no answer to this question with that

13     oath in mind.

14               Did you ever use cocaine with Danny

15     Thomas at any point in time during your

16     relationship with him?

17       A.      No.

18                      MR. CAVALIER:       That's all I

19              have, Seth.

20                      MR. CARSON:        All right.

21                      MR. CAVALIER:       Thank you.

22                      THE VIDEOGRAPHER:        The time is

23              8:01 p.m.    That concludes this

24              videotape deposition.


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                                                                    Page 547
1

2                           CERTIFICATE

3

4

5                       I HEREBY CERTIFY that the

6      witness was duly sworn by me and that the

7      deposition is a true record of the testimony

8      given by the witness.

9

10

11

12

13               Kimberly S. Gordon, a

14               Registered Professional Reporter,

15               Certified Court Reporter

16               and Notary Public

17               Dated:    NOVEMBER 19, 2020

18

19

20                      (The foregoing certification

21     of this transcript does not apply to any

22     reproduction of the same by any means,

23     unless under the direct control and/or

24     supervision of the certifying reporter.)


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                                                                    Page 548
1                       INSTRUCTIONS TO WITNESS

2

3

4                       Please read your deposition

5      over carefully and make any necessary

6      corrections.     You should state the reason in

7      the appropriate space on the errata sheet

8      for any corrections that are made.

9                       After doing so, please sign

10     the errata sheet and date it.

11                      You are signing same subject

12     to the changes you have noted on the errata

13     sheet, which will be attached to your

14     deposition.

15                      It is imperative that you

16     return the original errata sheet TO THE

17     DEPOSING ATTORNEY within thirty (30) days of

18     receipt of the deposition transcript by you.

19     If you fail to do so, the deposition

20     transcript may be deemed to be accurate and

21     may be used in court.

22

23

24


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1                         - - - - -          -
                           E R R A T A
2                         - - - - -          -

3      PAGE   LINE    CHANGE

4      ____   ____    ____________________________

5      ____   ____    ____________________________

6      ____   ____    ____________________________

7      ____   ____    ____________________________

8      ____   ____    ____________________________

9      ____   ____    ____________________________

10     ____   ____    ____________________________

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24     ____   ____    ____________________________


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1                 ACKNOWLEDGMENT OF DEPONENT

2

3

4                       I,_____________________, do

5      hereby certify that I have read the

6      foregoing pages,      1 - 550, and that the same

7      is a correct transcription of the answers

8      given by me to the questions therein

9      propounded, except for the corrections or

10     changes in form or substance, if any, noted

11     in the attached Errata Sheet.

12

13

14      _______________________________________

15      LISA REYNOLDS-BARBOUNIS                     DATE

16

17

18

19     Subscribed and sworn
       to before me this
20     _____ day of ______________, 20____.

21     My commission expires:______________

22
       ____________________________________
23     Notary Public

24


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